Case 1:05-md-01720-MKB-JAM Document 8713-3 Filed 09/30/22 Page 1 of 414 PageID #:
                                  493364




                         EXHIBIT A
                                      to
             Declaration of David B. Esau
                       Case 1:05-md-01720-MKB-JAM Document 8713-3 Filed 09/30/22 Page 2 of 414 PageID #:
                                                         493365
                                                                       Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction        Taxpayer ID (or    IRS Filing Name          Address              City             State     Postal Code
                          Division Name     Merchant ID, where
                                                 available)
COMCAST Cable            COMCAST Cable     232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Communications, LLC      Communications,                       Communications, LLC   54th Floor
                         LLC
Comcast Spotlight West   WEST DIVISION     232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                                                               Communications, LLC   54th Floor
Comcast of Manchester, Comcast of         232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
NH                     Manchester, NH                          Communications, LLC   54th Floor
Comcast of Reading, PA Comcast of         232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                       Reading, PA                             Communications, LLC   54th Floor
Comcast of Naples, FL  Comcast of Naples, 232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                       FL                                      Communications, LLC   54th Floor
Comcast Three Rivers   Comcast Three      232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Region                 Rivers Region                           Communications, LLC   54th Floor
Comcast Business       Comcast Business 232175755              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Services               Services                                Communications, LLC   54th Floor
COMCAST California     COMCAST            232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                       California                              Communications, LLC   54th Floor
COMCAST of Savannah COMCAST of            232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
2                      Savannah 2                              Communications, LLC   54th Floor
Comcast Media Center   Comcast Media      232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                       Center                                  Communications, LLC   54th Floor
Comcast Spotlight      Comcast Spotlight 232175755             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Knoxville              Knoxville                               Communications, LLC   54th Floor
Comcast Chicago        Comcast Chicago 232175755               COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                                                               Communications, LLC   54th Floor
National Security       National Security 232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Operations              Operations                             Communications, LLC   54th Floor
Comcast of Three Rivers Comcast of Three 232175755             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
East                    Rivers East                            Communications, LLC   54th Floor
Comcast Memphis         Comcast Memphis 232175755              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Spotlight               Spotlight                              Communications, LLC   54th Floor
Comcast Moorestown, NJ Comcast             232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                        Moorestown, NJ                         Communications, LLC   54th Floor
Comcast of Houston 1    Comcast of Houston 232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                        1                                      Communications, LLC   54th Floor
Comcast of Tucson       Comcast of Tucson 232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                                                               Communications, LLC   54th Floor




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                                                         493366
                                                                          Exhibit A
                                In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name        Transaction         Taxpayer ID (or      IRS Filing Name           Address                 City        State     Postal Code
                           Division Name      Merchant ID, where
                                                   available)
Strata Marketing         Strata Marketing    232175755           COMCAST Cable            1 Comcast Center   Philadelphia     PA           19103
                                                                 Communications, LLC      54th Floor
Comcast Spotlight        Comcast Spotlight   232175755           COMCAST Cable            1 Comcast Center   Philadelphia     PA           19103
Sarasota                 Sarasota                                Communications, LLC      54th Floor
Comcast Spotlight Philly Comcast Spotlight   232175755           COMCAST Cable            1 Comcast Center   Philadelphia     PA           19103
                         Philly                                  Communications, LLC      54th Floor
Comcast Spotlight        Comcast Spotlight   232175755           COMCAST Cable            1 Comcast Center   Philadelphia     PA           19103
Nashville                Nashville                               Communications, LLC      54th Floor
Comcast Spotlight        Comcast Spotlight   232175755           COMCAST Cable            1 Comcast Center   Philadelphia     PA           19103
Florence                 Florence                                Communications, LLC      54th Floor
Comcast Spotlight Miami Comcast Spotlight    232175755           COMCAST Cable            1 Comcast Center   Philadelphia     PA           19103
                         Miami                                   Communications, LLC      54th Floor
Comcast Spotlight        Comcast Spotlight   232175755           COMCAST Cable            1 Comcast Center   Philadelphia     PA           19103
Panama City              Panama City                             Communications, LLC      54th Floor
Comcast Spotlight        Comcast Spotlight   232175755           COMCAST Cable            1 Comcast Center   Philadelphia     PA           19103
Savannah                 Savannah                                Communications, LLC      54th Floor
thePlatform              thePlatform         954809902           thePlatform for Media,   3101 Western Ave   Seattle          WA           98121
                                                                 Inc.                     Ste 300
Comcast Lake County    Comcast Lake          232175755           COMCAST Cable            1 Comcast Center   Philadelphia     PA           19103
(CS 1x)                County (CS 1x)                            Communications, LLC      54th Floor
Comcast PalmBch/Stuart Comcast               232175755           COMCAST Cable            1 Comcast Center   Philadelphia     PA           19103
(CS 1x)                PalmBch/Stuart                            Communications, LLC      54th Floor
                       (CS 1x)
Comcast Winchester (CS Comcast            232175755                COMCAST Cable          1 Comcast Center   Philadelphia     PA           19103
1x)                    Winchester (CS 1x)                          Communications, LLC    54th Floor
Comcast Orlando/Tampa Comcast             232175755                COMCAST Cable          1 Comcast Center   Philadelphia     PA           19103
(CS 1x)                Orlando/Tampa (CS                           Communications, LLC    54th Floor
                       1x)
Comcast West Boca, FL Comcast West        232175755                COMCAST Cable          1 Comcast Center   Philadelphia     PA           19103
(CS 1x)                Boca, FL (CS 1x)                            Communications, LLC    54th Floor
Comcast PalmBch/Delray Comcast            232175755                COMCAST Cable          1 Comcast Center   Philadelphia     PA           19103
(CS 1x)                PalmBch/Delray                              Communications, LLC    54th Floor
                       (CS 1x)
Comcast Stuart/Okeecho Comcast            232175755                COMCAST Cable          1 Comcast Center   Philadelphia     PA           19103
(CS 1x)                Stuart/Okeecho (CS                          Communications, LLC    54th Floor
                       1x)




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                       Case 1:05-md-01720-MKB-JAM Document 8713-3 Filed 09/30/22 Page 4 of 414 PageID #:
                                                         493367
                                                                       Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction       Taxpayer ID (or    IRS Filing Name           Address              City             State     Postal Code
                          Division Name    Merchant ID, where
                                                available)
Comcast Ashburn/Loudou Comcast            232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
(CS 1x)                 Ashburn/Loudou                        Communications, LLC    54th Floor
                        (CS 1x)
Comcast Treasure Coast Comcast Treasure 232175755              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(CS 1x)                 Coast (CS 1x)                          Communications, LLC   54th Floor
Comcast Shreveport (CS Comcast Shreveport 232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
1x)                     (CS 1x)                                Communications, LLC   54th Floor
Comcast Cape Coral (CS Comcast Cape        232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
1x)                     Coral (CS 1x)                          Communications, LLC   54th Floor
Comcast Frederick (CS Comcast Frederick 232175755              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
1x)                     (CS 1x)                                Communications, LLC   54th Floor
Comcast Houma /LaPlace Comcast Houma       232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(CS 1x)                 /LaPlace (CS 1x)                       Communications, LLC   54th Floor
Comcast Prince George Comcast Prince       232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(CS 1x)                 George (CS 1x)                         Communications, LLC   54th Floor
Comcast Alexandria (CS Comcast             232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
1x)                     Alexandria (CS 1x)                     Communications, LLC   54th Floor
Comcast Ann Arundel     Comcast Ann        232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(CS 1x)                 Arundel (CS 1x)                        Communications, LLC   54th Floor
Comcast Augusta (CS 1x) Comcast Augusta 232175755              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                        (CS 1x)                                Communications, LLC   54th Floor
Comcast Baltimore City Comcast Baltimore 232175755             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(CS 1x)                 City (CS 1x)                           Communications, LLC   54th Floor
Comcast Baltimore (CS Comcast Baltimore 232175755              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
1x)                     (CS 1x)                                Communications, LLC   54th Floor
Comcast Howard (CS 1x) Comcast Howard      232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                        (CS 1x)                                Communications, LLC   54th Floor
Comcast Washington DC Comcast              232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(CS 1x)                 Washington DC                          Communications, LLC   54th Floor
                        (CS 1x)
Comcast Salisbury (CS   Comcast Salisbury 232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
1x)                     (CS 1x)                                Communications, LLC   54th Floor
Comcast Mobile (CS 1x) Comcast Mobile      232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                        (CS 1x)                                Communications, LLC   54th Floor
Comcast Montgomery      Comcast            232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
MD (CS 1x)              Montgomery MD                          Communications, LLC   54th Floor
                        (CS 1x)




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                         Case 1:05-md-01720-MKB-JAM Document 8713-3 Filed 09/30/22 Page 5 of 414 PageID #:
                                                           493368
                                                                         Exhibit A
                                 In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name         Transaction       Taxpayer ID (or    IRS Filing Name           Address              City             State     Postal Code
                            Division Name    Merchant ID, where
                                                  available)
Comcast Jackson/Monro Comcast               232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
(CS 1x)                 Jackson/Monro (CS                       Communications, LLC    54th Floor
                        1x)
Comcast Tallahassee (CS Comcast             232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
1x)                     Tallahassee (CS 1x)                     Communications, LLC    54th Floor

Comcast DaleCity/Resto Comcast            232175755              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(CS 1x)                DaleCity/Resto (CS                        Communications, LLC   54th Floor
                       1x)
Comcast Carrol Co (CS Comcast Carrol Co 232175755                COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
1x)                    (CS 1x)                                   Communications, LLC   54th Floor
Comcast Sarasota (CS   Comcast Sarasota 232175755                COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
1x)                    (CS 1x)                                   Communications, LLC   54th Floor
Comcast Charleston (CS Comcast Charleston 232175755              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
1x)                    (CS 1x)                                   Communications, LLC   54th Floor
Comcast Naples (CS 1x) Comcast Naples     232175755              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                       (CS 1x)                                   Communications, LLC   54th Floor
Xfinity Prepaid        Xfinity Prepaid    232175755              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                                                                 Communications, LLC   54th Floor
Comcast Salt Lake City    Comcast Salt Lake 232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                          City                                   Communications, LLC   54th Floor
Comcast Business          Comcast Business 231709202             Comcast Holdings      1 Comcast Center   Philadelphia      PA            19103
Services                  Services                               Corporation           FL 32
Comcast Denver            Comcast Denver    232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                                                                 Communications, LLC   54th Floor
Comcast Bellingham   Comcast          232175755                  COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                     Bellingham                                  Communications, LLC   54th Floor
COMCAST California   COMCAST          232175755                  COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Rec                  California Rec                              Communications, LLC   54th Floor
COMCAST Atlanta Rec COMCAST Atlanta 232175755                    COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                     Rec                                         Communications, LLC   54th Floor
COMCAST Salt Lake    COMCAST Salt     232175755                  COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
City Rec             Lake City Rec                               Communications, LLC   54th Floor
COMCAST Dade Rec     COMCAST Dade 232175755                      COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                     Rec                                         Communications, LLC   54th Floor
COMCAST Jacksonville COMCAST          232175755                  COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Rec                  Jacksonville Rec                            Communications, LLC   54th Floor




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                                                        493369
                                                                      Exhibit A
                              In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name       Transaction       Taxpayer ID (or    IRS Filing Name           Address              City             State     Postal Code
                         Division Name    Merchant ID, where
                                               available)
COMCAST Broward Rec COMCAST              232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
                       Broward Rec                           Communications, LLC    54th Floor
COMCAST Tucson Rec COMCAST Tucson 232175755                  COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
                       Rec                                   Communications, LLC    54th Floor
COMCAST Denver Rec COMCAST Denver 232175755                  COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
                       Rec                                   Communications, LLC    54th Floor
COMCAST Bellingham COMCAST               232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
Rec                    Bellingham Rec                        Communications, LLC    54th Floor
COMCAST St. Paul Rec COMCAST St.         232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
                       Paul Rec                              Communications, LLC    54th Floor
COMCAST Boston Rec COMCAST Boston 232175755                  COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
                       Rec                                   Communications, LLC    54th Floor
COMCAST Houston Rec COMCAST              232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
                       Houston Rec                           Communications, LLC    54th Floor
COMCAST Portland Rec COMCAST             232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
                       Portland Rec                          Communications, LLC    54th Floor
COMCAST Three Rivers COMCAST Three 232175755                 COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
East Rec               Rivers East Rec                       Communications, LLC    54th Floor
COMCAST Chicago Rec COMCAST              232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
                       Chicago Rec                           Communications, LLC    54th Floor
Internet Essentials    COMCAST Cable 232175755               COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
                       Communications                        Communications, LLC    54th Floor
XFINITY On Campus      XFINITY On        232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
                       Campus                                Communications, LLC    54th Floor
Comcast Lake County    Comcast Lake      232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
(CS Rec)               County (CS Rec)                       Communications, LLC    54th Floor
Comcast PlmBch/Stuart Comcast            232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
(CS Rec)               PlmBch/Stuart (CS                     Communications, LLC    54th Floor
                       Rec)
Comcast Winchester (CS Comcast           232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
Rec)                   Winchester (CS                        Communications, LLC    54th Floor
                       Rec)
Comcast Orlando/Tampa Comcast            232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
(CS Rec)               Orlando/Tampa (CS                     Communications, LLC    54th Floor
                       Rec)
Comcast West Boca, FL Comcast West       232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
(CS Rec)               Boca, FL (CS Rec)                     Communications, LLC    54th Floor




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                       Case 1:05-md-01720-MKB-JAM Document 8713-3 Filed 09/30/22 Page 7 of 414 PageID #:
                                                         493370
                                                                       Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction       Taxpayer ID (or    IRS Filing Name           Address              City             State     Postal Code
                          Division Name    Merchant ID, where
                                                available)
Comcast PlmBch/Delray Comcast             232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
(CS Rec)               PlmBch/Delray (CS                      Communications, LLC    54th Floor
                       Rec)
Comcast StuartOkeecho Comcast             232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
(CS Rec)               StuartOkeecho (CS                      Communications, LLC    54th Floor
                       Rec)
Comcast AshburnLoudou Comcast             232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
(CS Rec)               AshburnLoudou                          Communications, LLC    54th Floor
                       (CS Rec)
Comcast TreasureCoast Comcast             232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
(CS Rec)               TreasureCoast (CS                      Communications, LLC    54th Floor
                       Rec)
Comcast Shreveport (CS Comcast Shreveport 232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
Rec)                   (CS Rec)                               Communications, LLC    54th Floor

Comcast Cape Coral (CS Comcast Cape        232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Rec)                   Coral (CS Rec)                          Communications, LLC   54th Floor
Comcast Frederick (CS  Comcast Frederick   232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Rec)                   (CS Rec)                                Communications, LLC   54th Floor
Comcast Houma/LaPlace  Comcast             232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(CS Rec)               Houma/LaPlace                           Communications, LLC   54th Floor
                       (CS Rec)
Comcast Prince George Comcast Prince       232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(CS Rec)               George (CS Rec)                         Communications, LLC   54th Floor
Comcast Alexandria (CS Comcast             232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Rec)                   Alexandria (CS                          Communications, LLC   54th Floor
                       Rec)
Comcast Ann Arundel    Comcast Ann         232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(CS Rec)               Arundel (CS Rec)                        Communications, LLC   54th Floor
Comcast Augusta (CS    Comcast Augusta     232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Rec)                   (CS Rec)                                Communications, LLC   54th Floor
Comcast Baltimore Cty Comcast Baltimore    232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(CS Rec)               Cty (CS Rec)                            Communications, LLC   54th Floor
Comcast Baltimore (CS Comcast Baltimore    232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Rec)                   (CS Rec)                                Communications, LLC   54th Floor
Comcast Howard (CS     Comcast Howard      232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Rec)                   (CS Rec)                                Communications, LLC   54th Floor




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                                                         493371
                                                                       Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction       Taxpayer ID (or    IRS Filing Name           Address              City             State     Postal Code
                          Division Name    Merchant ID, where
                                                available)
Comcast Washington DC Comcast             232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
(CS Rec)                Washington DC                         Communications, LLC    54th Floor
                        (CS Rec)
Comcast Salisbury (CS   Comcast Salisbury 232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Rec)                    (CS Rec)                               Communications, LLC   54th Floor
Comcast Mobile (CS      Comcast Mobile    232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Rec)                    (CS Rec)                               Communications, LLC   54th Floor
Comcast Montgomery      Comcast           232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
MD (CS Rec)             Montgomery MD                          Communications, LLC   54th Floor
                        (CS Rec)
Comcast Jackson/Monro Comcast             232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(CS Rec)                Jackson/Monro (CS                      Communications, LLC   54th Floor
                        Rec)
Comcast Tallahassee (CS Comcast           232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Rec)                    Tallahassee (CS                        Communications, LLC   54th Floor
                        Rec)
Comcast DaleCty/Resto Comcast             232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(CS Rec)                DaleCty/Resto (CS                      Communications, LLC   54th Floor
                        Rec)
Comcast Carrol Co (CS Comcast Carrol Co 232175755              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Rec)                    (CS Rec)                               Communications, LLC   54th Floor
Comcast Sarasota (CS    Comcast Sarasota 232175755             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Rec)                    (CS Rec)                               Communications, LLC   54th Floor
Comcast Charleston (CS Comcast Charleston 232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Rec)                    (CS Rec)                               Communications, LLC   54th Floor

Comcast Naples (CS Rec) Comcast Naples     232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                        (CS Rec)                               Communications, LLC   54th Floor
Comcast California CS   Comcast California 232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
1x                      CS 1x                                  Communications, LLC   54th Floor
Comcast Atlanta CS 1x Comcast Atlanta CS 232175755             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                        1x                                     Communications, LLC   54th Floor
Comcast Salt Lake City Comcast Salt Lake 232175755             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
CS 1x                   City CS 1x                             Communications, LLC   54th Floor
Comcast Dade CS 1x      Comcast Dade CS 232175755              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                        1x                                     Communications, LLC   54th Floor
Comcast Jacksonville CS Comcast            232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
1x                      Jacksonville CS 1x                     Communications, LLC   54th Floor



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                                                         493372
                                                                        Exhibit A
                                In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction         Taxpayer ID (or    IRS Filing Name          Address              City             State     Postal Code
                          Division Name      Merchant ID, where
                                                  available)
Comcast Broward CS 1x    Comcast Broward 232175755              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                         CS 1x                                  Communications, LLC   54th Floor
Comcast Tucson CS 1x     Comcast Tucson CS 232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                         1x                                     Communications, LLC   54th Floor
Comcast Denver CS 1x     Comcast Denver CS 232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                         1x                                     Communications, LLC   54th Floor
Comcast Bellingham CS    Comcast            232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
1x                       Bellingham CS 1x                       Communications, LLC   54th Floor
Comcast St. Paul CS 1x   Comcast St. Paul   232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                         CS 1x                                  Communications, LLC   54th Floor
Comcast Boston CS 1x     Comcast Boston CS 232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                         1x                                     Communications, LLC   54th Floor
Comcast Houston CS 1x    Comcast Houston 232175755              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                         CS 1x                                  Communications, LLC   54th Floor
Comcast Portland CS 1x   Comcast Portland 232175755             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                         CS 1x                                  Communications, LLC   54th Floor
Comcast Three Rvrs CS    Comcast Three      232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
1x                       Rvrs CS 1x                             Communications, LLC   54th Floor
Comcast Chicago CS 1x    Comcast Chicago 232175755              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                         CS 1x                                  Communications, LLC   54th Floor
Comcast Dothan, AL CS    Comcast Dothan,    232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Rec                      AL CS Rec                              Communications, LLC   54th Floor
Comcast Dothan, AL CS    Comcast Dothan,    232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                         AL CS                                  Communications, LLC   54th Floor
Comcast Freedom          Comcast Freedom 232175755              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                                                                Communications, LLC   54th Floor
Comcast Freedom MDU      Comcast Freedom 232175755              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                         MDU                                    Communications, LLC   54th Floor
Comcast of Freedom Rec   Comcast of         232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                         Freedom Rec                            Communications, LLC   54th Floor
Comcast                  Comcast            232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Independence/Olathe      Independence/Olath                     Communications, LLC   54th Floor
                         e
Comcast Indepen/Olathe   Comcast            232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Rec                      Indepen/Olathe Rec                     Communications, LLC   54th Floor
Comcast Spotlight        Spotlight Southern 232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                         Division                               Communications, LLC   54th Floor




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                                                          493373
                                                                        Exhibit A
                                In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name        Transaction         Taxpayer ID (or    IRS Filing Name          Address              City            State     Postal Code
                           Division Name      Merchant ID, where
                                                   available)
Comcast Spotlight         COMCAST            232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
                          SPOTLIGHT                              Communications, LLC   54th Floor
                          WEST DIV
Comcast Spotlight         Spolight Eastern   232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
                          Division                               Communications, LLC   54th Floor
Comcast Spotlight NCD Spotlight North Cen 232175755              COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
                          Div                                    Communications, LLC   54th Floor
Comcast California Retail Comcast California 232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
POS                       Retail POS                             Communications, LLC   54th Floor
Comcast Allegheny CS      Comcast Allegheny 232175755            COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
1x                        CS 1x                                  Communications, LLC   54th Floor
Comcast Allegheny Rec Comcast Allegheny 232175755                COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
                          Rec                                    Communications, LLC   54th Floor
Comcast Chicago Retail Comcast Chicago 232175755                 COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
POS                       Retail POS                             Communications, LLC   54th Floor
Comcast Memphis Retail Comcast Memphis 232175755                 COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
POS                       Retail POS                             Communications, LLC   54th Floor
Comcast                   Comcast            232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
Nashua,NH(XF)Ret POS Nashua,NH(XF)Ret                            Communications, LLC   54th Floor
                          POS
Comcast Big South 1x      Comcast Big South 232175755            COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
                          1x                                     Communications, LLC   54th Floor
Comcast Big South Rec Comcast Big South 232175755                COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
                          Rec                                    Communications, LLC   54th Floor
Comcast                   Comcast            232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
Havertn,PA(XF)Ret POS Havertn,PA(XF)Ret                          Communications, LLC   54th Floor
                          POS
Comcast Atlanta, GA       Comcast Atlanta,   232175755           COMCAST Cable         1 Comcast Center Philadelphia       PA            19103
(Midtown)                 GA (Midtown)                           Communications, LLC   54th Floor
Comcast Enterprise        Comcast Enterprise 474306446           Comcast Enterprise    4400 Port Union Rd Hamilton         OH            45011
Services                  Services                               Services, LLC
Comcast Dade              Comcast Dade       232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
                                                                 Communications, LLC   54th Floor
Comcast Corporation      Comcast             232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
                         Corporation                             Communications, LLC   54th Floor
Comcast Portland, OR     Comcast Portland,   232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
(XF)                     OR (XF)                                 Communications, LLC   54th Floor




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                                                       493374
                                                                       Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name      Transaction         Taxpayer ID (or    IRS Filing Name          Address              City             State     Postal Code
                         Division Name      Merchant ID, where
                                                 available)
Comcast Hillsboro, OR   Comcast Hillsboro, 232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                    OR (XF)                                Communications, LLC   54th Floor
Comcast Vancouver-      Comcast Vancouver- 232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Mall, (XF)              Mall, (XF)                             Communications, LLC   54th Floor

Comcast - Beltway       Comcast - Beltway 232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Region 1x               Region 1x                              Communications, LLC   54th Floor
Comcast - Beltway       Comcast - Beltway 232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Region Rec              Region Rec                             Communications, LLC   54th Floor
Comcast Heartland CS 1x Comcast Heartland 232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                        CS 1x                                  Communications, LLC   54th Floor
Comcast Heartland CS    Comcast Heartland 232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Rec                     CS Rec                                 Communications, LLC   54th Floor
Comcast Augusta, GA     Comcast Augusta, 232175755             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                    GA (XF)                                Communications, LLC   54th Floor
Comcast Charleston, SC Comcast             232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                    Charleston, SC                         Communications, LLC   54th Floor
                        (XF)
Comcast Savannah - GA Comcast Savannah - 232175755             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                    GA (XF)                                Communications, LLC   54th Floor
Comcast Hinesville, GA Comcast Hinesville, 232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                    GA (XF)                                Communications, LLC   54th Floor
Comcast Alpharetta, GA Comcast             232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                    Alpharetta, GA                         Communications, LLC   54th Floor
                        (XF)
Comcast Acworth, GA     Comcast Acworth, 232175755             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                    GA (XF)                                Communications, LLC   54th Floor
Comcast Marietta, GA    Comcast Marietta, 232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                    GA (XF)                                Communications, LLC   54th Floor
Comcast Snellville, GA Comcast Snellville, 232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                    GA (XF)                                Communications, LLC   54th Floor
Comcast Atl, GA - Buck Comcast Atl, GA - 232175755             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                    Buck (XF)                              Communications, LLC   54th Floor
Comcast Little Rock, AR Comcast Little     232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                    Rock, AR (XF)                          Communications, LLC   54th Floor
Comcast Olive Branch,   Comcast Olive      232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
MS (XF)                 Branch, MS (XF)                        Communications, LLC   54th Floor




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                                                       493375
                                                                       Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name      Transaction        Taxpayer ID (or    IRS Filing Name           Address              City             State     Postal Code
                         Division Name     Merchant ID, where
                                                available)
Comcast Flowood, MS     Comcast Flowood,  232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
(XF)                    MS (XF)                               Communications, LLC    54th Floor
Comcast Hattiesburg, MS Comcast           232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
(XF)                    Hattiesburg, MS                       Communications, LLC    54th Floor
                        (XF)
Comcast Murfreesboro, Comcast              232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
TN (XF)                 Murfreesboro, TN                       Communications, LLC   54th Floor
                        (XF)
Comcast Cool Springs,   Comcast Cool       232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
TN (XF)                 Springs, TN (XF)                       Communications, LLC   54th Floor
Comcast Nashville, TN Comcast Nashville, 232175755             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                    TN (XF)                                Communications, LLC   54th Floor
Comcast Princeton, NJ   Comcast Princeton, 232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                    NJ (XF)                                Communications, LLC   54th Floor
Comcast Langhorne, PA Comcast              232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                    Langhorne, PA                          Communications, LLC   54th Floor
                        (XF)
Comcast Willow Grove, Comcast Willow       232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
PA (XF)                 Grove, PA (XF)                         Communications, LLC   54th Floor
Comcast RooseveltMall, Comcast             232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
PA (XF)                 RooseveltMall, PA                      Communications, LLC   54th Floor
                        (XF)
Comcast Aramingo, PA Comcast Aramingo, 232175755               COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                    PA (XF)                                Communications, LLC   54th Floor
Comcast Mt. Laurel, NJ Comcast Mt.         232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                    Laurel, NJ (XF)                        Communications, LLC   54th Floor
Comcast Columbus, PA Comcast Columbus, 232175755               COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                    PA (XF)                                Communications, LLC   54th Floor
Comcast Exton, PA (XF) Comcast Exton, PA 232175755             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                        (XF)                                   Communications, LLC   54th Floor
Comcast Wilmington, DE Comcast             232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                    Wilmington, DE                         Communications, LLC   54th Floor
                        (XF)
Comcast West Orange,    Comcast West       232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
NJ (XF)                 Orange, NJ (XF)                        Communications, LLC   54th Floor
Comcast Union, NJ (XF) Comcast Union, NJ 232175755             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                        (XF)                                   Communications, LLC   54th Floor




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                   Case 1:05-md-01720-MKB-JAM Document 8713-3 Filed 09/30/22 Page 13 of 414 PageID #:
                                                      493376
                                                                      Exhibit A
                              In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name      Transaction          Taxpayer ID (or    IRS Filing Name          Address              City            State     Postal Code
                        Division Name       Merchant ID, where
                                                 available)
Comcast Toms River, NJ Comcast Toms        232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
(XF)                   River, NJ (XF)                          Communications, LLC   54th Floor
Comcast Mays Landing, Comcast Mays         232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
NJ (XF)                Landing, NJ (XF)                        Communications, LLC   54th Floor
Comcast Rio Grande, NJ Comcast Rio         232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
(XF)                   Grande, NJ (XF)                         Communications, LLC   54th Floor
Comcast Pompano Beach, Comcast Pompano 232175755               COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
FL (XF)                Beach, FL (XF)                          Communications, LLC   54th Floor
Comcast Ft. Lauderdale Comcast Ft.         232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
(XF)                   Lauderdale (XF)                         Communications, LLC   54th Floor
Comcast Wellington, FL Comcast             232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
(XF)                   Wellington, FL                          Communications, LLC   54th Floor
Comcast Kendall, FL    Comcast Kendall, 232175755              COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
(XF)                   FL (XF)                                 Communications, LLC   54th Floor
Comcast Plantation, FL Comcast Plantation, 232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
(XF)                   FL (XF)                                 Communications, LLC   54th Floor
Comcast West Flagler,  Comcast West        232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
FL (XF)                Flagler, FL (XF)                        Communications, LLC   54th Floor
Comcast Naples North, Comcast Naples       232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
FL (XF)                North, FL (XF)                          Communications, LLC   54th Floor
Comcast Naples South, Comcast Naples       232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
FL (XF)                South, FL (XF)                          Communications, LLC   54th Floor
Comcast Ft. Myers, FL  Comcast Ft. Myers, 232175755            COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
(XF)                   FL (XF)                                 Communications, LLC   54th Floor
Comcast JAX West-S.    Comcast JAX West- 232175755             COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
Ortega(XF)             S. Ortega(XF)                           Communications, LLC   54th Floor
Comcast JAX North      Comcast JAX North 232175755             COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
River (XF)             River (XF)                              Communications, LLC   54th Floor
Comcast JAX E Pablo    Comcast JAX E       232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
Creek (XF)             Pablo Creek (XF)                        Communications, LLC   54th Floor
Comcast JAX S Claire   Comcast JAX S       232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
LN (XF)                Claire LN (XF)                          Communications, LLC   54th Floor
Comcast Cromwell, CT Comcast Cromwell, 232175755               COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
(XF)                   CT (XF)                                 Communications, LLC   54th Floor
Comcast Groton, CT     Comcast Groton,     232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
(XF)                   CT (XF)                                 Communications, LLC   54th Floor
Comcast North Haven,   Comcast North       232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
CT (XF)                Haven, CT (XF)                          Communications, LLC   54th Floor



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                                                           493377
                                                                        Exhibit A
                                In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name        Transaction       Taxpayer ID (or    IRS Filing Name           Address              City             State     Postal Code
                           Division Name    Merchant ID, where
                                                 available)
Comcast S Burlington,    Comcast S         232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
VT (XF)                  Burlington, VT                        Communications, LLC    54th Floor
                         (XF)
Comcast Waterbury, CT Comcast              232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                     Waterbury, CT                          Communications, LLC   54th Floor
                         (XF)
Comcast Danbury, CT      Comcast Danbury, 232175755             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                     CT (XF)                                Communications, LLC   54th Floor
Comcast Springfield, MA Comcast            232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                     Springfield, MA                        Communications, LLC   54th Floor
                         (XF)
Comcast West Hartford, Comcast West        232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
CT (XF)                  Hartford, CT (XF)                      Communications, LLC   54th Floor
Comcast OTR1, LLC        Comcast OTR1,     231709202            Comcast Holdings      1 Comcast Center   Philadelphia      PA            19103
                         LLC                                    Corporation           FL 32
Comcast Bradenton, FL Comcast Bradenton, 232175755              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                     FL (XF)                                Communications, LLC   54th Floor
Comcast Morton Grove, Comcast Morton       232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
IL (XF)                  Grove, IL (XF)                         Communications, LLC   54th Floor
Comcast Vernon Hills, IL Comcast Vernon    232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                     Hills, IL (XF)                         Communications, LLC   54th Floor
Comcast Crystal Lake, IL Comcast Crystal   232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                     Lake, IL (XF)                          Communications, LLC   54th Floor
Comcast Schaumburg, IL Comcast             232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                     Schaumburg, IL                         Communications, LLC   54th Floor
                         (XF)
Comcast Batavia, IL (XF) Comcast Batavia, 232175755             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                         IL (XF)                                Communications, LLC   54th Floor
Comcast Bolingbrook, IL Comcast            232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                     Bolingbrook, IL                        Communications, LLC   54th Floor
                         (XF)
Comcast Chicago IL -N Comcast Chicago IL 232175755              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Ave (XF)                 -N Ave (XF)                            Communications, LLC   54th Floor
Comcast East Peoria, IL Comcast East       232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                     Peoria, IL (XF)                        Communications, LLC   54th Floor
Comcast Oak Brook, IL Comcast Oak          232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                     Brook, IL (XF)                         Communications, LLC   54th Floor




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                                                       493378
                                                                       Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction       Taxpayer ID (or    IRS Filing Name           Address              City             State     Postal Code
                          Division Name    Merchant ID, where
                                                available)
Comcast Orland Park, IL Comcast Orland    232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
(XF)                     Park, IL (XF)                        Communications, LLC    54th Floor
Comcast Merrillville, IN Comcast          232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
(XF)                     Merrillville, IN                     Communications, LLC    54th Floor
Comcast Tupelo, MS       Comcast Tupelo,  232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
(XF)                     MS (XF)                              Communications, LLC    54th Floor
Comcast Midlothian, VA Comcast            232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
(XF)                     Midlothian, VA                       Communications, LLC    54th Floor
                         (XF)
Comcast Largo, MD -      Comcast Largo,     232175755          COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                     MD - (XF)                             Communications, LLC   54th Floor
Comcast Baltimore        Comcast Baltimore 232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Corp,MD (XF)             Corp,MD (XF)                          Communications, LLC   54th Floor
Comcast Frederick, MD Comcast Frederick, 232175755             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                     MD (XF)                               Communications, LLC   54th Floor
Comcast Silver Spring,   Comcast Silver     232175755          COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
MD (XF)                  Spring, MD (XF)                       Communications, LLC   54th Floor
Comcast BrooklaDC        Comcast            232175755          COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
RhodeRow(XF)             BrooklaDC                             Communications, LLC   54th Floor
                         RhodeRow(XF)
Comcast Jessup, MD       Comcast Jessup,    232175755          COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                     MD (XF)                               Communications, LLC   54th Floor
Comcast Severna Park,    Comcast Severna    232175755          COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
MD (XF)                  Park, MD (XF)                         Communications, LLC   54th Floor
Comcast Richmond         Comcast Richmond 232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
StaMil,VA(XF)            StaMil,VA(XF)                         Communications, LLC   54th Floor
Comcast Woodbridge,      Comcast            232175755          COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
VA (XF)                  Woodbridge, VA                        Communications, LLC   54th Floor
                         (XF)
Comcast WashingtonDC Comcast                232175755          COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
ClePk(XF)                WashingtonDC                          Communications, LLC   54th Floor
                         ClePk(XF)
Comcast St. Augustine, Comcast St.          232175755          COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
FL (XF)                  Augustine, FL (XF)                    Communications, LLC   54th Floor
Comcast Burlington, MA Comcast              232175755          COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                     Burlington, MA                        Communications, LLC   54th Floor
                         (XF)




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                                                       493379
                                                                       Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name      Transaction        Taxpayer ID (or    IRS Filing Name           Address              City             State     Postal Code
                         Division Name     Merchant ID, where
                                                available)
Comcast Somerville, MA Comcast            232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
(XF)                   Somerville, MA                         Communications, LLC    54th Floor
                       (XF)
Comcast Danvers, MA    Comcast Danvers, 232175755              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                   MA (XF)                                 Communications, LLC   54th Floor
Comcast Westford, MA Comcast Westford, 232175755               COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                   MA (XF)                                 Communications, LLC   54th Floor
Comcast Raynham, MA Comcast Raynham, 232175755                 COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                   MA (XF)                                 Communications, LLC   54th Floor
Comcast New Bedford, Comcast New           232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
MA (XF)                Bedford, MA (XF)                        Communications, LLC   54th Floor
Comcast Mansfield, MA Comcast Mansfield, 232175755             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                   MA (XF)                                 Communications, LLC   54th Floor
Comcast Newton, MA     Comcast Newton, 232175755               COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                   MA (XF)                                 Communications, LLC   54th Floor
Comcast Pittsburgh-    Comcast Pittsburgh- 232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
McCandl(XF)            McCandl(XF)                             Communications, LLC   54th Floor
Comcast York, PA (XF) Comcast York, PA 232175755               COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                       (XF)                                    Communications, LLC   54th Floor
Comcast Lancaster, PA Comcast Lancaster, 232175755             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                   PA (XF)                                 Communications, LLC   54th Floor
Comcast Reading, PA    Comcast Reading, 232175755              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                   PA (XF)                                 Communications, LLC   54th Floor
Comcast Washington, PA Comcast             232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                   Washington, PA                          Communications, LLC   54th Floor
                       (XF)
Comcast Morgantown,    Comcast             232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
WV (XF)                Morgantown, WV                          Communications, LLC   54th Floor
                       (XF)
Comcast Dickson City,  Comcast Dickson 232175755               COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
PA (XF)                City, PA (XF)                           Communications, LLC   54th Floor
Comcast Arlington VA   Comcast Arlington 232175755             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
XF                     VA XF                                   Communications, LLC   54th Floor
Comcast Greensburg, PA Comcast             232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                       Greensburg, PA                          Communications, LLC   54th Floor
Comcast Tuscaloosa AL Comcast              232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                   Tuscaloosa AL                           Communications, LLC   54th Floor
                       (XF)



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                                                       493380
                                                                        Exhibit A
                              In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name       Transaction         Taxpayer ID (or      IRS Filing Name          Address              City          State     Postal Code
                         Division Name      Merchant ID, where
                                                 available)
Comcast Fresno CA (XF) Comcast Fresno CA 232175755               COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
KC                       (XF) KC                                 Communications, LLC   54th Floor
Comcast Tracy, CA (XF) Comcast Tracy, CA 232175755               COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
                         (XF)                                    Communications, LLC   54th Floor
Comcast Delray Beach     Comcast Delray    232175755             COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
FL (XF)                  Beach FL (XF)                           Communications, LLC   54th Floor
Comcast Brentwood, CA Comcast              232175755             COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
(XF)                     Brentwood, CA                           Communications, LLC   54th Floor
                         (XF)
Comcast Tallahassee FL Comcast             232175755             COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
(XF)                     Tallahassee FL                          Communications, LLC   54th Floor
                         (XF)
Comcast Venice FL (XF) Comcast Venice FL 232175755               COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
                         (XF)                                    Communications, LLC   54th Floor
Comcast East Harrisburg, Comcast East      232175755             COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
PA                       Harrisburg, PA                          Communications, LLC   54th Floor
Comcast Joliet, IL (XF) Comcast Joliet, IL 232175755             COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
                         (XF)                                    Communications, LLC   54th Floor
Comcast Flint, MI (XF) Comcast Flint, MI 232175755               COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
                         (XF)                                    Communications, LLC   54th Floor
Comcast College Park,    Comcast College   232175755             COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
MD (XF)                  Park, MD (XF)                           Communications, LLC   54th Floor
Comcast Tidwell, TX      Comcast Tidwell, 232175755              COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
(XF)                     TX (XF)                                 Communications, LLC   54th Floor
Comcast Alexandria, VA Comcast             232175755             COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
(XF)                     Alexandria, VA                          Communications, LLC   54th Floor
                         (XF)
Comcast Bellingham,      Comcast           232175755             COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
WA (XF)                  Bellingham, WA                          Communications, LLC   54th Floor
                         (XF)
Comcast Owings Mills, Comcast Owings       232175755             COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
MD (XF)                  Mills, MD (XF)                          Communications, LLC   54th Floor
Comcast Dover, DE (XF) Comcast Dover, DE 232175755               COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
                         (XF)                                    Communications, LLC   54th Floor
Comcast Framingham,      Comcast           232175755             COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
MA (XF)                  Framingham, MA                          Communications, LLC   54th Floor
                         (XF)




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                     Case 1:05-md-01720-MKB-JAM Document 8713-3 Filed 09/30/22 Page 18 of 414 PageID #:
                                                        493381
                                                                       Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction       Taxpayer ID (or    IRS Filing Name           Address              City             State     Postal Code
                          Division Name    Merchant ID, where
                                                available)
Comcast King of Prussia  Comcast King of  232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
PA XF                    Prussia PA XF                        Communications, LLC    54th Floor
Comcast Lowell, MA       Comcast Lowell,  232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
(XF)                     MA (XF)                              Communications, LLC    54th Floor
Comcast Lynnwood, WA     Comcast          232175755           COMCAST Cable          1 Comcast Center   Philadelphia      PA            19103
(XF)                     Lynnwood, WA                         Communications, LLC    54th Floor
                         (XF)
Comcast Spokane, WA      Comcast Spokane, 232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                     WA (XF)                               Communications, LLC   54th Floor
Comcast Charlottesville Comcast             232175755          COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
VA XF                    Charlottesville VA                    Communications, LLC   54th Floor
                         XF
Comcast Salem, MA        Comcast Salem,     232175755          COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                     MA (XF)                               Communications, LLC   54th Floor
Comcast Alburque NM Comcast Alburque 232175755                 COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                     NM (XF)                               Communications, LLC   54th Floor
Comcast Tucson River     Comcast Tucson     232175755          COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
AZ (XF)                  River AZ (XF)                         Communications, LLC   54th Floor
Comcast Draper UT (XF) Comcast Draper UT 232175755             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                         (XF)                                  Communications, LLC   54th Floor
Comcast Independence, Comcast               232175755          COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
MO (XF)                  Independence, MO                      Communications, LLC   54th Floor
                         (XF)
Comcast St. Paul, MN     Comcast St. Paul, 232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                     MN (XF)                               Communications, LLC   54th Floor
Comcast Grand Rap Est, Comcast Grand Rap 232175755             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
MI (XF)                  Est, MI (XF)                          Communications, LLC   54th Floor
Comcast Greenwood, IN Comcast               232175755          COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                     Greenwood, IN                         Communications, LLC   54th Floor
                         (XF)
Comcast Indianapolis, IN Comcast            232175755          COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
(XF)                     Indianapolis, IN                      Communications, LLC   54th Floor
                         (XF)
Comcast Troy, MI (XF) Comcast Troy, MI 232175755               COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                         (XF)                                  Communications, LLC   54th Floor
Comcast                  Comcast            232175755          COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Detroit(XF)WWardAve Detroit(XF)WWard                           Communications, LLC   54th Floor
                         Ave



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                                                         493382
                                                                         Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction         Taxpayer ID (or      IRS Filing Name          Address              City          State     Postal Code
                          Division Name      Merchant ID, where
                                                  available)
Comcast Plymouth, MI     Comcast Plymouth, 232175755              COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
(XF)                     MI (XF)                                  Communications, LLC   54th Floor
Comcast Macomb, MI       Comcast Macomb, 232175755                COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
(XF)                     MI (XF)                                  Communications, LLC   54th Floor
Comcast Jackson, MI      Comcast Jackson, 232175755               COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
(XF)                     MI (XF)                                  Communications, LLC   54th Floor
Comcast Sterling Heights Comcast Sterling   232175755             COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
(XF)                     Heights (XF)                             Communications, LLC   54th Floor
Comcast Rochester        Comcast Rochester 232175755              COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
Hills(XF)                Hills(XF)                                Communications, LLC   54th Floor
Comcast Cherry Hill, NJ Comcast Cherry      232175755             COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
(XF)                     Hill, NJ (XF)                            Communications, LLC   54th Floor
Comcast Centennial, CO Comcast              232175755             COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
(XF)                     Centennial, CO                           Communications, LLC   54th Floor
                         (XF)
Comcast Cable Comm       Comcast Cable      232175755             COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
LLC                      Comm LLC                                 Communications, LLC   54th Floor
Comcast Cable Comm       Comcast Cable      232175755             COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
LLC                      Comm LLC                                 Communications, LLC   54th Floor
Comcast Fredericksburg Comcast              232175755             COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
VA XF                    Fredricksburg VA                         Communications, LLC   54th Floor
                         XF
Comcast Bloomington, IN Comcast             232175755             COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
(XF)                     Bloomington, IN                          Communications, LLC   54th Floor
                         (XF)
Comcast Lakeview, IL     Comcast Lakeview, 232175755              COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
(XF)                     IL (XF)                                  Communications, LLC   54th Floor
Comcast Aurora, CO       Comcast Aurora,    232175755             COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
(XF)                     CO (XF)                                  Communications, LLC   54th Floor
Comcast Cable            COMCAST Cable 232175755                  COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
Communications           Communications                           Communications, LLC   54th Floor
Comcast Florida 1x       Comcast Florida 1x 232175755             COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
                                                                  Communications, LLC   54th Floor
Comcast Florida Rec     Comcast Florida   232175755               COMCAST Cable         1 Comcast Center   Philadelphia   PA            19103
                        Rec                                       Communications, LLC   54th Floor
Comcast OTR1, LLC       Comcast OTR1,     231709202               Comcast Holdings      1 Comcast Center   Philadelphia   PA            19103
                        LLC                                       Corporation           FL 32




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                                                      493383
                                                                      Exhibit A
                              In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name      Transaction          Taxpayer ID (or     IRS Filing Name         Address              City            State     Postal Code
                        Division Name       Merchant ID, where
                                                 available)
Comcast Cable             Comcast Cable    232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
Communications            Communications                       Communications, LLC   54th Floor
Comcast Cable             Comcast Cable    232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
Communications            Communications                       Communications, LLC   54th Floor
Comcast Business          Comcast Business 232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
Services 1x               Services 1x                          Communications, LLC   54th Floor
Comcast Business          Comcast Business 232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
Services Rec              Services Rec                         Communications, LLC   54th Floor
Comcast Cable             Comcast Cable    232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
Communications            Communications                       Communications, LLC   54th Floor
Xfinity Prepaid Recurring Xfinity Prepaid  232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
                          Recurring                            Communications, LLC   54th Floor
Comcast OTR1, LLC Rec Comcast OTR1,        231709202           Comcast Holdings      1 Comcast Center   Philadelphia     PA            19103
                          LLC Rec                              Corporation           FL 32
Comcast OTR1, LLC 1x Comcast OTR1,         231709202           Comcast Holdings      1 Comcast Center   Philadelphia     PA            19103
                          LLC 1x                               Corporation           FL 32
Comcast Cable - 8344      Comcast Cable -  232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
                          8344                                 Communications, LLC   54th Floor
Comcast Cable - 8344rec Comcast Cable -    232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
                          8344rec                              Communications, LLC   54th Floor
Comcast Beltway Region Comcast Beltway 232175755               COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
                          Region                               Communications, LLC   54th Floor
COMCAST Spotlight         COMCAST          232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
                          Spotlight                            Communications, LLC   54th Floor
COMCAST OTR1, LLC COMCAST OTR1, 231709202                      Comcast Holdings      1 Comcast Center   Philadelphia     PA            19103
Bus Rec                   LLC Bus Rec                          Corporation           FL 32
COMCAST Cable Comm COMCAST Cable 232175755                     COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
LLC                       Comm LLC                             Communications, LLC   54th Floor
COMCAST OTR1, LLC COMCAST OTR1, 231709202                      Comcast Holdings      1 Comcast Center   Philadelphia     PA            19103
Bus 1x                    LLC BUS 1X                           Corporation           FL 32
Comcast Cable             Comcast Cable    232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
Communications            Communications                       Communications, LLC   54th Floor
Comcast Beltway           Comcast Beltway 232175755            COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
                                                               Communications, LLC   54th Floor
Comcast Freedom           Comcast Freedom 232175755            COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
                                                               Communications, LLC   54th Floor
Comcast Greater Boston Comcast Greater     232175755           COMCAST Cable         1 Comcast Center   Philadelphia     PA            19103
                          Boston                               Communications, LLC   54th Floor



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                                                      493384
                                                                     Exhibit A
                             In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name      Transaction        Taxpayer ID (or    IRS Filing Name          Address              City             State     Postal Code
                        Division Name     Merchant ID, where
                                               available)
Comcast Keystone      Comcast Keystone 232175755             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                                                             Communications, LLC   54th Floor
Comcast Western New   Comcast Western 232175755              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
England               New England                            Communications, LLC   54th Floor
Comcast Big South     Comcast Big South 232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                                                             Communications, LLC   54th Floor
Comcast Chicago       Comcast Chicago 232175755              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                                                             Communications, LLC   54th Floor
Comcast Florida       Comcast Florida    232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                                                             Communications, LLC   54th Floor
Comcast Heartland     Comcast Heartland 232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                                                             Communications, LLC   54th Floor
Comcast California    Comcast California 232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                                                             Communications, LLC   54th Floor
Comcast Houston       Comcast Houston 232175755              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                                                             Communications, LLC   54th Floor
Comcast Mountain West Comcast Mountain 232175755             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                      West                                   Communications, LLC   54th Floor
Comcast Portland      Comcast Portland 232175755             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                                                             Communications, LLC   54th Floor
Comcast Seattle       Comcast Seattle    232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                                                             Communications, LLC   54th Floor
Comcast Twin Cities   Comcast Twin       232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                      Cities                                 Communications, LLC   54th Floor
Comcast Beltway       Comcast Beltway 232175755              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Recurring             Recurring                              Communications, LLC   54th Floor
Comcast Freedom       Comcast Freedom 232175755              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Recurring             Recurring                              Communications, LLC   54th Floor
Comcast Gtr Boston    Comcast Gtr Boston 232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Recurring             Recurring                              Communications, LLC   54th Floor
Comcast Keystone      Comcast Keystone 232175755             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Recurring             Recurring                              Communications, LLC   54th Floor
Comcast Western N     Comcast Western N 232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
England Rec           England Rec                            Communications, LLC   54th Floor
Comcast Big South     Comcast Big South 232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Recurring             Recurring                              Communications, LLC   54th Floor
Comcast Chicago       Comcast Chicago 232175755              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Recurring             Recurring                              Communications, LLC   54th Floor



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                                                          493385
                                                                        Exhibit A
                                In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction         Taxpayer ID (or    IRS Filing Name          Address              City             State     Postal Code
                          Division Name      Merchant ID, where
                                                  available)
Comcast Florida          Comcast Florida    232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Recurring                Recurring                              Communications, LLC   54th Floor
Comcast Heartland        Comcast Heartland 232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Recurring                Recurring                              Communications, LLC   54th Floor
Comcast California       Comcast California 232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Recurring                Recurring                              Communications, LLC   54th Floor
Comcast Houston          Comcast Houston 232175755              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Recurring                Recurring                              Communications, LLC   54th Floor
Comcast Mountain W       Comcast Mountain 232175755             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Recurring                W Recurring                            Communications, LLC   54th Floor
Comcast Portland         Comcast Portland 232175755             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Recurring                Recurring                              Communications, LLC   54th Floor
Comcast Seattle          Comcast Seattle    232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Recurring                Recurring                              Communications, LLC   54th Floor
Comcast Twin Cities      Comcast Twin       232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Recurring                Cities Recurring                       Communications, LLC   54th Floor
Comcast Cable            Comcast Cable      232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Communications           Communications                         Communications, LLC   54th Floor
Comcast Broward          Comcast Broward 232175755              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                                                                Communications, LLC   54th Floor
Comcast St. Paul         Comcast St. Paul   232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                                                                Communications, LLC   54th Floor
Comcast Jacksonville     Comcast            232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                         Jacksonville                           Communications, LLC   54th Floor
Comcast Boston           Comcast Boston     232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                                                                Communications, LLC   54th Floor
Comcast Spotlight        Comcast Spotlight 232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Jacksonville             Jacksonville                           Communications, LLC   54th Floor
Comcast Atlanta          Comcast Atlanta    232175755           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                                                                Communications, LLC   54th Floor
Comcast Spotlight        Comcast Spotlight 232175755            COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Atlanta                  Atlanta                                Communications, LLC   54th Floor
Comcast Portland         Comcast Portland 232175755             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                                                                Communications, LLC   54th Floor
Comcast Corporation      other              270000798           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                                                                Communications, LLC   54th Floor
Comcast Cable            other              232084784           COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                                                                Communications, LLC   54th Floor



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                                                           493386
                                                                          Exhibit A
                                  In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name         Transaction         Taxpayer ID (or     IRS Filing Name         Address               City            State     Postal Code
                            Division Name      Merchant ID, where
                                                    available)
Comcast Cable             other               311063218           COMCAST Cable         1 Comcast Center    Philadelphia     PA            19103
                                                                  Communications, LLC   54th Floor
Comcast Cable Holdings Comcast Cable          841260157           COMCAST Cable         1 Comcast Center    Philadelphia     PA            19103
                       Holdings                                   Communications, LLC   54th Floor
Comcast Commercial     Comcast                233067577           COMCAST Cable         1 Comcast Center    Philadelphia     PA            19103
                       Commercial                                 Communications, LLC   54th Floor
Comcast Business       Comcast Business       232736203           COMCAST Cable         1 Comcast Center    Philadelphia     PA            19103
                                                                  Communications, LLC   54th Floor
Comcast Business          Comcast Business    455571143           COMCAST Cable         1 Comcast Center    Philadelphia     PA            19103
                                                                  Communications, LLC   54th Floor
Comcast Business          Comcast Business    272236548           COMCAST Cable         1 Comcast Center    Philadelphia     PA            19103
                                                                  Communications, LLC   54th Floor
Comcast Spotlight         Comcast Spotlight   820552488           COMCAST Cable         1 Comcast Center    Philadelphia     PA            19103
                                                                  Communications, LLC   54th Floor
GolfNow - Euro            GolfNow - Euro      274684487           Golfnow, LLC          7580 Commerce       Orlando          FL            32819
                                                                                        Center Dr
GolfNow - GBP             GolfNow - GBP       274684487           Golfnow, LLC          7580 Commerce       Orlando          FL            32819
                                                                                        Center Dr
Golf Channel - Amateur    Golf Channel -      274683126           TGC, LLC              7580 Commerce       Orlando          FL            32819
Tour                      Amateur Tour                                                  Center Drive
GolfNow - Deal Caddy      GolfNow - Deal      274684487           Golfnow, LLC          7580 Commerce       Orlando          FL            32819
                          Caddy                                                         Center Dr
GolfNow Enterprises,      GolfNow             BC0884645           GOLFNOW               1080 Mainland       Vancouver        BC            V6B2T4
Inc.                      Enterprises, Inc.                       ENTERPRISES INC       Street, Suite 412
GolfNow Enterprises -     GolfNow             BC0884645           GOLFNOW               1080 Mainland       Vancouver        BC            V6B2T4
Deal Caddy                Enterprises-Deal                        ENTERPRISES INC       Street, Suite 412
                          Caddy
Deal Caddy - GBP          Deal Caddy - GBP    274684487           Golfnow, LLC          7580 Commerce       Orlando          FL            32819
                                                                                        Center Dr
Deal Caddy - EUR          Deal Caddy - EUR 274684487              Golfnow, LLC          7580 Commerce       Orlando          FL            32819
                                                                                        Center Dr
GolfNow - CZK             GolfNow - CZK       274684487           Golfnow, LLC          7580 Commerce       Orlando          FL            32819
                                                                                        Center Dr
Canadian Amateur Tour     Canadian Amateur BC0884645              GOLFNOW               1080 Mainland       Vancouver        BC            V6B2T4
                          Tour                                    ENTERPRISES INC       Street, Suite 412
TGC, LLC-World Long       TGC, LLC-World 274683126                TGC, LLC              7580 Commerce       Orlando          FL            32819
Drive                     Long Drive                                                    Center Drive




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                                                      493387
                                                                     Exhibit A
                             In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name           Address               City           State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
GolfNow, LLC          GolfNow, LLC      274684487           Golfnow, LLC             7580 Commerce     Orlando          FL            32819
                                                                                     Center Dr
GolfNow, LLC          GolfNow, LLC      274684487            Golfnow, LLC            7580 Commerce     Orlando          FL            32819
                                                                                     Center Dr
GolfNow LLC           GolfNow, LLC      274684487            Golfnow, LLC            7580 Commerce     Orlando          FL            32819
                                                                                     Center Dr
Golf Channel -         Golf Channel -   274683126            TGC, LLC                7580 Commerce     Orlando          FL            32819
Revolution Golf        Revolution Golf                                               Center Drive
PPLCenter/NewEraTicket PPLCenter/NewEra 470911650            Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
                       Ticket                                New Era Tickets         Ste 200
AUG ENT                AUG ENT          470911650            Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
COMPLEX/NE TIX         COMPLEX/NE                            New Era Tickets         Ste 200
                       TIX
BORGATA/COMCAST BORGATA/COMC 470911650                       Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
TIX                    AST TIX                               New Era Tickets         Ste 200
BUD                    BUD              470911650            Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
EVENTS/COMCAST         EVENTS/COMCA                          New Era Tickets         Ste 200
TIX                    ST TIX
COLONIALARENA/USC COLONIALAREN 470911650                     Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
AIKEN                  A/USCAIKEN                            New Era Tickets         Ste 200
COMCAST                COMCAST          470911650            Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
ARENA/NEW ERA          ARENA/NEW ERA                         New Era Tickets         Ste 200

COMCAST TIX           COMCAST TIX       470911650            Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
                                                             New Era Tickets         Ste 200
ENID EVENT CENTER ENID EVENT            470911650            Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
                  CENTER                                     New Era Tickets         Ste 200
FARGODOME         FARGODOME             470911650            Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
NEWERA TICKETS    NEWERA                                     New Era Tickets         Ste 200
                  TICKETS
GLENS FALLS CIVIC GLENS FALLS           470911650            Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
CENTER            CIVIC CENTER                               New Era Tickets         Ste 200
IOWA EVENTS       IOWA EVENTS           470911650            Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
CNT/NEW ERA       CNT/NEW ERA                                New Era Tickets         Ste 200
LEHIGH UNIVERSITY LEHIGH                470911650            Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
                  UNIVERSITY                                 New Era Tickets         Ste 200




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                                                     493388
                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction     Taxpayer ID (or     IRS Filing Name            Address           City                State     Postal Code
                       Division Name  Merchant ID, where
                                           available)
LIACOURAS             LIACOURAS      470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton               PA            19341
CTR/COMCAST TI        CTR/COMCAST TI                     New Era Tickets         Ste 200

MB CC & COLONY    MB CC &       470911650                   Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
THEATRE           COLONY                                    New Era Tickets         Ste 200
                  THEATRE
PHILA             PHILA         470911650                   Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
UNION/COMCAST TIX UNION/COMCAS                              New Era Tickets         Ste 200
                  T TIX
POCONO RACEWAY    POCONO        470911650                   Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
TICKETS           RACEWAY                                   New Era Tickets         Ste 200
                  TICKETS
PORTLAND TIMBERS PORTLAND       470911650                   Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
                  TIMBERS                                   New Era Tickets         Ste 200
PUEBLO            PUEBLO        470911650                   Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
CONVENTION        CONVENTION                                New Era Tickets         Ste 200
CENTER            CENTER
RALSTON ARENA     RALSTON ARENA 470911650                   Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
                                                            New Era Tickets         Ste 200
THE BERGLUND          THE BERGLUND 470911650                Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
CENTER                CENTER                                New Era Tickets         Ste 200
RYAN CENTER           RYAN CENTER  470911650                Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
                                                            New Era Tickets         Ste 200
SALINABICENTENNIA SALINABICENTE 470911650                   Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
L CTR             NNIAL CTR                                 New Era Tickets         Ste 200
SASTARCENTER/NEW SASTARCENTER/ 470911650                    Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
ERATIX            NEWERATIX                                 New Era Tickets         Ste 200
SEARS CENTRE/NEW SEARS          470911650                   Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
ERA TKS           CENTRE/NEW                                New Era Tickets         Ste 200
                  ERA TKS
ST JOSEPH'S       ST JOSEPH'S   470911650                   Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
ATHLETICS         ATHLETICS                                 New Era Tickets         Ste 200
CURE ARENA        CURE ARENA    470911650                   Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
                                                            New Era Tickets         Ste 200
TSONGAS ARENANEW TSONGAS      470911650                     Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
ERA TKS          ARENANEW ERA                               New Era Tickets         Ste 200
                 TKS




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 Business Unit Name       Transaction       Taxpayer ID (or     IRS Filing Name            Address            City             State     Postal Code
                         Division Name    Merchant ID, where
                                               available)
YNOTTIX/NEW ERA        YNOTTIX/NEW       470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton             PA            19341
TICKETS                ERA TICKETS                           New Era Tickets         Ste 200
PCPA/NEWERA            PCPA/NEWERA       470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton             PA            19341
TICKETS                TICKETS                               New Era Tickets         Ste 200
WELLSFARGOCTRCO WELLSFARGOCT 470911650                       Patron Solutions LP dba 930 E Lincoln Hwy Exton             PA            19341
MCASTTIX               RCOMCASTTIX                           New Era Tickets         Ste 200
PHIL                   PHIL              233065113           Philadelphia Flyers LP 3601 South Broad Philadelphia        PA            19148
FLYER/COMCAST TIX FLYER/COMCAS                                                       St
                       T TIX
WELLS FARGO            WELLS FARGO       232091275           Spectrum Arena LP       3601 South Broad Philadelphia       PA            19148
CENTER PS              CENTER PS                                                     St
WELLS FARGO            WELLS FARGO       232091275           Spectrum Arena LP       3601 South Broad Philadelphia       PA            19148
CENTER PSRV            CENTER PSRV                                                   St
WELLS FARGO            WELLS FARGO       232091275           Spectrum Arena LP       3601 South Broad Philadelphia       PA            19148
CENTER/SAL             CENTER/SAL                                                    St
XL CENTER              XL CENTER         470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton             PA            19341
                                                             New Era Tickets         Ste 200
UNIVALASKA/NewEraT UNIVALASKA/Ne 470911650                   Patron Solutions LP dba 930 E Lincoln Hwy Exton             PA            19341
ick                    wEraTick                              New Era Tickets         Ste 200
Comcast Charities      Comcast Charities 232513233           Comcast Spectacor       3601 S Broad St   Philadelphia      PA            19148
                                                             Foundation
Encana Events Centre   Encana Events     470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton             PA            19341
                       Centre                                New Era Tickets         Ste 200
Essar Centre           Essar Centre      470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton             PA            19341
                                                             New Era Tickets         Ste 200
GMC Centre             GMC Centre        470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton             PA            19341
                                                             New Era Tickets         Ste 200
South Okanagan Event   South Okanagan    470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton             PA            19341
Centre                 Event Centre                          New Era Tickets         Ste 200
WFCU Centre            WFCU Centre       470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton             PA            19341
                                                             New Era Tickets         Ste 200
Sixers/New Era Tickets Sixers/New Era    470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton             PA            19341
                       Tickets                               New Era Tickets         Ste 200
SixersCamp/New Era     SixersCamp/New 470911650              Patron Solutions LP dba 930 E Lincoln Hwy Exton             PA            19341
Tickets                Era Tickets                           New Era Tickets         Ste 200
SixersSales/New Era    SixersSales/New   470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton             PA            19341
Tickets                Era Tickets                           New Era Tickets         Ste 200




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  Business Unit Name       Transaction        Taxpayer ID (or       IRS Filing Name          Address                City        State     Postal Code
                          Division Name     Merchant ID, where
                                                 available)
DonaldLTuckerCivicCtr DonaldLTuckerCivi 470911650                Patron Solutions LP dba 930 E Lincoln Hwy Exton           PA           19341
                       cCtr                                      New Era Tickets         Ste 200
BASIS                  BASIS               470911650             Patron Solutions LP dba 930 E Lincoln Hwy Exton           PA           19341
ENTERTAINMENT/SPE ENTERTAINMEN                                   New Era Tickets         Ste 200
CTRA                   T/SPECTRA
Wellsfargoctrvillanova Wellsfargoctrvillan 470911650             Patron Solutions LP dba 930 E Lincoln Hwy Exton           PA           19341
                       ova                                       New Era Tickets         Ste 200
ElectricFactoryCncrt   ElectricFactoryCncr 470911650             Patron Solutions LP dba 930 E Lincoln Hwy Exton           PA           19341
                       t                                         New Era Tickets         Ste 200
ED SNIDER YOUTH        ED SNIDER           470911650             Patron Solutions LP dba 930 E Lincoln Hwy Exton           PA           19341
HOCKEY                 YOUTH HOCKEY                              New Era Tickets         Ste 200

BankUnited Center       BankUnited Center 470911650              Patron Solutions LP dba 930 E Lincoln Hwy Exton           PA           19341
                                                                 New Era Tickets         Ste 200
Utica Memorial          Utica Memorial      470911650            Patron Solutions LP dba 930 E Lincoln Hwy Exton           PA           19341
Auditorium              Auditorium                               New Era Tickets         Ste 200
Crown Complex           Crown Complex       470911650            Patron Solutions LP dba 930 E Lincoln Hwy Exton           PA           19341
                                                                 New Era Tickets         Ste 200
Owensboro Convention    Owensboro         470911650              Patron Solutions LP dba 930 E Lincoln Hwy Exton           PA           19341
Center                  Convention Center                        New Era Tickets         Ste 200
Budweiser Gardens       Budweiser Gardens 861761138RT0001        Global Spectrum         450 Talbot Street London          ON           N6A 4K3
                                                                 Facility Management,
Budweiser Gardens       London Knights      861761138RT0001      Global Spectrum         450 Talbot Street London          ON           N6A 4K3
                                                                 Facility Management,
Muskogee Civic Center   Muskogee Civic      470911650            Patron Solutions LP dba 930 E Lincoln Hwy Exton           PA           19341
                        Center                                   New Era Tickets         Ste 200
Krannert Center         Krannert Center     470911650            Patron Solutions LP dba 930 E Lincoln Hwy Exton           PA           19341
                                                                 New Era Tickets         Ste 200
MacDonald Island Park   MacDonald Island    470911650            Patron Solutions LP dba 930 E Lincoln Hwy Exton           PA           19341
                        Park                                     New Era Tickets         Ste 200
Ford Idaho Center       Ford Idaho Center   470911650            Patron Solutions LP dba 930 E Lincoln Hwy Exton           PA           19341
                                                                 New Era Tickets         Ste 200
Lea County Event Center Lea County Event    470911650            Patron Solutions LP dba 930 E Lincoln Hwy Exton           PA           19341
                        Center                                   New Era Tickets         Ste 200
WELLS FARGO CTR         WELLS FARGO         470911650            Patron Solutions LP dba 930 E Lincoln Hwy Exton           PA           19341
TICKETS                 CTR TICKETS                              New Era Tickets         Ste 200
Mattamy Athletic Centre Mattamy Athletic    470911650            Patron Solutions LP dba 930 E Lincoln Hwy Exton           PA           19341
                        Centre                                   New Era Tickets         Ste 200



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 Business Unit Name       Transaction          Taxpayer ID (or     IRS Filing Name            Address           City           State     Postal Code
                         Division Name       Merchant ID, where
                                                  available)
CentrepointeTheatres/She CentrepointeTheatr 470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton          PA            19341
nkman                    es/Shenkman                            New Era Tickets         Ste 200
Sixers/New Era Tickets Sixers               470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton          PA            19341
                                                                New Era Tickets         Ste 200
MassMutual Center        MassMutual Center 470911650            Patron Solutions LP dba 930 E Lincoln Hwy Exton          PA            19341
                                                                New Era Tickets         Ste 200
Thunderbirds             Thunderbirds       470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton          PA            19341
                                                                New Era Tickets         Ste 200
Keystone Centre          Keystone Centre    470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton          PA            19341
                                                                New Era Tickets         Ste 200
Flyers/LearnToPlay       Flyers/LearnToPlay 470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton          PA            19341
                                                                New Era Tickets         Ste 200
Sixers/New Era Tickets Sixers2              470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton          PA            19341
                                                                New Era Tickets         Ste 200
Sixers/New Era Tickets Sixers2              470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton          PA            19341
                                                                New Era Tickets         Ste 200
WESTERNER                WESTERNER          470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton          PA            19341
PARK/REBELS              PARK/REBELS                            New Era Tickets         Ste 200
EVENTS                   EVENTS
TICKETS NORTH            TICKETS NORTH 470911650                Patron Solutions LP dba 930 E Lincoln Hwy Exton          PA            19341
                                                                New Era Tickets         Ste 200
Mullins Center/UMass     Mullins            470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton          PA            19341
                         Center/UMass                           New Era Tickets         Ste 200
0065 Orlando City Soccer 0065 Orlando City 233035417            Ovations Food Services, 18228 US Highway Lutz            FL            33549
                         Soccer                                 L.P                     41 North
UW HUSKY TICKET          UW HUSKY           470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton          PA            19341
OFFICE                   TICKET OFFICE                          New Era Tickets         Ste 200
CASPER EVENTS            CASPER EVENTS 470911650                Patron Solutions LP dba 930 E Lincoln Hwy Exton          PA            19341
CENTER                   CENTER                                 New Era Tickets         Ste 200
TICKETSWEST CO           TICKETSWEST        470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton          PA            19341
                         CO                                     New Era Tickets         Ste 200
TICKETSWEST OR           TICKETSWEST        470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton          PA            19341
                         OR                                     New Era Tickets         Ste 200
TicketsWest TWMSU        TicketsWest        470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton          PA            19341
MT                       TWMSU MT                               New Era Tickets         Ste 200
TICKETSWEST WA           TICKETSWEST        470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton          PA            19341
                         WA                                     New Era Tickets         Ste 200




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 Business Unit Name      Transaction    Taxpayer ID (or     IRS Filing Name            Address           City                 State     Postal Code
                        Division Name Merchant ID, where
                                           available)
CSU WOLSTEIN          CSU WOLSTEIN 470911650             Patron Solutions LP dba 930 E Lincoln Hwy Exton                PA            19341
CENTER                CENTER                             New Era Tickets         Ste 200
FLYERS - MAINE        FLYERS - MAINE 470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton                PA            19341
MARINERS              MARINERS                           New Era Tickets         Ste 200
FLYERS/NEW ERA        PHILADELPHIA 470911650             Patron Solutions LP dba 930 E Lincoln Hwy Exton                PA            19341
TICKETS               WINGS                              New Era Tickets         Ste 200
SANDY SPRINGS PFA- SANDY SPRINGS 470911650               Patron Solutions LP dba 930 E Lincoln Hwy Exton                PA            19341
PAC                   PFA-PAC                            New Era Tickets         Ste 200
SIOUX CITY            SIOUX CITY     470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton                PA            19341
                                                         New Era Tickets         Ste 200
NORTH TEXAS           NORTH TEXAS    470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton                PA            19341
                                                         New Era Tickets         Ste 200
XAVIER                XAVIER         470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton                PA            19341
                                                         New Era Tickets         Ste 200
TEXAS A&M             TEXAS A&M      470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton                PA            19341
                                                         New Era Tickets         Ste 200
CITY OF BATHURST - CITY OF           470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton                PA            19341
KC                    BATHURST - KC                      New Era Tickets         Ste 200
NCSU                  NCSU           470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton                PA            19341
                                                         New Era Tickets         Ste 200
TicketsWest TA        TicketsWest TA 470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton                PA            19341
                                                         New Era Tickets         Ste 200
TW-BLFC               TW-BLFC        470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton                PA            19341
                                                         New Era Tickets         Ste 200
KSU ECHECK            KSU ECHECK     470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton                PA            19341
                                                         New Era Tickets         Ste 200
LETHBRIDGE-ENMAX LETHBRIDGE-         470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton                PA            19341
                      ENMAX                              New Era Tickets         Ste 200
WINNIPEG ICE          WINNIPEG ICE   470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton                PA            19341
                                                         New Era Tickets         Ste 200
Fandango, Inc.        Fandango, Inc. 522205630           Fandango, Inc.          12200 W Olympic Los Angeles            CA            90064
                                                                                 Blvd Ste 400
King Theatres         King Theatres  522205630           Fandango, Inc.          12200 W Olympic Los Angeles            CA            90064
                                                                                 Blvd Ste 400
Reading International Reading        522205630           Fandango, Inc.          12200 W Olympic Los Angeles            CA            90064
Theatres              International                                              Blvd Ste 400
                      Theatres




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  Business Unit Name      Transaction      Taxpayer ID (or     IRS Filing Name           Address              City             State     Postal Code
                         Division Name   Merchant ID, where
                                              available)
Wallace Theaters       Hollywood Cayman 522205630           Fandango, Inc.          12200 W Olympic    Los Angeles       CA            90064
                       Islands                                                      Blvd Ste 400
Promo Sales            Promo Code Sales 522205630           Fandango, Inc.          12200 W Olympic    Los Angeles       CA            90064
                                                                                    Blvd Ste 400
Fandango Mktg Inc      FMI (Physical      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Cards)                                                       Blvd Ste 400
Georgia Theatres       Georgia Theatres   522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                    Blvd Ste 400
Fandango LLC           Walmart Fandango   522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Bucks                                                        Blvd Ste 400
Fandango LLC           SOUTHEAST          522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       CINEMAS                                                      Blvd Ste 400
Fandango LLC           PRUNEYARD          522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       CINEMAS LLC                                                  Blvd Ste 400
Fandango LLC           ALAMO              522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       DRAFTHOUSE                                                   Blvd Ste 400
                       TEMPE
Fandango LLC           Cinemex NJ LLC     522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                    Blvd Ste 400
Fandango LLC           Blue Springs 8     522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Theatre                                                      Blvd Ste 400
FANDANGO LLC           AMC (Kerasotes)    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                    Blvd Ste 400
Brenden Theatres       AAFWG_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Brenden Concord                                              Blvd Ste 400
                       14
FANDANGO LLC           70321 Carmike     522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Hollywood Connec                                             Blvd Ste 400
Century Theatres       12002 Century     522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Stadium 25                                                   Blvd Ste 400
Cinemark               231 Cinemark      522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Tinseltown Plano                                             Blvd Ste 400
Eastern Federal        AAPKD_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies @ Birkdale                                            Blvd Ste 400
Fandango               Fandango, Inc.    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                    Blvd Ste 400




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  Business Unit Name      Transaction        Taxpayer ID (or     IRS Filing Name         Address              City             State     Postal Code
                         Division Name     Merchant ID, where
                                                available)
Fandango LLC           AAISC_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Kerasotes                                                    Blvd Ste 400
                       ShowPlace
FANDANGO LLC           AAPNV_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Loews Boston                                                 Blvd Ste 400
                       Common
Premiere Theaters      AAEKF_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Premiere Theaters                                            Blvd Ste 400
                       O
RC Theatres            AAPIO_LIVE R/C 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Parkside Movies                                              Blvd Ste 400
Fandango LLC           AABTB_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Edwards Irvine                                               Blvd Ste 400
                       Spec
Wallace Theaters       AAIGI_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Hollywood -                                                  Blvd Ste 400
                       Promena
Brenden Theatres       AAJYN_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Brenden Vacaville                                            Blvd Ste 400
                       1
Brenden Theatres       AANCS_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Brenden Modesto                                              Blvd Ste 400
                       18
Brenden Theatres       AAQEG_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Brenden Las Vegas                                            Blvd Ste 400
                       1
Brenden Theatres       AAIUB Brenden     522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Pittsburg 16                                                 Blvd Ste 400
FANDANGO LLC           75678 Carmike 14 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                    Blvd Ste 400
FANDANGO LLC           72728 Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Bell Forge 10                                                Blvd Ste 400
FANDANGO LLC           AAAUG_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Loews                                                        Blvd Ste 400
                       Mountainside
FANDANGO LLC           70407 Crossroads   522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       16                                                           Blvd Ste 400




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 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
FANDANGO LLC          216443 Carmike    522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      Market Fair 15                                               Blvd Ste 400
FANDANGO LLC          73227 Carmike       522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Royal Palm 20                                                Blvd Ste 400
FANDANGO LLC          AACPH_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews New                                                    Blvd Ste 400
                      Brunswick
FANDANGO LLC          72367 Carmike       522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Thoroughbred 20                                              Blvd Ste 400
FANDANGO LLC          AABTF_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Alpine 7                                               Blvd Ste 400
FANDANGO LLC          AABQJ_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Bay Terrace                                            Blvd Ste 400
                      6
FANDANGO LLC          75720 Carmike       522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Wynnsong 12                                                  Blvd Ste 400
FANDANGO LLC          AABXR_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Fairfax                                                Blvd Ste 400
                      Squar
FANDANGO LLC          AABXO_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Shirlington 7                                          Blvd Ste 400
FANDANGO LLC          AAOSA_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Waterfront                                             Blvd Ste 400
                      Th
FANDANGO LLC          157701 Carmike 14 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
FANDANGO LLC          AABRE_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Webster 12                                             Blvd Ste 400
FANDANGO LLC          76089 Carmike 18 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
FANDANGO LLC          AABRJ_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Town                                                   Blvd Ste 400
                      Square 9
FANDANGO LLC          78585 Carmike 20 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
FANDANGO LLC          AAEIT_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Layton Hills                                           Blvd Ste 400




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 Business Unit Name      Transaction         Taxpayer ID (or     IRS Filing Name        Address              City             State     Postal Code
                        Division Name      Merchant ID, where
                                                available)
FANDANGO LLC          408432 Carmike      522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Oakdale Stadium                                              Blvd Ste 400
FANDANGO LLC          AABXK_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Loews St. Charles                                            Blvd Ste 400
                      T
FANDANGO LLC          72590 Carmike       522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Wynnsong 16                                                  Blvd Ste 400
FANDANGO LLC          AABOV_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Loews Valley                                                 Blvd Ste 400
                      Center
FANDANGO LLC          AABRA_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Loews Galleria                                               Blvd Ste 400
                      Metr
FANDANGO LLC          70089 Carmike       522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Wynnsong 16                                                  Blvd Ste 400
FANDANGO LLC          AABPC_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Loews Wheaton                                                Blvd Ste 400
                      Plaza
FANDANGO LLC          72466 Carmike       522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Wynnsong 16                                                  Blvd Ste 400
FANDANGO LLC          AABXJ_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Loews White Flint                                            Blvd Ste 400
                      5
FANDANGO LLC          302483 Carmike      522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Foothills 12                                                 Blvd Ste 400
FANDANGO LLC          AABXC_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Loews Marlow 6                                               Blvd Ste 400
FANDANGO LLC          72430 Carmike 14    522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Johnson City                                                 Blvd Ste 400
FANDANGO LLC          AABOS_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Loews Lexington                                              Blvd Ste 400
                      Par
FANDANGO LLC          76070 Carmike       522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Wynnsong 15                                                  Blvd Ste 400
FANDANGO LLC          AAETE_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Loews White                                                  Blvd Ste 400
                      Marsh




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                                                     493397
                                                                     Exhibit A
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 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
FANDANGO LLC          AABXD_LIVE        522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      Loews Rio 18                                                 Blvd Ste 400
FANDANGO LLC          78987 Carmike     522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Hollywood Connec                                             Blvd Ste 400
FANDANGO LLC          AABOX_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Center Park                                            Blvd Ste 400
                      8
FANDANGO LLC          408583 Carmike 12 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
FANDANGO LLC          AACQR_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Magic Johnson                                                Blvd Ste 400
                      Atlan
FANDANGO LLC          71399 Carmike     522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Wynnsong 16                                                  Blvd Ste 400
FANDANGO LLC          AANEY_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Universal                                              Blvd Ste 400
                      Cin
FANDANGO LLC          71155 Carmike     522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Summit 16                                                    Blvd Ste 400
FANDANGO LLC          AABXW_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Dupont                                                 Blvd Ste 400
                      Circle
FANDANGO LLC          AAOJM_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Plainville                                             Blvd Ste 400
FANDANGO LLC          408700 Carmike 15 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
FANDANGO LLC          AABYF_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Uptown 1                                               Blvd Ste 400
FANDANGO LLC          78587 Carmike 16 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
FANDANGO LLC          AABXT_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Outer Circle                                           Blvd Ste 400
FANDANGO LLC          76378 Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Wynnsong 12                                                  Blvd Ste 400
FANDANGO LLC          AAJMJ_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Cascade                                                Blvd Ste 400
                      Mall




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                                                     493398
                                                                     Exhibit A
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 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
FANDANGO LLC          196180 Carmike 15 522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
FANDANGO LLC          AABQX_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Danbury                                                Blvd Ste 400
FANDANGO LLC          AAAYI_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Foothills Cin                                          Blvd Ste 400
FANDANGO LLC          Penn Huntingdon 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Valley LLC                                                   Blvd Ste 400
FANDANGO LLC          Cobble Hill         522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Cinemas                                                      Blvd Ste 400
FANDANGO LLC          THEATRE BOX         522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      SAN DIEGO LLC                                                Blvd Ste 400
FANDANGO LLC          KEW GARDENS 522205630                  Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      CINEMAS                                                      Blvd Ste 400
FANDANGO LLC          WILLIAMSBURG 522205630                 Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      CINEMAS                                                      Blvd Ste 400
FANDANGO LLC          FLEEGLE             522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      CINEMAS                                                      Blvd Ste 400
FANDANGO LLC          LOOK CINEMAS 522205630                 Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
FANDANGO LLC          CUMBERLAND 12 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      CINEMAS                                                      Blvd Ste 400
FANDANGO LLC          AAOGC_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Streets Of                                             Blvd Ste 400
                      Wo
FANDANGO LLC          AAARF_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Gardens 7-                                             Blvd Ste 400
                      13
FANDANGO LLC          AAASH_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews River Oaks                                             Blvd Ste 400
                      7-
FANDANGO LLC          AAASI_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews River Oaks                                             Blvd Ste 400
                      9-
FANDANGO LLC          AAAXR_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Webster                                                Blvd Ste 400
                      Place




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                                                     493399
                                                                      Exhibit A
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 Business Unit Name      Transaction         Taxpayer ID (or     IRS Filing Name        Address              City             State     Postal Code
                        Division Name      Merchant ID, where
                                                available)
FANDANGO LLC          AAAXL_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Loews Crestwood                                              Blvd Ste 400
FANDANGO LLC          76132 Carmike       522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Park Place 16                                                Blvd Ste 400
FANDANGO LLC          AAAXD_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Loews Broadway                                               Blvd Ste 400
                      Cine
FANDANGO LLC          159756 Cinema       522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Centre 8                                                     Blvd Ste 400
FANDANGO LLC          AAAXA_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Loews Marina                                                 Blvd Ste 400
                      Market
FANDANGO LLC          AAAXU_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Loews Norridge 10                                            Blvd Ste 400
FANDANGO LLC          75865 Carmike 10    522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
FANDANGO LLC          AAAWX_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Loews Universal                                              Blvd Ste 400
                      Cit
FANDANGO LLC          77430 Carmike       522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Wynnsong 10                                                  Blvd Ste 400
FANDANGO LLC          AANEM_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Loews Metreon                                                Blvd Ste 400
                      Theat
FANDANGO LLC          78854 Carmike       522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Chapel Hills 15                                              Blvd Ste 400
FANDANGO LLC          AABZC_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Magic Johnson                                                Blvd Ste 400
                      Theat
FANDANGO LLC          AAAWZ_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Loews Beverly                                                Blvd Ste 400
                      Cente
FANDANGO LLC          AABPS_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Loews Monmouth                                               Blvd Ste 400
                      Mall
FANDANGO LLC          AAOZE_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Loews at The Loop                                            Blvd Ste 400
                      I



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                                                     493400
                                                                     Exhibit A
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 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
FANDANGO LLC          AABFY_LIVE        522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      Loews Meridian 16                                            Blvd Ste 400
FANDANGO LLC          AAOVP_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Magic Johnson                                                Blvd Ste 400
                      Theat
FANDANGO LLC          AAFWI_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Woodinville                                            Blvd Ste 400
                      1
FANDANGO LLC          AADVB_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Redmond                                                Blvd Ste 400
                      Town
FANDANGO LLC          AAAZD_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Grand                                                  Blvd Ste 400
                      Cinemas
FANDANGO LLC          AAAYZ_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Oak Tree                                               Blvd Ste 400
                      Cine
FANDANGO LLC          AAAYX_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Factoria                                               Blvd Ste 400
                      Cine
FANDANGO LLC          AAAYN_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Lakewood                                               Blvd Ste 400
                      Town
FANDANGO LLC          AABBK_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Liberty Tree                                           Blvd Ste 400
FANDANGO LLC          AABBF_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Harvard                                                Blvd Ste 400
                      Squar
FANDANGO LLC          AABBJ_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Assembly                                               Blvd Ste 400
                      Squa
FANDANGO LLC          AABBB_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Copley Place                                           Blvd Ste 400

FANDANGO LLC          AABPR_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Freehold                                               Blvd Ste 400
                      Metr




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                                                     493401
                                                                     Exhibit A
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 Business Unit Name     Transaction       Taxpayer ID (or     IRS Filing Name           Address              City             State     Postal Code
                       Division Name    Merchant ID, where
                                             available)
FANDANGO LLC          AAKTM_LIVE       522205630           Fandango, Inc.          12200 W Olympic    Los Angeles       CA            90064
                      Loews Cherry Hill                                            Blvd Ste 400
FANDANGO LLC          AABPL_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews East                                                   Blvd Ste 400
                      Hanover
FANDANGO LLC          AABUC_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Newport                                                Blvd Ste 400
                      Centr
FANDANGO LLC          AABPG_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Plaza Eight                                            Blvd Ste 400
FANDANGO LLC          AABPK_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Ridgefield                                             Blvd Ste 400
                      Pa
FANDANGO LLC          AABPJ_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Wayne 14                                               Blvd Ste 400
FANDANGO LLC          AABPF_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Meadow Six                                             Blvd Ste 400
FANDANGO LLC          AABUD_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Paramus                                                Blvd Ste 400
                      Route
FANDANGO LLC          AABTL_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Cinema Five                                            Blvd Ste 400
FANDANGO LLC          AABTT_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Rockville                                              Blvd Ste 400
                      Cen
FANDANGO LLC          AABTN_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Fantasy                                                Blvd Ste 400
FANDANGO LLC          AABSX_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Roosevelt                                              Blvd Ste 400
                      Rac
FANDANGO LLC          Triple Tap Alamo 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Lacenterra                                                   Blvd Ste 400
FANDANGO LLC          ROADHOUSE         522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      CINEMAS                                                      Blvd Ste 400
FANDANGO LLC          ALAMO             522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      DRAFTHOUSE                                                   Blvd Ste 400
                      WOODBURY




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                                                     493402
                                                                     Exhibit A
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 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
FANDANGO LLC          Stone Theatres    522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      Grand                                                        Blvd Ste 400
FANDANGO LLC          Stone Theatres      522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Millstone                                                    Blvd Ste 400
FANDANGO LLC          Stone Theatres Sun 522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Valley                                                       Blvd Ste 400
FANDANGO LLC          Stone Theatres Park 522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      West                                                         Blvd Ste 400
FANDANGO LLC          Stone Theatres The 522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Pointe                                                       Blvd Ste 400
FANDANGO LLC          Stone Theatres      522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Redstone                                                     Blvd Ste 400
FANDANGO LLC          AAEVG_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Magic Johnson                                                Blvd Ste 400
                      North
FANDANGO LLC          AAODH_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews E-Walk                                                 Blvd Ste 400
FANDANGO LLC          Frank               522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Entertainment                                                Blvd Ste 400
                      Companies
FANDANGO LLC          ALAMO               522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      DRAFTHOUSE                                                   Blvd Ste 400
                      MIDTOWN
FANDANGO LLC          AABRM_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews State                                                  Blvd Ste 400
FANDANGO LLC          AABQE_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews 72nd Street                                            Blvd Ste 400
                      E
FANDANGO LLC          AABQG_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews 19th Street                                            Blvd Ste 400
                      E
FANDANGO LLC          AABQF_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Village VII                                            Blvd Ste 400
FANDANGO LLC          AABQA_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews 84th Street                                            Blvd Ste 400
FANDANGO LLC          76299 Carmike 16 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400




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                                                     493403
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 Business Unit Name      Transaction         Taxpayer ID (or     IRS Filing Name        Address              City             State     Postal Code
                        Division Name      Merchant ID, where
                                                available)
FANDANGO LLC          AABPZ_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Loews Astor Plaza                                            Blvd Ste 400
                      1
FANDANGO LLC          78958 Carmike     522205630             Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Wynnsong 12                                                  Blvd Ste 400
FANDANGO LLC          AABQC_LIVE        522205630             Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Loews Orpheum                                                Blvd Ste 400
FANDANGO LLC          70310 Carmike 15 522205630              Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
FANDANGO LLC          AAAQW_LIVE        522205630             Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Loews Lincoln                                                Blvd Ste 400
FANDANGO LLC          AAETA_LIVE        522205630             Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Loews Quarry 14                                              Blvd Ste 400
FANDANGO LLC          70295 Carmike     522205630             Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Riverstone 15                                                Blvd Ste 400
FANDANGO LLC          AALAT_LIVE        522205630             Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Loews Stony Brook                                            Blvd Ste 400
FANDANGO LLC          72793 Carmike     522205630             Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Rivergate 8                                                  Blvd Ste 400
FANDANGO LLC          AABTU_LIVE        522205630             Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Loews Shore                                                  Blvd Ste 400
FANDANGO LLC          70174 Carmike 12 522205630              Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
FANDANGO LLC          AAAXQ_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Loews Esquire                                                Blvd Ste 400
FANDANGO LLC          AADRP Carmike       522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      12                                                           Blvd Ste 400
FANDANGO LLC          AABPW_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Loews Stroud Mall                                            Blvd Ste 400
                      7
FANDANGO LLC          AAEAU Carmike       522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Southland 9                                                  Blvd Ste 400
FANDANGO LLC          AAPMH_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Loews Country                                                Blvd Ste 400
                      Club
FANDANGO LLC          AAEBA Carmike       522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Galleria 6                                                   Blvd Ste 400




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                                                     493404
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 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
FANDANGO LLC          AAPLR_LIVE        522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      Loews Gardens 1-6                                            Blvd Ste 400
FANDANGO LLC          AAEBC Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Maxi-Saver 12                                                Blvd Ste 400
FANDANGO LLC          AAQCR_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews 34th Street                                            Blvd Ste 400
FANDANGO LLC          AAEBD Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Cranberry 8                                                  Blvd Ste 400
FANDANGO LLC          AAAYU_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Uptown                                                 Blvd Ste 400
                      Cinema
FANDANGO LLC          AAETX Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Williamsburg Cro                                             Blvd Ste 400
FANDANGO LLC          AAPYT_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Jersey                                                 Blvd Ste 400
                      Garden
FANDANGO LLC          AAFJS Carmike 10 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
FANDANGO LLC          AABXV_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Cinema 1                                               Blvd Ste 400
FANDANGO LLC          AABYC_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Wisconsin                                              Blvd Ste 400
                      Ave
FANDANGO LLC          AABZU_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews 600 North                                              Blvd Ste 400
                      Mic
FANDANGO LLC          AAARQ_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Chicago                                                Blvd Ste 400
                      Ridge
FANDANGO LLC          AABMM_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews College Park                                           Blvd Ste 400

FANDANGO LLC          AABTZ_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Menlo Park                                             Blvd Ste 400
                      12
FANDANGO LLC          AABAY_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Merrillville                                           Blvd Ste 400




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                                                     493405
                                                                     Exhibit A
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 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
FANDANGO LLC          AAART_LIVE        522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      Loews North                                                  Blvd Ste 400
                      Riversi
FANDANGO LLC          AAAXP_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Pipers Alley                                           Blvd Ste 400
FANDANGO LLC          AAOEA_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Richmond                                               Blvd Ste 400
                      Town
FANDANGO LLC          AAMGK_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Woodridge                                              Blvd Ste 400
                      18
FANDANGO LLC          AAOEB_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Magic Johnson                                                Blvd Ste 400
                      Randa
FANDANGO LLC          AAQPV_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loews Georgetown                                             Blvd Ste 400
                      14
FANDANGO LLC          AAFZF Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      University 8                                                 Blvd Ste 400
FANDANGO LLC          AAMOP_LIVE Star 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Great Lakes Cr                                               Blvd Ste 400

FANDANGO LLC          AACVI_LIVE Star 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Gratiot                                                      Blvd Ste 400
FANDANGO LLC          AAOTT_LIVE Star 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Fairlane                                                     Blvd Ste 400
FANDANGO LLC          AACVJ_LIVE Star 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Grand Rapids                                                 Blvd Ste 400
FANDANGO LLC          AACVH_LIVE Star 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Holland 8 Thea                                               Blvd Ste 400
FANDANGO LLC          AACVG_LIVE Star 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      John R                                                       Blvd Ste 400
FANDANGO LLC          AACVE_LIVE Star 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Rochester Hill                                               Blvd Ste 400
FANDANGO LLC          AAGGW Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Amelia Island 7                                              Blvd Ste 400
FANDANGO LLC          AADKM_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Star Southfield Cen                                          Blvd Ste 400



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                                                     493406
                                                                     Exhibit A
                             In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name      Transaction     Taxpayer ID (or        IRS Filing Name         Address              City             State     Postal Code
                        Division Name  Merchant ID, where
                                            available)
FANDANGO LLC          AACVD_LIVE Star 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Taylor                                                       Blvd Ste 400
FANDANGO LLC          AAGNG Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Bellevue 8                                                   Blvd Ste 400
FANDANGO LLC          AAGOV Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Hickory 8                                                    Blvd Ste 400
FANDANGO LLC          AAASG Loews     522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      River Oaks 1-6                                               Blvd Ste 400
FANDANGO LLC          AAGOX Carmike 1 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
FANDANGO LLC          AAAYK Loews        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Catalina Cinemas 6                                           Blvd Ste 400
FANDANGO LLC          AAGPI Carmike 12 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
FANDANGO LLC          AABAX Loews       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Streamwood 14                                                Blvd Ste 400
FANDANGO LLC          AAGSQ Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      North Shores 6                                               Blvd Ste 400
FANDANGO LLC          AABRO Loews       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Rotterdam Square                                             Blvd Ste 400
                      M
FANDANGO LLC          AAGVA Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Willowdale 8                                                 Blvd Ste 400
FANDANGO LLC          AABTG Loews       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Fortway 5                                                    Blvd Ste 400
FANDANGO LLC          AAGVD Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Blue Ridge 14                                                Blvd Ste 400
FANDANGO LLC          AABTO Loews       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Glen Cove Cinemas                                            Blvd Ste 400
FANDANGO LLC          AAGWT Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Petite 4                                                     Blvd Ste 400
FANDANGO LLC          AAHIG Carmike 6 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
FANDANGO LLC          AAHII Carmike   522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      LaGrange Cinema                                              Blvd Ste 400
FANDANGO LLC          AAHJH Carmike 9 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400




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                                                      493407
                                                                     Exhibit A
                             In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name     Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
FANDANGO LLC           AAHJJ Carmike    522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                       Columbus Square                                             Blvd Ste 400
FANDANGO LLC           AAHJT Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Martin 3 Theatre                                            Blvd Ste 400
FANDANGO LLC           AAHJW Carmike 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Peachtree 8                                                 Blvd Ste 400
FANDANGO LLC           AAHJY Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Plaza 8 Theatre                                             Blvd Ste 400
FANDANGO LLC           AAHJZ Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Southgate 5                                                 Blvd Ste 400
FANDANGO LLC           AAHLH Carmike 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       10                                                          Blvd Ste 400
FANDANGO LLC           AAHLR Carmike 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Wynnsong 12                                                 Blvd Ste 400
FANDANGO LLC           AAHSK Carmike 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movie World 7                                               Blvd Ste 400
FANDANGO LLC           AAHZO Carmike 8 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
FANDANGO LLC           AABUE Loews      522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Route 17                                                    Blvd Ste 400
FANDANGO LLC           AAHZP Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Kingsway 4                                                  Blvd Ste 400
FANDANGO LLC           AAESW Loews      522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Inner Circle                                                Blvd Ste 400
FANDANGO LLC           AAIFB Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Cont'l Mugs & Mo                                            Blvd Ste 400
RC Theatres            AAPDY_LIVE R/C 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Hanover Movies                                              Blvd Ste 400

FANDANGO LLC           AAIFD Carmike   522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Lake Walden 8                                               Blvd Ste 400
RC Theatres            AAQPF_LIVE R/C 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Ocean Walk Movi                                             Blvd Ste 400

FANDANGO LLC           AAIFG Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Palm Cinema 3                                               Blvd Ste 400




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                                                      493408
                                                                      Exhibit A
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  Business Unit Name      Transaction        Taxpayer ID (or     IRS Filing Name         Address              City             State     Postal Code
                         Division Name     Merchant ID, where
                                                available)
RC Theatres            AADVH R/C          522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Carrolltown Mall                                             Blvd Ste 400
                       Mov
RC Theatres            AADVS R/C East 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Point Movies 10                                              Blvd Ste 400
FANDANGO LLC           AAIQY Carmike 10 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                    Blvd Ste 400
RC Theatres            AAESP R/C          522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Covington Movies 3                                           Blvd Ste 400
FANDANGO LLC           AAIRC Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Wynnsong 10                                                  Blvd Ste 400
RC Theatres            AAESS R/C          522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Majestic 3                                                   Blvd Ste 400
FANDANGO LLC           AAIWE Carmike 6 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                    Blvd Ste 400
RC Theatres            AAESU R/C          522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Cineplex 4                                                   Blvd Ste 400
FANDANGO LLC           AAIWS Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Wynnsong 10                                                  Blvd Ste 400
RC Theatres            AAESV R/C          522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Cinemas 8 at                                                 Blvd Ste 400
FANDANGO LLC           AAJJC Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Faulkner 6                                                   Blvd Ste 400
RC Theatres            AAFSN R/C          522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Market Place                                                 Blvd Ste 400
RC Theatres            AAFXX R/C          522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Corolla Movies 4                                             Blvd Ste 400
FANDANGO LLC           AAJJD Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Central City 10                                              Blvd Ste 400
RC Theatres            AAFZI R/C          522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Cinemas 1-2-3                                                Blvd Ste 400
FANDANGO LLC           AAJJE Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Oaks 7                                                       Blvd Ste 400
RC Theatres            AAGBL R/C          522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Hollywood Cinema                                             Blvd Ste 400
                       4
FANDANGO LLC           AAJKY Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Martin 3                                                     Blvd Ste 400



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                                                      493409
                                                                       Exhibit A
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  Business Unit Name      Transaction     Taxpayer ID (or     IRS Filing Name             Address              City             State     Postal Code
                         Division Name  Merchant ID, where
                                             available)
RC Theatres            AAGBN R/C State 522205630           Fandango, Inc.            12200 W Olympic    Los Angeles       CA            90064
                       Cinema 3                                                      Blvd Ste 400
FANDANGO LLC           AAJLK Carmike   522205630           Fandango, Inc.            12200 W Olympic    Los Angeles       CA            90064
                       Plaza 6                                                       Blvd Ste 400
RC Theatres            AANHM R/C Kitty 522205630           Fandango, Inc.            12200 W Olympic    Los Angeles       CA            90064
                       Hawk Plaza                                                    Blvd Ste 400
FANDANGO LLC           AAJLN Carmike 4 522205630           Fandango, Inc.            12200 W Olympic    Los Angeles       CA            90064
                                                                                     Blvd Ste 400
RC Theatres            AANRX R/C            522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Hatteras Movies 4                                             Blvd Ste 400
FANDANGO LLC           AAJPE Carmike 9      522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                     Blvd Ste 400
RC Theatres            AAOTY R/C            522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Valley Mall 16                                                Blvd Ste 400
FANDANGO LLC           AAJPG Carmike        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Alexandria 6                                                  Blvd Ste 400
RC Theatres            AAPND R/C Surf       522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       & Sand 8                                                      Blvd Ste 400
RC Theatres            AAPOO R/C            522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Culpeper Movies 4                                             Blvd Ste 400
FANDANGO LLC           AAJPH Carmike 8      522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                     Blvd Ste 400
RC Theatres            AAQPT R/C            522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Westview Movies                                               Blvd Ste 400
                       16
FANDANGO LLC           AAJPL Carmike        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Plaza 2                                                       Blvd Ste 400
Fandango LLC           AAEDK_LIVE           522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Edwards Metro                                                 Blvd Ste 400
                       Point
FANDANGO LLC           AAJPP Carmike        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Sugar Creek 10                                                Blvd Ste 400
Fandango LLC           AANRA_LIVE           522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Civic Center                                            Blvd Ste 400
FANDANGO LLC           AAJPR Carmike        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Chalet 3                                                      Blvd Ste 400




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                                                     493410
                                                                     Exhibit A
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 Business Unit Name     Transaction       Taxpayer ID (or     IRS Filing Name           Address              City             State     Postal Code
                       Division Name    Merchant ID, where
                                             available)
Fandango LLC          AAJAJ_LIVE Regal 522205630           Fandango, Inc.          12200 W Olympic    Los Angeles       CA            90064
                      West Town Mal                                                Blvd Ste 400

FANDANGO LLC          AAJPS Carmike     522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Plaza 6                                                      Blvd Ste 400
Fandango LLC          AAEDP_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards 18 - The                                             Blvd Ste 400
                      La
FANDANGO LLC          AAJPT Campus      522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Square 8                                                     Blvd Ste 400
Fandango LLC          AAEDM_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards Ontario                                              Blvd Ste 400
                      Pal
FANDANGO LLC          AAJPU Carmike     522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Meadowbrook 6                                                Blvd Ste 400
Fandango LLC          AABFB_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards Newport 6                                            Blvd Ste 400

Fandango LLC          AAFYG_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards Fresno                                               Blvd Ste 400
                      Stad
FANDANGO LLC          AAJPY Carmike 10 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AANZG_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards Greenway                                             Blvd Ste 400
                      Pa
FANDANGO LLC          AAJQD Carmike    522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Cinemas                                                      Blvd Ste 400
Fandango LLC          AAODF_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards Nampa                                                Blvd Ste 400
                      Stadi
FANDANGO LLC          AAJQG Carmike    522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      North Park 4                                                 Blvd Ste 400
Fandango LLC          AANXT_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards Jurupa                                               Blvd Ste 400
                      Stad
FANDANGO LLC          AAJQH Carmike    522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Coventry 8                                                   Blvd Ste 400



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                                                     493411
                                                                     Exhibit A
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 Business Unit Name     Transaction         Taxpayer ID (or     IRS Filing Name         Address              City             State     Postal Code
                       Division Name      Merchant ID, where
                                               available)
Fandango LLC          AAOBW_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards Temecula                                             Blvd Ste 400
                      St
FANDANGO LLC          AAJQI Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Rushmore 7                                                   Blvd Ste 400
Fandango LLC          AAMZH_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards Long                                                 Blvd Ste 400
                      Beach
FANDANGO LLC          AAJQJ Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Wyomissing 8                                                 Blvd Ste 400
Fandango LLC          AAFRH_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards Aliso                                                Blvd Ste 400
                      Viejo
FANDANGO LLC          AAJQK Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Holiday 3                                                    Blvd Ste 400
Fandango LLC          AAIJT_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards San                                                  Blvd Ste 400
                      Marcos
FANDANGO LLC          AAJQM Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      10                                                           Blvd Ste 400
FANDANGO LLC          AAJQQ Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Barclay Square 6                                             Blvd Ste 400
FANDANGO LLC          AAJQX Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Wynnsong 11                                                  Blvd Ste 400
FANDANGO LLC          AAJRA Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Monument Mall 6                                              Blvd Ste 400
FANDANGO LLC          AAJRD Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Lakeshore 8                                                  Blvd Ste 400
FANDANGO LLC          AAJRK Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Mall 4                                                       Blvd Ste 400
FANDANGO LLC          AAJRN Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Southern Hills 1                                             Blvd Ste 400
FANDANGO LLC          AAJRU Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Bama 6                                                       Blvd Ste 400
FANDANGO LLC          AAJRV Carmike 7    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
FANDANGO LLC          AAJRY Carmike 6 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400



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                                                     493412
                                                                     Exhibit A
                             In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction         Taxpayer ID (or     IRS Filing Name         Address              City             State     Postal Code
                       Division Name      Merchant ID, where
                                               available)
FANDANGO LLC          AAJRZ Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Statesboro 9 Cin                                             Blvd Ste 400
FANDANGO LLC          AAJSB Carmike    522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Gateway 4                                                    Blvd Ste 400
FANDANGO LLC          AAJSC Carmike    522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Chief Plaza 4                                                Blvd Ste 400
FANDANGO LLC          AAJSF Carmike    522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      University 8                                                 Blvd Ste 400
FANDANGO LLC          AAJSH Carmike 10 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
FANDANGO LLC          AAJSI Carmike   522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 3                                                     Blvd Ste 400
FANDANGO LLC          AAJSK Carmike 7 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
FANDANGO LLC          AAJSM Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Tifton Mall 6                                                Blvd Ste 400
FANDANGO LLC          AAJSN Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Ohio Valley Mall                                             Blvd Ste 400
FANDANGO LLC          AAJSO Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Sikes 10                                                     Blvd Ste 400
FANDANGO LLC          AAJSQ Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kandi 6                                                      Blvd Ste 400
FANDANGO LLC          AAJSS Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Parkwood 3                                                   Blvd Ste 400
FANDANGO LLC          AAJST Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Apple Blossom 6                                              Blvd Ste 400
FANDANGO LLC          AAJUX Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      James Island 8                                               Blvd Ste 400
FANDANGO LLC          AAJVG Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Northgate 8                                                  Blvd Ste 400
FANDANGO LLC          AAJVK Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Frontier 6                                                   Blvd Ste 400
FANDANGO LLC          AAJVN Carmike 8    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
FANDANGO LLC          AAJVZ Carmike 10 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
FANDANGO LLC          AAJWU Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Highland 10                                                  Blvd Ste 400



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                                                     493413
                                                                     Exhibit A
                             In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name      Transaction     Taxpayer ID (or     IRS Filing Name            Address              City             State     Postal Code
                        Division Name  Merchant ID, where
                                            available)
FANDANGO LLC          AAJWX Carmike 4 522205630           Fandango, Inc.           12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
FANDANGO LLC          AAJXB Carmike   522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Capri 2                                                      Blvd Ste 400
FANDANGO LLC          AAJXE Carmike   522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Town Square 3                                                Blvd Ste 400
FANDANGO LLC          AAJXL Carmike 4 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
FANDANGO LLC          AAJXP Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Century Cinema 8                                             Blvd Ste 400
FANDANGO LLC          AAJXV Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Southridge 12                                                Blvd Ste 400
FANDANGO LLC          AAJXX Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Cobblestone 9                                                Blvd Ste 400
FANDANGO LLC          AAJYC Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Lake 3                                                       Blvd Ste 400
FANDANGO LLC          AAJYI Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Circle West 4                                                Blvd Ste 400
FANDANGO LLC          AAJYP Carmike 8    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
FANDANGO LLC          AAJYV Carmike   522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kennedy Mall 6                                               Blvd Ste 400
FANDANGO LLC          AAJZC Carmike 6 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
FANDANGO LLC          AAJZI Carmike   522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Oakwood 12                                                   Blvd Ste 400
FANDANGO LLC          AAJZV Carmike   522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Capri 4 Theatre                                              Blvd Ste 400
FANDANGO LLC          AAKAB Carmike 4 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
FANDANGO LLC          AAKAG Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      10                                                           Blvd Ste 400
FANDANGO LLC          AAKAN Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Mall 3 Theatres                                              Blvd Ste 400
FANDANGO LLC          AAKAR Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Midco 10                                                     Blvd Ste 400
FANDANGO LLC          AAKAT Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Conestoga 4                                                  Blvd Ste 400



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                                                     493414
                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                       Division Name    Merchant ID, where
                                             available)
FANDANGO LLC          AAKAY Carmike    522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      10                                                          Blvd Ste 400
FANDANGO LLC          AAKBJ Carmike 12 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Greenville                                                  Blvd Ste 400
FANDANGO LLC          AAKBR Carmike 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Capri Twin                                                  Blvd Ste 400
FANDANGO LLC          AAKBU Carmike 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Crosscreek Mall                                             Blvd Ste 400
FANDANGO LLC          AAKCB Carmike 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Harrison 8                                                  Blvd Ste 400
FANDANGO LLC          AAKCK Carmike 6 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                  Blvd Ste 400
FANDANGO LLC          AAKCQ Carmike 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Circus 2                                                    Blvd Ste 400
FANDANGO LLC          AAKDE Carmike 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Martin 5                                                    Blvd Ste 400
FANDANGO LLC          AAKDL Carmike 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Copper 5                                                    Blvd Ste 400
FANDANGO LLC          AAKDP Carmike 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Huntington Mall                                             Blvd Ste 400
FANDANGO LLC          AAKEO Carmike 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Hilltop 4                                                   Blvd Ste 400
FANDANGO LLC          AAKFU Carmike 8 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                  Blvd Ste 400
FANDANGO LLC          AAKFY Carmike 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Riverdale 10                                                Blvd Ste 400
FANDANGO LLC          AAKGC Carmike 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Wynnsong 10                                                 Blvd Ste 400
FANDANGO LLC          AAKGK Carmike 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      10                                                          Blvd Ste 400
FANDANGO LLC          AAKGM Carmike 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      4                                                           Blvd Ste 400
FANDANGO LLC          AAKGS Carmike 8 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                  Blvd Ste 400
FANDANGO LLC          AAKGW Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      2                                                           Blvd Ste 400
FANDANGO LLC          AAKGZ Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Martin 4                                                    Blvd Ste 400



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                                                      493415
                                                                      Exhibit A
                              In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name     Transaction       Taxpayer ID (or     IRS Filing Name           Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
FANDANGO LLC           AAKHE Carmike    522205630           Fandango, Inc.          12200 W Olympic    Los Angeles       CA            90064
                       Seth Childs 12                                               Blvd Ste 400
FANDANGO LLC           AAKHR Carmike 4 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                    Blvd Ste 400
FANDANGO LLC           AAKHV Carmike 4 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                    Blvd Ste 400
FANDANGO LLC           AAKIF Carmike    522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       South 8-12                                                   Blvd Ste 400
FANDANGO LLC           AAKIH Carmike 10 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                    Blvd Ste 400
FANDANGO LLC           AAKIK Carmike 14 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                    Blvd Ste 400
FANDANGO LLC           AAKIZ Carmike   522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Wynnsong 10                                                  Blvd Ste 400
FANDANGO LLC           AAKJG Carmike 3 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                    Blvd Ste 400
FANDANGO LLC           AAKJM Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       College Square 9                                             Blvd Ste 400
FANDANGO LLC           AAKJP Carmike    522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       University 4                                                 Blvd Ste 400
FANDANGO LLC           AAKJZ Carmike    522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Briarcliffe 10                                               Blvd Ste 400
FANDANGO LLC           AAKKG Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Broadway 16                                                  Blvd Ste 400
FANDANGO LLC           AAKLA Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Mall 3                                                       Blvd Ste 400
FANDANGO LLC           AAKLR Carmike 8 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                    Blvd Ste 400
FANDANGO LLC           AAKLV Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Camelot 4                                                    Blvd Ste 400
FANDANGO LLC           AALCC Carmike     522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Stage 3 Theatre                                              Blvd Ste 400
Eastern Federal        AAGAD_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies @                                                     Blvd Ste 400
                       Governor's
Eastern Federal        AAKRJ_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies @ Franklin                                            Blvd Ste 400
                       S



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                                                      493416
                                                                      Exhibit A
                              In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name     Transaction         Taxpayer ID (or     IRS Filing Name         Address              City             State     Postal Code
                        Division Name      Merchant ID, where
                                                available)
FANDANGO LLC           AALDP Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Astro 3                                                      Blvd Ste 400
Eastern Federal        AAQWE_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies @ Brier                                               Blvd Ste 400
                       Cree
FANDANGO LLC           AALDR Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Island 2                                                     Blvd Ste 400
Eastern Federal        AAFZK Starlight    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Stadium                                                      Blvd Ste 400
FANDANGO LLC           AALGL Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Park Hills Plaza                                             Blvd Ste 400
Eastern Federal        AAFZL Movies @     522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Polo Road                                                    Blvd Ste 400
FANDANGO LLC           AALIP Carmike 10   522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                    Blvd Ste 400
Eastern Federal        AAFZO Town &       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Country Four                                                 Blvd Ste 400
FANDANGO LLC           AALIR Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Plaza 6                                                      Blvd Ste 400
Eastern Federal        AAFZR Movies @     522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       The Lake                                                     Blvd Ste 400
FANDANGO LLC           AALJC Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Hickory Hills 6                                              Blvd Ste 400
Eastern Federal        AAFZS Movies @     522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Timberlyne                                                   Blvd Ste 400
FANDANGO LLC           AALJG Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Eastdale 8                                                   Blvd Ste 400
Eastern Federal        AAFZT Movies @     522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Mt Pleasant                                                  Blvd Ste 400
FANDANGO LLC           AALJM Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Martin 3                                                     Blvd Ste 400
Eastern Federal        AAFZU Manor        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Theatre                                                      Blvd Ste 400
FANDANGO LLC           AALJP Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Village 5                                                    Blvd Ste 400
Eastern Federal        AAFZX Port         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Orange Six                                                   Blvd Ste 400




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                                                      493417
                                                                      Exhibit A
                              In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name      Transaction     Taxpayer ID (or     IRS Filing Name            Address              City             State     Postal Code
                         Division Name  Merchant ID, where
                                             available)
FANDANGO LLC           AALJU Carmike 5 522205630           Fandango, Inc.           12200 W Olympic    Los Angeles       CA            90064
                                                                                    Blvd Ste 400
Eastern Federal        AAFZY Sun Plaza 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Stadium                                                      Blvd Ste 400
FANDANGO LLC           AALJV Carmike 7 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                    Blvd Ste 400
Eastern Federal        AAGAA Regency 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Eleven                                                       Blvd Ste 400
FANDANGO LLC           AALKV Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       10                                                           Blvd Ste 400
Eastern Federal        AAGAB Royal Park 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Stadium                                                      Blvd Ste 400
FANDANGO LLC           AALKW Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Panama City 4                                                Blvd Ste 400
Eastern Federal        AAGAC Miracle    522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Theatre                                                      Blvd Ste 400
Fandango LLC           AAOVE_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Edwards Mira                                                 Blvd Ste 400
                       Mesa S
FANDANGO LLC           AALNN Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Sun & Surf 8                                                 Blvd Ste 400
Eastern Federal        AAOEP Movies @ 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Crownpoint                                                   Blvd Ste 400
Fandango LLC           AAOJH_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Edwards Houston                                              Blvd Ste 400
                       Mar
FANDANGO LLC           AALNW Carmike 2 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                    Blvd Ste 400
Fandango LLC           AAEDE_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Edwards                                                      Blvd Ste 400
                       Bakersfield
Eastern Federal        AAOVB Eastern       522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Federal Cinema 1                                             Blvd Ste 400
FANDANGO LLC           AALOB Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Martin 3                                                     Blvd Ste 400
Fandango LLC           AANDK_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Edwards Fairfield S                                          Blvd Ste 400




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                                                      493418
                                                                         Exhibit A
                              In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name      Transaction         Taxpayer ID (or       IRS Filing Name        Address             City            State     Postal Code
                         Division Name      Merchant ID, where
                                                 available)
Eastern Federal        AAQIH Swamp Fox 522205630                 Fandango, Inc.       12200 W Olympic   Los Angeles      CA            90064
                       Cinemas                                                        Blvd Ste 400
FANDANGO LLC           AALOC Carmike 522205630                   Fandango, Inc.       12200 W Olympic   Los Angeles      CA            90064
                       Martin 2                                                       Blvd Ste 400
Fandango LLC           AABIX_LIVE          522205630             Fandango, Inc.       12200 W Olympic   Los Angeles      CA            90064
                       Edwards Valencia                                               Blvd Ste 400
                       12
Eastern Federal        AAREK Movies @ 522205630                  Fandango, Inc.       12200 W Olympic   Los Angeles      CA            90064
                       Azalea Square                                                  Blvd Ste 400
FANDANGO LLC           AALOE Carmike       522205630             Fandango, Inc.       12200 W Olympic   Los Angeles      CA            90064
                       Capri 2                                                        Blvd Ste 400
Fandango LLC           AAJKL_LIVE          522205630             Fandango, Inc.       12200 W Olympic   Los Angeles      CA            90064
                       Regal Lincolnshire                                             Blvd Ste 400
Fandango LLC           AAIVB_LIVE          522205630             Fandango, Inc.       12200 W Olympic   Los Angeles      CA            90064
                       Kerasotes                                                      Blvd Ste 400
                       ShowPlace
FANDANGO LLC           AALOZ Carmike       522205630             Fandango, Inc.       12200 W Olympic   Los Angeles      CA            90064
                       10                                                             Blvd Ste 400
Fandango LLC           AAEKR_LIVE          522205630             Fandango, Inc.       12200 W Olympic   Los Angeles      CA            90064
                       Regal Shadowood                                                Blvd Ste 400
                       16
FANDANGO LLC           AALPD Carmike       522205630             Fandango, Inc.       12200 W Olympic   Los Angeles      CA            90064
                       Wynnsong 10                                                    Blvd Ste 400
Fandango LLC           AAIVD_LIVE          522205630             Fandango, Inc.       12200 W Olympic   Los Angeles      CA            90064
                       Kerasotes                                                      Blvd Ste 400
                       ShowPlace
Fandango LLC           AAEPQ_LIVE          522205630             Fandango, Inc.       12200 W Olympic   Los Angeles      CA            90064
                       Regal Virginia Cent                                            Blvd Ste 400
Fandango LLC           AAIWP_LIVE          522205630             Fandango, Inc.       12200 W Olympic   Los Angeles      CA            90064
                       Regal Green Hills 1                                            Blvd Ste 400
FANDANGO LLC           AALPF Carmike       522205630             Fandango, Inc.       12200 W Olympic   Los Angeles      CA            90064
                       Wynnsong 12                                                    Blvd Ste 400
Fandango LLC           AAHVC_LIVE          522205630             Fandango, Inc.       12200 W Olympic   Los Angeles      CA            90064
                       Kerasotes                                                      Blvd Ste 400
                       ShowPlace
Fandango LLC           AAEBG_LIVE          522205630             Fandango, Inc.       12200 W Olympic   Los Angeles      CA            90064
                       Regal Gateway 16                                               Blvd Ste 400




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                                                     493419
                                                                     Exhibit A
                             In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name      Transaction     Taxpayer ID (or     IRS Filing Name            Address              City             State     Postal Code
                        Division Name  Merchant ID, where
                                            available)
FANDANGO LLC          AALPH Carmike 7 522205630           Fandango, Inc.           12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AABWT_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes Universit                                          Blvd Ste 400
Fandango LLC          AAFWV_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Royal Palm                                             Blvd Ste 400
                      Be
FANDANGO LLC          AALPT Carmike       522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Center 8                                                     Blvd Ste 400
Fandango LLC          AAHVB_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes Lake in t                                          Blvd Ste 400
Fandango LLC          AAESD_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Village Squar                                          Blvd Ste 400
FANDANGO LLC          AALPY Carmike       522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Alameda Plaza 3                                              Blvd Ste 400
Fandango LLC          AAHVD_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes                                                    Blvd Ste 400
                      ShowPlace
Fandango LLC          AAAPP_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Lloyd Center                                           Blvd Ste 400
FANDANGO LLC          AALQM Carmike 4 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AAILM_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes                                                    Blvd Ste 400
                      ShowPlace
Fandango LLC          AACPZ_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Auburn 17                                              Blvd Ste 400
                      The
FANDANGO LLC          AALQR Carmike     522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Greenwood 6                                                  Blvd Ste 400
Fandango LLC          AAFFH_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Alamo                                                  Blvd Ste 400
                      Quarry
Fandango LLC          AAJCM_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes Town                                               Blvd Ste 400
                      Plaz
FANDANGO LLC          AALQS Carmike     522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      10 Lexington                                                 Blvd Ste 400



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                                                     493420
                                                                      Exhibit A
                             In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name      Transaction         Taxpayer ID (or     IRS Filing Name        Address              City             State     Postal Code
                        Division Name      Merchant ID, where
                                                available)
Fandango LLC          AAFQV_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Oviedo                                                 Blvd Ste 400
                      Market
Fandango LLC          AAJCR_LIVE         522205630            Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes                                                    Blvd Ste 400
                      ShowPlace
FANDANGO LLC          AALQV Carmike 522205630                 Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      10                                                           Blvd Ste 400
Fandango LLC          AAERB_LIVE         522205630            Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Hollywood                                              Blvd Ste 400
                      20-
Fandango LLC          AAJDE_LIVE         522205630            Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes                                                    Blvd Ste 400
                      ShowPlace
Fandango LLC          AAEQP_LIVE         522205630            Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Belltower 20                                           Blvd Ste 400
FANDANGO LLC          AALQZ Carmike 3 522205630               Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AAJDJ_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes                                                    Blvd Ste 400
                      ShowPlace
Fandango LLC          AAAQE_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Tigard 11                                              Blvd Ste 400
FANDANGO LLC          AALRQ Carmike       522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Ellen 1                                                      Blvd Ste 400
Fandango LLC          AAJDO_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes Plaza 5                                            Blvd Ste 400
Fandango LLC          AAELU_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Hollywood                                              Blvd Ste 400
                      20-
FANDANGO LLC          AALRR Carmike       522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Rialto 1                                                     Blvd Ste 400
Fandango LLC          AAJDQ_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes                                                    Blvd Ste 400
                      ShowPlace
Fandango LLC          AADRI_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Brandywine                                             Blvd Ste 400
                      To



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                                                                     Exhibit A
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 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
FANDANGO LLC          AALRS Carmike     522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      Plaza 6                                                      Blvd Ste 400
Fandango LLC          AAEXD_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Hollywood                                              Blvd Ste 400
                      27-
Fandango LLC          AAJDU_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes Colonial                                           Blvd Ste 400
FANDANGO LLC          AALRW Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Gaslight 3                                                   Blvd Ste 400
Fandango LLC          AAMEM_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Medlock                                                Blvd Ste 400
                      Cross
Fandango LLC          AAJDV_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes Village                                            Blvd Ste 400
                      M
FANDANGO LLC          AALRX Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Cine 3                                                       Blvd Ste 400
Fandango LLC          AANOT_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Westgate 11                                            Blvd Ste 400
                      T
Fandango LLC          AAJDZ_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes                                                    Blvd Ste 400
                      ShowPlace
FANDANGO LLC          AALRY Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Wynnsong 7                                                   Blvd Ste 400
Fandango LLC          AACHL_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Hilltop 9 Cin                                          Blvd Ste 400
Fandango LLC          AAJEE_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes Parkway                                            Blvd Ste 400
                      P
FANDANGO LLC          AALSA Carmike       522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      12                                                           Blvd Ste 400
Fandango LLC          AAJAQ_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Savannah 10                                            Blvd Ste 400
Fandango LLC          AAJEM_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes Illinois                                           Blvd Ste 400
FANDANGO LLC          AALSC Carmike 10 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400



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 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
Fandango LLC          AAERF_LIVE        522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      Regal Knoxville                                              Blvd Ste 400
                      Cen
Fandango LLC          AAEKS_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Boynton 8                                              Blvd Ste 400
                      Cin
FANDANGO LLC          AALSU Carmike       522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      10                                                           Blvd Ste 400
Fandango LLC          AAJEN_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes                                                    Blvd Ste 400
                      ShowPlace
Fandango LLC          AAJMM_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal City Center 1                                          Blvd Ste 400
FANDANGO LLC          AALTB Carmike       522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Appalachian 2                                                Blvd Ste 400
Fandango LLC          AAJEO_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes                                                    Blvd Ste 400
                      ShowPlace
Fandango LLC          AAJAS_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Round Lake                                             Blvd Ste 400
                      Be
FANDANGO LLC          AALTM Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Plaza 2                                                      Blvd Ste 400
Fandango LLC          AAJEX_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes Honey                                              Blvd Ste 400
                      Cre
Fandango LLC          AABNG_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Lakeline                                               Blvd Ste 400
FANDANGO LLC          AALTO Carmike       522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Berkeley 4                                                   Blvd Ste 400
Fandango LLC          AAJFA_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes                                                    Blvd Ste 400
                      ShowPlace
Fandango LLC          AABAW_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Pilot Butte 6                                          Blvd Ste 400
FANDANGO LLC          AALTP Carmike       522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Westgate 2                                                   Blvd Ste 400




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 Business Unit Name     Transaction       Taxpayer ID (or     IRS Filing Name           Address              City             State     Postal Code
                       Division Name    Merchant ID, where
                                             available)
Fandango LLC          AANFK_LIVE       522205630           Fandango, Inc.          12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes                                                    Blvd Ste 400
                      ShowPlace
Fandango LLC          AAEOQ_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Farragut                                               Blvd Ste 400
                      Town
FANDANGO LLC          AALTS Carmike     522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Cinema 4                                                     Blvd Ste 400
Fandango LLC          AANFL_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes Stadium                                            Blvd Ste 400
                      1
Fandango LLC          AANKX_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Mall Of                                                Blvd Ste 400
                      Georg
FANDANGO LLC          AALTU Carmike     522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      12                                                           Blvd Ste 400
Fandango LLC          AAASL_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Fireweed 7                                             Blvd Ste 400
                      Ci
Fandango LLC          AAODA_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes                                                    Blvd Ste 400
                      ShowPlace
FANDANGO LLC          AALUD Carmike 6 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Oleander                                                     Blvd Ste 400
Fandango LLC          AADKW_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Cross Keys                                             Blvd Ste 400
                      Ci
Fandango LLC          AAOEK_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes                                                    Blvd Ste 400
                      ShowPlace
FANDANGO LLC          AALUG Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kendale 2                                                    Blvd Ste 400
Fandango LLC          AACWX_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Dimond                                                 Blvd Ste 400
                      Center
Fandango LLC          AAOSS_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes                                                    Blvd Ste 400
                      ShowPlace



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                                                     493424
                                                                     Exhibit A
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 Business Unit Name      Transaction     Taxpayer ID (or     IRS Filing Name            Address              City             State     Postal Code
                        Division Name  Merchant ID, where
                                            available)
FANDANGO LLC          AALUP Carmike 8 522205630           Fandango, Inc.           12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AAJAU_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Richland                                               Blvd Ste 400
                      Cros
Fandango LLC          AAOTV_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes                                                    Blvd Ste 400
                      ShowPlace
FANDANGO LLC          AALUQ Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Columbia 4                                                   Blvd Ste 400
Fandango LLC          AANGF_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Colonnade 14                                           Blvd Ste 400
Fandango LLC          AAOUE_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes                                                    Blvd Ste 400
                      ShowPlace
Fandango LLC          AAEHS_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Eagle Ridge                                            Blvd Ste 400
                      M
FANDANGO LLC          AALUS Carmike 3 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AANQU_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Arbor Place                                            Blvd Ste 400
                      M
Fandango LLC          AAPDE_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes                                                    Blvd Ste 400
                      ShowPlace
FANDANGO LLC          AALUZ Carmike       522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      North 1-7                                                    Blvd Ste 400
Fandango LLC          AAEPL_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Pembroke                                               Blvd Ste 400
                      Cine
Fandango LLC          AAARG_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes Rivertree                                          Blvd Ste 400

FANDANGO LLC          AALVB Carmike 2 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AAEJS_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Kendall 9                                              Blvd Ste 400



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                                                     493425
                                                                     Exhibit A
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 Business Unit Name     Transaction        Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                       Division Name     Merchant ID, where
                                              available)
FANDANGO LLC          AALVC Carmike     522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      Findlay 6                                                    Blvd Ste 400
Fandango LLC          AAQZK_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes                                                    Blvd Ste 400
                      ShowPlace
Fandango LLC          AAEMH_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Marlboro                                               Blvd Ste 400
                      Cine
FANDANGO LLC          AALVD Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kingsgate 4                                                  Blvd Ste 400
Fandango LLC          AARCD_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes                                                    Blvd Ste 400
                      ShowPlace
Fandango LLC          AAEQN_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Grand                                                  Blvd Ste 400
                      Central
FANDANGO LLC          AALVE Carmike     522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Ashtabula Mall 8                                             Blvd Ste 400
Fandango LLC          AARDW_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes                                                    Blvd Ste 400
                      ShowPlace
Fandango LLC          AANHF_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Ballston                                               Blvd Ste 400
                      Comm
FANDANGO LLC          AALVF Carmike     522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Plaza 8                                                      Blvd Ste 400
Fandango LLC          AAJFD_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kerasotes                                                    Blvd Ste 400
                      ShowPlace
Fandango LLC          AAMUS_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Deer Valley                                            Blvd Ste 400
                      1
FANDANGO LLC          AALVG Carmike 6 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AAEEL Kerasotes   522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Cinema 10                                                    Blvd Ste 400
Fandango LLC          AAMNZ_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Eagan 16                                               Blvd Ste 400



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 Business Unit Name      Transaction     Taxpayer ID (or     IRS Filing Name            Address              City             State     Postal Code
                        Division Name  Merchant ID, where
                                            available)
FANDANGO LLC          AALVL Carmike 5 522205630           Fandango, Inc.           12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AACJO_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Kansas City                                            Blvd Ste 400
                      1
Fandango LLC          AAEEM Kerasotes 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      ShowPlace 8                                                  Blvd Ste 400
FANDANGO LLC          AALVN Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Dunkin 1                                                     Blvd Ste 400
Fandango LLC          AAMUR_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Longston                                               Blvd Ste 400
                      Plac
Fandango LLC          AAGQE Kerasotes 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Nameoki Cinema                                               Blvd Ste 400
FANDANGO LLC          AALVO Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Video Twin                                                   Blvd Ste 400
Fandango LLC          AAJML_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Cinema 99                                              Blvd Ste 400
                      11
Fandango LLC          AAGWI Kerasotes 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Cottonwood Cin                                               Blvd Ste 400
FANDANGO LLC          AALVQ Carmike 8 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AAFWF_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Stark Street                                           Blvd Ste 400
Fandango LLC          AAGWS Kerasotes 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Eastgate Cinem                                               Blvd Ste 400
FANDANGO LLC          AALVR Carmike 6 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AAEGS_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Wildwood 14                                            Blvd Ste 400
                      C
Fandango LLC          AAJCP Kerasotes 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      College Mall C                                               Blvd Ste 400
FANDANGO LLC          AALWA Carmike 3 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AAEJQ_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Village Park                                           Blvd Ste 400



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                                                     493427
                                                                     Exhibit A
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 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
Fandango LLC          AAJCT Kerasotes   522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      Commons Cinema                                               Blvd Ste 400
FANDANGO LLC          AALWD Carmike 5 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AAATW_LIVE      522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Everett 9                                              Blvd Ste 400
Fandango LLC          AAJCU Kerasotes 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kokomo Mall Ci                                               Blvd Ste 400
FANDANGO LLC          AALWE Carmike 4 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AAEMC_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Hollywood                                              Blvd Ste 400
                      Cin
Fandango LLC          AAJCV Kerasotes 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Markland Mall                                                Blvd Ste 400
Fandango LLC          AAOPK_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Hacienda                                               Blvd Ste 400
                      Cros
FANDANGO LLC          AALWF Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Laurel Mall 4                                                Blvd Ste 400
Fandango LLC          AAENO_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Boulevard                                              Blvd Ste 400
                      Cen
FANDANGO LLC          AALWM Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Cranberry Mall 5                                             Blvd Ste 400
Fandango LLC          AAJCW Kerasotes 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      La Porte Cinem                                               Blvd Ste 400
Fandango LLC          AACPY_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Wilsonville S                                          Blvd Ste 400
FANDANGO LLC          AALWQ Carmike 8 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AAJCZ Kerasotes   522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Plaza 3                                                      Blvd Ste 400
Fandango LLC          AAEMI_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Hadley                                                 Blvd Ste 400
                      Theatr
FANDANGO LLC          AALWT Carmike     522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Morgantown Mall                                              Blvd Ste 400



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 Business Unit Name     Transaction       Taxpayer ID (or     IRS Filing Name           Address              City             State     Postal Code
                       Division Name    Merchant ID, where
                                             available)
Fandango LLC          AAJDC Kerasotes  522205630           Fandango, Inc.          12200 W Olympic    Los Angeles       CA            90064
                      Flat River Mov                                               Blvd Ste 400
Fandango LLC          AAMUQ_LIVE      522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Manor                                                  Blvd Ste 400
                      Stadiu
FANDANGO LLC          AALWW Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Hermitage Plaza                                              Blvd Ste 400
Fandango LLC          AAJDD Kerasotes 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Cinema 1                                                     Blvd Ste 400
Fandango LLC          AAMGG_LIVE      522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal                                                        Blvd Ste 400
                      Downingtown C
FANDANGO LLC          AALWY Carmike 5 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AAJDF Kerasotes 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Town & Country                                               Blvd Ste 400
Fandango LLC          AAMHE_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Barn Plaza                                             Blvd Ste 400
                      14
FANDANGO LLC          AALWZ Carmike 6 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AAJDG Kerasotes 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      ShowPlace 8                                                  Blvd Ste 400
Fandango LLC          AANCD_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Charles                                                Blvd Ste 400
                      Towne
FANDANGO LLC          AALXA Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Cole Square 3                                                Blvd Ste 400
Fandango LLC          AAJDL Kerasotes 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Quincy Mall                                                  Blvd Ste 400
Fandango LLC          AAEPK_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Strawbridge                                            Blvd Ste 400
                      M
FANDANGO LLC          AALXF Carmike     522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      14                                                           Blvd Ste 400
Fandango LLC          AAEPI_LIVE Regal 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Kiln Creek Ci                                                Blvd Ste 400




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                                                     493429
                                                                      Exhibit A
                             In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name      Transaction         Taxpayer ID (or     IRS Filing Name        Address              City             State     Postal Code
                        Division Name      Merchant ID, where
                                                available)
Fandango LLC          AAJDP Kerasotes     522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Will Rogers Th                                               Blvd Ste 400
FANDANGO LLC          AALXI Carmike   522205630               Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Wynnsong 7                                                   Blvd Ste 400
Fandango LLC          AAKHI_LIVE      522205630               Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Showplace                                              Blvd Ste 400
                      16
Fandango LLC          AAJDW Kerasotes 522205630               Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      North Towne 6                                                Blvd Ste 400
FANDANGO LLC          AALXM Carmike 7 522205630               Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AAMGN_LIVE        522205630             Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal La Habra 16                                            Blvd Ste 400
Fandango LLC          AAJEB Kerasotes 522205630               Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Cinema 4                                                     Blvd Ste 400
FANDANGO LLC          AALXN Carmike 2 522205630               Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AAMDI_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Crossroads                                             Blvd Ste 400
                      Ma
FANDANGO LLC          AALXP Carmike       522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Dunes Cinema 8                                               Blvd Ste 400
Fandango LLC          AAJED Kerasotes     522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Lory Theatre                                                 Blvd Ste 400
Fandango LLC          AAEKB_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Sawgrass 23                                            Blvd Ste 400
Fandango LLC          AAJEF Kerasotes     522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      White Oaks 5                                                 Blvd Ste 400
FANDANGO LLC          AALXS Carmike       522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Century City 6                                               Blvd Ste 400
Fandango LLC          AAGDQ_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Magnolia                                               Blvd Ste 400
                      Plac
FANDANGO LLC          AALYB Carmike       522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Yankton Mall 5                                               Blvd Ste 400
Fandango LLC          AAJEG Kerasotes     522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Cinema 2                                                     Blvd Ste 400




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                                                     493430
                                                                     Exhibit A
                             In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
Fandango LLC          AAMDK_LIVE        522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      Regal Macarthur                                              Blvd Ste 400
                      Cen
FANDANGO LLC          AALYF Carmike     522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Bijou 7                                                      Blvd Ste 400
Fandango LLC          AAMAC_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Commerce                                               Blvd Ste 400
                      Cent
Fandango LLC          AAJEH Kerasotes   522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Times Theatre                                                Blvd Ste 400
FANDANGO LLC          AALYI Carmike 5   522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AABSV_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Boulder Stati                                          Blvd Ste 400
Fandango LLC          AAJEI Kerasotes     522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Illinois Theat                                               Blvd Ste 400
FANDANGO LLC          AALYN Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 7                                                     Blvd Ste 400
Fandango LLC          AAETH_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Elmwood                                                Blvd Ste 400
                      Cente
Fandango LLC          AAJEJ Kerasotes     522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Stadium                                                      Blvd Ste 400
Fandango LLC          AABGI_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Issaquah 9                                             Blvd Ste 400
                      Th
FANDANGO LLC          AALYO Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      10                                                           Blvd Ste 400
Fandango LLC          AAJEK Kerasotes 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Illinois Theat                                               Blvd Ste 400
Fandango LLC          AABSR_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Bella Botega                                           Blvd Ste 400
FANDANGO LLC          AALYP Carmike       522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 2                                                     Blvd Ste 400
Fandango LLC          AAJEP Kerasotes 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Paris Theatre                                                Blvd Ste 400
FANDANGO LLC          AALYR Carmike 3 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400



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                                                     493431
                                                                     Exhibit A
                             In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
Fandango LLC          AAJAV_LIVE        522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      Regal Marketplace                                            Blvd Ste 400
                      @
Fandango LLC          AAJET Kerasotes 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Toler 2                                                      Blvd Ste 400
Fandango LLC          AALHE_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Metropolitan                                           Blvd Ste 400
FANDANGO LLC          AALYV Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Pines 1                                                      Blvd Ste 400
Fandango LLC          AANZS_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Goldstream                                             Blvd Ste 400
                      16
Fandango LLC          AAJEU Kerasotes 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Indiana 2                                                    Blvd Ste 400
FANDANGO LLC          AALYW Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Park Central 6                                               Blvd Ste 400
Fandango LLC          AAATU_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Alderwood 7                                            Blvd Ste 400
Fandango LLC          AAJFB Kerasotes 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Cinema 10                                                    Blvd Ste 400
FANDANGO LLC          AALZA Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Northloop 6                                                  Blvd Ste 400
Fandango LLC          AAJMO_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Lakewood                                               Blvd Ste 400
                      Cine
Fandango LLC          AAJFC Kerasotes 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Marquette Cine                                               Blvd Ste 400
FANDANGO LLC          AALZC Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Towne Square 4                                               Blvd Ste 400
Fandango LLC          AANAZ_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Hollywood                                              Blvd Ste 400
                      24
FANDANGO LLC          AALZD Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Angelina 2                                                   Blvd Ste 400
Fandango LLC          AAJFE Kerasotes 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Princeton Thea                                               Blvd Ste 400




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                                                     493432
                                                                    Exhibit A
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 Business Unit Name     Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                       Division Name    Merchant ID, where
                                             available)
Fandango LLC          AAEQV_LIVE       522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      Regal Eastview                                              Blvd Ste 400
                      Mall
FANDANGO LLC          AALZE Carmike 6 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                  Blvd Ste 400
Fandango LLC          AAJFF Kerasotes 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Castle Theatre                                              Blvd Ste 400
Fandango LLC          AAEJP_LIVE       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Oakwood 18                                            Blvd Ste 400
FANDANGO LLC          AALZI Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      River Ridge 4                                               Blvd Ste 400
Fandango LLC          AAJFG Kerasotes 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Eastwood Cinem                                              Blvd Ste 400
Fandango LLC          AALNO_LIVE       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Santiam 11                                            Blvd Ste 400
FANDANGO LLC          AALZO Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Valley 8                                                    Blvd Ste 400
Fandango LLC          AAJFH Kerasotes 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      ShowPlace 7                                                 Blvd Ste 400
Fandango LLC          AAESC_LIVE       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Movies On                                             Blvd Ste 400
                      Tv
FANDANGO LLC          AALZV Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Valley 6                                                    Blvd Ste 400
Fandango LLC          AAJFJ Kerasotes  522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Northwest Plaz                                              Blvd Ste 400
Fandango LLC          AAEIV_LIVE       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Columbia                                              Blvd Ste 400
                      Mall
FANDANGO LLC          AAMSY Carmike 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Cine 7                                                      Blvd Ste 400
Fandango LLC          AAJFL Kerasotes 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Dunes Plaza Ci                                              Blvd Ste 400
Fandango LLC          AAEHY_LIVE       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Hollywood                                             Blvd Ste 400
                      18-
FANDANGO LLC          AAMSZ Carmike 7 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                  Blvd Ste 400



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                                                     493433
                                                                     Exhibit A
                             In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name      Transaction        Taxpayer ID (or     IRS Filing Name         Address              City             State     Postal Code
                        Division Name     Merchant ID, where
                                               available)
Fandango LLC          AAELN_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Beach                                                  Blvd Ste 400
                      Bouleva
Fandango LLC          AAQWB Kerasotes 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Machesney - Ce                                               Blvd Ste 400

FANDANGO LLC          AANFN Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Village 6                                                    Blvd Ste 400
Fandango LLC          AADHV_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Burlington                                             Blvd Ste 400
Fandango LLC          AAQWC Kerasotes 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Machesney - Ne                                               Blvd Ste 400

FANDANGO LLC          AANFO Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Wynnsong 10                                                  Blvd Ste 400
Fandango LLC          AANJA_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Warrington                                             Blvd Ste 400
                      Cr
Fandango LLC          AAQZL Kerasotes    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      ShowPlace 8                                                  Blvd Ste 400
FANDANGO LLC          AANFP Carmike 7    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AAGDS_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Marysville Ci                                          Blvd Ste 400
Fandango LLC          AABBX_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Bedford 10                                                   Blvd Ste 400
FANDANGO LLC          AANFQ Carmike 7 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AAEBQ_LIVE      522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Edgmont                                                Blvd Ste 400
                      Squar
Fandango LLC          AAJJB_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Lakewood 8                                                   Blvd Ste 400
FANDANGO LLC          AANFX Carmike 7 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AAAWT_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Movieland 7                                            Blvd Ste 400




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                                                     493434
                                                                     Exhibit A
                             In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name      Transaction         Taxpayer ID (or     IRS Filing Name        Address              City             State     Postal Code
                        Division Name      Merchant ID, where
                                                available)
Fandango LLC          AAFTK_LIVE UA 522205630                 Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Santa Rosa 10                                                Blvd Ste 400
FANDANGO LLC          AANGN Carmike 522205630                 Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Mall 4                                                       Blvd Ste 400
Fandango LLC          AAERK_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal New River                                              Blvd Ste 400
                      Val
FANDANGO LLC          AANGU Carmike 522205630                 Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Plaza 2                                                      Blvd Ste 400
Fandango LLC          AAJJI_LIVE UA       522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Westgate 8                                                   Blvd Ste 400
Fandango LLC          AAAUA_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Bellis Fair 6                                          Blvd Ste 400
FANDANGO LLC          AANHA Carmike 522205630                 Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Wynnsong 16                                                  Blvd Ste 400
Fandango LLC          AAAPQ_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Lloyd Mall 8                                           Blvd Ste 400
Fandango LLC          AAJJL_LIVE UA 522205630                 Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Northgate 8                                                  Blvd Ste 400
FANDANGO LLC          AANLW Carmike 522205630                 Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Center Cinemas                                               Blvd Ste 400
Fandango LLC          AAEJV_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Palace 18                                              Blvd Ste 400
Fandango LLC          AAJJJ_LIVE UA       522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Westwood                                                     Blvd Ste 400
FANDANGO LLC          AANRE Carmike 522205630                 Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      15                                                           Blvd Ste 400
Fandango LLC          AAIXY_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Stonecrest At                                          Blvd Ste 400

Fandango LLC          AAJUI_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Lee Hills 6                                                  Blvd Ste 400
FANDANGO LLC          AAODL Carmike 9 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AAEQU_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Culver Ridge                                           Blvd Ste 400
Fandango LLC          AAJJN_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Bayou Landing 6                                              Blvd Ste 400



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                                                      493435
                                                                      Exhibit A
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  Business Unit Name     Transaction       Taxpayer ID (or     IRS Filing Name           Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
FANDANGO LLC           AAOUW Carmike    522205630           Fandango, Inc.          12200 W Olympic    Los Angeles       CA            90064
                       Griffin 4                                                    Blvd Ste 400
Fandango LLC           AAJAZ_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Cumberland                                             Blvd Ste 400
                       Ma
Fandango LLC           AAKRY_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Washington Squar                                             Blvd Ste 400

FANDANGO LLC           AAOXG Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Cinema 16 Wilmin                                             Blvd Ste 400
Fandango LLC           AAAVE_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Lacey 8                                                Blvd Ste 400
                       Theat
Fandango LLC           AAJIL_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Siegen Village 1                                             Blvd Ste 400
FANDANGO LLC           AAOYV Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Pines Mall 8                                                 Blvd Ste 400
Fandango LLC           AAEJG_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Augusta                                                Blvd Ste 400
Fandango LLC           AAMCH_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Westbrook 4                                                  Blvd Ste 400
FANDANGO LLC           AAOYW Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Cinema Four                                                  Blvd Ste 400
Fandango LLC           AAEIW_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Northampton                                            Blvd Ste 400
                       C
Fandango LLC           AAJUF_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Sawmill Cinema 5                                             Blvd Ste 400
FANDANGO LLC           AAPHV Hornbeck 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       & Penthouse Twi                                              Blvd Ste 400
Fandango LLC           AADHW_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Plymouth                                               Blvd Ste 400
                       Meet
Fandango LLC           AAMBV_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Natchez Mall 4                                               Blvd Ste 400
Century Theatres       12019 Century 16 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Salt Lake                                                    Blvd Ste 400




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                                                      493436
                                                                      Exhibit A
                              In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                         Division Name    Merchant ID, where
                                               available)
Fandango LLC           AAEKX_LIVE        522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                       Regal Division Stre                                          Blvd Ste 400
Century Theatres       5901 Century 25     522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                    Blvd Ste 400
Fandango LLC           AAJJF_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Cinema 4 @ I-82                                              Blvd Ste 400
Fandango LLC           AAERX_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Bel Air                                                Blvd Ste 400
                       Cinem
Century Theatres       12041 Century 14 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Vallejo                                                      Blvd Ste 400
Fandango LLC           AAJJS_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Northpark 14                                                 Blvd Ste 400
Fandango LLC           AAEJO_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Cypress                                                Blvd Ste 400
                       Creek
Century Theatres       12030 Century 16 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Suncoast                                                     Blvd Ste 400
Fandango LLC           AAEQT_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Columbus 12                                            Blvd Ste 400
Fandango LLC           AAMCI_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Pemberton Square                                             Blvd Ste 400
Century Theatres       12037 Century 18 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Sam's Town                                                   Blvd Ste 400
Fandango LLC           AAATX_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Crossroads 8                                           Blvd Ste 400
Fandango LLC           AAFTI_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Cinema 90                                                    Blvd Ste 400
Century Theatres       5801 Century 24    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                    Blvd Ste 400
Fandango LLC           AAEGZ_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Hollywood                                              Blvd Ste 400
                       18-
Fandango LLC           AAGKB_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Eastgate 5                                                   Blvd Ste 400
Fandango LLC           AADXX_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Countryside                                            Blvd Ste 400
                       2



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                                                                      Exhibit A
                              In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                         Division Name    Merchant ID, where
                                               available)
Century Theatres       12032 Century 20  522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                       Great Mall                                                   Blvd Ste 400
Fandango LLC           AAJRM_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Beaucatcher 7                                                Blvd Ste 400
Fandango LLC           AAJMK_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Northwoods                                             Blvd Ste 400
                       14
Century Theatres       12031 Century 12 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Evanston and                                                 Blvd Ste 400
Fandango LLC           AAGKD_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Carolina Mall 8                                              Blvd Ste 400
Fandango LLC           AAELY_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Hollywood                                              Blvd Ste 400
                       16-
Century Theatres       5701 Century 23  522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                    Blvd Ste 400
Fandango LLC           AANVG_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Litchfield 4                                                 Blvd Ste 400
Century Theatres       12013 Century 16 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Bayfair                                                      Blvd Ste 400
Fandango LLC           AAEPD_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Greenbrier                                             Blvd Ste 400
Fandango LLC           AAOAL_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Four Seasons Cin                                             Blvd Ste 400

Century Theatres       12045 Century       522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Downtown Plaza 7                                             Blvd Ste 400
Fandango LLC           AABUN_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Sunset Statio                                          Blvd Ste 400
Century Theatres       5601 Century 22     522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                    Blvd Ste 400
Fandango LLC           AANIB_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Crown 6                                                      Blvd Ste 400
Fandango LLC           AAAVC_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Mountlake 9                                            Blvd Ste 400
Century Theatres       12027 Century 20 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       El Con                                                       Blvd Ste 400




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                                                      493438
                                                                      Exhibit A
                              In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name      Transaction         Taxpayer ID (or     IRS Filing Name        Address              City             State     Postal Code
                         Division Name      Merchant ID, where
                                                 available)
Fandango LLC           AABLC_LIVE UA 522205630                 Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                       West Tower 10                                                Blvd Ste 400
Fandango LLC           AAFSO_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                       Regal Quaker                                                 Blvd Ste 400
                       Crossi
Century Theatres       12007 Century       522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                       Orleans 18                                                   Blvd Ste 400
Fandango LLC           AAEQX_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                       Regal Gainesville C                                          Blvd Ste 400
Fandango LLC           AABKH_LIVE UA 522205630                 Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                       Southampton 4                                                Blvd Ste 400
Century Theatres       5501 Century 21     522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                                                                                    Blvd Ste 400
Fandango LLC           AACTQ_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal East Valley 1                                          Blvd Ste 400
Fandango LLC           AADHY_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Cheltenham Squar                                             Blvd Ste 400

Fandango LLC           AAEHM_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Peoples Plaza                                          Blvd Ste 400

Century Theatres       11601 Century    522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Stadium 16 Ranch                                             Blvd Ste 400
Fandango LLC           AABDX_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Plaza 8                                                      Blvd Ste 400
Fandango LLC           AAJMN_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Cascade 16                                             Blvd Ste 400
                       Ci
Century Theatres       12021 Century 16 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Eastport                                                     Blvd Ste 400
Fandango LLC           AAFBE_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Emery Bay Stadiu                                             Blvd Ste 400
Fandango LLC           AAAQM_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Evergreen                                              Blvd Ste 400
                       Par
Century Theatres       11901 Century    522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Roseville 14                                                 Blvd Ste 400




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                                                      493439
                                                                      Exhibit A
                              In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                         Division Name    Merchant ID, where
                                               available)
Fandango LLC           AABLJ_LIVE UA     522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                       Movieland Yonker                                             Blvd Ste 400
Century Theatres       11801 Century       522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Laguna 16                                                    Blvd Ste 400
Fandango LLC           AAETG_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Transit Cente                                          Blvd Ste 400
Fandango LLC           AABGP_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       East Hills Mall                                              Blvd Ste 400
Century Theatres       11701 Century       522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Folsom 14                                                    Blvd Ste 400
Fandango LLC           AAEKT_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Delray Beach                                           Blvd Ste 400

Fandango LLC           AABGL_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Sierra Vista 6                                               Blvd Ste 400
Century Theatres       5401 Century     522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Stadium 14                                                   Blvd Ste 400
Fandango LLC           AAASN_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Totem 8                                                Blvd Ste 400
                       Theat
Century Theatres       12012 Century    522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Larkspur Landing                                             Blvd Ste 400
Fandango LLC           AACVO_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Montgomeryville                                              Blvd Ste 400

Fandango LLC           AAAVQ_LIVE      522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Newport                                                Blvd Ste 400
                       Road
Century Theatres       11501 Century   522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Capitol 16                                                   Blvd Ste 400
Fandango LLC           AABMA_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Moorestown Mall                                              Blvd Ste 400

Fandango LLC           AAAWN_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Cinema                                                 Blvd Ste 400
                       World




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                                                     493440
                                                                     Exhibit A
                             In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
Fandango LLC          AADRG_LIVE        522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      Regal Spokane                                                Blvd Ste 400
                      Valle
Fandango LLC          AABMB_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Pennsauken 11                                                Blvd Ste 400
Fandango LLC          AAEHC_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Fox 12                                                 Blvd Ste 400
Fandango LLC          AABGA_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Pavilions 11                                                 Blvd Ste 400
Fandango LLC          AAEIG_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Henrietta Cin                                          Blvd Ste 400
Fandango LLC          AABLA_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Chesterfield Tow                                             Blvd Ste 400

Fandango LLC          AAEJH_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Rivergate                                              Blvd Ste 400
                      Cin
Fandango LLC          AABBP_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Winrock 6                                                    Blvd Ste 400
Fandango LLC          AAEJM_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Shiloh Crossi                                          Blvd Ste 400
Fandango LLC          AAGJF_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      DeVargas Mall 6                                              Blvd Ste 400
Fandango LLC          AAEKP_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Ormond                                                 Blvd Ste 400
                      Beach
Fandango LLC          AAGJJ_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      South 6                                                      Blvd Ste 400
Fandango LLC          AAMBY_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Teller Arms Twin                                             Blvd Ste 400

Fandango LLC          AAMBZ_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Colorado West 4                                              Blvd Ste 400

Fandango LLC          AACTS_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Village 4                                                    Blvd Ste 400
Fandango LLC          AAELI_LIVE Regal 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Jupiter 18                                                   Blvd Ste 400



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                                                      493441
                                                                      Exhibit A
                              In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                         Division Name    Merchant ID, where
                                               available)
Fandango LLC           AAEMF_LIVE        522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                       Regal Hudson Mall                                            Blvd Ste 400
                       7
Fandango LLC           AAEOS_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Hamilton                                               Blvd Ste 400
                       Plac
Fandango LLC           AAEQW_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal                                                        Blvd Ste 400
                       Fredericksbur
Fandango LLC           AAERD_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Hollywood                                              Blvd Ste 400
                       20-
Fandango LLC           AAFYR_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Georgesville                                           Blvd Ste 400
Fandango LLC           AAIVX_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal West                                                   Blvd Ste 400
                       Manchest
Fandango LLC           AAIXZ_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Rockville                                              Blvd Ste 400
                       Cen
Fandango LLC           AAJAL_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Rancho Del                                             Blvd Ste 400
                       Re
Century Theatres       12034 Century      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Stadium 14                                                   Blvd Ste 400
Fandango LLC           AAJJW_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Pohatcong 12                                           Blvd Ste 400
Century Theatres       12001 Century Rio 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       24                                                           Blvd Ste 400
Fandango LLC           AAJNL_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Parkway                                                Blvd Ste 400
                       Plaza
Fandango LLC           AAHTR_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Cooper Twin                                                  Blvd Ste 400
Century Theatres       8401 Century Plaza 522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       10                                                           Blvd Ste 400




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                                                      493442
                                                                      Exhibit A
                              In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name      Transaction        Taxpayer ID (or     IRS Filing Name         Address              City             State     Postal Code
                         Division Name     Merchant ID, where
                                                available)
Fandango LLC           AAJOC_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Medina 16 @                                            Blvd Ste 400
                       H
Fandango LLC           AAJRO_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Biltmore Square                                              Blvd Ste 400
Fandango LLC           AAMEP_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Citrus Park 2                                          Blvd Ste 400
Century Theatres       8501 Century        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Cinemas 16                                                   Blvd Ste 400
Fandango LLC           AAFTN_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Marketplace 8                                                Blvd Ste 400
Fandango LLC           AANHE_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal South Beach                                            Blvd Ste 400
                       C
Century Theatres       11201 Century Park 522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       12                                                           Blvd Ste 400
Fandango LLC           AABBR_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Coronado 6                                                   Blvd Ste 400
Fandango LLC           AANKZ_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Hollywood                                              Blvd Ste 400
                       20
Century Theatres       12005 Century 25 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Union City                                                   Blvd Ste 400
Fandango LLC           AANLB_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Live Oak 18                                            Blvd Ste 400
Fandango LLC           AABME_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies at Staten                                             Blvd Ste 400

Century Theatres       11001 Century       522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Berryessa 10                                                 Blvd Ste 400
Fandango LLC           AABMX_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Texas Station                                          Blvd Ste 400
Fandango LLC           AABGX_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies at Wekiva                                             Blvd Ste 400

Century Theatres       12052 Century 20   522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Park Place                                                   Blvd Ste 400




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                                                      493443
                                                                      Exhibit A
                              In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                         Division Name    Merchant ID, where
                                               available)
Fandango LLC           AAEGP_LIVE        522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                       Regal Festival 18                                            Blvd Ste 400
Fandango LLC           AADIB_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Riverview Plaza                                              Blvd Ste 400
Century Theatres       12042 Century 16 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Hilltop                                                      Blvd Ste 400
Fandango LLC           AACGF_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Fiesta 16 The                                          Blvd Ste 400
Fandango LLC           AABKD_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Crossbay II                                                  Blvd Ste 400
Century Theatres       12048 Century 16 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Downtown Plea                                                Blvd Ste 400
Fandango LLC           AAOTC_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Old Mill 10                                            Blvd Ste 400
Fandango LLC           AABBS_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       High Ridge 8                                                 Blvd Ste 400
Century Theatres       12008 Century       522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Parklane 16                                                  Blvd Ste 400
Fandango LLC           AAELB_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Moraine                                                Blvd Ste 400
                       Point
Fandango LLC           AAAZN_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Greenwood Plaza                                              Blvd Ste 400

Century Theatres       12038 Century    522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Riverside 12                                                 Blvd Ste 400
Fandango LLC           AAELP_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Mall St                                                Blvd Ste 400
                       Augus
Fandango LLC           AABZR_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies at 69th S                                             Blvd Ste 400

Century Theatres       12003 Century     522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Sparks 14                                                    Blvd Ste 400
Fandango LLC           AAEQF_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Seminole                                               Blvd Ste 400
                       Squa




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                                                      493444
                                                                      Exhibit A
                              In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                         Division Name    Merchant ID, where
                                               available)
Fandango LLC           AAGJI_LIVE UA     522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                       North 6                                                      Blvd Ste 400
Fandango LLC           AAEMO_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Montrose                                               Blvd Ste 400
                       Movi
Century Theatres       12056 Century    522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Cinema (Corte Ma                                             Blvd Ste 400
Fandango LLC           AAOZS_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Brooklyn                                               Blvd Ste 400
                       Cent
Fandango LLC           AADVZ_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Westview Mall 9                                              Blvd Ste 400

Century Theatres       12057 CineArts at 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Marin                                                        Blvd Ste 400
Fandango LLC           AANRB_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal 22 @ Austell                                           Blvd Ste 400
Fandango LLC           AAJJT_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Parkway Place 10                                             Blvd Ste 400
Century Theatres       12058 Century      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Northgate 15                                                 Blvd Ste 400
Fandango LLC           AAEOF_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal North                                                  Blvd Ste 400
                       Charles
Century Theatres       12059 Century      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regency 6                                                    Blvd Ste 400
Fandango LLC           AAAKN_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Thornton Town Ce                                             Blvd Ste 400

Fandango LLC           AANZR_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal The Avenues                                            Blvd Ste 400
                       2
Century Theatres       12060 Century     522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Rowland Plaza                                                Blvd Ste 400
Fandango LLC           AADIA_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Oxford Valley St                                             Blvd Ste 400




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                   Case 1:05-md-01720-MKB-JAM Document 8713-3 Filed 09/30/22 Page 82 of 414 PageID #:
                                                      493445
                                                                      Exhibit A
                              In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                         Division Name    Merchant ID, where
                                               available)
Fandango LLC           AAEOB_LIVE        522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                       Regal Converse                                               Blvd Ste 400
                       Cine
Century Theatres       12061 CineArts at 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Sequoia                                                      Blvd Ste 400
Fandango LLC           AABSO_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       La Ca?ada 8                                                  Blvd Ste 400
Fandango LLC           AADIQ_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Snellville Oa                                          Blvd Ste 400
Century Theatres       8601 Century        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Stadium 16                                                   Blvd Ste 400
Fandango LLC           AAJJV_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Turtle Creek Mal                                             Blvd Ste 400
Fandango LLC           AAEON_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Downtown                                               Blvd Ste 400
                       West
Century Theatres       12004 Century 10 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Downtown                                                     Blvd Ste 400
Fandango LLC           AAODG_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Westbury Stadium                                             Blvd Ste 400

Fandango LLC           AAEOT_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Northgate                                              Blvd Ste 400
                       Cro
Century Theatres       12063 CineArts at 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Palo Alto Sq                                                 Blvd Ste 400
Fandango LLC           AABDV_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Lakepointe 10                                                Blvd Ste 400
Fandango LLC           AAELZ_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Boone                                                  Blvd Ste 400
                       Cinema
Century Theatres       12043 Century 14 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Downtown Albu                                                Blvd Ste 400
Fandango LLC           AAAWU_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Lancaster 4                                            Blvd Ste 400
Fandango LLC           AADYA_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Fairfax Town Cen                                             Blvd Ste 400




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  Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                         Division Name    Merchant ID, where
                                               available)
Century Theatres       12014 Century     522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                       Aurora 16                                                    Blvd Ste 400
Fandango LLC           AAEUX_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Edwards Boise                                                Blvd Ste 400
                       Stadi
Fandango LLC           AADIV_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Tara Cinemas-Atl                                             Blvd Ste 400
Fandango LLC           AAEMU_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Hudson                                                 Blvd Ste 400
                       Cinema
Century Theatres       12025 Century 16 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Corpus Christ                                                Blvd Ste 400
Fandango LLC           AAFUM_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Searstown Mall 1                                             Blvd Ste 400

Fandango LLC           AAEMZ_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Mayfield                                               Blvd Ste 400
                       Heig
Century Theatres       55001 Century Park 522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       16                                                           Blvd Ste 400
Fandango LLC           AABMC_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Washington Towns                                             Blvd Ste 400

Fandango LLC           AAEND_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Middleburg                                             Blvd Ste 400
                       To
Century Theatres       6401 CineArts @ 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Pleasant Hill                                                Blvd Ste 400
Fandango LLC           AABMD_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Hylan Plaza 5                                                Blvd Ste 400
Fandango LLC           AAENF_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Solon                                                  Blvd Ste 400
                       Commons
Century Theatres       7601 Cinedome 8 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Napa                                                         Blvd Ste 400
Fandango LLC           AADHK_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       North Point Mark                                             Blvd Ste 400




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                                                                      Exhibit A
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  Business Unit Name      Transaction        Taxpayer ID (or     IRS Filing Name         Address              City             State     Postal Code
                         Division Name     Merchant ID, where
                                                available)
Fandango LLC           AAENG_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Westlake                                               Blvd Ste 400
                       Prom
Century Theatres       12039 Century 20 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Daly City                                                    Blvd Ste 400
Fandango LLC           AABWS_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Broadway Faire 1                                             Blvd Ste 400

Fandango LLC           AAJAI_LIVE Regal 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Willoughby Co                                                Blvd Ste 400

Century Theatres       12022 Century 16 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Anchorage                                                    Blvd Ste 400
Fandango LLC           AACXC_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Olympus Pointe 1                                             Blvd Ste 400

Fandango LLC           AAOOO_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Severance                                              Blvd Ste 400
                       Tow
Century Theatres       12067 Century      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Theatres @ The R                                             Blvd Ste 400
Fandango LLC           AAEOK_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Bellevue                                               Blvd Ste 400
                       Cine
Fandango LLC           AAAKE_LIVE UA      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Laguna Village 1                                             Blvd Ste 400

Century Theatres       11301 Century Park 522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       7                                                            Blvd Ste 400
Fandango LLC           AAERT_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Tullahoma                                              Blvd Ste 400
                       Cin
Fandango LLC           AADVD_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       West Village Sta                                             Blvd Ste 400

Century Theatres       6301 CineArts @    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Empire                                                       Blvd Ste 400




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  Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                         Division Name    Merchant ID, where
                                               available)
Fandango LLC           AAEQB_LIVE        522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                       Regal Downtown                                               Blvd Ste 400
                       Mall
Fandango LLC           AAJJK_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Ambassador 10                                                Blvd Ste 400
Century Theatres       55101 Century      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Gateway 12                                                   Blvd Ste 400
Fandango LLC           AAEOR_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Hamilton                                               Blvd Ste 400
                       Plac
Fandango LLC           AAJJM_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Lake Charles 10                                              Blvd Ste 400
Century Theatres       12016 Century      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Abilene 12                                                   Blvd Ste 400
Fandango LLC           AAAPR_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Broadway                                               Blvd Ste 400
                       Metr
Fandango LLC           AABZT_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Grant Plaza 9                                                Blvd Ste 400
Century Theatres       8801 Century 8 (N. 522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Hollywood)                                                   Blvd Ste 400
Fandango LLC           AAEQH_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Gig Harbor 3                                           Blvd Ste 400
Fandango LLC           AABNO_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Circle Center 9                                              Blvd Ste 400
Century Theatres       8101 Cinedome 7 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Newark                                                       Blvd Ste 400
Fandango LLC           AAEHA_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Madison                                                Blvd Ste 400
                       Squar
Fandango LLC           AABHF_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Green Valley 8                                               Blvd Ste 400
Century Theatres       12017 Century      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Odessa 12                                                    Blvd Ste 400
Fandango LLC           AAEGQ_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Galleria 10                                            Blvd Ste 400
Fandango LLC           AABNJ_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Grand Prairie 10                                             Blvd Ste 400



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                                                                      Exhibit A
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  Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                         Division Name    Merchant ID, where
                                               available)
Century Theatres       6601 Hyatt        522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                       Cinemas 3                                                    Blvd Ste 400
Fandango LLC           AACDG_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal South Hill Ci                                          Blvd Ste 400
Fandango LLC           AAFZA_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Commerce Stadium                                             Blvd Ste 400
Century Theatres       6901 Cinedome 8 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Fremont                                                      Blvd Ste 400
Fandango LLC           AAAWS_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Three Rivers                                           Blvd Ste 400
Century Theatres       11401 Cinedome 12 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Henderson                                                    Blvd Ste 400
Fandango LLC           AANPI_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       East Whiteland S                                             Blvd Ste 400
Fandango LLC           AAPHS_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Shortpump                                              Blvd Ste 400
                       14
Century Theatres       12053 Century       522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Galaxy 6 Montere                                             Blvd Ste 400
Fandango LLC           AAJJO_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Biloxi 10                                                    Blvd Ste 400
Fandango LLC           AAEOI_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Indian Lake                                            Blvd Ste 400
                       C
Century Theatres       12029 Century 12 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Downtown San                                                 Blvd Ste 400
Fandango LLC           AAEOE_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Inlet Square                                           Blvd Ste 400
Fandango LLC           AABBQ_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Four Hills 10                                                Blvd Ste 400
Century Theatres       12064 Century 16 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Greenback Lan                                                Blvd Ste 400
Fandango LLC           AACVM_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Liberty Theat                                          Blvd Ste 400
Fandango LLC           AACVP_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Galaxy Stadium 1                                             Blvd Ste 400




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  Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                         Division Name    Merchant ID, where
                                               available)
Fandango LLC           AAEYC_LIVE        522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                       Regal Crystal River                                          Blvd Ste 400
Century Theatres       12047 Century 14 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Northridge Ma                                                Blvd Ste 400
Fandango LLC           AABSZ_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Eagle Highlands                                              Blvd Ste 400
Fandango LLC           AAEOC_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Westgate                                               Blvd Ste 400
                       Mall
Century Theatres       12054 Century 14 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Downtown Waln                                                Blvd Ste 400
Fandango LLC           AACAV_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Seminole Towne C                                             Blvd Ste 400

Fandango LLC           AAAPX_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Westgate 5                                             Blvd Ste 400
                       Th
Century Theatres       12065 Century 20 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Oakridge                                                     Blvd Ste 400
Fandango LLC           AACBI_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Sonora Village 1                                             Blvd Ste 400
Century Theatres       AACEA Scottsdale 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Drive-In                                                     Blvd Ste 400
Fandango LLC           AAAPY_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal 82nd Avenue                                            Blvd Ste 400
                       6
Fandango LLC           AAGDH_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Branford                                               Blvd Ste 400
                       Stad
Fandango LLC           AAAQA_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Clackamas                                              Blvd Ste 400
                       Tow
Century Theatres       AACEB Glendale 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Drive-In                                                     Blvd Ste 400
Fandango LLC           AAMMY_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Stonington                                             Blvd Ste 400




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  Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                         Division Name    Merchant ID, where
                                               available)
Fandango LLC           AAAQF_LIVE        522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                       Regal Vancouver                                              Blvd Ste 400
                       Pla
Century Theatres       AACEE Las Vegas 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Drive-In                                                     Blvd Ste 400
Fandango LLC           AAGEB_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Waterford 9                                            Blvd Ste 400
Fandango LLC           AAATZ_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Sehome 3                                               Blvd Ste 400
                       Cine
Century Theatres       AACEJ El Rancho 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Drive-In 4                                                   Blvd Ste 400
Fandango LLC           AAFWZ_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Augusta 10                                             Blvd Ste 400
Fandango LLC           AAAVD_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Puyallup 6 Ci                                          Blvd Ste 400
Century Theatres       AACET               522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Sacramento Drive-                                            Blvd Ste 400
                       In
Fandango LLC           AAFXD_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Brunswick                                              Blvd Ste 400
                       10
Fandango LLC           AAAVG_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Silverdale 4                                           Blvd Ste 400
Century Theatres       AACFG Solano 2 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Drive-In                                                     Blvd Ste 400
Fandango LLC           AAFXI_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Clarks Pond                                            Blvd Ste 400
                       8
Fandango LLC           AAAVI_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Sunset                                                 Blvd Ste 400
                       Square
Century Theatres       AATKM Century 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       16 Santa Fe                                                  Blvd Ste 400
Fandango LLC           AAAVP_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Uptown                                                 Blvd Ste 400
                       Triple




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 Business Unit Name      Transaction        Taxpayer ID (or     IRS Filing Name         Address              City             State     Postal Code
                        Division Name     Merchant ID, where
                                               available)
Fandango LLC          AAFXF_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Falmouth 10                                            Blvd Ste 400
Cinemark              285 Cinemark 16 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AAAVX_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Showboat 5                                             Blvd Ste 400
                      Ci
Fandango LLC          AAJVM_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Bowie                                                  Blvd Ste 400
                      Crossin
Cinemark              298 Cinemark 18    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AAAVY_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Coeur                                                  Blvd Ste 400
                      D'Alene
Fandango LLC          AAKHA_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Centre at Sal                                          Blvd Ste 400
Cinemark              402 Cinemark Imax 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Theatre                                                      Blvd Ste 400
Fandango LLC          AAAWR_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Triangle                                               Blvd Ste 400
                      Quad
Fandango LLC          AAQKT_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Germantown                                             Blvd Ste 400
                      St
Cinemark              265 Cinemark        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Tulsa                                                        Blvd Ste 400
Fandango LLC          AAAXF_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Albany 7                                               Blvd Ste 400
                      Cine
Cinemark              251 Cinemark        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Legacy                                                       Blvd Ste 400
Fandango LLC          AAJUS_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Hunt Valley                                            Blvd Ste 400
                      M
Fandango LLC          AAAXG_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Ninth Street                                           Blvd Ste 400




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 Business Unit Name      Transaction          Taxpayer ID (or     IRS Filing Name        Address             City             State     Postal Code
                        Division Name       Merchant ID, where
                                                 available)
Cinemark              208 Cinemark         522205630           Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Tinseltown 9                                                  Blvd Ste 400
Fandango LLC          AADVM_LIVE         522205630             Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Regal Westminster                                             Blvd Ste 400
                      9
Fandango LLC          AABSN_LIVE         522205630             Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Regal Capital Mall                                            Blvd Ste 400
Cinemark              407 Cinemark Imax 522205630              Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Theatre                                                       Blvd Ste 400
Fandango LLC          AAEZS_LIVE         522205630             Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Regal Bellingham                                              Blvd Ste 400
                      St
Fandango LLC          AACPU_LIVE         522205630             Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Regal Terrace                                                 Blvd Ste 400
                      Cinem
Cinemark              207 Cinemark 17 522205630                Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                                                                                    Blvd Ste 400
Fandango LLC          AAJWQ_LIVE           522205630           Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Regal Berkshire                                               Blvd Ste 400
                      Mal
Fandango LLC          AACVN_LIVE           522205630           Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Regal Orchards Tri                                            Blvd Ste 400
Cinemark              206 Cinemark         522205630           Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Tinseltown Grapev                                             Blvd Ste 400
Fandango LLC          AANZJ_LIVE           522205630           Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Regal Cape Cod                                                Blvd Ste 400
                      Mall
Fandango LLC          AADEO_LIVE           522205630           Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Regal Kambe                                                   Blvd Ste 400
                      Theatre
Cinemark              193 Cinemark         522205630           Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Movies 10                                                     Blvd Ste 400
Fandango LLC          AADTJ_LIVE           522205630           Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Regal Harwich 6                                               Blvd Ste 400
Fandango LLC          AADLP_LIVE           522205630           Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Regal Delk 10                                                 Blvd Ste 400
Cinemark              118 Cinemark         522205630           Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Movies 8                                                      Blvd Ste 400



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                                                                       Exhibit A
                             In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name      Transaction          Taxpayer ID (or     IRS Filing Name        Address             City             State     Postal Code
                        Division Name       Merchant ID, where
                                                 available)
Fandango LLC          AADTK_LIVE           522205630           Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Regal Independence                                            Blvd Ste 400

Fandango LLC          AADLQ_LIVE          522205630            Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Regal Town Center                                             Blvd Ste 400
                      1
Cinemark              60 Cinemark         522205630            Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Movies 12 Vista Ri                                            Blvd Ste 400
Fandango LLC          AAEGV_LIVE          522205630            Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Regal Brook                                                   Blvd Ste 400
                      Highlan
Fandango LLC          AAFWM_LIVE UA 522205630                  Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Galaxy 11                                                     Blvd Ste 400
Cinemark              56 Cinemark         522205630            Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Movies 16                                                     Blvd Ste 400
Fandango LLC          AAEGX_LIVE          522205630            Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Regal River Oaks                                              Blvd Ste 400
                      Ci
Fandango LLC          AACUS_LIVE UA 522205630                  Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Showcase 8                                                    Blvd Ste 400
Cinemark              55 Cinemark         522205630            Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Movies 8                                                      Blvd Ste 400
Fandango LLC          AAEHD_LIVE          522205630            Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Regal Fiesta Square                                           Blvd Ste 400
Fandango LLC          AAJJR_LIVE UA 522205630                  Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Clinton 10                                                    Blvd Ste 400
Cinemark              38 Cinemark         522205630            Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Hollywood USA                                                 Blvd Ste 400
                      Movi
Fandango LLC          AAEHG_LIVE          522205630            Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Regal Hemet                                                   Blvd Ste 400
                      Cinema
Fandango LLC          AACAW_LIVE UA 522205630                  Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Galaxy Stadium 1                                              Blvd Ste 400

Cinemark              35 Cinemark          522205630           Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                      Movies 14                                                     Blvd Ste 400




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                                                     493455
                                                                     Exhibit A
                             In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name      Transaction        Taxpayer ID (or     IRS Filing Name         Address              City             State     Postal Code
                        Division Name     Merchant ID, where
                                               available)
Fandango LLC          AAEHP_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Oakmont 8                                              Blvd Ste 400
Fandango LLC          AACMQ_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Cottonwood Mall                                              Blvd Ste 400

Cinemark              221 Cinemark    522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Melrose Park                                                 Blvd Ste 400
Fandango LLC          AAEHR_LIVE      522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Citrus                                                 Blvd Ste 400
                      Cinema
Fandango LLC          AAFXW_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Colorado Center                                              Blvd Ste 400

Cinemark              271 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Palace At The Pla                                            Blvd Ste 400
Fandango LLC          AAEHT_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Largo Mall 8                                           Blvd Ste 400
Cinemark              195 Cinemark 16 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AADIT_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Perimeter Pointe                                             Blvd Ste 400
Fandango LLC          AAEIC_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Spring Hill 8                                          Blvd Ste 400
Cinemark              292 Cinemark 20 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AAEVY_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Snowden Square S                                             Blvd Ste 400

Fandango LLC          AAEJE_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Eisenhower                                             Blvd Ste 400
                      Sq
Cinemark              290 Cinemark 10    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AAGUM_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Garner Town Squa                                             Blvd Ste 400

Fandango LLC          AAEJK_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Venetian 6                                             Blvd Ste 400



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                                                     493456
                                                                     Exhibit A
                             In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
Cinemark              284 Cinemark 20   522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      At Festival Ba                                               Blvd Ste 400
Fandango LLC          AAPVH_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      North Creek 10                                               Blvd Ste 400
Fandango LLC          AAEJR_LIVE       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Cinema Key                                             Blvd Ste 400
                      We
Cinemark              279 Cinemark 20 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AAETD_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Hampton Bays 5                                               Blvd Ste 400

Fandango LLC          AAEKC_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Osceola                                                Blvd Ste 400
                      Squar
Cinemark              275 Cinemark 16   522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AADHZ_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Main Street 6                                                Blvd Ste 400
Fandango LLC          AAEKN_LIVE      522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Holiday 6                                              Blvd Ste 400
Cinemark              262 Cinemark 14 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AAJJG_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Pavilions 15                                                 Blvd Ste 400
Fandango LLC          AAEME_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Mayberry                                               Blvd Ste 400
                      Cine
Cinemark              182 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Hollywood U.S.A.                                             Blvd Ste 400
Fandango LLC          AAEMM_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Independence                                           Blvd Ste 400

Fandango LLC          AADGS_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Rainbow Promenad                                             Blvd Ste 400

Cinemark              225 Cinemark      522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Tinseltown 17                                                Blvd Ste 400



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                             In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name      Transaction         Taxpayer ID (or     IRS Filing Name        Address              City             State     Postal Code
                        Division Name      Merchant ID, where
                                                available)
Fandango LLC          AAEMN_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Interstate Pa                                          Blvd Ste 400
Fandango LLC          AACTX_LIVE UA 522205630                 Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Fossil Creek Sta                                             Blvd Ste 400

Cinemark              224 Cinemark      522205630             Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Barton Creek Cine                                            Blvd Ste 400
Fandango LLC          AAENH_LIVE        522205630             Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal 6                                                      Blvd Ste 400
Fandango LLC          AAGCR_LIVE UA 522205630                 Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Cortlandt Town C                                             Blvd Ste 400

Cinemark              242 Cinemark     522205630              Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Tinseltown 20                                                Blvd Ste 400
Fandango LLC          AAENK_LIVE       522205630              Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Southland                                              Blvd Ste 400
                      Cin
Fandango LLC          AAGVL_LIVE UA 522205630                 Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Farmingdale Stad                                             Blvd Ste 400

Cinemark              226 Cinemark        522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Tinseltown Westch                                            Blvd Ste 400
Fandango LLC          AAENL_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Lafayette                                              Blvd Ste 400
                      Cen
Cinemark              248 Cinemark        522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Tinseltown USA                                               Blvd Ste 400
Fandango LLC          AAJNK_LIVE UA       522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Union Square Sta                                             Blvd Ste 400
Fandango LLC          AAENM_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Northtowne                                             Blvd Ste 400
                      Ci
Cinemark              288 Cinemark 24     522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Jordan Landing                                               Blvd Ste 400
Fandango LLC          AALZZ_LIVE UA       522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Bonita Lakes 9                                               Blvd Ste 400




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                                                                     Exhibit A
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 Business Unit Name      Transaction        Taxpayer ID (or     IRS Filing Name         Address              City             State     Postal Code
                        Division Name     Merchant ID, where
                                               available)
Fandango LLC          AAENQ_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Cinemasouth                                            Blvd Ste 400
                      C
Cinemark              401 Cinemark Imax 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Theatre                                                      Blvd Ste 400
Fandango LLC          AAEAC_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Eastchase Market                                             Blvd Ste 400

Fandango LLC          AAENV_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Lima Center                                            Blvd Ste 400
                      C
Cinemark              202 Cinemark      522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Tinseltown USA                                               Blvd Ste 400
Fandango LLC          AAJIO_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Citiplace 11                                                 Blvd Ste 400
Fandango LLC          AAENW_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Cinema 7                                               Blvd Ste 400
Cinemark              403 Cinemark Imax 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Theatre                                                      Blvd Ste 400
Fandango LLC          AAHTU_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Twin Peaks 10                                                Blvd Ste 400
Fandango LLC          AAENY_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Windsor                                                Blvd Ste 400
Cinemark              276 Cinemark @    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Seven Bridges                                                Blvd Ste 400
Fandango LLC          AAMAA_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Breckenridge Vil                                             Blvd Ste 400

Fandango LLC          AAEOG_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Aiken Mall                                             Blvd Ste 400
                      Ci
Cinemark              314 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Sunrise Mall                                                 Blvd Ste 400
Fandango LLC          AAJJH_LIVE UA      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Meadows 12                                                   Blvd Ste 400
Fandango LLC          AAEPN_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Chester                                                Blvd Ste 400
                      Cinem



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                                                     493459
                                                                     Exhibit A
                             In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
Cinemark              312 Cinemark      522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      Victoria                                                     Blvd Ste 400
Fandango LLC          AAOHS_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Amarillo Star St                                             Blvd Ste 400

Fandango LLC          AAEPO_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Southpark                                              Blvd Ste 400
                      Cin
Cinemark              321 Cinemark At   522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Hampshire Mall                                               Blvd Ste 400
Fandango LLC          AAEPW_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Westhampton                                            Blvd Ste 400
                      C
Fandango LLC          AAOQP_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      King Of Prussia                                              Blvd Ste 400

Cinemark              404 Cinemark Imax 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Theatre                                                      Blvd Ste 400
Fandango LLC          AAEQA_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Staunton                                               Blvd Ste 400
                      Mall
Fandango LLC          AAMOM_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      UA Brandon                                                   Blvd Ste 400
                      Cinemas
Cinemark              301 Cinemark      522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Carefree Circle                                              Blvd Ste 400
Fandango LLC          AAEQJ_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal South Sound                                            Blvd Ste 400
                      C
Fandango LLC          AAQDA_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Staten Island St                                             Blvd Ste 400
Cinemark              295 Cinemark 18 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AAPOU_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Court Street Sta                                             Blvd Ste 400

Fandango LLC          AAEQO_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Aquia 10                                               Blvd Ste 400



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                                                                       Exhibit A
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 Business Unit Name      Transaction          Taxpayer ID (or     IRS Filing Name        Address              City             State     Postal Code
                        Division Name       Merchant ID, where
                                                 available)
Cinemark              210 Cinemark         522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Movies 8                                                      Blvd Ste 400
Cinemark              64 Cinemark     522205630                Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Movies 7                                                      Blvd Ste 400
Fandango LLC          AAPOT_LIVE UA 522205630                  Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Kaufman Astoria                                               Blvd Ste 400

Fandango LLC          AAERM_LIVE           522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Oak Hollow                                              Blvd Ste 400
                      Ma
Cinemark              304 Cinemark Fort    522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Collins                                                       Blvd Ste 400
Fandango LLC          AAERS_LIVE           522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Tall Firs 10                                            Blvd Ste 400
Fandango LLC          AAPOS_LIVE UA        522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Battery Park Cit                                              Blvd Ste 400
Fandango LLC          AAERW_LIVE           522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Wilson                                                  Blvd Ste 400
                      Cinema
Cinemark              190 Cinemark         522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Hollywood Movies                                              Blvd Ste 400
Fandango LLC          AADTL_LIVE           522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Mashpee                                                 Blvd Ste 400
                      Commo
Fandango LLC          AAESA_LIVE           522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Columbia                                                Blvd Ste 400
                      Cine
Fandango LLC          AAHET_LIVE           522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Nickelodeon                                             Blvd Ste 400
                      5
Cinemark              216 Cinemark         522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Tinseltown 17                                                 Blvd Ste 400
Fandango LLC          AAESB_LIVE           522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Bossier                                                 Blvd Ste 400
                      Corne
Cinemark              218 Cinemark         522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Tinseltown 290                                                Blvd Ste 400




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 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
Fandango LLC          AADTQ_LIVE        522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      Regal Silver City G                                          Blvd Ste 400
Fandango LLC          AAEST_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Austintown                                             Blvd Ste 400
                      Co
Cinemark              256 Cinemark        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Tinseltown USA                                               Blvd Ste 400
Fandango LLC          AADXG_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Solomon                                                Blvd Ste 400
                      Pond
Fandango LLC          AAFCE_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal River Valley                                           Blvd Ste 400
Cinemark              270 Cinemark 19 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AADTR_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal South Dennis                                           Blvd Ste 400
Cinemark              335 Cinemark @     522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Holiday Village                                              Blvd Ste 400
Fandango LLC          AAFEX_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal New Towne                                              Blvd Ste 400
                      Cin
Fandango LLC          AAEGI_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Westborough                                            Blvd Ste 400
                      S
Cinemark              236 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Tinseltown USA                                               Blvd Ste 400
Fandango LLC          AAFEY_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Frenchtown                                             Blvd Ste 400
                      Sq
Fandango LLC          AALNF_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Bedford Mall                                           Blvd Ste 400
Cinemark              139 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 10                                                    Blvd Ste 400
Fandango LLC          AAHVE_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Lake Zurich                                            Blvd Ste 400
                      1
Fandango LLC          AADRY_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Concord 10                                             Blvd Ste 400



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 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
Cinemark              280 Cinemark 22   522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AAKHG_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Ronkonkoma                                             Blvd Ste 400
                      Ci
Fandango LLC          AADRW_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Hooksett 8                                             Blvd Ste 400
Cinemark              69 Cinemark        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 16                                                    Blvd Ste 400
Fandango LLC          AAMGL_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Poulsbo 10                                             Blvd Ste 400
Fandango LLC          AADSA_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Manchester 9                                           Blvd Ste 400

Fandango LLC          AAMQO_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal College                                                Blvd Ste 400
                      Avenu
Cinemark              257 Cinemark        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Tinseltown                                                   Blvd Ste 400
Fandango LLC          AAFXO_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Newington                                              Blvd Ste 400
                      12
Cinemark              249 Cinemark        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Tinseltown                                                   Blvd Ste 400
Fandango LLC          AAMSG_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Harrisonburg                                           Blvd Ste 400
Fandango LLC          AAQAD_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Hamilton                                               Blvd Ste 400
                      Comm
Cinemark              283 Cinemark At     522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Valley View                                                  Blvd Ste 400
Fandango LLC          AAMUP_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Bellevue Gall                                          Blvd Ste 400
Cinemark              230 Cinemark        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Tinseltown U.S.A.                                            Blvd Ste 400
Fandango LLC          AAJVU_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Arnot Mall                                             Blvd Ste 400
                      10



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 Business Unit Name      Transaction         Taxpayer ID (or     IRS Filing Name        Address              City             State     Postal Code
                        Division Name      Merchant ID, where
                                                available)
Fandango LLC          AANHG_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Westfork                                               Blvd Ste 400
                      Plaz
Cinemark              252 Cinemark        522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Tinseltown                                                   Blvd Ste 400
Fandango LLC          AAGGD_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Aviation                                               Blvd Ste 400
Fandango LLC          AANJP_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Parkway                                                Blvd Ste 400
                      Plaza
Cinemark              233 Cinemark        522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Tinseltown Lubboc                                            Blvd Ste 400
Fandango LLC          AAODE_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Binghamton                                             Blvd Ste 400
                      St
Fandango LLC          AANKW_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Garden                                                 Blvd Ste 400
                      Grove
Cinemark              260 Cinemark        522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Tinseltown                                                   Blvd Ste 400
Fandango LLC          AAJGH_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Carousel                                               Blvd Ste 400
                      Mall
Fandango LLC          AANKY_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Natomas                                                Blvd Ste 400
                      Marke
Cinemark              119 Cinemark        522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Theatres                                                     Blvd Ste 400
Fandango LLC          AAKGP_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Champlain                                              Blvd Ste 400
                      Cen
Fandango LLC          AANLC_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal New Roc                                                Blvd Ste 400
                      City
Cinemark              240 Cinemark        522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Tinseltown 14                                                Blvd Ste 400
Fandango LLC          AANLD_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Foothill                                               Blvd Ste 400



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 Business Unit Name      Transaction         Taxpayer ID (or     IRS Filing Name        Address              City             State     Postal Code
                        Division Name      Merchant ID, where
                                                available)
Fandango LLC          AAGGH_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Clifton Park                                           Blvd Ste 400
Cinemark              245 Cinemark        522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Tinseltown USA                                               Blvd Ste 400
Fandango LLC          AANQT_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Cinemas                                                Blvd Ste 400
                      Ocean
Fandango LLC          AAGGK_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Crossgates                                             Blvd Ste 400
                      12
Cinemark              192 Cinemark        522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Movies 14                                                    Blvd Ste 400
Fandango LLC          AANQV_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Hollywood                                              Blvd Ste 400
                      12
Fandango LLC          AAGGS_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Crossgates St                                          Blvd Ste 400

Cinemark              123 Cinemark        522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Blackhawk Movies                                             Blvd Ste 400
Fandango LLC          AANQX_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Augusta                                                Blvd Ste 400
                      Excha
Fandango LLC          AAGGV_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal East                                                   Blvd Ste 400
                      Greenbus
Cinemark              259 Cinemark 20     522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AANQY_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Cobblestone                                            Blvd Ste 400
                      S
Fandango LLC          AAJFM_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Fishkill 10                                            Blvd Ste 400
Cinemark              254 Cinemark        522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Tinseltown USA                                               Blvd Ste 400
Fandango LLC          AANZD_LIVE          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                      Regal Winter Park                                            Blvd Ste 400
                      V



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 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
Fandango LLC          AAJFT_LIVE        522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      Regal Galleria Mall                                          Blvd Ste 400
Cinemark              235 Cinemark 17 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AAOGJ_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Town Center                                            Blvd Ste 400
                      1
Cinemark              186 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Tinseltown 17                                                Blvd Ste 400
Fandango LLC          AAJKN_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Great                                                  Blvd Ste 400
                      Norther
Cinemark              215 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Tinseltown Movies                                            Blvd Ste 400
Fandango LLC          AAKHL_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Hudson                                                 Blvd Ste 400
                      Valley
Cinemark              327 Cinemark at    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Paducah                                                      Blvd Ste 400
Fandango LLC          AAGGX_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Latham                                                 Blvd Ste 400
                      Circle
Cinemark              45 Cinemark        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Cinema 8                                                     Blvd Ste 400
Fandango LLC          AAJWN_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Pyramid Mall                                           Blvd Ste 400
Cinemark              175 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 12                                                    Blvd Ste 400
Fandango LLC          AAKHU_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Salmon Run                                             Blvd Ste 400
                      Ma
Cinemark              200 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Stoneridge Plaza                                             Blvd Ste 400
Fandango LLC          AAJGJ_LIVE Regal 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Shoppingtown                                                 Blvd Ste 400

Cinemark              338 Cinemark      522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Asheboro                                                     Blvd Ste 400



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 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
Fandango LLC          AAGHE_LIVE        522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      Regal Wilton Mall                                            Blvd Ste 400
Cinemark              343 Cinemark        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      American Fork                                                Blvd Ste 400
Fandango LLC          AAOGS_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Harrisburg St                                          Blvd Ste 400
Cinemark              339 Cinemark        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Sherman                                                      Blvd Ste 400
Fandango LLC          AALNI_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Hazleton                                               Blvd Ste 400
                      Laur
Cinemark              274 Cinemark        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Tinseltown USA                                               Blvd Ste 400
Fandango LLC          AALML_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Saucon                                                 Blvd Ste 400
                      Valley
Cinemark              297 Cinemark Bear 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Valley 10                                                    Blvd Ste 400
Fandango LLC          AANCY_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Manassas                                               Blvd Ste 400
                      Stad
Cinemark              347 Cinemark at     522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      the Pike                                                     Blvd Ste 400
Fandango LLC          AAKGV_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Martinsburg                                            Blvd Ste 400
                      S
Fandango LLC          AAEJB_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Everett Mall                                           Blvd Ste 400
Fandango LLC          AAQQK_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Colorado Mills S                                             Blvd Ste 400

Fandango LLC          AAQZI_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Pioneer Place                                          Blvd Ste 400

Fandango LLC          AAEUJ_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Arbor                                                  Blvd Ste 400
                      Cinema




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  Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                         Division Name    Merchant ID, where
                                               available)
Fandango LLC           AARDX_LIVE        522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                       Regal St. Louis Mil                                          Blvd Ste 400
Fandango LLC           AABIN Edwards       522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Foothill Center                                              Blvd Ste 400
Fandango LLC           AAEJJ Regal         522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       University 16                                                Blvd Ste 400
Fandango LLC           AAPOV UA            522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Columbia Park 12                                             Blvd Ste 400
Wallace Theaters       AAGLD_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Hollywood - South                                            Blvd Ste 400
                       W
Cinemark               241 Cinemark El     522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Paso                                                         Blvd Ste 400
Cinemark               253 Cinemark        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Tinseltown                                                   Blvd Ste 400
Cinemark               261 Cinemark        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Tinseltown USA                                               Blvd Ste 400
Cinemark               12 Cinemark         522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 8                                                     Blvd Ste 400
Cinemark               93 Cinemark         522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Hollywood USA                                                Blvd Ste 400
Cinemark               126 Cinemark        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 10                                                    Blvd Ste 400
Cinemark               209 Cinemark        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 10                                                    Blvd Ste 400
Cinemark               217 Cinemark        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 14                                                    Blvd Ste 400
Cinemark               222 Cinemark        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Tinseltown 15                                                Blvd Ste 400
Cinemark               10 Cinemark         522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 8                                                     Blvd Ste 400
Cinemark               100 Cinemark        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 10                                                    Blvd Ste 400
Fandango LLC           AAOGK_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Regal Hamburg                                                Blvd Ste 400
                       Pavil
Cinemark               108 Cinemark        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 8                                                     Blvd Ste 400



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 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
Fandango LLC          AAOLH_LIVE        522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      Regal Bonita                                                 Blvd Ste 400
Cinemark              113 Cinemark        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 10                                                    Blvd Ste 400
Fandango LLC          AAOOP_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Sherwood 10                                            Blvd Ste 400
Fandango LLC          AAOPE_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Waterford                                              Blvd Ste 400
                      Lak
Cinemark              114 Cinemark        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 6                                                     Blvd Ste 400
Fandango LLC          AAOPG_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Trussville 16                                          Blvd Ste 400
Cinemark              116 Cinemark        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 12                                                    Blvd Ste 400
Fandango LLC          AAOPJ_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Opry Mills                                             Blvd Ste 400
Cinemark              120 Cinemark        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Discount Cinema 8                                            Blvd Ste 400
Fandango LLC          AAOPM_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal The Avenue                                             Blvd Ste 400
                      13
Cinemark              121 Cinemark        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 10                                                    Blvd Ste 400
Fandango LLC          AAOTB_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Cielo Vista 1                                          Blvd Ste 400
Cinemark              122 Cinemark        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Lexington Green M                                            Blvd Ste 400
Fandango LLC          AAOZV_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Northtown                                              Blvd Ste 400
                      Mal
Cinemark              124 Cinemark        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 8                                                     Blvd Ste 400
Fandango LLC          AAOZW_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Fox Tower                                              Blvd Ste 400
                      Sta
Cinemark              125 Cinemark        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 8                                                     Blvd Ste 400



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 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
Fandango LLC          AAPDZ_LIVE        522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      Regal Channelside                                            Blvd Ste 400
                      C
Fandango LLC          AAPEY_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Treasure                                               Blvd Ste 400
                      Coas
Cinemark              127 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 8                                                     Blvd Ste 400
Fandango LLC          AAPDQ_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards South                                                Blvd Ste 400
                      Gate
Cinemark              128 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 8                                                     Blvd Ste 400
Fandango LLC          AAQEL_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regal Green Valley                                           Blvd Ste 400
Cinemark              129 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 16                                                    Blvd Ste 400
Fandango LLC          AAMEO_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards Brea                                                 Blvd Ste 400
                      Stadiu
Cinemark              132 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Cinema IV                                                    Blvd Ste 400
Fandango LLC          AALAW_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards Rancho                                               Blvd Ste 400
                      San
Cinemark              133 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 10                                                    Blvd Ste 400
Fandango LLC          AAEDB_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards Anaheim                                              Blvd Ste 400
                      Hil
Cinemark              134 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 12 @ Mill                                             Blvd Ste 400
Fandango LLC          AAEDC_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards Atlantic                                             Blvd Ste 400
                      Pa
Cinemark              135 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Greentree Cinema                                             Blvd Ste 400




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 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
Fandango LLC          AAQBT_LIVE        522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      Edwards Brea                                                 Blvd Ste 400
                      Stadiu
Cinemark              14 Cinemark         522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 8                                                     Blvd Ste 400
Fandango LLC          AAKTZ_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards Grand                                                Blvd Ste 400
                      Palac
Fandango LLC          AABJD_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards Camarillo                                            Blvd Ste 400
                      P
Cinemark              148 Cinemark        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Greentree 10                                                 Blvd Ste 400
Fandango LLC          AAJMW_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards Canyon                                               Blvd Ste 400
                      Coun
Cinemark              15 Cinemark The 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies                                                       Blvd Ste 400
Fandango LLC          AABIQ_LIVE          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards Cerritos St                                          Blvd Ste 400

Cinemark              151 Cinemark      522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Colony Square Cin                                            Blvd Ste 400
Fandango LLC          AABHW_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards Charter                                              Blvd Ste 400
                      Cen
Cinemark              159 Cinemark      522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Springfield Sq. C                                            Blvd Ste 400
Fandango LLC          AABIY_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards Corona 15                                            Blvd Ste 400
Cinemark              160 Cinemark      522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Brassfield Cinema                                            Blvd Ste 400
Fandango LLC          AABIP_LIVE        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards El Monte                                             Blvd Ste 400
                      8
Cinemark              161 Cinemark      522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Richmond Mall                                                Blvd Ste 400
                      Mov



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                                                     493471
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 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
Fandango LLC          AANRD_LIVE        522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      Edwards Grand                                                Blvd Ste 400
                      Teton
Cinemark              162 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 10                                                    Blvd Ste 400
Fandango LLC          AABFC_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards Island 7                                             Blvd Ste 400
Cinemark              163 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Miami Valley Cine                                            Blvd Ste 400
Fandango LLC          AAITD_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards                                                      Blvd Ste 400
                      Kaleidoscop
Cinemark              164 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Woodland Mall Cin                                            Blvd Ste 400
Fandango LLC          AABIR_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards La Verne                                             Blvd Ste 400
                      St
Fandango LLC          AAJNP_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards                                                      Blvd Ste 400
                      Marketplace
Cinemark              165 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Carnation Cinema                                             Blvd Ste 400
Fandango LLC          AABHM_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards Ocean                                                Blvd Ste 400
                      Ranch
Cinemark              168 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 8                                                     Blvd Ste 400
Fandango LLC          AAMHG_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards Ontario                                              Blvd Ste 400
                      Mou
Cinemark              169 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 9                                                     Blvd Ste 400
Fandango LLC          AAEDN_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards Park Place                                           Blvd Ste 400

Cinemark              17 Cinemark       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 5                                                     Blvd Ste 400




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                                                     493472
                                                                     Exhibit A
                             In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
Fandango LLC          AAEDO_LIVE        522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      Edwards Rancho                                               Blvd Ste 400
                      Sant
Cinemark              171 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 8                                                     Blvd Ste 400
Fandango LLC          AABIF_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards Santa                                                Blvd Ste 400
                      Maria
Cinemark              172 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Carriage Place Mo                                            Blvd Ste 400
Fandango LLC          AABJE_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards Simi                                                 Blvd Ste 400
                      Valley
Cinemark              173 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 10                                                    Blvd Ste 400
Fandango LLC          AABFH_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards Triangle                                             Blvd Ste 400
                      Sq
Cinemark              174 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 10                                                    Blvd Ste 400
Fandango LLC          AABHR_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards Tustin                                               Blvd Ste 400
                      Mark
Cinemark              178 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies West                                                  Blvd Ste 400
Fandango LLC          AABHI_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards University                                           Blvd Ste 400
Fandango LLC          AABCR_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Thousand Oaks 5                                              Blvd Ste 400
Cinemark              18 Cinemark        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 10                                                    Blvd Ste 400
Fandango LLC          AABHZ_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards                                                      Blvd Ste 400
                      Westminster
Fandango LLC          AACGD_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Crossroads 10                                                Blvd Ste 400




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                                                     493473
                                                                    Exhibit A
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 Business Unit Name     Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                       Division Name    Merchant ID, where
                                             available)
Fandango LLC          AABHQ_LIVE       522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      Edwards Westpark                                            Blvd Ste 400
                      8
Fandango LLC          AAMPK_LIVE UA 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      EL Rey                                                      Blvd Ste 400
Fandango LLC          AABFK_LIVE       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards South                                               Blvd Ste 400
                      Coast
Fandango LLC          AABGZ_LIVE UA 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Arden Fair 6                                                Blvd Ste 400
Fandango LLC          AAQOZ_LIVE       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Edwards                                                     Blvd Ste 400
                      Renaissance
Fandango LLC          AAJUM_LIVE UA 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Regency Theatre                                             Blvd Ste 400

Fandango LLC          AAAEV_LIVE UA 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Continental 6                                               Blvd Ste 400
Fandango LLC          AAORB_LIVE UA 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      State Theatre                                               Blvd Ste 400
Fandango LLC          AAFBN_LIVE UA 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Stonestown Twin                                             Blvd Ste 400

Fandango LLC          AAFBD_LIVE UA 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Berkeley 7                                                  Blvd Ste 400
Fandango LLC          AAFBK_LIVE UA 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Coronet 1                                                   Blvd Ste 400
Fandango LLC          AABCH_LIVE UA 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Marketplace 6                                               Blvd Ste 400
Fandango LLC          AAFBL_LIVE UA 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Galaxy 4                                                    Blvd Ste 400
Fandango LLC          AABFX_LIVE UA 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Horton Plaza 14                                             Blvd Ste 400
Fandango LLC          AAFBM_LIVE UA 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Metro 1                                                     Blvd Ste 400
Cinemark              187 Cinemark 16 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                  Blvd Ste 400




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                                                                     Exhibit A
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 Business Unit Name     Transaction    Taxpayer ID (or     IRS Filing Name              Address              City             State     Postal Code
                       Division Name Merchant ID, where
                                          available)
Fandango LLC          AABCT_LIVE UA 522205630           Fandango, Inc.             12200 W Olympic    Los Angeles       CA            90064
                      Marketplace 6                                                Blvd Ste 400
Fandango LLC          AABKE_LIVE UA 522205630           Fandango, Inc.             12200 W Olympic    Los Angeles       CA            90064
                      Crossbay I                                                   Blvd Ste 400
Fandango LLC          AAFBY_LIVE UA 522205630           Fandango, Inc.             12200 W Olympic    Los Angeles       CA            90064
                      Vogue 1                                                      Blvd Ste 400
Fandango LLC          AABKG_LIVE UA 522205630           Fandango, Inc.             12200 W Olympic    Los Angeles       CA            90064
                      East Hampton 6                                               Blvd Ste 400

Fandango LLC          AABJN_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies at Patcho                                             Blvd Ste 400
Fandango LLC          AADFG_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      East 85th St                                                 Blvd Ste 400
Cinemark              188 Cinemark     522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 4                                                     Blvd Ste 400
Fandango LLC          AACAQ_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies at Lycomi                                             Blvd Ste 400

Fandango LLC          AAFTJ_LIVE UA      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies at Lauder                                             Blvd Ste 400
Fandango LLC          AABYS_LIVE UA      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Schuylkill Mall                                              Blvd Ste 400
Fandango LLC          AABDZ_LIVE UA      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Northstar 8                                                  Blvd Ste 400
Fandango LLC          AABJW_LIVE UA      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Midway Stadium 9                                             Blvd Ste 400

Fandango LLC          AABGK_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Clovis Town Cent                                             Blvd Ste 400

Fandango LLC          AABBY_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Hulen 10                                                     Blvd Ste 400
Fandango LLC          AABBV_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Las Vegas Trails                                             Blvd Ste 400

Fandango LLC          AABJU_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Lynbrook 6                                                   Blvd Ste 400




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                                                                      Exhibit A
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  Business Unit Name      Transaction    Taxpayer ID (or      IRS Filing Name            Address              City             State     Postal Code
                         Division Name  Merchant ID, where
                                            available)
Fandango LLC           AABHB_LIVE UA 522205630             Fandango, Inc.           12200 W Olympic    Los Angeles       CA            90064
                       Sunrise Mall 4                                               Blvd Ste 400
Fandango LLC           AADVY_LIVE UA 522205630             Fandango, Inc.           12200 W Olympic    Los Angeles       CA            90064
                       Movies at Marley                                             Blvd Ste 400

Fandango LLC           AADXY_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Bethesda 10                                                  Blvd Ste 400
Fandango LLC           AABMJ_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Capital City Mal                                             Blvd Ste 400

Wallace Theaters       AAQWD_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Wallace - Gallatin                                           Blvd Ste 400
Cinemark               189 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 12                                                    Blvd Ste 400
Fandango LLC           AAFTL_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies at The Fa                                             Blvd Ste 400
Wallace Theaters       AAOGZ_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Wallace - Maui                                               Blvd Ste 400
                       Mall
Fandango LLC           AAFUA_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       University Mall                                              Blvd Ste 400
Cinemark               194 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 14                                                    Blvd Ste 400
Wallace Theaters       AAKMU_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Hollywood - Tyler                                            Blvd Ste 400
                       R
Fandango LLC           AAFTE_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies at Boynto                                             Blvd Ste 400
Cinemark               197 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Millcreek Cinema                                             Blvd Ste 400
Wallace Theaters       AACPM Wallace - 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       New Malibu Cin                                               Blvd Ste 400
Fandango LLC           AAEYN_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Pavilions 7                                                  Blvd Ste 400
Cinemark               199 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Woodhill Movies 1                                            Blvd Ste 400
Fandango LLC           AADFD_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       64th St and 2nd                                              Blvd Ste 400



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                                                                      Exhibit A
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  Business Unit Name     Transaction       Taxpayer ID (or     IRS Filing Name           Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
Wallace Theaters       AADWG            522205630           Fandango, Inc.          12200 W Olympic    Los Angeles       CA            90064
                       Hollywood -                                                  Blvd Ste 400
                       Movies 14
Cinemark               201 Cinemark     522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 10                                                    Blvd Ste 400
Fandango LLC           AABLH_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies at Jeffer                                             Blvd Ste 400

Wallace Theaters       AAGQL Closed - 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Union Station C                                              Blvd Ste 400
Cinemark               203 Cinemark    522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 8                                                     Blvd Ste 400
Fandango LLC           AABCL_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Cinema 6                                                     Blvd Ste 400
Wallace Theaters       AAGTA Hollywood 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       - Brixton Squa                                               Blvd Ste 400

Cinemark               211 Cinemark     522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 10                                                    Blvd Ste 400
Fandango LLC           AABKC_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Sheepshead Bay S                                             Blvd Ste 400

Wallace Theaters       AAGTE Hollywood 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       - Heritage Pla                                               Blvd Ste 400
Cinemark               212 Cinemark     522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 10                                                    Blvd Ste 400
Fandango LLC           AABZW_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies at Market                                             Blvd Ste 400

Wallace Theaters       AAGTI Hollywood - 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Spotlight 14                                                 Blvd Ste 400
Cinemark               213 Cinemark      522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Tinseltown USA                                               Blvd Ste 400
Fandango LLC           AABCS_LIVE UA 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Valley Plaza 6                                               Blvd Ste 400
Wallace Theaters       AAGYL Wallace - 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Santa Paula Ci                                               Blvd Ste 400




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                                                                      Exhibit A
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  Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                         Division Name    Merchant ID, where
                                               available)
Cinemark               223 Cinemark      522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                       Movies 10                                                    Blvd Ste 400
Wallace Theaters       AAIGM Hollywood 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       - Fontana 6                                                  Blvd Ste 400
Cinemark               228 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 10                                                    Blvd Ste 400
Wallace Theaters       AAIIY Hollywood - 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Jewel 16                                                     Blvd Ste 400
Cinemark               229 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 8                                                     Blvd Ste 400
Wallace Theaters       AAJWI Wallace - 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Northgate Movi                                               Blvd Ste 400
Cinemark               23 Cinemark Valley 522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Fair 9                                                       Blvd Ste 400
Wallace Theaters       AAKCP Wallace - 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       New Barstow St                                               Blvd Ste 400
Cinemark               232 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Tinseltown                                                   Blvd Ste 400
Wallace Theaters       AAKEA Wallace - 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Restaurant Row                                               Blvd Ste 400
Cinemark               237 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Tinseltown USA                                               Blvd Ste 400
Wallace Theaters       AAKEH Wallace - 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Keolu Center C                                               Blvd Ste 400
Cinemark               238 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 10                                                    Blvd Ste 400
Wallace Theaters       AAKEN Wallace - 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Wharf Cinemas                                                Blvd Ste 400
Cinemark               243 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Tinseltown USA                                               Blvd Ste 400
Wallace Theaters       AAKJL Hollywood - 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 6 Bar                                                 Blvd Ste 400
Cinemark               244 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Tinseltown USA                                               Blvd Ste 400
Wallace Theaters       AAKJS Hollywood - 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Hollywood St                                                 Blvd Ste 400
Cinemark               246 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Tinseltown USA                                               Blvd Ste 400



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                                                                      Exhibit A
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  Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name            Address              City             State     Postal Code
                        Division Name   Merchant ID, where
                                             available)
Wallace Theaters       AAKKD Hollywood 522205630           Fandango, Inc.           12200 W Olympic    Los Angeles       CA            90064
                       - Joplin Cinem                                               Blvd Ste 400

Cinemark               247 Cinemark      522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Hollywood 16                                                 Blvd Ste 400
Cinemark               25 Cinemark Man 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       O'War Movies 8                                               Blvd Ste 400
Wallace Theaters       AAKKI Hollywood - 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Killeen Stad                                                 Blvd Ste 400
Cinemark               250 Cinemark      522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Tinseltown USA                                               Blvd Ste 400
Wallace Theaters       AAKKR Hollywood 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       - Cache 8 Cine                                               Blvd Ste 400

Cinemark               255 Cinemark    522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Tinseltown 17                                                Blvd Ste 400
Wallace Theaters       AAKLG Hollywood 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       - Indian Mound                                               Blvd Ste 400

Cinemark               26 Cinemark     522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 12                                                    Blvd Ste 400
Wallace Theaters       AAKLY Hollywood 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       - Forum Cinema                                               Blvd Ste 400

Cinemark               263 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Tinseltown 17                                                Blvd Ste 400
Wallace Theaters       AAKMF Wallace -    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Plaza 8                                                      Blvd Ste 400
Cinemark               264 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 12                                                    Blvd Ste 400
Wallace Theaters       AAKMK              522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Hollywood - Fox                                              Blvd Ste 400
                       Whitelak
Cinemark               27 Cinemark        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 8                                                     Blvd Ste 400
Wallace Theaters       AAKMN              522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Hollywood - West                                             Blvd Ste 400
                       Ridge M



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                                                       493479
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  Business Unit Name     Transaction       Taxpayer ID (or     IRS Filing Name           Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
Cinemark               277 Cinemark     522205630           Fandango, Inc.          12200 W Olympic    Los Angeles       CA            90064
                       Tinseltown USA                                               Blvd Ste 400
Wallace Theaters       AALBT Wallace - 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Kailua Cinemas                                               Blvd Ste 400
Cinemark               278 Cinemark      522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Tinseltown USA                                               Blvd Ste 400
Wallace Theaters       AALLD Wallace - 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Prince Kuhio T                                               Blvd Ste 400
Cinemark               28 Cinemark       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 8                                                     Blvd Ste 400
Wallace Theaters       AAMDZ Wallace - 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Kress Cinemas                                                Blvd Ste 400
Cinemark               29 Cinemark       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 8                                                     Blvd Ste 400
Wallace Theaters       AAMEB Wallace - 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Enchanted Lake                                               Blvd Ste 400
Cinemark               293 Cinemark      522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 10                                                    Blvd Ste 400
Wallace Theaters       AAMED Wallace - 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Laie Cinemas                                                 Blvd Ste 400
Cinemark               3 Cinemark Movies 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       8                                                            Blvd Ste 400
Wallace Theaters       AAMEG Wallace - 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Guam Megaplex                                                Blvd Ste 400
Cinemark               30 Cinemark       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 8                                                     Blvd Ste 400
                       Washingto
Wallace Theaters       AAMEJ Wallace - 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Front Street T                                               Blvd Ste 400
Cinemark               31 Cinemark       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 16                                                    Blvd Ste 400
Wallace Theaters       AAMEK Wallace - 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Coconut Market                                               Blvd Ste 400
Cinemark               319 Cinemark      522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Varsity II                                                   Blvd Ste 400
Wallace Theaters       AAMEL Wallace - 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Maunaloa Town                                                Blvd Ste 400




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                                                       493480
                                                                      Exhibit A
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  Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                         Division Name    Merchant ID, where
                                               available)
Cinemark               320 Cinemark      522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                       North Grand 5                                                Blvd Ste 400
Wallace Theaters       AAMHJ Hollywood 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       - Movies 9                                                   Blvd Ste 400

Cinemark               324 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 6                                                     Blvd Ste 400
Wallace Theaters       AAMNL              522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Hollywood - Mobile                                           Blvd Ste 400
                       18
Cinemark               33 Cinemark        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 12                                                    Blvd Ste 400
Wallace Theaters       AANAH Hollywood 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       - Northstar 14                                               Blvd Ste 400

Cinemark               330 Cinemark      522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Cinema 4                                                     Blvd Ste 400
Wallace Theaters       AANAM             522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Hollywood - West                                             Blvd Ste 400
                       Ridge 8
Cinemark               34 Cinemark       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 10                                                    Blvd Ste 400
Wallace Theaters       AANHW             522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Hollywood -                                                  Blvd Ste 400
                       Movies 6 Sha
Cinemark               36 Cinemark Tandy 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       10                                                           Blvd Ste 400
Wallace Theaters       AANTO Hollywood 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       - Village Cine                                               Blvd Ste 400

Cinemark               37 Cinemark     522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 10                                                    Blvd Ste 400
Wallace Theaters       AAOFG Hollywood 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       - Stadium Cine                                               Blvd Ste 400
Cinemark               40 Cinemark     522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Cinema 6                                                     Blvd Ste 400




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                                                                      Exhibit A
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  Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name            Address              City             State     Postal Code
                        Division Name   Merchant ID, where
                                             available)
Wallace Theaters       AAOKV Hollywood 522205630           Fandango, Inc.           12200 W Olympic    Los Angeles       CA            90064
                       - Tall City 10                                               Blvd Ste 400

Cinemark               41 Cinemark       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Cinema 8                                                     Blvd Ste 400
Wallace Theaters       AAOMF             522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Hollywood -                                                  Blvd Ste 400
                       Permian Pala
Cinemark               42 Cinemark       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Cinema 8                                                     Blvd Ste 400
Wallace Theaters       AAONE Wallace - 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Horizon Stadiu                                               Blvd Ste 400
Cinemark               44 Cinemark       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Cinema 6                                                     Blvd Ste 400
Cinemark               451 Cinemark      522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Tiffany Plaza 6                                              Blvd Ste 400
Wallace Theaters       AAUDFHollywood 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       RiverCity14                                                  Blvd Ste 400
Cinemark               5 Cinemark Movies 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       6                                                            Blvd Ste 400
Wallace Theaters       AAOUH Wallace - 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Pohnpei Cinema                                               Blvd Ste 400
Wallace Theaters       AAOUI Wallace - 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Gibson Cinemas                                               Blvd Ste 400
Wallace Theaters       AAOUJ Wallace - 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Hollywood Cine                                               Blvd Ste 400
Wallace Theaters       AAOXP Hollywood 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       - Crown Center                                               Blvd Ste 400

Wallace Theaters       AAPDA Hollywood 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       - Stadium 8                                                  Blvd Ste 400

Wallace Theaters       AAPET Wallace -   522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Makalapua Stad                                               Blvd Ste 400
Wallace Theaters       AAPKT Wallace -   522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Mainplace Stad                                               Blvd Ste 400
Wallace Theaters       AAPPP Wallace -   522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Gilbert Stadiu                                               Blvd Ste 400



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 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
Cinemark              504 Cinemark      522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      Tinseltown                                                   Blvd Ste 400
Cinemark              52 Cinemark River 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Hills Movies                                                 Blvd Ste 400
Cinemark              53 Cinemark        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Richland Mall Cine                                           Blvd Ste 400
Cinemark              54 Cinemark        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Sugarhouse Movies                                            Blvd Ste 400
Cinemark              58 Cinemark        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 8                                                     Blvd Ste 400
Cinemark              59 Cinemark Town 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Centre Cinema                                                Blvd Ste 400
Cinemark              6 Cinemark Movies 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      1-4                                                          Blvd Ste 400
Cinemark              61 Cinemark        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 9                                                     Blvd Ste 400
Cinemark              62 Cinemark        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Cinema 10                                                    Blvd Ste 400
Cinemark              67 Cinemark        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 8                                                     Blvd Ste 400
Cinemark              7 Cinemark The     522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies                                                       Blvd Ste 400
Cinemark              88 Cinemark Dollar 522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Cinemas                                                      Blvd Ste 400
Cinemark              89 Cinemark        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 8                                                     Blvd Ste 400
Cinemark              94 Cinemark        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Cinema 6                                                     Blvd Ste 400
Cinemark              96 Cinemark        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Cinema IV                                                    Blvd Ste 400
Cinemark              97 Cinemark        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 10                                                    Blvd Ste 400
Cinemark              98 Cinemark        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Cinema 6                                                     Blvd Ste 400
Cinemark              345 Cinemark at    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Myrtle Beach                                                 Blvd Ste 400
Fandango LLC          AAEKI_LIVE         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Coldwater Crossing                                           Blvd Ste 400



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                                                                      Exhibit A
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  Business Unit Name     Transaction         Taxpayer ID (or     IRS Filing Name         Address              City             State     Postal Code
                        Division Name      Merchant ID, where
                                                available)
RC Theatres            AARGG_LIVE R/C 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Kill Devil Hil                                               Blvd Ste 400
FANDANGO LLC           Carmike Southridge 522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       12                                                           Blvd Ste 400
FANDANGO LLC           Loews Fortway 5    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                    Blvd Ste 400
FANDANGO LLC           Loews Rotterdam 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Square Mall 6                                                Blvd Ste 400
FANDANGO LLC           Loews River Oaks 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       1-6                                                          Blvd Ste 400
Cinemark               Cinemark 14      522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Mansfield Town                                               Blvd Ste 400
                       Ctr
Cinemark               Cinemark 12      522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Greeley                                                      Blvd Ste 400
Fandango LLC           AADRX Regal      522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Portsmouth 5                                                 Blvd Ste 400
Fandango LLC           AAJNR Regal      522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Manahawkin 10                                                Blvd Ste 400
Fandango LLC           AADSE Regal      522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Falmouth Mall 6                                              Blvd Ste 400
Fandango LLC           AAKGR Regal      522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Greece Ridge 12                                              Blvd Ste 400
Fandango LLC           AAJNC Regal      522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Potomac Yards 16                                             Blvd Ste 400
Fandango LLC           AAPFL Regal      522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Swansea Stadium                                              Blvd Ste 400
                       12
Fandango LLC           AANKH Regal      522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Rancho Mirage 16                                             Blvd Ste 400
Century Theatres       12066 Century 16 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Belmar                                                       Blvd Ste 400
Century Theatres       12069 Century 16 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Deer Park                                                    Blvd Ste 400
Fandango LLC           AARMN Kerasotes 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       ShowPlace 12                                                 Blvd Ste 400




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 Business Unit Name      Transaction     Taxpayer ID (or     IRS Filing Name            Address              City             State     Postal Code
                        Division Name  Merchant ID, where
                                            available)
Fandango LLC          AARMO Kerasotes 522205630           Fandango, Inc.           12200 W Olympic    Los Angeles       CA            90064
                      ShowPlace 14                                                 Blvd Ste 400

Fandango LLC          AAIEH Regal Palm 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Springs 9                                                    Blvd Ste 400
Fandango LLC          AAIEI Regal Indio 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Metro 8                                                      Blvd Ste 400
Fandango LLC          AAHQI Regal       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Metro 12                                                     Blvd Ste 400
Fandango LLC          AAFCC Regal Jack 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      London Cinema                                                Blvd Ste 400

Fandango LLC          AAACF Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Crow Canyon                                                  Blvd Ste 400
                      Cinema
Fandango LLC          AAKEI Regal Santa 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Cruz Cinema                                                  Blvd Ste 400
Fandango LLC          AALUH Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Riverfront Twin                                              Blvd Ste 400
Fandango LLC          AAACM Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Festival 10                                                  Blvd Ste 400
Fandango LLC          AAKEM Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Ukiah Cinema 6                                               Blvd Ste 400
Fandango LLC          AAFZC Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Holiday Cinema 6                                             Blvd Ste 400
Fandango LLC          AAFZD Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Davis Stadium 5                                              Blvd Ste 400
Fandango LLC          AAIDO Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Holiday Cinemas 8                                            Blvd Ste 400
Fandango LLC          AARFB Regal City 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Centre 16 St                                                 Blvd Ste 400
Fandango LLC          AAPIY Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Stadium 10                                                   Blvd Ste 400
                      Modesto
Fandango LLC          AALAU Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Turlock Stadium 14                                           Blvd Ste 400




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  Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                         Division Name    Merchant ID, where
                                               available)
Fandango LLC           AAOVY Regal       522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                       Manchester                                                   Blvd Ste 400
                       Stadium
Fandango LLC           AALUN Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Stadium 10 Visalia                                           Blvd Ste 400
Fandango LLC           AACJJ Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Sequoia Mall 12                                              Blvd Ste 400
Fandango LLC           AAQLI Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Auburn Stadium 10                                            Blvd Ste 400
Fandango LLC           AAKED Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Placerville 8                                                Blvd Ste 400
Fandango LLC           AAKDW Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Jackson Cinema 4                                             Blvd Ste 400
Fandango LLC           AAPGN Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Stadium 10 Sonora                                            Blvd Ste 400
Fandango LLC           AAJJX Regal Pearl 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Highlands 12                                                 Blvd Ste 400
Fandango LLC           AANGE Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Dole Cannery 18                                              Blvd Ste 400
Fandango LLC           AAPKX Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Windward Stadium                                             Blvd Ste 400
Fandango LLC           AAQNB Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Keauhou Stadium 7                                            Blvd Ste 400
Fandango LLC           AAPQL Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Stratford Stadium                                            Blvd Ste 400
Fandango LLC           AARFD Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Escondido Stadium                                            Blvd Ste 400
Cinemark               348 Cinemark Lake 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Charles                                                      Blvd Ste 400
Cinemark               344 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Center Township                                              Blvd Ste 400
Century Theatres       12068 Century 20 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Jordan Creek                                                 Blvd Ste 400
Century Theatres       12062 CineArts at 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Santana Row                                                  Blvd Ste 400
Brenden Theatres       AARDB Brenden 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Avi 8                                                        Blvd Ste 400




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                                                                     Exhibit A
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 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
FANDANGO LLC          AASWP Magic       522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      Capital Centre                                               Blvd Ste 400
FANDANGO LLC          AASVC Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Twelve                                                       Blvd Ste 400
Fandango LLC          AATAR Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Gallery Stadium 14                                           Blvd Ste 400
Fandango LLC          AATBE Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Riverside 16                                                 Blvd Ste 400
Fandango LLC          AATBD Edwards 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Corona 18                                                    Blvd Ste 400
Fandango LLC          AAPCB Crown        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Palace 17                                                    Blvd Ste 400
Fandango LLC          AAGDA Crown        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Theatres ART                                                 Blvd Ste 400
Fandango LLC          AAKIG Crown        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Marquis 16                                                   Blvd Ste 400
Fandango LLC          AAIOF Crown        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Plaza 3                                                      Blvd Ste 400
Fandango LLC          AAKIM Crown        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Royale 6                                                     Blvd Ste 400
Fandango LLC          AAMVS Crown        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      SoNo Regent 8                                                Blvd Ste 400
Fandango LLC          AAJGV Crown        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Majestic 6                                                   Blvd Ste 400
Fandango LLC          AAJGW Crown        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Landmark 9                                                   Blvd Ste 400
Fandango LLC          AABQB Crown        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      New York One &                                               Blvd Ste 400
                      Two
Fandango LLC          AADTX Crown        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Harbour 9                                                    Blvd Ste 400
Fandango LLC          AADTY Crown        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Annapolis Mall 11                                            Blvd Ste 400
Fandango LLC          AAPDW Crown        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Miami Grand 18                                               Blvd Ste 400
Fandango LLC          AAPKO Crown        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Abacoa 16                                                    Blvd Ste 400




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  Business Unit Name     Transaction       Taxpayer ID (or     IRS Filing Name           Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
Fandango LLC           ALAMO            522205630           Fandango, Inc.          12200 W Olympic    Los Angeles       CA            90064
                       DRAFTHOUSE                                                   Blvd Ste 400
                       SLOANS LAKE
Fandango LLC           AARDC Crown       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Glen 10                                                      Blvd Ste 400
Fandango LLC           AAPLI Crown       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Village 18                                                   Blvd Ste 400
Fandango LLC           AAQKF Crown       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Neonopolis 14                                                Blvd Ste 400
Century Theatres       12071 Century 16 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Cedar Hills                                                  Blvd Ste 400
Century Theatres       12028 Century Del 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Monte Ctr                                                    Blvd Ste 400
Fandango LLC           AATAS Showplace 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       12 Traders Pt                                                Blvd Ste 400
Eastern Federal        AATCU Movies @ 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       North Hills 14                                               Blvd Ste 400
Crest Theatres         AACPA Majestic 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Crest Theatre                                                Blvd Ste 400
Fandango LLC           B&B Operationg    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Company                                                      Blvd Ste 400
Fandango LLC           B&B Theatres KS 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       LLC                                                          Blvd Ste 400
FANDANGO LLC           AACBM Cobb        522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Merritt Square 16                                            Blvd Ste 400
FANDANGO LLC           Rutgers The State 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       University                                                   Blvd Ste 400
FANDANGO LLC           CONCORD           522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       VERANDA                                                      Blvd Ste 400
                       CINEMA LLC
FANDANGO LLC           CINEMEX           522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       HOLDINGS USA                                                 Blvd Ste 400
                       INC
FANDANGO LLC           CINEMEX USA       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       REAL ESTATE                                                  Blvd Ste 400
FANDANGO LLC           CINEMEX IL INC 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                    Blvd Ste 400




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  Business Unit Name      Transaction     Taxpayer ID (or     IRS Filing Name            Address              City             State     Postal Code
                         Division Name  Merchant ID, where
                                             available)
FANDANGO LLC           ZURICH CINEMA 522205630             Fandango, Inc.           12200 W Olympic    Los Angeles       CA            90064
                       CORP                                                         Blvd Ste 400
Fandango LLC           PICTURE SHOW 522205630              Fandango, Inc.           12200 W Olympic    Los Angeles       CA            90064
                       ENTERTAINMEN                                                 Blvd Ste 400
                       T LLC
Fandango LLC           Alamo Woodridge 522205630           Fandango, Inc.           12200 W Olympic    Los Angeles       CA            90064
                                                                                    Blvd Ste 400
Fandango LLC           ALAMO DENTON 522205630                 Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                    Blvd Ste 400
Fandango LLC           CINEMEX MOA 522205630                  Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       LLC                                                          Blvd Ste 400
Fandango LLC           CINEMEX EAST 522205630                 Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       62ND STREET                                                  Blvd Ste 400
                       LLC
Wallace Theaters       AATJF Hollywood 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Theaters 10                                                  Blvd Ste 400
Wallace Theaters       AATJG Hollywood 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Theaters 14                                                  Blvd Ste 400
Eastern Federal        AAQIH Swamp Fox 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Cinemas                                                      Blvd Ste 400
Fandango LLC           AATJB Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Riverstone 14                                                Blvd Ste 400
Fandango LLC           AATJC Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Bridgeport 18                                                Blvd Ste 400
Fandango LLC           AATJD Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Pinnacle 18                                                  Blvd Ste 400
Fandango LLC           AATJE Regal El     522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Dorado Hills 14                                              Blvd Ste 400
Fandango LLC           AAOTY Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Valley Mall 16                                               Blvd Ste 400
Fandango LLC           AADVH Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Carrolltown 6                                                Blvd Ste 400
Fandango LLC           AAQPT Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Westview 16                                                  Blvd Ste 400
Fandango LLC           AADVS Regal East 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Point 10                                                     Blvd Ste 400
Fandango LLC           AAESV Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Carlisle Stadium 8                                           Blvd Ste 400



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  Business Unit Name       Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                          Division Name    Merchant ID, where
                                                available)
Fandango LLC            AAPOO Regal       522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                        Culpeper 4                                                   Blvd Ste 400
Fandango LLC            AAPIO Regal       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Parkside 16                                                  Blvd Ste 400
FANDANGO LLC            AATLB Carmike     522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        10                                                           Blvd Ste 400
FANDANGO LLC            AAHJZ Battlefield 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Cinemas 10                                                   Blvd Ste 400
FANDANGO LLC            AATLA Carmike     522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        14                                                           Blvd Ste 400
Colorado Cinemas        Okay for Future   522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Use                                                          Blvd Ste 400
Wehrenberg Theatres     AAGQG             522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Wehrenberg                                                   Blvd Ste 400
                        Clarkson
Wehrenberg Theatres     AAGQH             522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Wehrenberg Eureka                                            Blvd Ste 400

Wehrenberg Theatres     AAGQK            522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Wehrenberg                                                   Blvd Ste 400
                        Northwest Plz
Wehrenberg Theatres     AAGQQ            522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Wehrenberg                                                   Blvd Ste 400
                        Kenrick
Wehrenberg Theatres     AAGQT            522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Wehrenberg                                                   Blvd Ste 400
                        Ronnies
Wehrenberg Theatres     AAGSG            522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Wehrenberg Des                                               Blvd Ste 400
                        Peres
Wehrenberg Theatres     AAGSI Wehrenberg 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Halls Ferry                                                  Blvd Ste 400

Wehrenberg Theatres     AAGSO             522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Wehrenberg St.                                               Blvd Ste 400
                        Charles




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  Business Unit Name       Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                          Division Name    Merchant ID, where
                                                available)
Wehrenberg Theatres     AAGWU             522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                        Wehrenberg St.                                               Blvd Ste 400
                        Clair
Wehrenberg Theatres     AAIET Wehrenberg 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        O'Fallon                                                     Blvd Ste 400

Wehrenberg Theatres     AAJBG            522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Wehrenberg                                                   Blvd Ste 400
                        Campbell
Wehrenberg Theatres     AAJBH            522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Wehrenberg Osage                                             Blvd Ste 400
Wehrenberg Theatres     AAJBI Wehrenberg 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Cape West                                                    Blvd Ste 400

Wehrenberg Theatres     AAKOV             522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Wehrenberg                                                   Blvd Ste 400
                        Jamestown
Wehrenberg Theatres     AAMTF             522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Wehrenberg Arnold                                            Blvd Ste 400
Wehrenberg Theatres     AAOJF             522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Wehrenberg Mid                                               Blvd Ste 400
                        Rivers
Wehrenberg Theatres     AATHV             522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Wehrenberg                                                   Blvd Ste 400
                        Chesterfield
Wehrenberg Theatres     AATLQ             522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Wehrenberg Cedar                                             Blvd Ste 400
                        Rapids
Colorado Cinemas        AAADR Cherry      522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Creek 8                                                      Blvd Ste 400
Colorado Cinemas        AABAT Bowles      522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Crossing 12                                                  Blvd Ste 400
Colorado Cinemas        AABNQ Colony      522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Square 12                                                    Blvd Ste 400
Colorado Cinemas        AACJN Olde Town 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        14                                                           Blvd Ste 400
Colorado Cinemas        AAEWN Chinese 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        16                                                           Blvd Ste 400



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  Business Unit Name      Transaction         Taxpayer ID (or     IRS Filing Name        Address              City             State     Postal Code
                         Division Name      Merchant ID, where
                                                 available)
Colorado Cinemas       AAFFD Bergen        522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                       Park 7                                                       Blvd Ste 400
Colorado Cinemas       AAQPS 20 Mile       522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                       Village 10                                                   Blvd Ste 400
Colorado Cinemas       AATIQ Brighton      522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                       Pavilions 12                                                 Blvd Ste 400
Fandango LLC           AACSQ Regal         522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                       Walden Galleria                                              Blvd Ste 400
Fandango LLC           AAPSN Regal         522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                       Cinema 4                                                     Blvd Ste 400
FANDANGO LLC           AATQJ Cobb          522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                       Pinnacle 14                                                  Blvd Ste 400
Fandango LLC           AATQL Regal         522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                       Martin Village 14                                            Blvd Ste 400
FANDANGO LLC           AASWQ Loews         522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                       Port Chester                                                 Blvd Ste 400
Fandango LLC           AATSJ Regal         522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                       Atlantic 16                                                  Blvd Ste 400
Fandango LLC           AATSQ Boise         522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                       Stadium 10                                                   Blvd Ste 400
Fandango LLC           AABAY Kerasotes     522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                       Showplace                                                    Blvd Ste 400
Cinemark               354 Cinemark        522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                       Wichita                                                      Blvd Ste 400
Cinemark               352 Cinemark        522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                       Rockwall                                                     Blvd Ste 400
Colorado Cinemas       AATTI Colorado      522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                       Castle Rock                                                  Blvd Ste 400
Century Theatres       AATTF Century       522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                       Huntington                                                   Blvd Ste 400
Century Theatres       AATTG Century       522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                       Union                                                        Blvd Ste 400
Century Theatres       AATTH Century       522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                       South Coast                                                  Blvd Ste 400
Cinemark               AATBQ Cinemark      522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                       14                                                           Blvd Ste 400
Cinemark               AATFB Cinemark      522205630           Fandango, Inc.       12200 W Olympic    Los Angeles       CA            90064
                       14                                                           Blvd Ste 400



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 Business Unit Name     Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                       Division Name    Merchant ID, where
                                             available)
Cinemark              AATPN Cinemark   522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      18                                                          Blvd Ste 400
Cinemark              AATOX Cinemark   522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      IMAX                                                        Blvd Ste 400
Fandango LLC          AATUA Regal      522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Salisbury                                                   Blvd Ste 400
FANDANGO LLC          AAJIB Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Royal                                                       Blvd Ste 400
FANDANGO LLC          AATTX Cobb       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Garden Cinemas                                              Blvd Ste 400
FANDANGO LLC          AATTY Cobb       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Lakeside                                                    Blvd Ste 400
FANDANGO LLC          AAJHT Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Birchwood                                                   Blvd Ste 400
FANDANGO LLC          AALQD Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Parkway                                                     Blvd Ste 400
FANDANGO LLC          AALQY Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Hickory                                                     Blvd Ste 400
FANDANGO LLC          AALRL Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      University                                                  Blvd Ste 400
FANDANGO LLC          AALRZ Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Peru                                                        Blvd Ste 400
FANDANGO LLC          AALSE Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Sauk                                                        Blvd Ste 400
FANDANGO LLC          AALSH Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Varsity                                                     Blvd Ste 400
FANDANGO LLC          AANGW Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Palace                                                      Blvd Ste 400
FANDANGO LLC          AANGX Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Pine Tree                                                   Blvd Ste 400
FANDANGO LLC          AASXH Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Harbor                                                      Blvd Ste 400
FANDANGO LLC          AALQG Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Strand                                                      Blvd Ste 400
FANDANGO LLC          AAGPM Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Lakeview                                                    Blvd Ste 400
FANDANGO LLC          AAHYH Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Big Rapids                                                  Blvd Ste 400



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 Business Unit Name     Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                       Division Name    Merchant ID, where
                                             available)
FANDANGO LLC          AAHYI Carmike    522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      Lyric                                                       Blvd Ste 400
FANDANGO LLC          AAJGQ Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Beverly                                                     Blvd Ste 400
FANDANGO LLC          AAJGK Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Landmark                                                    Blvd Ste 400
FANDANGO LLC          AAJGO Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Sunnyland                                                   Blvd Ste 400
FANDANGO LLC          AAJHW Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Fashion                                                     Blvd Ste 400
FANDANGO LLC          AAJIC Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Grand                                                       Blvd Ste 400
FANDANGO LLC          AAJID Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Horizon Cinema                                              Blvd Ste 400
FANDANGO LLC          AAKFH Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Royal Knights                                               Blvd Ste 400
FANDANGO LLC          AAKWR Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      State                                                       Blvd Ste 400
FANDANGO LLC          AALQK Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Market                                                      Blvd Ste 400
FANDANGO LLC          AALRC Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Lincoln                                                     Blvd Ste 400
FANDANGO LLC          AALRF Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Orpheum                                                     Blvd Ste 400
FANDANGO LLC          AALSF Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Encore Park                                                 Blvd Ste 400
FANDANGO LLC          AANWC Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Capri                                                       Blvd Ste 400
FANDANGO LLC          AAKHH Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Delft                                                       Blvd Ste 400
FANDANGO LLC          AAOYX Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Cinema Eight                                                Blvd Ste 400
FANDANGO LLC          AALSG Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Plaza                                                       Blvd Ste 400
FANDANGO LLC          AATQE Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      20                                                          Blvd Ste 400
FANDANGO LLC          AATQF Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Pineridge                                                   Blvd Ste 400



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 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
FANDANGO LLC          AATSW Carmike     522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                      Northgate                                                    Blvd Ste 400
FANDANGO LLC          AATUD Carmike 6 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
FANDANGO LLC          AATUC Carmike 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      12                                                           Blvd Ste 400
Cinemark              AATLV Cinemark 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Pearland                                                     Blvd Ste 400
Cinemark              AATUI Cinemark 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Cypress                                                      Blvd Ste 400
American Cinematheque AAOFX Egyptian 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Theatre                                                      Blvd Ste 400
American Cinematheque AACPD Amer at      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      the Aero                                                     Blvd Ste 400
Wallace Theaters      AATWB Wallace 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Movies 14                                                    Blvd Ste 400
Fandango LLC          Cinema Operating 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Company LLC                                                  Blvd Ste 400
Fandango LLC          Dickinson Theatres 522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Inc                                                          Blvd Ste 400
Fandango LLC          Cinestarz          522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Entertainment LLC                                            Blvd Ste 400
Fandango LLC          Springtown         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Entertainment LLC                                            Blvd Ste 400
Fandango LLC          Texas Cinema Corp 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          AAQOX Crown       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Block E 15                                                   Blvd Ste 400
Fandango LLC          CGV CINEMAS       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400
Fandango LLC          MAIN STREET   522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      THEATRES INC                                                 Blvd Ste 400
Fandango LLC          AKSARBEN      522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      THEATERS LLC                                                 Blvd Ste 400
Fandango LLC          ALAMO         522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      CHARLOTTESVIL                                                Blvd Ste 400
                      LE




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  Business Unit Name      Transaction        Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                         Division Name     Merchant ID, where
                                                available)
Fandango LLC           New Vision         522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                       Cinemas                                                       Blvd Ste 400
Fandango LLC           Cinemaworld of     522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Florida Inc                                                   Blvd Ste 400
Fandango LLC           Harkins Cerritos   522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                     Blvd Ste 400
Fandango LLC           Harkins Mountain 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Grove                                                         Blvd Ste 400
Fandango LLC           Harkins Estrella  522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Falls                                                         Blvd Ste 400
Fandango LLC           Harkins Queen     522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Creek                                                         Blvd Ste 400
Fandango LLC           AATWT Regal The 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Loop                                                          Blvd Ste 400
Fandango LLC           Alamo Las Colinas 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                     Blvd Ste 400
Fandango LLC           Alamo Raleigh      522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                     Blvd Ste 400
Fandango LLC           BJK Entertainment 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                     Blvd Ste 400
FANDANGO LLC           O'NEIL CINEMAS 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                     Blvd Ste 400
Fandango LLC           ALAMO LAKE       522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       HIGHLANDS                                                     Blvd Ste 400
Fandango LLC           National         522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Amusements Inc                                                Blvd Ste 400
Fandango LLC           Bear Town Cinema 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       6                                                             Blvd Ste 400
Fandango LLC           AATXG Regal Gulf 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Coast                                                         Blvd Ste 400
Colorado Cinemas       AATXU Colorado 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Southlands                                                    Blvd Ste 400
Fandango LLC           AATYA Regal Red 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Rock                                                          Blvd Ste 400
RC Theatres            AATYL RC         522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Gateway Theater                                               Blvd Ste 400
RC Theatres            AATYM RC         522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Wilkes Barre                                                  Blvd Ste 400



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  Business Unit Name     Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
FANDANGO LLC           AAPDW Cobb       522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                       Miami Grand                                                 Blvd Ste 400
Cinemark               AATYD Cinemark 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Aurora                                                      Blvd Ste 400
Cinemark               AATYC Cinemark 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Tiffin Mall                                                 Blvd Ste 400
Fandango LLC           AATZO Regal      522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Atlas Park                                                  Blvd Ste 400
Cinemark               AATZM Cinemark 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Allen 16                                                    Blvd Ste 400
Cinemark               AATZN Cinemark 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Mesa 16                                                     Blvd Ste 400
Cinemark               AATYQ Cinemark 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       12 Rosenberg                                                Blvd Ste 400
Fandango LLC           AATZS Regal      522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Everett Mall 16                                             Blvd Ste 400
FANDANGO LLC           AAELI Cobb       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Jupiter 18                                                  Blvd Ste 400
Wallace Theaters       AATVZ Hollywood 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Stadium 14                                                  Blvd Ste 400
FANDANGO LLC           AAJSS Carmike    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Parkwood                                                    Blvd Ste 400
Wallace Theaters       AAUAT Wallace    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       MacArthur 16                                                Blvd Ste 400
Cinemark               AAUAP Cinemark 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Fayette                                                     Blvd Ste 400
Century Theatres       AAUBF Century 20 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Redwood City                                                Blvd Ste 400
Fandango LLC           AAUCI Kerasotes 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Showplace 12                                                Blvd Ste 400
Fandango LLC           AAUCG Kerasotes 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Showplace 14                                                Blvd Ste 400
Cinemark               85 Cinemark      522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Cinema 4                                                    Blvd Ste 400
Cinemark               134 Cinemark     522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Movies 12                                                   Blvd Ste 400
Cinemark               350 Cinemark 14 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                   Blvd Ste 400



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  Business Unit Name       Transaction        Taxpayer ID (or     IRS Filing Name         Address              City             State     Postal Code
                          Division Name     Merchant ID, where
                                                 available)
Cinemark                351 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Great Northern 8                                             Blvd Ste 400
Cinemark                355 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Eagle Pass                                                   Blvd Ste 400
Cinemark                356 Cinemark       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Market Street                                                Blvd Ste 400
Cinemark                360 Cinemark 12    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Mansfield                                                    Blvd Ste 400
Cinemark                363 Cinemark 14    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                     Blvd Ste 400
Cinemark                364 Cinemark 10    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Bridgeport                                                   Blvd Ste 400
Cinemark                367 Cinemark 14    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                     Blvd Ste 400
Century Theatres        AAUDV San          522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Francisco Centre                                             Blvd Ste 400
Fandango LLC            AAUDB Lancaster    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Mall 11                                                      Blvd Ste 400
Fandango LLC            AAUEF Regal        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Grand Junction                                               Blvd Ste 400
FANDANGO LLC            AAUDW Carmike      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Colonial Mall                                                Blvd Ste 400
Wallace Theaters        AAOUG Wallace      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Nu'uuli Place                                                Blvd Ste 400
Wallace Theaters        AAUEJ Hollywood    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Stadium 14                                                   Blvd Ste 400
Cinemark                AATVJ Cinemark     522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Luftkin 12                                                   Blvd Ste 400
Wehrenberg Theatres     AAUEU              522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Wehrenberg Town                                              Blvd Ste 400
                        Square
Cinemark                AATVJ Cinemark     522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Lufkin                                                       Blvd Ste 400
Cinemark                AAUFS Cinemark     522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Victor Valley                                                Blvd Ste 400
Cinemark                AAUFT Cinemark     522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Antelope Mall                                                Blvd Ste 400




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  Business Unit Name       Transaction         Taxpayer ID (or     IRS Filing Name         Address              City             State     Postal Code
                          Division Name      Merchant ID, where
                                                  available)
Bow Tie Cinemas         Bow Tie Cinemas     522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
Syufy Theatres          Syufy Theatres      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
Cinemark                AAUEM Cinemark 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Round Rock                                                    Blvd Ste 400
Cinebarre, LLC          Cinebarre, LLC 522205630                Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
Fandango Mktg Inc       Fandango Mktg Inc 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
Ad Sales                Ad Sales            522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
Alamo Drafthouse        Alamo Drafthouse    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
Alamo Drafthouse        Alamo Drafthouse    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
Alamo Drafthouse        Alamo Drafthouse    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
Alamo Drafthouse        Alamo Drafthouse    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
Alamo Stone Oak         Alamo Stone Oak     522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
Alamo Westlakes         Alamo Westlakes     522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
Alamo Mason Park        Alamo Mason Park 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
Alamo Park North        Alamo Park North    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
Alamo Winchester        Alamo Winchester    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
Alamo West Oaks         Alamo West Oaks     522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
Flagship Theater Palm   Flagship Theaters   522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
Springs                 Palm Spring                                                   Blvd Ste 400
Starlight Cinemas       Starlight Cinemas   522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
CinemaWest-Tiburon      CinemaWest-         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Tiburon                                                       Blvd Ste 400



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  Business Unit Name        Transaction       Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                           Division Name    Merchant ID, where
                                                 available)
Blue Oaks                Blue Oaks         522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
CinemaWest-Fairfax       CinemaWest-       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                         Fairfax                                                      Blvd Ste 400
CinemaWest-Palladio      CinemaWest-       522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                         Palladio                                                     Blvd Ste 400
Golin Theatres           Golin Theatres    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
Regency Theatres Inc     Regency Theatres 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                         Inc                                                          Blvd Ste 400
Contra Costa Cinema      Contra Costa      522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                         Cinema                                                       Blvd Ste 400
Livermore Cinemas        Livermore Cinemas 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
Petaluma Cinemas         Petaluma Cinemas 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
Sonoma Cinemas           Sonoma Cinemas    522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
Cinema West Twin Falls Cinema West Twin 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                       Falls                                                          Blvd Ste 400
Cinetopia LLC          Cinetopia LLC    522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
Cinetopia Progress Ridge Cinetopia Progress 522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                         Ridge                                                        Blvd Ste 400
Alamo Mainstreet         Alamo Mainstreet 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
CityPlex12 Newark        CityPlex12 Newark 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
Bartlett Cinema, LLC Barlett Cinema,  522205630                 Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                     LLC                                                              Blvd Ste 400
Memphis Cinema, LLC Memphis Cinema, 522205630                   Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                     LLC                                                              Blvd Ste 400
CineLux Theatres Co. CineLux Theatres 522205630                 Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
LLC                  Co. LLC                                                          Blvd Ste 400
Stonewood Cinema LLC Stonewood Cinema 522205630                 Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                     LLC                                                              Blvd Ste 400
Tristone Cinemas LLC Tristone Cinemas 522205630                 Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                     LLC                                                              Blvd Ste 400



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  Business Unit Name        Transaction        Taxpayer ID (or     IRS Filing Name         Address              City             State     Postal Code
                           Division Name     Merchant ID, where
                                                  available)
VSS-Southern Theatres,   VSS-Southern       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
LLC                      Theatres, LLC                                                Blvd Ste 400
Penn Cinema              Penn Cinema        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
Management Co. LLC       Management Co.                                               Blvd Ste 400
                         LLC
Penn Riverfront          Penn Riverfront    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
Management Co. LLC       Mgmt Co. LLC                                                 Blvd Ste 400
City Base Cinema         City Base Cinema   522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
Studio Movie Grill       Studio Movie Grill 522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
Triple Tap            Triple Tap          522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
AlamoVintageParkLLC   AlamoVintagePark                                                Blvd Ste 400
                      LLC
Pacific Theatres      PacificTheatresEntr 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
Entertainment Corp    tainmntCorp                                                     Blvd Ste 400
Reel Services         Reel Services       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
Management LLC        Management LLC                                                  Blvd Ste 400
Muvico Entertainment  Muvico              522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
LLC                   Entertainment LLC                                               Blvd Ste 400
Alamo Lakeline LLC    Alamo Lakeline      522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      LLC                                                             Blvd Ste 400
Alamo One Loudoun LLC Alamo One           522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      Loudoun LLC                                                     Blvd Ste 400
Iced Tea with Lemon   Iced Tea with       522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
LLC                   Lemon LLC                                                       Blvd Ste 400
Alamo Kalamazoo LLC Alamo Kalamazoo 522205630                   Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                      LLC                                                             Blvd Ste 400
Paragon Entertainment ParagonEntertainm 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
Group LLC             ent Group LLC                                                   Blvd Ste 400
Regal Cinemas Inc.    Regal Cinemas Inc. 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
Fandango LLC             CB Cinemas LTD     522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
Goodrich Quality         Goodrich Quality 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
Theatres, Inc            Theatres, Inc                                                Blvd Ste 400
Malco Theatres, Inc      Malco Theatres, Inc 522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400



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  Business Unit Name       Transaction        Taxpayer ID (or     IRS Filing Name          Address              City             State     Postal Code
                          Division Name     Merchant ID, where
                                                 available)
Owosso 3 Cinemas, Inc.   Owosso 3 Cinemas, 522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                         Inc.                                                         Blvd Ste 400
Prado Theater LLC        Prado Theater LLC 522205630           Fandango, Inc.         12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
Westown Movies LLC      Westown Movies      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        LLC                                                           Blvd Ste 400
Vista Entertainment     Vista Entertainment 522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
Solutions (USA), Inc.   Solutions                                                     Blvd Ste 400
Triple Tap Alamo        Triple Tap Alamo 522205630              Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
Lubbock, LLC            Lubbock, LLC                                                  Blvd Ste 400
Reel Dinner Partners-   ReelDinner          522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
Marketplace, LLC        PartnersMarketplac                                            Blvd Ste 400
                        e
Naperville Theater, LLC Naperville Theater, 522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        LLC                                                           Blvd Ste 400
Chinese Theatres, LLC Chinese Theatres, 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        LLC                                                           Blvd Ste 400
Premiere Cinema Corp    Premiere Cinema 522205630               Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                        Corp                                                          Blvd Ste 400
Megaplex Theatres       Megaplex Theatres 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
Harkins Arizona Mills    Harkins Arizona    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
Cinemas                  Mills Cinemas                                                Blvd Ste 400
Harkins Bricktown        Harkins Bricktown 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
Cinemas, LLC             Cinemas, LLC                                                 Blvd Ste 400
Harkins Camelview        Harkins Camelview 522205630            Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
Theatres, Inc.           Theatres Inc                                                 Blvd Ste 400
Harkins Casa Grande,     Harkins Casa       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
LLC                      Grande, LLC                                                  Blvd Ste 400
Harkins Chino Hills, LLC Harkins Chino      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                         Hills, LLC                                                   Blvd Ste 400
Harkins Chandler         Harkins Chandler 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
Fashion, LLC             Fashion, LLC                                                 Blvd Ste 400
Harkins Chandler         Harkins            522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
Crossroads, LLC          ChandlerCrossroads                                           Blvd Ste 400
                         ,LLC
Harkins Cinemas, LLC     Harkins Cinemas, 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
(Springs)                LLC (Springs)                                                Blvd Ste 400



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  Business Unit Name        Transaction          Taxpayer ID (or     IRS Filing Name        Address             City             State     Postal Code
                           Division Name       Merchant ID, where
                                                    available)
Harkins Arizona         Harkins Arizona       522205630           Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
Pavilions, LLC          Pavilions, LLC                                                 Blvd Ste 400
Harkins Christown, LLC Harkins Christown, 522205630               Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                        LLC                                                            Blvd Ste 400
Harkins Metro Center    HarkinsMetroCente 522205630               Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
Cinemas, LLC            rCinemas,LLC                                                   Blvd Ste 400
Harkins Theatres, Inc.  Harkins Theatres, 522205630               Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                        Inc.                                                           Blvd Ste 400
Harkins Northfield, LLC Harkins Northfield, 522205630             Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                        LLC                                                            Blvd Ste 400
Harkins Norterra, LLC   Harkins Norterra, 522205630               Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                        LLC                                                            Blvd Ste 400
Harkins Sedona Cinemas, Harkins Sedona      522205630             Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
LLC                     Cinemas, LLC                                                   Blvd Ste 400
Harkins Scottsdale 101 Harkins Scottsdale 522205630               Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
Cinemas, LLC            101 Cinemas                                                    Blvd Ste 400
Harkins Moreno Valley, Harkins Moreno       522205630             Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
LLC                     Valley, LLC                                                    Blvd Ste 400
Harkins Park West, LLC Harkins Park West, 522205630               Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                        LLC                                                            Blvd Ste 400
Harkins Shea Cinemas, Harkins Shea          522205630             Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
LLC                     Cinemas, LLC                                                   Blvd Ste 400
Harkins SanTan Village, Harkins SanTan      522205630             Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
LLC                     Village, LLC                                                   Blvd Ste 400
Red's Moviola, Inc.     Red's Moviola, Inc. 522205630             Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                                                                                       Blvd Ste 400
Harkins Tucson           Harkins Tucson       522205630           Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
Spectrum, LLC            Spectrum, LLC                                                 Blvd Ste 400
Harkins Tempe            Harkins Tempe        522205630           Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
Marketplace, LLC         Marketplace, LLC                                              Blvd Ste 400
Harkins Southlake, LLP   Harkins Southlake,   522205630           Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
                         LLP                                                           Blvd Ste 400
Harkins Yuma Palms,      Harkins Yuma         522205630           Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
LLC                      Palms, LLC                                                    Blvd Ste 400
Harkins Cinemas LLC      Harkins Cinemas      522205630           Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
Flagstaff                LLC Flagstaff                                                 Blvd Ste 400
Harkins Phoenix          Harkins Phoenix      522205630           Fandango, Inc.       12200 W Olympic   Los Angeles       CA            90064
Arrowhead                Arrowhead                                                     Blvd Ste 400



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  Business Unit Name          Transaction        Taxpayer ID (or     IRS Filing Name         Address              City             State     Postal Code
                             Division Name     Merchant ID, where
                                                    available)
Harkins Phoenix Gateway Harkins Phoenix       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                         Gateway                                                        Blvd Ste 400
Harkins Phoenix North    Harkins Phoenix      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
Valley                   North Valley                                                   Blvd Ste 400
Harkins Phoenix          Harkins Phoenix      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
PrescottValley           PrescottValley                                                 Blvd Ste 400
Dipson Theatres Inc.     Dipson Theatres      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                         Inc.                                                           Blvd Ste 400
Maya Bakersfield         Maya Bakersfield     522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
Cinemas                  Cinemas                                                        Blvd Ste 400
Maya Pittsburg Cinemas, Maya Pittsburg        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
LLC                      Cinemas, LLC                                                   Blvd Ste 400
Maya Salinas Old Town Maya Salinas Old        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
Cinemas                  Town Cinemas                                                   Blvd Ste 400
Cinepolis Luxury         Cinepolis Luxury     522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
Cinemas                  Cinemas                                                        Blvd Ste 400
Ultrastar Multi-tainment UltrastarMulti-      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
Center                   tainmentCenter                                                 Blvd Ste 400
Bow Tie Cinemas, LLC Bow Tie Cinemas,         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                         LLC                                                            Blvd Ste 400
Santikos Theaters, Inc.  Santikos Theaters,   522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                         Inc.                                                           Blvd Ste 400
Tivoli Enterprises Inc.  Tivoli Enterprises   522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                         Inc.                                                           Blvd Ste 400
Marcus Theaters          Marcus Theaters      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                        Blvd Ste 400
Regency Theaters of        Regency Theaters 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
Arizona, Inc.              of Arizona                                                   Blvd Ste 400
FC Gilbert Operations,     FC Gilbert         522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
LLC                        Operations, LLC                                              Blvd Ste 400
Zyacorp Entertainment I,   Zyacorp            522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
LLC                        Entertainment I,                                             Blvd Ste 400
                           LLC
Blue Wing Enterprises      Blue Wing          522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                           Enterprises                                                  Blvd Ste 400
East Campus Realty         East Campus Realty 522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                        Blvd Ste 400




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  Business Unit Name        Transaction        Taxpayer ID (or     IRS Filing Name         Address              City             State     Postal Code
                           Division Name     Merchant ID, where
                                                  available)
Alamo Drafthouse         Alamo Drafthouse   522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
Cinema Omaha             Cinema Omaha                                                 Blvd Ste 400
Flix Entertainment LLC   Flix Entertainment 522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                         LLC                                                          Blvd Ste 400
Harkins Investments,     Harkins             522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
LLC                      Investments, LLC                                             Blvd Ste 400
Alamo Drafthouse         Alamo Drafthouse 522205630             Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
Cinema Dallas            Cinema Dallas                                                Blvd Ste 400
El Paso Texas Alamo      El Paso Texas       522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
Operations               Alamo Operations                                             Blvd Ste 400
Gray Woods               Gray Woods          522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
Management, LLC          Management, LLC                                              Blvd Ste 400
R.L. Fridley Theartres   R.L. Fridley        522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
Inc.                     Theartres Inc.                                               Blvd Ste 400
Frank Theatres, LLC      Frank Theatres,     522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                         LLC                                                          Blvd Ste 400
Paragon Entertainment    Paragon             522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
Group                    Entertainment                                                Blvd Ste 400
                         Group
Malco Theatres, Inc      Malco Theatres, Inc 522205630          Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
VSS - Southern Theatres, VSS - Southern     522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
LLC                      Theatres, LLC                                                Blvd Ste 400
Cinergy Entertainment    Cinergy            522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
Group                    Entertainment                                                Blvd Ste 400
                         Group
Movie Tavern             Movie Tavern       522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400
Alamo Chandler, LLC      Alamo Chandler,    522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                         LLC                                                          Blvd Ste 400
Alamo Drafthouse         Alamo Drafthouse   522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
CorpusChristi            CorpusChristi                                                Blvd Ste 400
Silversport Cinemas      Silversport        522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                         Cinemas                                                      Blvd Ste 400
Phoenix Theatres         Phoenix Theatres   522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
Entertainment            Entertainment                                                Blvd Ste 400
Atlas Cinemas            Atlas Cinemas      522205630           Fandango, Inc.        12200 W Olympic    Los Angeles       CA            90064
                                                                                      Blvd Ste 400



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  Business Unit Name       Transaction        Taxpayer ID (or     IRS Filing Name          Address             City              State     Postal Code
                          Division Name     Merchant ID, where
                                                 available)
D'Place Entertainment   D'Place            522205630           Fandango, Inc.           12200 W Olympic Los Angeles        CA            90064
                        Entertainment                                                   Blvd Ste 400
Eclipse Theaters        Eclipse Theaters   522205630            Fandango, Inc.          12200 W Olympic Los Angeles        CA            90064
                                                                                        Blvd Ste 400
Ready Theaters Systems, Ready Theaters     522205630            Fandango, Inc.          12200 W Olympic Los Angeles        CA            90064
LLC                     Systems, LLC                                                    Blvd Ste 400
Alamo Mueller, LLC      Alamo Mueller,     522205630            Fandango, Inc.          12200 W Olympic Los Angeles        CA            90064
                        LLC                                                             Blvd Ste 400
Alamo Springboard       Alamo Springboard 522205630             Fandango, Inc.          12200 W Olympic Los Angeles        CA            90064
Ventures, LLC           Ventures                                                        Blvd Ste 400
4270 Boardwalk Hall     4270 Boardwalk     233035417            Ovations Food Services, 18228 US Highway Lutz              FL            33549
                        Hall                                    L.P                     41 North
0040 Pontchartrain Ctr  0040 Pontchartrain 233035417            Ovations Food Services, 18228 US Highway Lutz              FL            33549
                        Ctr                                     L.P                     41 North
0050 BOWIE BAYSOX 0050 BOWIE               233035417            Ovations Food Services, 18228 US Highway Lutz              FL            33549
                        BAYSOX                                  L.P                     41 North
0070 FREDERICK          0070 FREDERICK 233035417                Ovations Food Services, 18228 US Highway Lutz              FL            33549
KEYS                    KEYS                                    L.P                     41 North
0080 SALISBURY          0080 SALISBURY 233035417                Ovations Food Services, 18228 US Highway Lutz              FL            33549
                                                                L.P                     41 North
0190 CLARK COUNTY 0190 CLARK      233035417                     Ovations Food Services, 18228 US Highway Lutz              FL            33549
                  COUNTY                                        L.P                     41 North
0270 CLARK FAIR   0270 CLARK FAIR 233035417                     Ovations Food Services, 18228 US Highway Lutz              FL            33549
                                                                L.P                     41 North
0290 DUKE ENERGY    0290 DUKE              233035417            Ovations Food Services, 18228 US Highway Lutz              FL            33549
                    ENERGY                                      L.P                     41 North
4110 ORTIZ CENTER   4110 ORTIZ             233035417            Ovations Food Services, 18228 US Highway Lutz              FL            33549
                    CENTER                                      L.P                     41 North
4120 PORTLAND INTL 4120 PORTLAND           233035417            Ovations Food Services, 18228 US Highway Lutz              FL            33549
RCWY                INTL RCWY                                   L.P                     41 North
4130 COLUMBIA       4130 COLUMBIA          233035417            Ovations Food Services, 18228 US Highway Lutz              FL            33549
CONV CTR            CONV CTR                                    L.P                     41 North
4140 SIOUX FALLS CC 4140 SIOUX             233035417            Ovations Food Services, 18228 US Highway Lutz              FL            33549
                    FALLS CC                                    L.P                     41 North
4180 DAYTONA        4180 DAYTONA           233035417            Ovations Food Services, 18228 US Highway Lutz              FL            33549
OCEAN CTR           OCEAN CTR                                   L.P                     41 North
4230 MISSOURI STATE 4230 MISSOURI          233035417            Ovations Food Services, 18228 US Highway Lutz              FL            33549
                    STATE                                       L.P                     41 North



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 Business Unit Name      Transaction     Taxpayer ID (or     IRS Filing Name           Address              City              State     Postal Code
                        Division Name  Merchant ID, where
                                            available)
4240 AUGUSTA          WHP Motorsports 233035417           Ovations Food Services, 18228 US Highway Lutz                 FL            33549
ARENA                 Park                                L.P                     41 North
4260 ATLANTIC CITY 4260 ATLANTIC 233035417                Ovations Food Services, 18228 US Highway Lutz                 FL            33549
                      CITY                                L.P                     41 North
4310 KNOXVILLE        4310 KNOXVILLE 233035417            Ovations Food Services, 18228 US Highway Lutz                 FL            33549
CIVIC CTR             CIVIC CTR                           L.P                     41 North
4350 GREENSBORO       4350            233035417           Ovations Food Services, 18228 US Highway Lutz                 FL            33549
                      GREENSBORO                          L.P                     41 North
4370 GLENS FALLS      4370 GLENS      233035417           Ovations Food Services, 18228 US Highway Lutz                 FL            33549
                      FALLS                               L.P                     41 North
4380 DAYTON CONV 4380 DAYTON          233035417           Ovations Food Services, 18228 US Highway Lutz                 FL            33549
CTR                   CONV CTR                            L.P                     41 North
4390 LAKELAND         4390 LAKELAND 233035417             Ovations Food Services, 18228 US Highway Lutz                 FL            33549
CENTER                CENTER                              L.P                     41 North
4400 PPL Park F&B     4400 PPL Park   233035417           Ovations Food Services, 18228 US Highway Lutz                 FL            33549
                      F&B                                 L.P                     41 North
4430 SIOUX FALLS BB 4430 SIOUX        233035417           Ovations Food Services, 18228 US Highway Lutz                 FL            33549
                      FALLS BB                            L.P                     41 North
4450 OMAHA ROYALS 4450 Omaha Storm 233035417              Ovations Food Services, 18228 US Highway Lutz                 FL            33549
                      Chasers                             L.P                     41 North
4470 TEXAS TECH       4470 TEXAS      233035417           Ovations Food Services, 18228 US Highway Lutz                 FL            33549
UNIV                  TECH UNIV                           L.P                     41 North
4500 PALM BEACH CC 4500 PALM          233035417           Ovations Food Services, 18228 US Highway Lutz                 FL            33549
                      BEACH CC                            L.P                     41 North
4590 BETHEL WOODS 4590 BETHEL         233035417           Ovations Food Services, 18228 US Highway Lutz                 FL            33549
                      WOODS                               L.P                     41 North
4600 Palisades Credit 4600 Palisades  233035417           Ovations Food Services, 18228 US Highway Lutz                 FL            33549
Union P               Credit Union P                      L.P                     41 North
7560 WHP CATERING 7560 WHP            233035417           Ovations Food Services, 18228 US Highway Lutz                 FL            33549
                      CATERING                            L.P                     41 North
4610 COLORADO ST      4610 COLORADO 233035417             Ovations Food Services, 18228 US Highway Lutz                 FL            33549
UNIV                  ST UNIV                             L.P                     41 North
0290 DUKE ENERGY      0290 DUKE       233035417           Ovations Food Services, 18228 US Highway Lutz                 FL            33549
                      ENERGY                              L.P                     41 North
4630 VCU              4630 VCU        233035417           Ovations Food Services, 18228 US Highway Lutz                 FL            33549
                                                          L.P                     41 North
4660 Santa Ana        4660 Santa Ana  233035417           Ovations Food Services, 18228 US Highway Lutz                 FL            33549
                                                          L.P                     41 North



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                                 In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name         Transaction       Taxpayer ID (or     IRS Filing Name           Address             City             State     Postal Code
                            Division Name    Merchant ID, where
                                                  available)
4640 Syracuse Chiefs      4640 Syracuse     233035417           Ovations Food Services, 18228 US Highway Lutz               FL            33549
                          Chiefs                                L.P                     41 North
4650 - Maritime Park      4650 - Maritime   233035417           Ovations Food Services, 18228 US Highway Lutz               FL            33549
                          Park                                  L.P                     41 North
4680 Lowry Park Zoo       4680 Lowry Park   233035417           Ovations Food Services, 18228 US Highway Lutz               FL            33549
                          Zoo                                   L.P                     41 North
0180 Larimer              0180 Larimer      233035417           Ovations Food Services, 18228 US Highway Lutz               FL            33549
                                                                L.P                     41 North
7810 Vee Quiva Deli    7810 Vee Quiva       233035417           Ovations Food Services, 18228 US Highway Lutz               FL            33549
                       Deli                                     L.P                     41 North
7810 Vee Quiva Bars    7810 Vee Quiva       233035417           Ovations Food Services, 18228 US Highway Lutz               FL            33549
                       Bars                                     L.P                     41 North
4700SHARONVILLECO 4700                      233035417           Ovations Food Services, 18228 US Highway Lutz               FL            33549
NVCTR                  SHARONVILLE                              L.P                     41 North
                       CONV CTR
4670 Chilhowee Park    4670 Chilhowee   233035417                Ovations Food Services, 18228 US Highway Lutz              FL            33549
                       Park                                      L.P                     41 North
4720 Sioux Falls Arena 4720 Sioux Falls 233035417                Ovations Food Services, 18228 US Highway Lutz              FL            33549
                       Arena                                     L.P                     41 North
7200LB Big City Sports 7200 LB BIG CITY 233035417                Ovations Food Services, 18228 US Highway Lutz              FL            33549
                       SPORTS                                    L.P                     41 North
7220 LB V Bar          7220 LB V Bar    233035417                Ovations Food Services, 18228 US Highway Lutz              FL            33549
                                                                 L.P                     41 North
4750 HILLSBORO            4750 HILLSBORO    233035417            Ovations Food Services, 18228 US Highway Lutz              FL            33549
BALLPAR                   BALLPAR                                L.P                     41 North
7850 In Room Dining       7850 In Room      233035417            Ovations Food Services, 18228 US Highway Lutz              FL            33549
                          Dining                                 L.P                     41 North
7852 Catering Theatre     7852 Catering     233035417            Ovations Food Services, 18228 US Highway Lutz              FL            33549
                          Theatre                                L.P                     41 North
7856 VIP Lounge           7856 VIP Lounge   233035417            Ovations Food Services, 18228 US Highway Lutz              FL            33549
                                                                 L.P                     41 North
4761 Rentschler Field  4761 Rentschler      233035417            Ovations Food Services, 18228 US Highway Lutz              FL            33549
                       Field                                     L.P                     41 North
4800 Wake Forest Univ. 4800 Wake Forest     233035417            Ovations Food Services, 18228 US Highway Lutz              FL            33549
                       Univ.                                     L.P                     41 North
4760 XL Center         4760 XL Center       233035417            Ovations Food Services, 18228 US Highway Lutz              FL            33549
                                                                 L.P                     41 North




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 Business Unit Name       Transaction        Taxpayer ID (or     IRS Filing Name           Address            City             State     Postal Code
                         Division Name     Merchant ID, where
                                                available)
4810 Sevierville CC    4810 Sevierville   233035417           Ovations Food Services, 18228 US Highway Lutz              FL            33549
                       CC                                     L.P                     41 North
4820 Jungle Island     4820 Jungle Island 233035417           Ovations Food Services, 18228 US Highway Lutz              FL            33549
                                                              L.P                     41 North
4840 Cubs Spring Train 4840 Cubs Spring 233035417             Ovations Food Services, 18228 US Highway Lutz              FL            33549
                       Train                                  L.P                     41 North
4490 Salt River        4490 Salt River    233035417           Ovations Food Services, 18228 US Highway Lutz              FL            33549
                                                              L.P                     41 North
4620 Gila Events       4620 Gila Events   233035417           Ovations Food Services, 18228 US Highway Lutz              FL            33549
                                                              L.P                     41 North
4780 EP Chihuahuas     4780 EP            233035417           Ovations Food Services, 18228 US Highway Lutz              FL            33549
                       Chihuahuas                             L.P                     41 North
Gateway Centers-4940   Gateway Centers- 233035417             Ovations Food Services, 18228 US Highway Lutz              FL            33549
                       4940                                   L.P                     41 North
4930 - Columbus        4930 - Columbus    233035417           Ovations Food Services, 18228 US Highway Lutz              FL            33549
                                                              L.P                     41 North
4850 Indepence Event C 4850 Indepence     233035417           Ovations Food Services, 18228 US Highway Lutz              FL            33549
                       Event C                                L.P                     41 North
4980 Palm Beach Zoo    4980 Palm Beach 233035417              Ovations Food Services, 18228 US Highway Lutz              FL            33549
                       Zoo                                    L.P                     41 North
4871 Spectra @ 99      4871 Spectra @ 99 233035417            Ovations Food Services, 18228 US Highway Lutz              FL            33549
Bottles                Bottles                                L.P                     41 North
4872 Spectra @ Chicki 4872 Spectra @      233035417           Ovations Food Services, 18228 US Highway Lutz              FL            33549
                       Chicki                                 L.P                     41 North
4880 Premier Arena     4880 Premier Arena 233035417           Ovations Food Services, 18228 US Highway Lutz              FL            33549
                                                              L.P                     41 North
4870 PPL Center        4870 PPL Center    233035417           Ovations Food Services, 18228 US Highway Lutz              FL            33549
                                                              L.P                     41 North
4950 Arsht Center      4950 Arsht Center 233035417            Ovations Food Services, 18228 US Highway Lutz              FL            33549
                                                              L.P                     41 North
4931Columbus Civic Cnt 4931Columbus       233035417           Ovations Food Services, 18228 US Highway Lutz              FL            33549
                       Civic Cnt                              L.P                     41 North
0035 Green River Comm 0035 Green River 233035417              Ovations Food Services, 18228 US Highway Lutz              FL            33549
                       Comm                                   L.P                     41 North
4621 WHP Motor F&B 4621 WHP Motor 233035417                   Ovations Food Services, 18228 US Highway Lutz              FL            33549
                       F&B                                    L.P                     41 North
4062 Hohokam Stadium 4062 Hohokam         233035417           Ovations Food Services, 18228 US Highway Lutz              FL            33549
                       Stadium                                L.P                     41 North



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 Business Unit Name       Transaction         Taxpayer ID (or     IRS Filing Name           Address            City            State     Postal Code
                         Division Name      Merchant ID, where
                                                 available)
4460 Township Auditori 4460 Township       233035417           Ovations Food Services, 18228 US Highway Lutz             FL            33549
                        Auditori                               L.P                     41 North
0045 Biloxi Stadium     0045 Biloxi        233035417           Ovations Food Services, 18228 US Highway Lutz             FL            33549
                        Stadium                                L.P                     41 North
0055MarylandScienceCtr 0055MarylandScien 233035417             Ovations Food Services, 18228 US Highway Lutz             FL            33549
                        ceCtr                                  L.P                     41 North
2700 Xfinity Arena      2700 Xfinity Arena 233035417           Ovations Food Services, 18228 US Highway Lutz             FL            33549
                                                               L.P                     41 North
3920 Penn's Peak        3920 Penn's Peak 233035417             Ovations Food Services, 18228 US Highway Lutz             FL            33549
                                                               L.P                     41 North
0110 Blue Water Resort 0110 Blue Water     233035417           Ovations Food Services, 18228 US Highway Lutz             FL            33549
                        Resort                                 L.P                     41 North
0075 Two Trees Inn      0075 Two Trees Inn 233035417           Ovations Food Services, 18228 US Highway Lutz             FL            33549
                                                               L.P                     41 North
0085 DURHAM             0085 DURHAM        233035417           Ovations Food Services, 18228 US Highway Lutz             FL            33549
PERFORMING              PERFORMING                             L.P                     41 North
0140 Trenton            0140 Trenton       233035417           Ovations Food Services, 18228 US Highway Lutz             FL            33549
                                                               L.P                     41 North
0065 Orlando Soccer     0065 Orlando       233035417           Ovations Food Services, 18228 US Highway Lutz             FL            33549
                        Soccer                                 L.P                     41 North
0105 Charleston Gailla 0105 Charleston     233035417           Ovations Food Services, 18228 US Highway Lutz             FL            33549
                        Gailla                                 L.P                     41 North
0095 Dr Phillips Center 0095 Dr Phillips   233035417           Ovations Food Services, 18228 US Highway Lutz             FL            33549
                        Center                                 L.P                     41 North
2510 Mass Mutual        2510 Mass Mutual 233035417             Ovations Food Services, 18228 US Highway Lutz             FL            33549
Center Arena            Center Arena                           L.P                     41 North
0706 Dilworth           0706 Dilworth      233035417           Ovations Food Services, 18228 US Highway Lutz             FL            33549
Park/Center City        Park/Center City                       L.P                     41 North
0701 Brulee Commissary 0701 Brulee         233035417           Ovations Food Services, 18228 US Highway Lutz             FL            33549
                        Commissary                             L.P                     41 North
0702 Independence       0702 Independence 233035417            Ovations Food Services, 18228 US Highway Lutz             FL            33549
Vistor Cente            Vistor Cente                           L.P                     41 North
0705 Museum of          0705 Museum of     233035417           Ovations Food Services, 18228 US Highway Lutz             FL            33549
American Revolu         American Revolu                        L.P                     41 North
0704 Please Touch       0704 Please Touch 233035417            Ovations Food Services, 18228 US Highway Lutz             FL            33549
Museum                  Museum                                 L.P                     41 North
0703 National           0703 National      233035417           Ovations Food Services, 18228 US Highway Lutz             FL            33549
Constitution Cen        Constitution Cen                       L.P                     41 North



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  Business Unit Name       Transaction        Taxpayer ID (or     IRS Filing Name           Address            City             State     Postal Code
                          Division Name     Merchant ID, where
                                                 available)
0145 Central Washington 0145 Central       233035417           Ovations Food Services, 18228 US Highway Lutz              FL            33549
State                   Washington State                       L.P                     41 North
0165 Vanderbilt         0165 Vanderbilt    233035417           Ovations Food Services, 18228 US Highway Lutz              FL            33549
University              University                             L.P                     41 North
0175 University of      0175 University of 233035417           Ovations Food Services, 18228 US Highway Lutz              FL            33549
Central Flo             Central Flo                            L.P                     41 North
Orpheum Threatre - 0205 Orpheum Threatre - 233035417           Ovations Food Services, 18228 US Highway Lutz              FL            33549
                        0205                                   L.P                     41 North
Sioux Gateway Airport - Sioux Gateway      233035417           Ovations Food Services, 18228 US Highway Lutz              FL            33549
0215                    Airport - 0215                         L.P                     41 North
Tyson Events Center -   Tyson Events       233035417           Ovations Food Services, 18228 US Highway Lutz              FL            33549
0195                    Center - 0195                          L.P                     41 North
Toyota Park - 0225      Toyota Park - 0225 233035417           Ovations Food Services, 18228 US Highway Lutz              FL            33549
                                                               L.P                     41 North
Crown Complex - 2320 Crown Complex - 233035417                 Ovations Food Services, 18228 US Highway Lutz              FL            33549
                        2320                                   L.P                     41 North
0255 MD Blue Crabs      0255 MD Blue       233035417           Ovations Food Services, 18228 US Highway Lutz              FL            33549
                        Crabs                                  L.P                     41 North
0245 Kansas City TBones 0245 Kansas City 233035417             Ovations Food Services, 18228 US Highway Lutz              FL            33549
                        TBones                                 L.P                     41 North
0265 University of      0265 University of 233035417           Ovations Food Services, 18228 US Highway Lutz              FL            33549
Illinois                Illinois                               L.P                     41 North
0155 VILLANOVA          0155 VILLANOVA 233035417               Ovations Food Services, 18228 US Highway Lutz              FL            33549
                                                               L.P                     41 North
0275 SIOUX CITY         0275 SIOUX CITY 233035417              Ovations Food Services, 18228 US Highway Lutz              FL            33549
BASEBALL                BASEBALL                               L.P                     41 North
0285 WHARF CAFE         0285 WHARF         233035417           Ovations Food Services, 18228 US Highway Lutz              FL            33549
                        CAFE                                   L.P                     41 North
2335 McCAW HALL         2335 McCAW         233035417           Ovations Food Services, 18228 US Highway Lutz              FL            33549
                        HALL                                   L.P                     41 North
2330 SIOUX CITY         2330 SIOUX CITY 233035417              Ovations Food Services, 18228 US Highway Lutz              FL            33549
OLSEN STADIUM           OLSEN STADIUM                          L.P                     41 North

0295 The Met            0295 The Met      233035417            Ovations Food Services, 18228 US Highway Lutz              FL            33549
                                                               L.P                     41 North
0620 76ers Fieldhouse   0620 76ers        233035417            Ovations Food Services, 18228 US Highway Lutz              FL            33549
                        Fieldhouse                             L.P                     41 North




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                                                                      Exhibit A
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 Business Unit Name       Transaction        Taxpayer ID (or     IRS Filing Name            Address            City            State     Postal Code
                         Division Name     Merchant ID, where
                                                available)
6100 WINSTAR          6100 WINSTAR        233035417           Ovations Food Services, 18228 US Highway Lutz              FL            33549
                                                              L.P                     41 North
0240 WELLS FARGO      0240 WELLS          233035417           Ovations Food Services, 18228 US Highway Lutz              FL            33549
ARENA                 FARGO ARENA                             L.P                     41 North
PHILA                 PHILA               470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
UNION/COMCAST TIX UNION/COMCAS                                New Era Tickets         Ste 200
                      T TIX
WELLSFARGOCTRCO WELLSFARGOCT 470911650                        Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
MCASTTIX              RCOMCASTTIX                             New Era Tickets         Ste 200
Flyers Charities      Flyers Charities    470911650           Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
                                                              New Era Tickets         Ste 200
PHILADELPHIA 76'ERS PHILADELPHIA 470911650                    Patron Solutions LP dba 930 E Lincoln Hwy Exton            PA            19341
CA                    76'ERS CA                               New Era Tickets         Ste 200
GREATER RICHMOND GREATER                  593599248           GLOBAL SPECTRUM, 19100 E. Valley          Independence     MO            64055
CTR                   RICHMOND CTR                            L.P.                    View Parkway
GREATER RICHMOND GREATER                  593599248           GLOBAL SPECTRUM, 19100 E. Valley          Independence     MO            64055
CTR                   RICHMOND CTR                            L.P.                    View Parkway
GREATER RICHMOND GREATER                  593599248           GLOBAL SPECTRUM, 19100 E. Valley          Independence     MO            64055
CTR                   RICHMOND CTR                            L.P.                    View Parkway
Greater Richmond Conv Greater Richmond 593599248              GLOBAL SPECTRUM, 19100 E. Valley          Independence     MO            64055
                      Conv                                    L.P.                    View Parkway
LC BUDWEISER          LC BUDWEISER 593599248                  GLOBAL SPECTRUM, 19100 E. Valley          Independence     MO            64055
EVENTS                EVENTS                                  L.P.                    View Parkway
INDEPENDENCE          INDEPENDENCE 593599248                  GLOBAL SPECTRUM, 19100 E. Valley          Independence     MO            64055
EVENTS CT             EVENTS CT                               L.P.                    View Parkway
INDEPENDENCE          INDEPENDENCE 593599248                  GLOBAL SPECTRUM, 19100 E. Valley          Independence     MO            64055
EVENTS CT             EVENTS CT                               L.P.                    View Parkway
Salina BiCentennial   Salina BiCentennial 593599248           GLOBAL SPECTRUM, 19100 E. Valley          Independence     MO            64055
                                                              L.P.                    View Parkway
OVERLAND PARK         OVERLAND            593599248           GLOBAL SPECTRUM, 19100 E. Valley          Independence     MO            64055
CONV CTR              PARK CONV CTR                           L.P.                    View Parkway

OVERLAND PARK          OVERLAND      593599248                 GLOBAL SPECTRUM, 19100 E. Valley         Independence     MO            64055
CONV CTR               PARK CONV CTR                           L.P.             View Parkway

LAS CRUCES CONV        LAS CRUCES        593599248             GLOBAL SPECTRUM, 19100 E. Valley         Independence     MO            64055
CTR                    CONV CTR                                L.P.             View Parkway




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                                                                        Exhibit A
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  Business Unit Name        Transaction       Taxpayer ID (or     IRS Filing Name      Address                  City             State     Postal Code
                           Division Name    Merchant ID, where
                                                 available)
PBC CONVENTION           PBC               593599248           GLOBAL SPECTRUM, 19100 E. Valley          Independence      MO            64055
CENTER                   CONVENTION                            L.P.               View Parkway
                         CENTER
PBC CONVENTION           PBC               593599248            GLOBAL SPECTRUM, 19100 E. Valley         Independence      MO            64055
CENTER                   CONVENTION                             L.P.             View Parkway
                         CENTER
PBC CONVENTION           PBC               593599248            GLOBAL SPECTRUM, 19100 E. Valley         Independence      MO            64055
CENTER                   CONVENTION                             L.P.             View Parkway
                         CENTER
PBC CONVENTION           PBC               593599248            GLOBAL SPECTRUM, 19100 E. Valley         Independence      MO            64055
CENTER                   CONVENTION                             L.P.             View Parkway
                         CENTER
CENTURY CENTER           CENTURY           593599248            GLOBAL SPECTRUM, 19100 E. Valley         Independence      MO            64055
                         CENTER                                 L.P.             View Parkway
PUEBLO                   PUEBLO            593599248            GLOBAL SPECTRUM, 19100 E. Valley         Independence      MO            64055
CONVENTION CTR           CONVENTION                             L.P.             View Parkway
                         CTR
FARGODOME                FARGODOME         593599248            GLOBAL SPECTRUM, 19100 E. Valley         Independence      MO            64055
                                                                L.P.                View Parkway
Golf Now                 GOLFNOW*TeeTi 233098999                COMCAST Cable       1 Comcast Center     Philadelphia      PA            19103
                         mes                                    Communications, LLC 54th Floor
Golf Channel -           GOLF             233098999             COMCAST Cable       1 Comcast Center     Philadelphia      PA            19103
Advertising              CHANNEL*Advert                         Communications, LLC 54th Floor
                         ise
Golf Channel - Game      GOLFCHANNEL 233098999                  COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Tracker                  *Gametrckr                             Communications, LLC   54th Floor
GolfNow - Euro           GOLFNOW*TEETI 190217                   COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                         MES                                    Communications, LLC   54th Floor
GolfNow - GBP            GOLFNOW*TEETI 190218                   COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                         MES                                    Communications, LLC   54th Floor
Golf Channel - Amateur   Golf             274683126             COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Tour                     Channel*AmateurT                       Communications, LLC   54th Floor
                         r
GolfNow - Deal Caddy     GolfNow*DealCad 274684487              COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
                         dy                                     Communications, LLC   54th Floor
GolfNow Enterprises,     GOLFNOW*TEETI 208707                   COMCAST Cable         1 Comcast Center   Philadelphia      PA            19103
Inc.                     MES                                    Communications, LLC   54th Floor




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                                                                        Exhibit A
                                In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name        Transaction        Taxpayer ID (or     IRS Filing Name       Address                City             State     Postal Code
                           Division Name     Merchant ID, where
                                                  available)
GolfNow Enterprises-     GolfNow*Deal       208708              COMCAST Cable       1 Comcast Center     Philadelphia      PA            19103
Deal Caddy               Caddy                                  Communications, LLC 54th Floor
Deal Caddy - GBP         GolfNow*DealCad 211392                 COMCAST Cable       1 Comcast Center     Philadelphia      PA            19103
                         dy                                     Communications, LLC 54th Floor
Deal Caddy - EUR         GolfNow*DealCad 211393                 COMCAST Cable       1 Comcast Center     Philadelphia      PA            19103
                         dy                                     Communications, LLC 54th Floor
GolfNow - CZK            GOLFNOW*TEETI 218455                   COMCAST Cable       1 Comcast Center     Philadelphia      PA            19103
                         MES                                    Communications, LLC 54th Floor
Canadian Amateur Tour    GC *CANADIAN 221487                    COMCAST Cable       1 Comcast Center     Philadelphia      PA            19103
                         AM TOUR                                Communications, LLC 54th Floor
FORE Reservations        FORE Reservations 228293               COMCAST Cable       1 Comcast Center     Philadelphia      PA            19103
                                                                Communications, LLC 54th Floor
TGC, LLC-World Long      World Long Drive 268851                COMCAST Cable       1 Comcast Center     Philadelphia      PA            19103
Drive                    TGC                                    Communications, LLC 54th Floor
GolfNow, LLC             QANTAS GOLF by 325391                  COMCAST Cable       1 Comcast Center     Philadelphia      PA            19103
                         GOLFNOW                                Communications, LLC 54th Floor
GolfNow, LLC             QANTAS GOLF by 325416                  COMCAST Cable       1 Comcast Center     Philadelphia      PA            19103
                         GOLFNOW                                Communications, LLC 54th Floor
GolfNow, LLC             QANTAS GOLF by 325420                  COMCAST Cable       1 Comcast Center     Philadelphia      PA            19103
                         GOLFNOW                                Communications, LLC 54th Floor
Golf Channel -           Revolution Golf    329092              COMCAST Cable       1 Comcast Center     Philadelphia      PA            19103
Revolution Golf                                                 Communications, LLC 54th Floor
DURHAM                   DURHAM             593599248           GLOBAL SPECTRUM, 19100 E. Valley         Independence      MO            64055
CONVENTION CTR           CONVENTION                             L.P.                View Parkway
                         CTR
PBC Convention Center    PBC Convention     593599248           GLOBAL SPECTRUM, 19100 E. Valley         Independence      MO            64055
                         Center                                 L.P.                View Parkway
ST CHARLES CONV          ST CHARLES         593599248           GLOBAL SPECTRUM, 19100 E. Valley         Independence      MO            64055
CTR                      CONV CTR                               L.P.                View Parkway
ST CHARLES CONV          ST CHARLES         593599248           GLOBAL SPECTRUM, 19100 E. Valley         Independence      MO            64055
CTR                      CONV CTR                               L.P.                View Parkway
ST CHARLES CONV          ST CHARLES         593599248           GLOBAL SPECTRUM, 19100 E. Valley         Independence      MO            64055
CTR                      CONV CTR                               L.P.                View Parkway
City of Salina- BC       City of Salina- BC 593599248           GLOBAL SPECTRUM, 19100 E. Valley         Independence      MO            64055
                                                                L.P.                View Parkway
City Of Muskogee Civic   City Of Muskogee 593599248             GLOBAL SPECTRUM, 19100 E. Valley         Independence      MO            64055
Center                   Civic Center                           L.P.                View Parkway




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                                                                     Exhibit A
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  Business Unit Name     Transaction       Taxpayer ID (or     IRS Filing Name       Address                 City             State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
City Of Muskogee       City Of Muskogee 593599248           GLOBAL SPECTRUM, 19100 E. Valley          Independence      MO            64055
                                                            L.P.                View Parkway
NBC Universal          NBC Universal    954874775           COMCAST Cable       1 Comcast Center      Philadelphia      PA            19103
                                                            Communications, LLC 54th Floor
NBC Universal          NBC Universal    650532323           COMCAST Cable       1 Comcast Center      Philadelphia      PA            19103
                                                            Communications, LLC 54th Floor
NBC Universal          Telemundo        592444938           COMCAST Cable       1 Comcast Center      Philadelphia      PA            19103
                                                            Communications, LLC 54th Floor
NBC Universal          Telemundo        943371946           COMCAST Cable       1 Comcast Center      Philadelphia      PA            19103
                                                            Communications, LLC 54th Floor
NBC Universal          Telemundo        133348686           COMCAST Cable       1 Comcast Center      Philadelphia      PA            19103
                                                            Communications, LLC 54th Floor
NBC Universal          Telemundo        815155866           COMCAST Cable       1 Comcast Center      Philadelphia      PA            19103
                                                            Communications, LLC 54th Floor
Universal              Various          593128514           COMCAST Cable       1 Comcast Center      Philadelphia      PA            19103
                                                            Communications, LLC 54th Floor
Universal              Various          593343457           COMCAST Cable       1 Comcast Center      Philadelphia      PA            19103
                                                            Communications, LLC 54th Floor
Universal              Various          270470373           COMCAST Cable       1 Comcast Center      Philadelphia      PA            19103
                                                            Communications, LLC 54th Floor
Universal              Various          954686324           COMCAST Cable       1 Comcast Center      Philadelphia      PA            19103
                                                            Communications, LLC 54th Floor
Universal              Various          421539933           COMCAST Cable       1 Comcast Center      Philadelphia      PA            19103
                                                            Communications, LLC 54th Floor
UNIVERSAL CITY         UNIV STUDIOS     753052389           UNIV STUDIOS        100 UNIVERSAL         UNIVERSAL CITY CA               91608
STUDIOS L              CONVENTION                           CONVENTION          CITY PLAZA
UNIVERSAL CITY         UNIV STUDIOS     753052389           UNIV STUDIOS-       100 UNIVERSAL         UNIVERSAL CITY CA               91608
STUDIOS L              ACCTS RECEI                          ACCTS RECEI         CITY PLAZA
UNIVERSAL CITY         ACCESSO          753052389           UNIV STUDIOS-AUTO 100 UNIVERSAL           UNIVERSAL CITY CA               91608
STUDIOS L              TICKETS                              TKTS                CITY PLAZA
UNIVERSAL CITY         UNIVERSAL        753052389           UNIVERSAL STUDIOS 100 UNIVERSAL           UNIVERSAL CITY CA               91608
STUDIOS L              STUDIOS TICKET                       TICKET              CITY PLAZA

UNIVERSAL CITY         USH EMPLOYEE 753052389                EMPLOYEE          100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L              SERVICES                              SERVICES          CITY PLAZA
UNIVERSAL CITY         INTERNATIONAL 753052389               UNIVERSAL STUDIOS 100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L              CAFE                                  FOOD              CITY PLAZA




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 Business Unit Name     Transaction   Taxpayer ID (or     IRS Filing Name              Address             City              State     Postal Code
                       Division NameMerchant ID, where
                                         available)
UNIVERSAL CITY        THREE        753052389           INTERNATIONAL          100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L             BROOMSTICKS                      CAFE'                  CITY PLAZA
UNIVERSAL CITY        HOGSHEAD PUB 753052389           BAKER STREET           100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L                                                                     CITY PLAZA
UNIVERSAL CITY        MAGIC NEEP   753052389                RANCH             100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L             CART                                                    CITY PLAZA
UNIVERSAL CITY        TRAMBOARDING 753052389                TRAMBOARDING      100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L                                                                     CITY PLAZA
UNIVERSAL CITY        BUTTERBEER       753052389            ANIMAL SHOW       100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L             CART                                                    CITY PLAZA
UNIVERSAL CITY        FILCH'S          753052389            MOBILE 4          100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L             EMPORIUM                                                CITY PLAZA
UNIVERSAL CITY        MOE'S TAVERN     753052389            SPLASHDOWN        100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L                                                                     CITY PLAZA
UNIVERSAL CITY        BUTTERBEER       753052389            BUTTERBEER CART 2 100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L             CART 2                                                  CITY PLAZA
UNIVERSAL CITY        FOSSIL FUELS     753052389            FOSSIL FUELS      100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L                                                                     CITY PLAZA
UNIVERSAL CITY        USH             753052389             EC FOOD CARTS     100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L             ENTERTAINMEN                                            CITY PLAZA
                      T CTR FO
UNIVERSAL CITY        USH STUDIO CTR 753052389              USH CENTER FOOD  100 UNIVERSAL           UNIVERSAL CITY CA               91608
STUDIOS L             FOOD CART                             CARTS            CITY PLAZA
UNIVERSAL CITY        CLETUS' CHICKIN 753052389             BTTF             100 UNIVERSAL           UNIVERSAL CITY CA               91608
STUDIOS L             SHACK                                                  CITY PLAZA
UNIVERSAL CITY        HONEYDUKES      753052389             KIDS ZONE        100 UNIVERSAL           UNIVERSAL CITY CA               91608
STUDIOS L                                                                    CITY PLAZA
UNIVERSAL CITY        ZONKOS           753052389            WILD WEST CORNER 100 UNIVERSAL           UNIVERSAL CITY CA               91608
STUDIOS L                                                                    CITY PLAZA
UNIVERSAL CITY        WAND CART        753052389            MOBILE 3         100 UNIVERSAL           UNIVERSAL CITY CA               91608
STUDIOS L                                                                    CITY PLAZA
UNIVERSAL CITY        DUFF'S BEER      753052389            BREWS BROS       100 UNIVERSAL           UNIVERSAL CITY CA               91608
STUDIOS L                                                                    CITY PLAZA
UNIVERSAL CITY        OLLIVANDERS      753052389            CANTINA ENTRANCE 100 UNIVERSAL           UNIVERSAL CITY CA               91608
STUDIOS L                                                                    CITY PLAZA
UNIVERSAL CITY        WISEACRES        753052389            MELS JR          100 UNIVERSAL           UNIVERSAL CITY CA               91608
STUDIOS L                                                                    CITY PLAZA



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 Business Unit Name     Transaction       Taxpayer ID (or    IRS Filing Name            Address             City              State     Postal Code
                       Division Name    Merchant ID, where
                                             available)
UNIVERSAL CITY        DERVISH AND      753052389           TRAM BRIDGE             100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L             BANGES                                                       CITY PLAZA
UNIVERSAL CITY        WATERWORLD       753052389             WATERWORLD            100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L                                                                          CITY PLAZA
UNIVERSAL CITY        BACKLOT STORE 753052389                BACKLOT STORE         100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L                                                                          CITY PLAZA
UNIVERSAL CITY        GLADRAGS         753052389             CINEMAGIC ENT         100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L                                                                          CITY PLAZA
UNIVERSAL CITY        OWL POST         753052389             JP LAGOON             100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L                                                                          CITY PLAZA
UNIVERSAL CITY        OWLERY MERCH 753052389                 NICK                  100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L             CART                                                         CITY PLAZA
UNIVERSAL CITY        SCC VENDING  753052389                 SCC VENDING           100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L                                                                          CITY PLAZA
UNIVERSAL CITY        STUDIO SCOOP     753052389             BEN & JERRY - SC      100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L                                                                          CITY PLAZA
UNIVERSAL CITY        GRU'S LAB CAFE 753052389               DOC BROWN S           100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L                                                                          CITY PLAZA
UNIVERSAL CITY        LARD LAD         753052389             CINNABON              100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L             DONUTS                                                       CITY PLAZA
UNIVERSAL CITY        LUIGI'S PIZZA    753052389             LOUIE S PIZZA         100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L                                                                          CITY PLAZA
UNIVERSAL CITY        PALACE CAFE      753052389             H CANTINA             100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L                                                                          CITY PLAZA
UNIVERSAL CITY        PANDA EXPRESS 753052389                PANDA EXPRESS         100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L                                                                          CITY PLAZA
UNIVERSAL CITY        KRUSTY           753052389             FLINTSTONES           100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L             BURGER                                                       CITY PLAZA
UNIVERSAL CITY        TAKE 5 CAFE      753052389             TAKE 5 CAFE           100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L                                                                          CITY PLAZA
UNIVERSAL CITY        MEL'S DINER      753052389             MEL S DINER           100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L                                                                          CITY PLAZA
UNIVERSAL CITY        COCINA           753052389             COCINA MEXICANA       100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L             MEXICANA                                                     CITY PLAZA
UNIVERSAL CITY        PHINEAS Q        753052389             BEN & JERRY'S - EC    100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L             BUTTERPHATS                                                  CITY PLAZA
                      IC



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                                                                    Exhibit A
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 Business Unit Name     Transaction       Taxpayer ID (or    IRS Filing Name           Address             City              State     Postal Code
                       Division Name    Merchant ID, where
                                             available)
UNIVERSAL CITY        MULLIGANS        753052389           MULLIGANS          100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L                                                                     CITY PLAZA
UNIVERSAL CITY        JURASSIC COVE    753052389            JURASSIC COVE     100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L                                                                     CITY PLAZA
UNIVERSAL CITY        HOLLYWOOD     753052389               HOLLYWOOD GRILL 100 UNIVERSAL            UNIVERSAL CITY CA               91608
STUDIOS L             AND DINE                                                CITY PLAZA
UNIVERSAL CITY        DINE-O-SAURUS 753052389               DINE-O-SAURUS     100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L                                                                     CITY PLAZA
UNIVERSAL CITY        DINE-O-SAURUS 753052389               CYBER GRILL       100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L                                                                     CITY PLAZA
UNIVERSAL CITY        STARBUCKS        753052389            CHIPS AND BYTES   100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L                                                                     CITY PLAZA
UNIVERSAL CITY        SPECIAL EVENTS 753052389              GIBSON            100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L                                                   AMPHITHEATRE      CITY PLAZA
UNIVERSAL CITY        UNIVERSAL        753052389            UNIVERSAL STUDIOS 100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L             STUDIOS                               MERCHA            CITY PLAZA
                      MERCHA
UNIVERSAL CITY        RETAIL CART      753052389            UNIVERSAL FILM    100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L                                                   COMPANY           CITY PLAZA
UNIVERSAL CITY        SKETCHED         753052389            SKETCHED          100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L                                                                     CITY PLAZA
UNIVERSAL CITY        015 RETAIL    753052389               TOTALLY           100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L             SPECIAL EVERY                         NICKELODEON 15    CITY PLAZA
UNIVERSAL CITY        SUPER SILLY   753052389               SUPER SILLY STUFF 100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L             STUFF SHOP                            SHOP              CITY PLAZA
UNIVERSAL CITY        FEATURE       753052389               CHASE REDEMPTION 100 UNIVERSAL           UNIVERSAL CITY CA               91608
STUDIOS L             PRESENTATION                          CENTER            CITY PLAZA

UNIVERSAL CITY        ANIMATION    753052389                ANIMATION STUDIO      100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L             STUDIO STORE                          STORE                 CITY PLAZA
UNIVERSAL CITY        THE          753052389                THE HOLLYWOOD         100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L             HOLLYWOOD                             SHOPPE 31             CITY PLAZA
                      SHOPPE
UNIVERSAL CITY        CARNIVAL     753052389                CARNIVAL GAMES        100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L             GAMES USH                             USH                   CITY PLAZA
UNIVERSAL CITY        TRANSFORMERS 753052389                TRANSFORMERS          100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L             SUPPLY VAUL                           SUPPLY VAUL           CITY PLAZA



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 Business Unit Name     Transaction       Taxpayer ID (or    IRS Filing Name           Address             City              State     Postal Code
                       Division Name    Merchant ID, where
                                             available)
UNIVERSAL CITY        SURF SHACK 42    753052389           SURF SHACK 42      100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L                                                                     CITY PLAZA
UNIVERSAL CITY        JURASSIC         753052389            JURASSIC          100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L             OUTFITTERS 45                         OUTFITTERS 45     CITY PLAZA
UNIVERSAL CITY        UNIVERSAL        753052389            UNIVERSAL STUDIOS 100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L             STUDIOS STORE                         STORE             CITY PLAZA
UNIVERSAL CITY        JP IMAGE         753052389            JP IMAGE CAPTURE 100 UNIVERSAL           UNIVERSAL CITY CA               91608
STUDIOS L             CAPTURE                               (CONCES           CITY PLAZA
                      PHOTOS
UNIVERSAL CITY        KWIK-E-MART      753052389            NEW STUDIO STYLES 100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L                                                   54                 CITY PLAZA
UNIVERSAL CITY        PRODUCTION       753052389            MARVEL MANIA 70 100 UNIVERSAL            UNIVERSAL CITY CA               91608
STUDIOS L             CENTRAL                                                  CITY PLAZA
UNIVERSAL CITY        LUDOBIRD         753052389            RANT & RAVE CART 100 UNIVERSAL           UNIVERSAL CITY CA               91608
STUDIOS L                                                   (CONCES            CITY PLAZA
UNIVERSAL CITY        LL STUDIO        753052389            TOMB TREASURES 89 100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L             STORE                                                    CITY PLAZA
UNIVERSAL CITY        UNIVERSAL        753052389            UNIVERSAL STUDIOS- 100 UNIVERSAL         UNIVERSAL CITY CA               91608
STUDIOS L             STUDIOS-                              CORNER             CITY PLAZA
                      CORNER
UNIVERSAL CITY        UNIV STUDIOS-    753052389            UNIV STUDIOS-         100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L             AMAZING PIC                           AMAZING PIC           CITY PLAZA
UNIVERSAL CITY        USH HILLTOP      753052389            USH HIILTOP           100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L             PARKING VALE                          PARKING VALE          CITY PLAZA
UNIVERSAL CITY        HILLTOP          753052389            HILLTOP PARKING       100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L             PARKING USH                           USH TOUR              CITY PLAZA
                      TOUR
UNIVERSAL CITY        USH PARKING      753052389            USH HIILTOP           100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L             REMOTE LOC                            PARKING VALE          CITY PLAZA
UNIVERSAL CITY        USH PARKING 2-   753052389            USH HIILTOP           100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L             ET                                    PARKING VALE          CITY PLAZA
UNIVERSAL CITY        USH PARKING 3-   753052389            USH HIILTOP           100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L             WESTGATE                              PARKING VALE          CITY PLAZA
UNIVERSAL CITY        USH PARKING 4-   753052389            USH HIILTOP           100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L             FRANKENSTE                            PARKING VALE          CITY PLAZA




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 Business Unit Name     Transaction     Taxpayer ID (or    IRS Filing Name             Address             City              State     Postal Code
                       Division Name  Merchant ID, where
                                           available)
UNIVERSAL CITY        UNIVERSAL      753052389           EMPLOYEE                 100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L             STUDIOS B2B ON                     SERVICES                 CITY PLAZA

UNIVERSAL CITY        CITY CORRIDOR 753052389               UNIV STUDIOS-      100 UNIVERSAL         UNIVERSAL CITY CA               91608
STUDIOS L             USHTICKETS                            ACCTS RECEI        CITY PLAZA
UNIVERSAL CITY        USH PARKING RC 753052389              USH PARKING RC     100 UNIVERSAL         UNIVERSAL CITY CA               91608
STUDIOS L                                                                      CITY PLAZA
UNIVERSAL STUDIOS     USH TICKETING    753052389            UNIVERSAL STUDIOS 100 UNIVERSAL          UNIVERSAL CITY CA               91608
LLC                   ECOMM                                 TICKET             CITY PLAZA
UNIVERSAL STUDIOS     USH TICKETING    753052389            UNIVERSAL STUDIOS 100 UNIVERSAL          UNIVERSAL CITY CA               91608
LLC                   KIOSK                                 TICKET             CITY PLAZA
UNIVERSAL STUDIOS     USH TICKETING    753052389            UNIVERSAL STUDIOS 100 UNIVERSAL          UNIVERSAL CITY CA               91608
LLC                   RETAIL                                TICKET             CITY PLAZA
UNIVERSAL CITY        STARBUCKS        753052389            UNIVERSAL STUDIOS 100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L                                                   CONVEN             CITY PLAZA
UNIVERSAL CITY        STUDIO CAFE      753052389            UNIVERSAL STUDIOS 100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L                                                   CONVEN             CITY PLAZA
UNIVERSAL CITY        MERCHANDISE 753052389                 UNIVESAL STUDIONS 100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L             CART                                  CONVEN             CITY PLAZA
UNIVERSAL CITY        USH GUEST     753052389               UHS GUEST          100 UNIVERSAL         UNIVERSAL CITY CA               91608
STUDIOS L             SERVICES                              SERVICES           CITY PLAZA
UNIVERSAL CITY        652 USH MUMMY 753052389               652 USH MUMMY      100 UNIVERSAL         UNIVERSAL CITY CA               91608
STUDIOS L             IMAGE                                 IMAGE              CITY PLAZA
UNIVERSAL CITY        651 USH       753052389               651 USH JURASSIC P 100 UNIVERSAL         UNIVERSAL CITY CA               91608
STUDIOS L             JURASSIC P                            IMAGE              CITY PLAZA
                      IMAGE
UNIVERSAL CITY        120 USH       753052389               120 USH AMAZING       100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L             AMAZING                               PICTURES              CITY PLAZA
                      PICTURES
UNIVERSAL CITY        655 USH       753052389               655 USH SIMPSONS      100 UNIVERSAL      UNIVERSAL CITY CA               91608
STUDIOS L             SIMPSONS                              IMAGE                 CITY PLAZA
                      IMAGE
UNIVERSAL CITY        653 USH       753052389               653 USH         100 UNIVERSAL            UNIVERSAL CITY CA               91608
STUDIOS L             HOLLYWOOD                             HOLLYWOOD PHOTO CITY PLAZA
                      PHOTO
UNIVERSAL CITY        657 USH       753052389               657 USH GRINCHMAS 100 UNIVERSAL          UNIVERSAL CITY CA               91608
STUDIOS L             GRINCHMAS                                               CITY PLAZA



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 Business Unit Name     Transaction       Taxpayer ID (or     IRS Filing Name          Address             City              State     Postal Code
                       Division Name    Merchant ID, where
                                             available)
UNIVERSAL CITY        659 HARRY        753052389           659 HARRY POTTER  100 UNIVERSAL           UNIVERSAL CITY CA               91608
STUDIOS L             POTTER TRAIN                         TRAIN             CITY PLAZA
UNIVERSAL CITY        USH FLEXPAY      753052389           USH FLEXPAY       100 UNIVERSAL           UNIVERSAL CITY CA               91608
STUDIOS L                                                                    CITY PLAZA
UNIVERSAL CITY        USH TICKETING 753052389               USH TICKETING    100 UNIVERSAL           UNIVERSAL CITY CA               91608
STUDIOS L             ONLINE                                ONLINE           CITY PLAZA
UNIVERSAL CITY        HOGSMEAD       753052389              HOGSMEAD STATION 100 UNIVERSAL           UNIVERSAL CITY CA               91608
STUDIOS L             STATION                                                CITY PLAZA
UNIVERSAL CITY        LOWER LOT      753052389              LOWER LOT        100 UNIVERSAL           UNIVERSAL CITY CA               91608
STUDIOS L             VENDING                               VENDING          CITY PLAZA
UNIVERSAL CITY        USH VIP EVENTS 753052389              USH VIP EVENTS   100 UNIVERSAL           UNIVERSAL CITY CA               91608
STUDIOS L                                                                    CITY PLAZA
UNIVERSAL CITY        BUMBLEBEE        753052389            BUMBLEBEE TRUCK 100 UNIVERSAL            UNIVERSAL CITY CA               91608
STUDIOS L             TRUCK 109                                              CITY PLAZA
UNIVERSAL CITY        ISLA NUBAR       753052389            ISLA NUBAR       100 UNIVERSAL           UNIVERSAL CITY CA               91608
STUDIOS L                                                                    CITY PLAZA
UNIVERSAL CITY        CINNABON 93      753052389            CINNABON 93      100 UNIVERSAL           UNIVERSAL CITY CA               91608
STUDIOS L                                                                    CITY PLAZA
UNIVERSAL CITY        MUMMY TREATS 753052389                MUMMY TREATS     100 UNIVERSAL           UNIVERSAL CITY CA               91608
STUDIOS L             206                                                    CITY PLAZA
UNIVERSAL CITY        DESPICABLE    753052389               DESPICABLE       100 UNIVERSAL           UNIVERSAL CITY CA               91608
STUDIOS L             DELIGHTS 191                          DELIGHTS         CITY PLAZA
HILLTOP SERVICES      UNIVERSAL     680498748               UNIVERSAL        100 UNIVERSAL           UNIVERSAL CITY CA               91608
LLC                   CITYWALK GRP                          CITYWALK GRP S   CITY PLAZA
                      S
HILLTOP SERVICES      CITYWALK CAFE 680498748               CITYWALK CAFE         100 UNIVERSAL      UNIVERSAL CITY CA               91608
LLC                   PUCCINO PI                            PUCCINO PI            CITY PLAZA

HILLTOP SERVICES  UNIVERSAL            680498748            UNIVERSAL             100 UNIVERSAL      UNIVERSAL CITY CA               91608
LLC               CITYWALK GRP                              CITYWALK GRP S        CITY PLAZA
                  S
UNIVERSAL STUDIOS UNIVERSAL            731650965            UNIVERSAL STUDIOS 100 UNVRSL CTY UNIVERSAL CITY CA                       91608
STORE             STUDIOS STORE                             STORE             PLAZA
UNIVERSAL STUDIO UNIVERSAL-            753052389            UNIVERSAL-        100 UNIVERSAL UNIVERSAL CITY CA                        91608
STORE             SIMPSON IMAGE                             SIMPSON IMAGE     CTY PLAZA
UNIVERSAL STUDIOS UCW RETAIL           731650965            UCW RETAIL CARTS 100 UNIVERSAL UNIVERSAL CITY CA                         91608
STORE             CARTS                                                       CITY PLAZA



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 Business Unit Name     Transaction Taxpayer ID (or    IRS Filing Name                 Address             City              State     Postal Code
                       Division Name
                                  Merchant ID, where
                                       available)
UNIVERSAL STUDIOS MARGARITAVILL 412040067            MARGARITAVILLE               100 UNIVERSAL      UNIVERSAL CITY CA               91608
LLC               E                                                               CITY PLAZA
UNIVERSAL STUDIOS LUDOBIRD       412040067           LUDOBIRD                     100 UNIVERSAL      UNIVERSAL CITY CA               91608
LLC                                                                               CITY PLAZA
UNIVERSAL STUDIOS MARGARITAVILL 412040067            MARGARITAVILLE               100 UNIVERSAL      UNIVERSAL CITY CA               91608
LLC               E RETAIL                           RETAIL                       CITY PLAZA
UNIVERSAL STUDIOS VOODOO         412040067           VOODOO                       100 UNIVERSAL      UNIVERSAL CITY CA               91608
LLC               DOUGHNUT                           DOUGHNUT                     CITY PLAZA
UNIVERSAL STUDIOS MENCHIES       412040067           MENCHIES FROZEN              100 UNIVERSAL      UNIVERSAL CITY CA               91608
LLC               FROZEN                             YOUGURT                      CITY PLAZA
                  YOGURT
NBC NEWS ARCHIVES NBC NEWS       273526824           NBC NEWS                     30 RICKEFELLER NEW YORK              NY            10112
LLC               ARCHIVES SALES                     ARCHIVES LLC                 PLAZA / 1

NBC NEWS ARCHIVES NBCNEWSARCHI 273526824                    NBC NEWS           30                    NEW YORK          NY            10112
LLC               VESXPRESS.CO                              ARCHIVES LLC       ROCKEFELLER
                                                                               PLAZA / 1
DISCOVER A STAR   DISCOVER A     954495513                  DISCOVER A STAR    100 UNIVERSAL         UNIVERSAL CITY CA               91608
                  STAR                                                         CITY PLAZA
HILLTOP HOT DOGS  UNIVERSAL CITY 470861209                  UNIVERSAL STUDIOS 100 UNIVERSAL          UNIVERSAL CITY CA               91608
LLC               PINKS                                     DODGER             CITY PLAZA
UNIVERSAL STUDIOS UNIVERSAL      753050786                  UNIVERSAL STUDIOS- 100 UNIVERSAL         UNIVERSAL CITY CA               91608
DEVELO            STUDIOS-BEN &                             BEN &              CITY PLAZA
FITNESS VIDEO     RADIUS FITNESS 471091876                  UNIVERSAL STUDIOS- 100 UNIVERSAL         UNIVERSAL CITY CA               91608
VENTURES L                                                  BEN &              CITY PLAZA
NBCUNIVERSAL LLC NBCU NATIONAL 273526824                    NBCUNIVERSAL       30 RICKEFELLER        NEW YORK          NY            10112
                  NETWORKS                                  MEDIA, LLC         PLAZA / 1

UNIVERSAL STUDIOS     VIVO ITALIAN     412040067            MARGARITAVILLE    100 UNIVERSAL          UNIVERSAL CITY CA               91608
LLC                   KITCHEN                                                 CITY PLAZA
UNIVERSAL STUDIOS     ANTOJITOS        412040067            VIVO ITALIAN      100 UNIVERSAL          UNIVERSAL CITY CA               91608
LLC                                                         KITCHEN           CITY PLAZA
NBCUNIVERSAL          UNIVERSAL        412040067            UNIVERSAL STUDIOS 100 UNIVERSAL          UNIVERSAL CITY CA               91608
MEDIA, LLC            STUDIOS LLC                           LLC               CITY PLAZA
Sympoz LLC            Sympoz LLC       XX-XXXXXXX           Sympoz LLC        100 UNIVERSAL          UNIVERSAL CITY CA               91608
                                                                              CITY PLAZA




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  Business Unit Name         Transaction         Taxpayer ID (or     IRS Filing Name             Address           City           State     Postal Code
                            Division Name      Merchant ID, where
                                                    available)
UCDP                      Universal City      XX-XXXXXXX          Universal City            1000 Universal   Orlando        FL            32819
                          Development                             Development Partners,     Studios Plaza
                          Partners, Ltd.                          Ltd.
UCTP                      Universal City      XX-XXXXXXX          Universal City Travel     1000 Universal   Orlando        FL            32819
                          Travel Partners                         Partners                  Studios Plaza
UOOMS                     Universal Orlando XX-XXXXXXX            Universal Orlando         1000 Universal   Orlando        FL            32819
                          Online                                  Online Merchandise        Studios Plaza
                          Merchandise Store                       Store
UCRV – Margaritaville     Universal City      XX-XXXXXXX          Universal City            1000 Universal   Orlando        FL            32819
                          Restaurant Venture,                     Restaurant Venture,       Studios Plaza
                          LLC                                     LLC
Universal Studios Store   Universal Studios XX-XXXXXXX            Universal Studios Store   1000 Universal   Orlando        FL            32819
                          Store Orlando LLC                       Orlando LLC               Studios Plaza
UCDP                      BREAK AWAY            0000085200104265 Universal City             1000 Universal   Orlando        FL            32819
                          CAFÉ'                                   Development Partners,     Studios Plaza
                                                                  Ltd.
UCDP                      COKE ICON AT          0000085200104299 Universal City             1000 Universal   Orlando        FL            32819
                          CITYWALK                                Development Partners,     Studios Plaza
                                                                  Ltd.
UCDP                      VIVO                  0000085200104315 Universal City             1000 Universal   Orlando        FL            32819
                                                                  Development Partners,     Studios Plaza
                                                                  Ltd.
UCDP                      COWFISH               0000085200104323 Universal City             1000 Universal   Orlando        FL            32819
                                                                  Development Partners,     Studios Plaza
                                                                  Ltd.
UCDP                      HOT DOG HALL          0000085200104331 Universal City             1000 Universal   Orlando        FL            32819
                          OF FAME                                 Development Partners,     Studios Plaza
                                                                  Ltd.
UCDP                      BIG KAHUNA            0000085200104349 Universal City             1000 Universal   Orlando        FL            32819
                          PIZZA                                   Development Partners,     Studios Plaza
                                                                  Ltd.
UCDP                      CINNABON              0000085200104356 Universal City             1000 Universal   Orlando        FL            32819
                                                                  Development Partners,     Studios Plaza
                                                                  Ltd.
UCDP                      BOB MARLEY            0000085200104364 Universal City             1000 Universal   Orlando        FL            32819
                                                                  Development Partners,     Studios Plaza
                                                                  Ltd.




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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  PAT O'BRIENS      0000085200104372 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  GROOVE            0000085200104380 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  RISING STAR       0000085200104398 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CW CARTS BASE     0000085200104406 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  FOSSIL FOOD       0000085200104414 Universal City            1000 Universal    Orlando           FL            32819
                      CART                                 Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CW BEIGNET        0000085200104422 Universal City            1000 Universal    Orlando           FL            32819
                      CART                                 Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  DIPPIN DOT        0000085200104430 Universal City            1000 Universal    Orlando           FL            32819
                      CART                                 Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CW SHORELINE      0000085200104448 Universal City            1000 Universal    Orlando           FL            32819
                      BAR                                  Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  STARBUCKS         0000085200104455 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CW SPECIAL        0000085200104463 Universal City            1000 Universal    Orlando           FL            32819
                      EVENT 1                              Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  LATIN QUARTER     0000085200104497 Universal City            1000 Universal    Orlando           FL            32819
                      BAR CART                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  RED OVEN          0000085200104505 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.




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 Business Unit Name      Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                        Division Name    Merchant ID, where
                                             available)
UCDP                  OFFSITE            0000085200104513 Universal City            1000 Universal    Orlando           FL            32819
                      CATERING                              Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  RED COCONUT        0000085200104802 Universal City            1000 Universal    Orlando           FL            32819
                      BAR CART (570)                        Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  CINEPLEX BAR       0000085200104810 Universal City            1000 Universal    Orlando           FL            32819
                      CART (571)                            Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  CW Special Event 3 0000085200104828 Universal City            1000 Universal    Orlando           FL            32819
                      (572)                                 Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  CW Special Event 2 0000085200104836 Universal City            1000 Universal    Orlando           FL            32819
                      (573)                                 Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  EMERILS BAR        0000085200104844 Universal City            1000 Universal    Orlando           FL            32819
                      CART (574)                            Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  PAT O'S BAR        0000085200104851 Universal City            1000 Universal    Orlando           FL            32819
                      CART (575)                            Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  TOOTHSOME          0000085200104950 Universal City            1000 Universal    Orlando           FL            32819
                      CATERING                              Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  PASTAMORE          0000085200105825 Universal City            1000 Universal    Orlando           FL            32819
                      PIZZA CART                            Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  HUB FOOD           0000085200105833 Universal City            1000 Universal    Orlando           FL            32819
                      KIOSK                                 Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  MOES               0000085200105841 Universal City            1000 Universal    Orlando           FL            32819
                      SOUTHWEST                             Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  COLD STONE         0000085200105858 Universal City            1000 Universal    Orlando           FL            32819
                      CREAMERY 585                          Development Partners,   Studios Plaza
                                                            Ltd.




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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  CW                0000085200105867 Universal City            1000 Universal    Orlando           FL            32819
                      RESERVATION                          Development Partners,   Studios Plaza
                      CART 586                             Ltd.
UCDP                  MENCHIE 702       0000085200107029 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  BREAD BOX         0000085200107045 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  ANTOJITOS         0000085200107458 Universal City            1000 Universal    Orlando           FL            32819
                      CATERING                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  NBC SPORTS        0000085200107508 Universal City            1000 Universal    Orlando           FL            32819
                      GRILL & BREW                         Development Partners,   Studios Plaza
                      CATERING                             Ltd.
UCDP                  ANTOJITOS         0000085200107524 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  MOJITO'S RUM      0000085200107532 Universal City            1000 Universal    Orlando           FL            32819
                      BAR                                  Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  BIG FIRE          0000085200107599 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  NBC SPORTS        0000085200107615 Universal City            1000 Universal    Orlando           FL            32819
                      GRILL & BREW                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  TOOTHSOME         0000085200107623 Universal City            1000 Universal    Orlando           FL            32819
                      CHOCOLATE                            Development Partners,   Studios Plaza
                      EMPORIUM                             Ltd.
UCDP                  RED COCONUT       0000085200107680 Universal City            1000 Universal    Orlando           FL            32819
                      CLUB                                 Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  VIP DINING        0000085200120724 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.




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 Business Unit Name      Transaction       Taxpayer ID (or      IRS Filing Name           Address           City              State     Postal Code
                        Division Name     Merchant ID, where
                                              available)
UCDP                  CITYWALK FOOD 0000085200199992 Universal City                  1000 Universal   Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  Cartooniversal Cart 0000085200204305 Universal City            1000 Universal   Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  PLAZA CART          0000085200204313 Universal City            1000 Universal   Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  Hub Cart (239)      0000085200204396 Universal City            1000 Universal   Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  THEATRE KIOSK       0000085200204545 Universal City            1000 Universal   Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  BOB MARLEY          0000085200204586 Universal City            1000 Universal   Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  PAT O'BRIENS        0000085200204594 Universal City            1000 Universal   Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  SUNSHINE            0000085200204602 Universal City            1000 Universal   Orlando           FL            32819
                      LEATHER CW                             Development Partners,   Studios Plaza
                      CART IOA                               Ltd.
UCDP                  CITY JAZZ           0000085200204610 Universal City            1000 Universal   Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  CW Plaza Cart       0000085200204636 Universal City            1000 Universal   Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  PLAYVISION          0000085200204677 Universal City            1000 Universal   Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  MOVIE CART          0000085200204685 Universal City            1000 Universal   Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction   Taxpayer ID (or      IRS Filing Name             Address             City              State     Postal Code
                       Division Name Merchant ID, where
                                         available)
UCDP                  CANDY CART     0000085200204693 Universal City              1000 Universal     Orlando           FL            32819
                                                        Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  CW             0000085200204719 Universal City              1000 Universal     Orlando           FL            32819
                      MERCHANDISE                       Development Partners,     Studios Plaza
                      VENDING                           Ltd.
UCDP                  COLORVISION    0000085200204727 Universal City              1000 Universal     Orlando           FL            32819
                      CITY WALK                         Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  SUNSHINE       0000085200204735 Universal City              1000 Universal     Orlando           FL            32819
                      LEATHER CW                        Development Partners,     Studios Plaza
                      CART USF                          Ltd.
UCDP                  AIRBRUSH       0000085200204743 Universal City              1000 Universal     Orlando           FL            32819
                      STUDIO                            Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  CW MUMMY       0000085200204792 Universal City              1000 Universal     Orlando           FL            32819
                      CART                              Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  DANCE HEADS    0000085200204800 Universal City              1000 Universal     Orlando           FL            32819
                      CITYWALK                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  TOOTHSOME      0000085200204826 Universal City              1000 Universal     Orlando           FL            32819
                      CHOC EMP                          Development Partners,     Studios Plaza
                      MERCH                             Ltd.
UCDP                  CITYWALK       0000085200299990 Universal City              1000 Universal     Orlando           FL            32819
                      MERCHANDISE                       Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  GUEST SERVICES 0000085200304725 Universal City              1000 Universal     Orlando           FL            32819
                                                        Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  BOB MARLEY     0000085200305060 Universal City              1000 Universal     Orlando           FL            32819
                                                        Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  PAT O'BRIENS   0000085200305078 Universal City              1000 Universal     Orlando           FL            32819
                                                        Development Partners,     Studios Plaza
                                                        Ltd.




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                                                                     Exhibit A
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 Business Unit Name      Transaction       Taxpayer ID (or      IRS Filing Name           Address           City              State     Postal Code
                        Division Name     Merchant ID, where
                                              available)
UCDP                  GROOVE              0000085200305086 Universal City            1000 Universal   Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  RISING STAR         0000085200305094 Universal City            1000 Universal   Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  LATIN QUARTER       0000085200305128 Universal City            1000 Universal   Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  DECADE'S CAFÉ       0000085200305730 Universal City            1000 Universal   Orlando           FL            32819
                      ADMISSIONS                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  RED COCONUT         0000085200307702 Universal City            1000 Universal   Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  CITYWALK            0000085200399998 Universal City            1000 Universal   Orlando           FL            32819
                      TICKETING                              Development Partners,   Studios Plaza
                                                             Ltd.
Margaritaville/Universal MARGARITAVILL    0000085200406603 Universal City            1000 Universal   Orlando           FL            32819
City Restaurant Ventures, E FOOD                             Restaurant Venture,     Studios Plaza
LLC                                                          LLC
Margaritaville/Universal MARGARITAVILL    0000085200406868 Universal City            1000 Universal   Orlando           FL            32819
City Restaurant Ventures, E F&B SPEC                         Restaurant Venture,     Studios Plaza
LLC                       EVENT                              LLC
Margaritaville/Universal MARGARITAVILL    0000085200499996 Universal City            1000 Universal   Orlando           FL            32819
City Restaurant Ventures, E FOOD                             Restaurant Venture,     Studios Plaza
LLC                                                          LLC
Margaritaville/Universal MARGARITAVILL    0000085200504662 Universal City            1000 Universal   Orlando           FL            32819
City Restaurant Ventures, E RETAIL SPEC                      Restaurant Venture,     Studios Plaza
LLC                       EVENT                              LLC
Margaritaville/Universal MARGARITAVILL    0000085200504837 Universal City            1000 Universal   Orlando           FL            32819
City Restaurant Ventures, E E COMMERCE                       Restaurant Venture,     Studios Plaza
LLC                                                          LLC
Margaritaville/Universal MARGARITAVILL    0000085200506626 Universal City            1000 Universal   Orlando           FL            32819
City Restaurant Ventures, E MERCH                            Restaurant Venture,     Studios Plaza
LLC                                                          LLC




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                                                                     Exhibit A
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 Business Unit Name      Transaction       Taxpayer ID (or      IRS Filing Name           Address           City              State     Postal Code
                        Division Name     Merchant ID, where
                                              available)
Margaritaville/Universal MARGARITAVILL    0000085200599993 Universal City            1000 Universal   Orlando           FL            32819
City Restaurant Ventures, E MERCHANDISE                      Restaurant Venture,     Studios Plaza
LLC                                                          LLC
Margaritaville/Universal MARGARITAVILL    0000085200606657 Universal City            1000 Universal   Orlando           FL            32819
City Restaurant Ventures, E                                  Restaurant Venture,     Studios Plaza
LLC                                                          LLC
Margaritaville/Universal MARGARITAVILL    0000085200699991 Universal City            1000 Universal   Orlando           FL            32819
City Restaurant Ventures, E                                  Restaurant Venture,     Studios Plaza
LLC                                                          LLC
UCDP                      U STUDIOS VAC   0000085200700021 Universal City            1000 Universal   Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  USV TRAVEL          0000085200800029 Universal City            1000 Universal   Orlando           FL            32819
                      PORTOFINO                              Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  CONFISCOS           0000085200901231 Universal City            1000 Universal   Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  IOA                 0000085200901249 Universal City            1000 Universal   Orlando           FL            32819
                      RESERVATION                            Development Partners,   Studios Plaza
                      CART                                   Ltd.
UCDP                  CROISSANT           0000085200901256 Universal City            1000 Universal   Orlando           FL            32819
                      MOON                                   Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  IOA CINNABON        0000085200901264 Universal City            1000 Universal   Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  IOA STARBUCKS       0000085200901272 Universal City            1000 Universal   Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  CIRCUS              0000085200901280 Universal City            1000 Universal   Orlando           FL            32819
                      MCGURKUS                               Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  ISLAND IOASIS       0000085200901298 Universal City            1000 Universal   Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  GREEN EGGS        0000085200901306 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  MOOSE JUICE       0000085200901314 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  HOP ON POP        0000085200901322 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  MYTHOS            0000085200901330 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  THREE             0000085200901348 Universal City            1000 Universal    Orlando           FL            32819
                      BROOMSTICKS                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  HOGSHEAD BAR      0000085200901355 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  FROZEN            0000085200901363 Universal City            1000 Universal    Orlando           FL            32819
                      DESSERT                              Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  FIRE EATERS       0000085200901371 Universal City            1000 Universal    Orlando           FL            32819
                      GRILL                                Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  OASIS COOLERS     0000085200901389 Universal City            1000 Universal    Orlando           FL            32819
                      DOC SUGRUE                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  THUNDER FALLS     0000085200901397 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  WIMPYS            0000085200901405 Universal City            1000 Universal    Orlando           FL            32819
                      VENDING                              Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  PIZZA             0000085200901413 Universal City            1000 Universal    Orlando           FL            32819
                      PREDATORIA                           Development Partners,   Studios Plaza
                                                           Ltd.




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                                                                        Exhibit A
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 Business Unit Name     Transaction          Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name        Merchant ID, where
                                                available)
UCDP                  WATERING HOLE         0000085200901421 Universal City            1000 Universal    Orlando           FL            32819
                                                               Development Partners,   Studios Plaza
                                                               Ltd.
UCDP                  BURGER DIGS           0000085200901439 Universal City            1000 Universal    Orlando           FL            32819
                                                               Development Partners,   Studios Plaza
                                                               Ltd.
UCDP                  WIMPYS                0000085200901447 Universal City            1000 Universal    Orlando           FL            32819
                                                               Development Partners,   Studios Plaza
                                                               Ltd.
UCDP                  BLONDIES              0000085200901454 Universal City            1000 Universal    Orlando           FL            32819
                                                               Development Partners,   Studios Plaza
                                                               Ltd.
UCDP                  COMIC STRIP           0000085200901462 Universal City            1000 Universal    Orlando           FL            32819
                      CAFÉ                                     Development Partners,   Studios Plaza
                                                               Ltd.
UCDP                  COMIC MINI            0000085200901470 Universal City            1000 Universal    Orlando           FL            32819
                      GRILL                                    Development Partners,   Studios Plaza
                                                               Ltd.
UCDP                  CATHY'S ICE           0000085200901488 Universal City            1000 Universal    Orlando           FL            32819
                      CREAM                                    Development Partners,   Studios Plaza
                                                               Ltd.
UCDP                  CAFÉ' 4               0000085200901496 Universal City            1000 Universal    Orlando           FL            32819
                                                               Development Partners,   Studios Plaza
                                                               Ltd.
UCDP                  CAPTAIN               0000085200901509 Universal City            1000 Universal    Orlando           FL            32819
                      AMERICA                                  Development Partners,   Studios Plaza
                                                               Ltd.
UCDP                  FROZEN ICEE           0000085200901512 Universal City            1000 Universal    Orlando           FL            32819
                                                               Development Partners,   Studios Plaza
                                                               Ltd.
UCDP                  CHILL                 0000085200901520 Universal City            1000 Universal    Orlando           FL            32819
                                                               Development Partners,   Studios Plaza
                                                               Ltd.
UCDP                  FRUIT & DRINK         0000085200901538 Universal City            1000 Universal    Orlando           FL            32819
                                                               Development Partners,   Studios Plaza
                                                               Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  COTTON CANDY      0000085200901546 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CIRCUS            0000085200901553 Universal City            1000 Universal    Orlando           FL            32819
                      VENDING                              Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  POE CORN CART     0000085200901561 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  POE FRUIT         0000085200901579 Universal City            1000 Universal    Orlando           FL            32819
                      STAND                                Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  LEMON SLUSH       0000085200901587 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SNACK OUTPOST     0000085200901595 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  IOA CATERING      0000085200901603 Universal City            1000 Universal    Orlando           FL            32819
                      PICNIC                               Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  IOA CATERING      0000085200901629 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SEUSS ICEE        0000085200901645 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SNOWMAN           0000085200901652 Universal City            1000 Universal    Orlando           FL            32819
                      BUTTERBEER                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SEUSS POPCORN     0000085200901660 Universal City            1000 Universal    Orlando           FL            32819
                      CART                                 Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  HP VENDING        0000085200901678 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  EXCHANGE MINI     0000085200901751 Universal City            1000 Universal    Orlando           FL            32819
                      GRILL                                Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  JP VENDING        0000085200901769 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  LST CONTINENT     0000085200901777 Universal City            1000 Universal    Orlando           FL            32819
                      BEER CRT                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  NEEP CART         0000085200901785 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  KONG MESS         0000085200901793 Universal City            1000 Universal    Orlando           FL            32819
                      TENT                                 Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  BUTTER BEER       0000085200901801 Universal City            1000 Universal    Orlando           FL            32819
                      CART                                 Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  JURASSIC BEER     0000085200901850 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  JURASSIC          0000085200901868 Universal City            1000 Universal    Orlando           FL            32819
                      POPCORN                              Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  JURASSIC          0000085200901876 Universal City            1000 Universal    Orlando           FL            32819
                      TURKEY                               Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  JURASSIC FRUIT    0000085200901884 Universal City            1000 Universal    Orlando           FL            32819
                      STAND                                Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CIRCUS SPECIAL    0000085200901892 Universal City            1000 Universal    Orlando           FL            32819
                      EVENT                                Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  VENDING AREA      0000085200901967 Universal City            1000 Universal    Orlando           FL            32819
                      #2                                   Development Partners,   Studios Plaza
                                                           Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction    Taxpayer ID (or      IRS Filing Name            Address             City              State     Postal Code
                       Division Name  Merchant ID, where
                                          available)
UCDP                  LC FRUIT STAND  0000085200901975 Universal City             1000 Universal     Orlando           FL            32819
                                                         Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  PIZZA PRED MINI 0000085200901983 Universal City             1000 Universal     Orlando           FL            32819
                      GRILL                              Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  TOON BEER       0000085200901991 Universal City             1000 Universal     Orlando           FL            32819
                      CART                               Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  TOON POPCORN    0000085200902007 Universal City             1000 Universal     Orlando           FL            32819
                      CART (550)                         Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  TOON ICEE CART 0000085200902015 Universal City              1000 Universal     Orlando           FL            32819
                      (551)                              Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  TOON DIP N      0000085200902023 Universal City             1000 Universal     Orlando           FL            32819
                      DOTS (552)                         Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  WIMPYS SPECIAL 0000085200902031 Universal City              1000 Universal     Orlando           FL            32819
                      EVENT (553)                        Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                   HERO TURKEY    0000085200902072 Universal City             1000 Universal     Orlando           FL            32819
                      (557)                              Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                   HERO POPCORN   0000085200902080 Universal City             1000 Universal     Orlando           FL            32819
                      CART (558)                         Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                   CAPTAIN        0000085200902098 Universal City             1000 Universal     Orlando           FL            32819
                      SPECIAL EVENT                      Development Partners,    Studios Plaza
                      (559)                              Ltd.
UCDP                   HERO HOT DOG   0000085200902106 Universal City             1000 Universal     Orlando           FL            32819
                      (560)                              Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  POPEYE BEER     0000085200902114 Universal City             1000 Universal     Orlando           FL            32819
                      CART                               Development Partners,    Studios Plaza
                                                         Ltd.




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 Business Unit Name      Transaction        Taxpayer ID (or      IRS Filing Name           Address           City             State     Postal Code
                        Division Name      Merchant ID, where
                                               available)
UCDP                  HERO SLUSH           0000085200902122 Universal City            1000 Universal   Orlando          FL            32819
                      (562)                                   Development Partners,   Studios Plaza
                                                              Ltd.
UCDP                  VENDING AREA         0000085200902171 Universal City            1000 Universal   Orlando          FL            32819
                      #3                                      Development Partners,   Studios Plaza
                                                              Ltd.
UCDP                  BURGER DIGS          0000085200905661 Universal City            1000 Universal   Orlando          FL            32819
                      MEAL DEAL                               Development Partners,   Studios Plaza
                                                              Ltd.
UCDP                  UNIVERSAL IOA        0000085200999995 Universal City            1000 Universal   Orlando          FL            32819
                      FOOD                                    Development Partners,   Studios Plaza
                                                              Ltd.
UCDP                  Colorvision Ripsaw   0000085201002773 Universal City            1000 Universal   Orlando          FL            32819
                      Falls                                   Development Partners,   Studios Plaza
                                                              Ltd.
UCDP                  COLORVISION          0000085201002781 Universal City            1000 Universal   Orlando          FL            32819
                      HARRY POTTER                            Development Partners,   Studios Plaza
                                                              Ltd.
UCDP                  USIOA TRADING        0000085201003011 Universal City            1000 Universal   Orlando          FL            32819
                      COMPANY                                 Development Partners,   Studios Plaza
                                                              Ltd.
UCDP                  ISLAND               0000085201003029 Universal City            1000 Universal   Orlando          FL            32819
                      MARKET/SILK                             Development Partners,   Studios Plaza
                      ROAD                                    Ltd.
UCDP                  OCEAN TRADER         0000085201003045 Universal City            1000 Universal   Orlando          FL            32819
                                                              Development Partners,   Studios Plaza
                                                              Ltd.
UCDP                  PORT                 0000085201003052 Universal City            1000 Universal   Orlando          FL            32819
                      PROVISIONS                              Development Partners,   Studios Plaza
                                                              Ltd.
UCDP                  PORT                 0000085201003060 Universal City            1000 Universal   Orlando          FL            32819
                      MERCHANT                                Development Partners,   Studios Plaza
                                                              Ltd.
UCDP                  PORT                 0000085201003078 Universal City            1000 Universal   Orlando          FL            32819
                      EXCHANGE                                Development Partners,   Studios Plaza
                                                              Ltd.




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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  IOA               0000085201003086 Universal City            1000 Universal    Orlando           FL            32819
                      CHASE/MASTER                         Development Partners,   Studios Plaza
                      CARD                                 Ltd.
UCDP                  SEUSS GAMES       0000085201003128 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CAT, HATS AND     0000085201003136 Universal City            1000 Universal    Orlando           FL            32819
                      THINGS                               Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  MULBERRY          0000085201003144 Universal City            1000 Universal    Orlando           FL            32819
                      STREET STORE                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  DR SEUSS BOOK     0000085201003151 Universal City            1000 Universal    Orlando           FL            32819
                      SHOP                                 Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SNOOKERS &        0000085201003169 Universal City            1000 Universal    Orlando           FL            32819
                      SNOOKERS                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CART M-3          0000085201003177 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  HONK HONKERS      0000085201003185 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  FILCHS            0000085201003201 Universal City            1000 Universal    Orlando           FL            32819
                      EMPORIUM                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  DERVISH AND       0000085201003219 Universal City            1000 Universal    Orlando           FL            32819
                      BANGES                               Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  TREASURES OF      0000085201003235 Universal City            1000 Universal    Orlando           FL            32819
                      POSEIDON                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  HP PIN CART       0000085201003243 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.




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                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  THE DRAGON'S      0000085201003250 Universal City            1000 Universal    Orlando           FL            32819
                      KEEP                                 Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  HIPPOGRIFF        0000085201003268 Universal City            1000 Universal    Orlando           FL            32819
                      CART                                 Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  HoneyDukes        0000085201003276 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  UNICORN CART      0000085201003284 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SKULL ISLAND      0000085201003375 Universal City            1000 Universal    Orlando           FL            32819
                      CART                                 Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  JURASSIC          0000085201003425 Universal City            1000 Universal    Orlando           FL            32819
                      OUTFITTERS                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  DINOSTORE         0000085201003433 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  UIOA REMOTE       0000085201003441 Universal City            1000 Universal    Orlando           FL            32819
                      TRUCK                                Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  TRICERATOPS       0000085201003458 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  WOSSAMOTTA U      0000085201003482 Universal City            1000 Universal    Orlando           FL            32819
                      348                                  Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  GASOLINE          0000085201003508 Universal City            1000 Universal    Orlando           FL            32819
                      ALLEY                                Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  BETTY BOOP        0000085201003524 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.




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                                                     493538
                                                                     Exhibit A
                             In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name      Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                        Division Name    Merchant ID, where
                                             available)
UCDP                  TOON EXTRA         0000085201003532 Universal City            1000 Universal    Orlando           FL            32819
                                                            Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  JP Games - Merch   0000085201003540 Universal City            1000 Universal    Orlando           FL            32819
                      Support                               Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  SWEETHAVEN         0000085201003557 Universal City            1000 Universal    Orlando           FL            32819
                      KIOSK                                 Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  CART M-11          0000085201003565 Universal City            1000 Universal    Orlando           FL            32819
                                                            Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  BLUTO'S CART       0000085201003573 Universal City            1000 Universal    Orlando           FL            32819
                                                            Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  SPONGEBOB          0000085201003581 Universal City            1000 Universal    Orlando           FL            32819
                      CART                                  Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  MARVEL             0000085201003631 Universal City            1000 Universal    Orlando           FL            32819
                      ALTERNIVERSE                          Development Partners,   Studios Plaza
                      STR                                   Ltd.
UCDP                  THE SPIDERMAN      0000085201003649 Universal City            1000 Universal    Orlando           FL            32819
                      SHOP                                  Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  ARCADE/NEWS        0000085201003664 Universal City            1000 Universal    Orlando           FL            32819
                      SHOP                                  Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  THE COMIC          0000085201003672 Universal City            1000 Universal    Orlando           FL            32819
                      BOOK SHOP                             Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  HULK CART          0000085201003680 Universal City            1000 Universal    Orlando           FL            32819
                                                            Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  DOOM CART          0000085201003698 Universal City            1000 Universal    Orlando           FL            32819
                      LOC 369                               Development Partners,   Studios Plaza
                                                            Ltd.




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                                                     493539
                                                                     Exhibit A
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 Business Unit Name      Transaction       Taxpayer ID (or      IRS Filing Name           Address           City              State     Postal Code
                        Division Name     Merchant ID, where
                                              available)
UCDP                  TOON GAMES          0000085201003706 Universal City            1000 Universal   Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  Adventure Eyewear   0000085201003813 Universal City            1000 Universal   Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  ENJOY YOUR          0000085201003920 Universal City            1000 Universal   Orlando           FL            32819
                      FACE-IOA                               Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  COLORVISION         0000085201004001 Universal City            1000 Universal   Orlando           FL            32819
                      POE                                    Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  COLORVISION         0000085201004019 Universal City            1000 Universal   Orlando           FL            32819
                      SEUSS                                  Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  KODAK - LOST        0000085201004027 Universal City            1000 Universal   Orlando           FL            32819
                      CONTINENT                              Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  COLORVISION         0000085201004035 Universal City            1000 Universal   Orlando           FL            32819
                      JURASSIC                               Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  PHOTO FUNNIES       0000085201004043 Universal City            1000 Universal   Orlando           FL            32819
                      PHOTO OP                               Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  COLORVISION         0000085201004050 Universal City            1000 Universal   Orlando           FL            32819
                      HULK PHOTO OP                          Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  TOON                0000085201004076 Universal City            1000 Universal   Orlando           FL            32819
                      CARICATURE                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  MYTHICAL            0000085201004084 Universal City            1000 Universal   Orlando           FL            32819
                      METALS                                 Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  COLORVISION         0000085201004092 Universal City            1000 Universal   Orlando           FL            32819
                      SPIDERMAN                              Development Partners,   Studios Plaza
                                                             Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  STARSOULS         0000085201004100 Universal City            1000 Universal    Orlando           FL            32819
                      HENNA                                Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SUNSHINE          0000085201004118 Universal City            1000 Universal    Orlando           FL            32819
                      LEATHER JP 411                       Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  ENJOY YOUR        0000085201004126 Universal City            1000 Universal    Orlando           FL            32819
                      FACE-SEUSS                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  STARSOULS         0000085201004134 Universal City            1000 Universal    Orlando           FL            32819
                      PSYCHIC                              Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  WINDSOR           0000085201004142 Universal City            1000 Universal    Orlando           FL            32819
                      STERLING IOA                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  HERALDRY LC       0000085201004167 Universal City            1000 Universal    Orlando           FL            32819
                      416                                  Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SUNSHINE          0000085201004175 Universal City            1000 Universal    Orlando           FL            32819
                      LEATHER TOON                         Development Partners,   Studios Plaza
                      417                                  Ltd.
UCDP                  POE               0000085201004183 Universal City            1000 Universal    Orlando           FL            32819
                      CARICATURES                          Development Partners,   Studios Plaza
                      418                                  Ltd.
UCDP                  LUCKY EYE         0000085201004209 Universal City            1000 Universal    Orlando           FL            32819
                      CART LC IOA                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  HAIRWRAPS IOA     0000085201004217 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  UNIVERSAL IOA     0000085201099993 Universal City            1000 Universal    Orlando           FL            32819
                      MERCHANDISE                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  IOA KIOSK         0000085201100171 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.




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                                                     493541
                                                                      Exhibit A
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 Business Unit Name     Transaction        Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name      Merchant ID, where
                                              available)
UCDP                  IOA ADMISSIONS      0000085201120203 Universal City            1000 Universal    Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  IOA GROUP           0000085201120211 Universal City            1000 Universal    Orlando           FL            32819
                      SALES                                  Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  IOA GUEST           0000085201120229 Universal City            1000 Universal    Orlando           FL            32819
                      SERVICES                               Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  IOA                 0000085201120237 Universal City            1000 Universal    Orlando           FL            32819
                      WHLCHAIRS/STR                          Development Partners,   Studios Plaza
                      LLERS                                  Ltd.
UCDP                  UNIVERSAL IOA       0000085201199991 Universal City            1000 Universal    Orlando           FL            32819
                      TICKETING                              Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  FINNEGANS           0000085201200021 Universal City            1000 Universal    Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  BACKLOT             0000085201200039 Universal City            1000 Universal    Orlando           FL            32819
                      BISTRO                                 Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  LA BAMBA            0000085201200047 Universal City            1000 Universal    Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  FAST FOOD           0000085201200054 Universal City            1000 Universal    Orlando           FL            32819
                      BLVD.                                  Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  LOUIE'S             0000085201200062 Universal City            1000 Universal    Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  SCHWAB'S            0000085201200070 Universal City            1000 Universal    Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  MEL'S               0000085201200088 Universal City            1000 Universal    Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  KID ZONE PIZZA    0000085201200096 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  FOUNTAIN OF       0000085201200104 Universal City            1000 Universal    Orlando           FL            32819
                      FAIR FORTUNE                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CHEZ ALCATRAZ     0000085201200112 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  BOULANGERIE       0000085201200120 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  AMITY CHICKEN     0000085201200179 Universal City            1000 Universal    Orlando           FL            32819
                      SHACK                                Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  LOMBARD'S         0000085201200195 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  B112 MINI GRILL   0000085201200203 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  FUDGE SHOPPE      0000085201200252 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  HOLLYWOOD         0000085201200260 Universal City            1000 Universal    Orlando           FL            32819
                      MINI GRILL                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  NORTH CARTS       0000085201200294 Universal City            1000 Universal    Orlando           FL            32819
                      VENDING                              Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SOUTH CARTS       0000085201200302 Universal City            1000 Universal    Orlando           FL            32819
                      VENDING                              Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SOUTH CARTS       0000085201200310 Universal City            1000 Universal    Orlando           FL            32819
                      VENDING                              Development Partners,   Studios Plaza
                                                           Ltd.




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                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  FORTESCUE'S       0000085201200328 Universal City            1000 Universal    Orlando           FL            32819
                      ICE CREAM 32                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  DIAGON ALLEY      0000085201200336 Universal City            1000 Universal    Orlando           FL            32819
                      VENDING 33                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  RICHTERS          0000085201200344 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  BEN & JERRY'S     0000085201200351 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  LONDON TAXI       0000085201200369 Universal City            1000 Universal    Orlando           FL            32819
                      HUT 36                               Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  MIDWAY GRILL      0000085201200377 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  KING'S CROSS 38   0000085201200385 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  LOMBARD'S         0000085201200393 Universal City            1000 Universal    Orlando           FL            32819
                      SPECIAL EVENT                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  IFFF MINI GRILL   0000085201200401 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  AMITY COKE        0000085201200419 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SAN FRANCISCO     0000085201200427 Universal City            1000 Universal    Orlando           FL            32819
                      PASTRY                               Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  FEAR FACTOR       0000085201200435 Universal City            1000 Universal    Orlando           FL            32819
                      ICE CREAM                            Development Partners,   Studios Plaza
                                                           Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  BWS SPECIAL       0000085201200443 Universal City            1000 Universal    Orlando           FL            32819
                      EVENT                                Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  U-CAFÉ GRILL      0000085201200450 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  GAMES DIP N       0000085201200468 Universal City            1000 Universal    Orlando           FL            32819
                      DOTS                                 Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  FEAR FACTOR       0000085201200476 Universal City            1000 Universal    Orlando           FL            32819
                      NACHO                                Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  GRAVEYARD         0000085201200484 Universal City            1000 Universal    Orlando           FL            32819
                      PRETZEL                              Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  GRAVEYARD         0000085201200492 Universal City            1000 Universal    Orlando           FL            32819
                      SNOWCONE                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  RICH NUT CART     0000085201200518 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  LOUIE'S FRUIT     0000085201200526 Universal City            1000 Universal    Orlando           FL            32819
                      STAND                                Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  FEAR FACTOR       0000085201200534 Universal City            1000 Universal    Orlando           FL            32819
                      SLUSH                                Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SILVER SCREEN     0000085201200542 Universal City            1000 Universal    Orlando           FL            32819
                      SODA                                 Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  FRONT GATE        0000085201200559 Universal City            1000 Universal    Orlando           FL            32819
                      POPCORN                              Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  FEAR FACTOR       0000085201200567 Universal City            1000 Universal    Orlando           FL            32819
                      TURKEY LEG                           Development Partners,   Studios Plaza
                                                           Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction  Taxpayer ID (or      IRS Filing Name              Address             City              State     Postal Code
                       Division NameMerchant ID, where
                                        available)
UCDP                  SNACK WAGON   0000085201200575 Universal City               1000 Universal     Orlando           FL            32819
                                                       Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  ROCKIT CART   0000085201200583 Universal City               1000 Universal     Orlando           FL            32819
                                                       Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  TWISTER HOT   0000085201200591 Universal City               1000 Universal     Orlando           FL            32819
                      DOG                              Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  SUBWAY ICE    0000085201200609 Universal City               1000 Universal     Orlando           FL            32819
                      CREAM                            Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  MONSTER SLUSH 0000085201200617 Universal City               1000 Universal     Orlando           FL            32819
                                                       Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  BONEYARD HOT  0000085201200625 Universal City               1000 Universal     Orlando           FL            32819
                      DOG                              Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  T2 BEER       0000085201200633 Universal City               1000 Universal     Orlando           FL            32819
                                                       Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  MEL'S SPECIAL 0000085201200641 Universal City               1000 Universal     Orlando           FL            32819
                      EVENT                            Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  LABAMBA       0000085201200658 Universal City               1000 Universal     Orlando           FL            32819
                      SPECIAL EVENT                    Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  LOMBARDS      0000085201200666 Universal City               1000 Universal     Orlando           FL            32819
                      WIRELESS                         Development Partners,      Studios Plaza
                      EVENT                            Ltd.
UCDP                  DESPICABLE ME 0000085201200674 Universal City               1000 Universal     Orlando           FL            32819
                      DIPPIN DOTS                      Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  LARD LAD CART 0000085201200682 Universal City               1000 Universal     Orlando           FL            32819
                                                       Development Partners,      Studios Plaza
                                                       Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  LA BAMBA          0000085201200690 Universal City            1000 Universal    Orlando           FL            32819
                      LEMON                                Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  NATHANS           0000085201200708 Universal City            1000 Universal    Orlando           FL            32819
                      HOTDOG                               Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  USF               0000085201200716 Universal City            1000 Universal    Orlando           FL            32819
                      RESERVATION                          Development Partners,   Studios Plaza
                      CART (871)                           Ltd.
UCDP                  KID ZONE          0000085201200732 Universal City            1000 Universal    Orlando           FL            32819
                      SNACK                                Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SAN FRANCISCO     0000085201200740 Universal City            1000 Universal    Orlando           FL            32819
                      BEER                                 Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SIMPSONS          0000085201200757 Universal City            1000 Universal    Orlando           FL            32819
                      POPCORN                              Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SIMPSONS          0000085201200765 Universal City            1000 Universal    Orlando           FL            32819
                      HOTDOG                               Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  ROBOASIS          0000085201200781 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  EXPO EATS         0000085201200799 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  ET BEER           0000085201200807 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  KID ZONE DIPPIN   0000085201200815 Universal City            1000 Universal    Orlando           FL            32819
                      DOTS                                 Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  ET ICEE           0000085201200823 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.




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                                                     493547
                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  HOPPING POT       0000085201200831 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  MONSTER'S         0000085201200849 Universal City            1000 Universal    Orlando           FL            32819
                      SPECIAL EVENT                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  AA                0000085201200856 Universal City            1000 Universal    Orlando           FL            32819
                      HOTDOG/SODA                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  LOUIE'S GELATO    0000085201200872 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  FUNNEL CAKES      0000085201200880 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  LOUIE'S           0000085201200898 Universal City            1000 Universal    Orlando           FL            32819
                      VENDING                              Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  FINNEGAN'S        0000085201200906 Universal City            1000 Universal    Orlando           FL            32819
                      SPECIAL EVENT                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  LABAMBA FRUIT     0000085201200914 Universal City            1000 Universal    Orlando           FL            32819
                      STAND                                Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  BONE YARD         0000085201200922 Universal City            1000 Universal    Orlando           FL            32819
                      DIPPIN DOTS                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  MONSTER'S         0000085201200955 Universal City            1000 Universal    Orlando           FL            32819
                      VENDING                              Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  MIB ICEE          0000085201200963 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  JOHN'S JOINT      0000085201200997 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.




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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  CATERING          0000085201201003 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  FAST FOOD         0000085201201037 Universal City            1000 Universal    Orlando           FL            32819
                      BLVD SPECIAL                         Development Partners,   Studios Plaza
                      EVENT                                Ltd.
UCDP                  LEAKY             0000085201201102 Universal City            1000 Universal    Orlando           FL            32819
                      CAULDRON 110                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  STARBUCKS         0000085201201128 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  BOULANGERIE       0000085201201136 Universal City            1000 Universal    Orlando           FL            32819
                      CARTS                                Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  GRAMERCY          0000085201201144 Universal City            1000 Universal    Orlando           FL            32819
                      POPCORN CART                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  LOUIE'S SPECIAL   0000085201201151 Universal City            1000 Universal    Orlando           FL            32819
                      EVENT                                Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  ETERNELLE'S       0000085201201367 Universal City            1000 Universal    Orlando           FL            32819
                      ELIXIR 136                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  BONE CHILLERS     0000085201201946 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CLOSED            0000085201206713 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  UNIVERSAL         0000085201209121 Universal City            1000 Universal    Orlando           FL            32819
                      EMPLOYEE                             Development Partners,   Studios Plaza
                      STORE                                Ltd.
UCDP                  MONSTER CAFÉ      0000085201210012 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction  Taxpayer ID (or      IRS Filing Name              Address             City              State     Postal Code
                       Division NameMerchant ID, where
                                        available)
UCDP                  USF FOOD      0000085201299999 Universal City               1000 Universal     Orlando           FL            32819
                                                       Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  TEAM MEMBER   0000085201301001 Universal City               1000 Universal     Orlando           FL            32819
                      SERVICES                         Development Partners,      Studios Plaza
                      VERIFONE                         Ltd.
UCDP                  UNIVERSL      0000085201302017 Universal City               1000 Universal     Orlando           FL            32819
                      STUDIOS STORE                    Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  SILVER SCREEN 0000085201302025 Universal City               1000 Universal     Orlando           FL            32819
                                                       Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  CARTOON STORE 0000085201302033 Universal City               1000 Universal     Orlando           FL            32819
                                                       Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  SAHARA        0000085201302041 Universal City               1000 Universal     Orlando           FL            32819
                      TRADERS                          Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  USE TENT SALE 0000085201302058 Universal City               1000 Universal     Orlando           FL            32819
                                                       Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  KRUSTYLAND    0000085201302066 Universal City               1000 Universal     Orlando           FL            32819
                      CART                             Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  SECOND HAND   0000085201302074 Universal City               1000 Universal     Orlando           FL            32819
                      ROSE                             Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  BROWN DERBY   0000085201302082 Universal City               1000 Universal     Orlando           FL            32819
                                                       Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  ON LOCATION   0000085201302090 Universal City               1000 Universal     Orlando           FL            32819
                                                       Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  KWIK E MART   0000085201302108 Universal City               1000 Universal     Orlando           FL            32819
                                                       Development Partners,      Studios Plaza
                                                       Ltd.




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                                                                     Exhibit A
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 Business Unit Name     Transaction       Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name     Merchant ID, where
                                             available)
UCDP                  NICKSTUFF          0000085201302116 Universal City            1000 Universal    Orlando           FL            32819
                                                            Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  BABY BEAD          0000085201302126 Universal City            1000 Universal    Orlando           FL            32819
                      CART                                  Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  TRANSFORMERS       0000085201302140 Universal City            1000 Universal    Orlando           FL            32819
                                                            Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  SAN FRANCISCO      0000085201302157 Universal City            1000 Universal    Orlando           FL            32819
                      EVENT CART                            Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  HHN TRIBUTE        0000085201302165 Universal City            1000 Universal    Orlando           FL            32819
                      STORE                                 Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  TERMINATOR 2       0000085201302173 Universal City            1000 Universal    Orlando           FL            32819
                                                            Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  ET'S               0000085201302181 Universal City            1000 Universal    Orlando           FL            32819
                                                            Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  FUDGE SHOP         0000085201302199 Universal City            1000 Universal    Orlando           FL            32819
                                                            Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  ITS' A WRAP        0000085201302207 Universal City            1000 Universal    Orlando           FL            32819
                                                            Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  MEN IN BLACK       0000085201302215 Universal City            1000 Universal    Orlando           FL            32819
                                                            Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  DOC'S CANDY        0000085201302223 Universal City            1000 Universal    Orlando           FL            32819
                                                            Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  KID ZONE CART      0000085201302231 Universal City            1000 Universal    Orlando           FL            32819
                                                            Development Partners,   Studios Plaza
                                                            Ltd.




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                                                                      Exhibit A
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 Business Unit Name     Transaction        Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name      Merchant ID, where
                                              available)
UCDP                  SHREK               0000085201302249 Universal City            1000 Universal    Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  PRODUCTION          0000085201302256 Universal City            1000 Universal    Orlando           FL            32819
                      CART                                   Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  ACCESSORIES         0000085201302264 Universal City            1000 Universal    Orlando           FL            32819
                      CART                                   Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  PRODUCTION          0000085201302272 Universal City            1000 Universal    Orlando           FL            32819
                      CENTRAL                                Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  CUSTOM GEAR         0000085201302280 Universal City            1000 Universal    Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  BARNEY              0000085201302298 Universal City            1000 Universal    Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  GLOW CART           0000085201302306 Universal City            1000 Universal    Orlando           FL            32819
                      VENDING                                Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  SAN FRANCISCO       0000085201302314 Universal City            1000 Universal    Orlando           FL            32819
                      CART                                   Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  BATTERY PARK        0000085201302322 Universal City            1000 Universal    Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  CART #33            0000085201302330 Universal City            1000 Universal    Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  CART #34            0000085201302348 Universal City            1000 Universal    Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  ET                  0000085201302355 Universal City            1000 Universal    Orlando           FL            32819
                      CART/CENTRAL                           Development Partners,   Studios Plaza
                      PARK KIOSK                             Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  SAN FRANCISCO     0000085201302363 Universal City            1000 Universal    Orlando           FL            32819
                      CANDY STORE                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CARITT MARKET     0000085201302371 Universal City            1000 Universal    Orlando           FL            32819
                      CART                                 Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  DUFF BREWERY      0000085201302389 Universal City            1000 Universal    Orlando           FL            32819
                      KIOSK                                Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CART #39          0000085201302397 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  MADAM             0000085201302462 Universal City            1000 Universal    Orlando           FL            32819
                      MALKINS 246                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  WISEACRES/SCRI    0000085201302504 Universal City            1000 Universal    Orlando           FL            32819
                      BBULUS 250                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  MAGICAL           0000085201302512 Universal City            1000 Universal    Orlando           FL            32819
                      MENAGERIE 251                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  WEASLEYS'/QUA     0000085201302520 Universal City            1000 Universal    Orlando           FL            32819
                      LITY QUIDDITCH                       Development Partners,   Studios Plaza
                      252                                  Ltd.
UCDP                  OLLIVANDER'S      0000085201302546 Universal City            1000 Universal    Orlando           FL            32819
                      254                                  Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  THE FILM VAULT    0000085201302553 Universal City            1000 Universal    Orlando           FL            32819
                      255                                  Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  BORGIN &          0000085201302561 Universal City            1000 Universal    Orlando           FL            32819
                      BURKES 256                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  PARK PLAZA        0000085201302579 Universal City            1000 Universal    Orlando           FL            32819
                      HOLIDAY SHOP                         Development Partners,   Studios Plaza
                                                           Ltd.




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                                                                      Exhibit A
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 Business Unit Name      Transaction       Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                        Division Name     Merchant ID, where
                                              available)
UCDP                  FISH GAMES          0000085201302595 Universal City            1000 Universal    Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  GRINGOTT'S          0000085201302611 Universal City            1000 Universal    Orlando           FL            32819
                      MONEY                                  Development Partners,   Studios Plaza
                      EXCHANGE 261                           Ltd.
UCDP                  DOC'S CANDY         0000085201302629 Universal City            1000 Universal    Orlando           FL            32819
                      262                                    Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  SUNSHINE            0000085201302637 Universal City            1000 Universal    Orlando           FL            32819
                      LEATHER CART                           Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  IRISH SHOP          0000085201302645 Universal City            1000 Universal    Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  Studio Styles       0000085201302652 Universal City            1000 Universal    Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  COLORVISION         0000085201302678 Universal City            1000 Universal    Orlando           FL            32819
                      SHUTTER                                Development Partners,   Studios Plaza
                      BUTTONS 267                            Ltd.
UCDP                  LONDON CART         0000085201302686 Universal City            1000 Universal    Orlando           FL            32819
                      268                                    Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  WILLIAMS OF         0000085201302694 Universal City            1000 Universal    Orlando           FL            32819
                      HOLLYWOOD                              Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  USF GAMES           0000085201302702 Universal City            1000 Universal    Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  SAN FRANCISCO       0000085201302751 Universal City            1000 Universal    Orlando           FL            32819
                      CARICATURES                            Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  COLORVISION         0000085201302769 Universal City            1000 Universal    Orlando           FL            32819
                      USF FRONT                              Development Partners,   Studios Plaza
                      GATE                                   Ltd.




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  Business Unit Name        Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                           Division Name    Merchant ID, where
                                                available)
UCDP                      COLORVISION       0000085201302793 Universal City            1000 Universal    Orlando           FL            32819
                          SAHARA                               Development Partners,   Studios Plaza
                                                               Ltd.
UCDP                      HOLLYWOOD         0000085201302819 Universal City            1000 Universal    Orlando           FL            32819
                          JEWELRY                              Development Partners,   Studios Plaza
                                                               Ltd.
UCDP                      ENJOY YOUR        0000085201302827 Universal City            1000 Universal    Orlando           FL            32819
                          FACE-USF                             Development Partners,   Studios Plaza
                                                               Ltd.
UCDP                      COLORVISION       0000085201302835 Universal City            1000 Universal    Orlando           FL            32819
                          GRINGOTT'S 283                       Development Partners,   Studios Plaza
                                                               Ltd.
Universal Studios Store   AIRPORT STORE     0000085201302843 Universal City
Orlando LLC               #2                                   Development Partners,
                                                               Ltd.
Universal Studios Store   AIRPORT STORE     0000085201302850 Universal City
Orlando LLC               #1                                   Development Partners,
                                                               Ltd.
UCDP                      THE TONIGHT       0000085201302892 Universal City            1000 Universal    Orlando           FL            32819
                          SHOP                                 Development Partners,   Studios Plaza
                                                               Ltd.
UCDP                      CART #91          0000085201302918 Universal City            1000 Universal    Orlando           FL            32819
                                                               Development Partners,   Studios Plaza
                                                               Ltd.
UCDP                      COLORVISION       0000085201302926 Universal City            1000 Universal    Orlando           FL            32819
                          SIMPSONS                             Development Partners,   Studios Plaza
                                                               Ltd.
UCDP                      COLORVISION ET    0000085201302934 Universal City            1000 Universal    Orlando           FL            32819
                                                               Development Partners,   Studios Plaza
                                                               Ltd.
UCDP                      COLORVISION       0000085201302942 Universal City            1000 Universal    Orlando           FL            32819
                          SPONGEBOB                            Development Partners,   Studios Plaza
                                                               Ltd.
UCDP                      COLORVISION       0000085201302959 Universal City            1000 Universal    Orlando           FL            32819
                          ROCKIT                               Development Partners,   Studios Plaza
                                                               Ltd.




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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  COLORVISION       0000085201302967 Universal City            1000 Universal    Orlando           FL            32819
                      TRANSFORMERS                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  COLORVISION       0000085201302975 Universal City            1000 Universal    Orlando           FL            32819
                      SUPER SILLY                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  MAIL ORDER        0000085201303007 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  STARSOULS USF     0000085201303957 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  HAIRWRAPS USF     0000085201303973 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  COLORVISION       0000085201304245 Universal City            1000 Universal    Orlando           FL            32819
                      MIB                                  Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  COLORVISION       0000085201304252 Universal City            1000 Universal    Orlando           FL            32819
                      DONKEY                               Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  TOKKO GIFTS       0000085201305010 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  TREASURES OF      0000085201305028 Universal City            1000 Universal    Orlando           FL            32819
                      BALI                                 Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  ROYAL PACIFIC     0000085201305036 Universal City            1000 Universal    Orlando           FL            32819
                      TOWEL STAND                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  NICK HOTEL        0000085201305044 Universal City            1000 Universal    Orlando           FL            32819
                      STORE                                Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CABANA BAY        0000085201305069 Universal City            1000 Universal    Orlando           FL            32819
                      MERCH STORE                          Development Partners,   Studios Plaza
                      (506)                                Ltd.




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                                                                        Exhibit A
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  Business Unit Name        Transaction   Taxpayer ID (or      IRS Filing Name             Address             City              State     Postal Code
                           Division Name Merchant ID, where
                                             available)
UCDP                      SAPPHIRE FALLS 0000085201305077 Universal City              1000 Universal     Orlando           FL            32819
                          507                               Development Partners,     Studios Plaza
                                                            Ltd.
UCDP                      PORTOFINO BAY  0000085201306000 Universal City              1000 Universal     Orlando           FL            32819
                          STORE (500)                       Development Partners,     Studios Plaza
                                                            Ltd.
Universal Studios Store   BELZ OUTLET    0000085201308527 Universal City
Orlando LLC                                                 Development Partners,
                                                            Ltd.
UCDP                      USHOP          0000085201308550 Universal City              1000 Universal     Orlando           FL            32819
                                                            Development Partners,     Studios Plaza
                                                            Ltd.
UCDP                      UNIVERSAL      0000085201309129 Universal City              1000 Universal     Orlando           FL            32819
                          EMPLOYEE                          Development Partners,     Studios Plaza
                          STORE                             Ltd.
UCDP                      USF            0000085201399997 Universal City              1000 Universal     Orlando           FL            32819
                          MERCHANDISE                       Development Partners,     Studios Plaza
                                                            Ltd.
UCDP                      GROUP SALES    0000085201400027 Universal City              1000 Universal     Orlando           FL            32819
                                                            Development Partners,     Studios Plaza
                                                            Ltd.
UCDP                      GUEST SERVICES 0000085201400035 Universal City              1000 Universal     Orlando           FL            32819
                                                            Development Partners,     Studios Plaza
                                                            Ltd.
UCDP                      USF PHONE      0000085201400043 Universal City              1000 Universal     Orlando           FL            32819
                          RESERVATIONS                      Development Partners,     Studios Plaza
                                                            Ltd.
UCDP                      MARKETING      0000085201400050 Universal City              1000 Universal     Orlando           FL            32819
                          SALES                             Development Partners,     Studios Plaza
                                                            Ltd.
UCDP                      FINANCE        0000085201400068 Universal City              1000 Universal     Orlando           FL            32819
                                                            Development Partners,     Studios Plaza
                                                            Ltd.
UCDP                      PARKING        0000085201400076 Universal City              1000 Universal     Orlando           FL            32819
                          GARAGE                            Development Partners,     Studios Plaza
                                                            Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name            Address           City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  WHEELCHAIRS/S     0000085201400084 Universal City             1000 Universal   Orlando           FL            32819
                      TROLLERS                             Development Partners,    Studios Plaza
                                                           Ltd.
UCDP                  KENNELS           0000085201400092 Universal City             1000 Universal   Orlando           FL            32819
                                                           Development Partners,    Studios Plaza
                                                           Ltd.
UCDP                  ANNUAL PASS       0000085201400100 Universal City             1000 Universal   Orlando           FL            32819
                      INTERNET SALES                       Development Partners,    Studios Plaza
                                                           Ltd.
UCDP                  USF KIOSK         0000085201400167 Universal City             1000 Universal   Orlando           FL            32819
                                                           Development Partners,    Studios Plaza
                                                           Ltd.
UCDP                  VALET PARKING     0000085201400191 Universal City             1000 Universal   Orlando           FL            32819
                                                           Development Partners,    Studios Plaza
                                                           Ltd.
UCDP                  HUB               0000085201400209 Universal City             1000 Universal   Orlando           FL            32819
                      WHEELCHAIR/ST                        Development Partners,    Studios Plaza
                      ROLLERS                              Ltd.
UCDP                  GUEST CONTACT     0000085201400290 Universal City             1000 Universal   Orlando           FL            32819
                      CENTER                               Development Partners,    Studios Plaza
                                                           Ltd.
UCDP                  GUEST CONTACT     0000085201400308 Universal City             1000 Universal   Orlando           FL            32819
                      CENTER SAR 029                       Development Partners,    Studios Plaza
                                                           Ltd.
UCDP                  GUEST CONTACT     0000085201400316 Universal City             1000 Universal   Orlando           FL            32819
                      CENTER SAR 029                       Development Partners,    Studios Plaza
                                                           Ltd.
UCDP                  GUEST CONTACT     0000085201400324 Universal City             1000 Universal   Orlando           FL            32819
                      CENTER SAR 029                       Development Partners,    Studios Plaza
                                                           Ltd.
UCTP                  UO                0000085201400878 Universal City Travel      1000 Universal   Orlando           FL            32819
                      DESTINATION                          Partners                 Studios Plaza
                      UNIVERSAL LOC
                      87
UCDP                  RESORT OPS        0000085201401413    Universal City          1000 Universal   Orlando           FL            32819
                      MAILROOM                              Development Partners,   Studios Plaza
                                                            Ltd.




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                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name            Address           City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCTP                  UO                0000085201401520 Universal City Travel      1000 Universal   Orlando           FL            32819
                      DESTINATION                          Partners                 Studios Plaza
                      UNIVERSAL LOC
                      152 R140
UCDP                  ADMISSIONS 888    0000085201410018    Universal City          1000 Universal   Orlando           FL            32819
                                                            Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  USF TICKETING     0000085201499995    Universal City          1000 Universal   Orlando           FL            32819
                                                            Development Partners,   Studios Plaza
                                                            Ltd.
UCTP                  DESTINATION       0000085201500412    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      41
UCTP                  DESTINATION       0000085201500420    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      42
UCTP                  DESTINATION       0000085201500438    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      43
UCTP                  DESTINATION       0000085201500446    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      44
UCTP                  DESTINATION       0000085201500453    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      45
UCTP                  DESTINATION       0000085201500461    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      46
UCTP                  DESTINATION       0000085201500479    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      47
UCTP                  DESTINATION       0000085201500487    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      48
UCTP                  DESTINATION       0000085201500495    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      49




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                                                     493559
                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name            Address           City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCTP                  DESTINATION       0000085201500503 Universal City Travel      1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                        Partners                 Studios Plaza
                      50
UCTP                  DESTINATION       0000085201500552    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      55
UCTP                  DESTINATION       0000085201500560    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      56
UCTP                  DESTINATION       0000085201500578    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      57
UCTP                  DESTINATION       0000085201500586    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      58
UCTP                  DESTINATION       0000085201500594    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      59
UCTP                  DESTINATION       0000085201500602    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      60
UCTP                  DESTINATION       0000085201500610    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      61
UCTP                  DESTINATION       0000085201500628    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      62
UCTP                  DESTINATION       0000085201500636    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      63
UCTP                  DESTINATION       0000085201500644    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      64
UCTP                  DESTINATION       0000085201500651    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      65




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                                                     493560
                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name            Address           City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCTP                  DESTINATION       0000085201500669 Universal City Travel      1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                        Partners                 Studios Plaza
                      66
UCTP                  DESTINATION       0000085201500677    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      67
UCTP                  DESTINATION       0000085201500685    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      68
UCTP                  DESTINATION       0000085201500693    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      69
UCTP                  DESTINATION       0000085201500701    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      70
UCTP                  DESTINATION       0000085201500719    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      71
UCTP                  DESTINATION       0000085201500727    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      72
UCTP                  DESTINATION       0000085201500735    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      73
UCTP                  DESTINATION       0000085201500743    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      74
UCTP                  DESTINATION       0000085201500750    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      75
UCTP                  DESTINATION       0000085201500768    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      76
UCTP                  DESTINATION       0000085201500776    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      77




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                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name            Address           City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCTP                  DESTINATION       0000085201500784 Universal City Travel      1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                        Partners                 Studios Plaza
                      78
UCTP                  DESTINATION       0000085201500792    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      79
UCTP                  DESTINATION       0000085201500800    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      80
UCTP                  DESTINATION       0000085201500818    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      81
UCTP                  DESTINATION       0000085201500826    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      82
UCTP                  DESTINATION       0000085201500834    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      83
UCTP                  DESTINATION       0000085201500842    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      84
UCTP                  DESTINATION       0000085201500859    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      85
UCTP                  DESTINATION       0000085201500867    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      86
UCTP                  DESTINATION       0000085201500875    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      87
UCTP                  DESTINATION       0000085201500883    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      88
UCTP                  DESTINATION       0000085201500891    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      89




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                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name            Address           City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCTP                  DESTINATION       0000085201500908 Universal City Travel      1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                        Partners                 Studios Plaza
                      90
UCTP                  DESTINATION       0000085201500917    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      91
UCTP                  DESTINATION       0000085201500933    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      93
UCTP                  DESTINATION       0000085201500941    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      94
UCTP                  DESTINATION       0000085201500958    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      95
UCTP                  DESTINATION       0000085201500966    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      96
UCTP                  DESTINATION       0000085201500974    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      97
UCTP                  DESTINATION       0000085201500982    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      98
UCTP                  DESTINATION       0000085201500990    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      99
UCTP                  DESTINATION       0000085201501006    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      100
UCTP                  DESTINATION       0000085201501014    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      101
UCTP                  DESTINATION       0000085201501022    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      102




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                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name            Address           City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCTP                  DESTINATION       0000085201501030 Universal City Travel      1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                        Partners                 Studios Plaza
                      103
UCTP                  DESTINATION       0000085201501048    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      104
UCTP                  DESTINATION       0000085201501055    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      105
UCTP                  DESTINATION       0000085201501063    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      106
UCTP                  DESTINATION       0000085201501071    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      107
UCTP                  DESTINATION       0000085201501089    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      108
UCTP                  DESTINATION       0000085201501097    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL                             Partners                Studios Plaza
                      LOC109
UCTP                  DESTINATION       0000085201501105    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      110
UCTP                  DESTINATION       0000085201501113    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      111
UCTP                  DESTINATION       0000085201501121    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      147
UCTP                  DESTINATION       0000085201501139    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UINVERSAL LOC                         Partners                Studios Plaza
                      113
UCTP                  DESTINATION       0000085201501147    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      114




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name            Address           City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCTP                  DESTINATION       0000085201501154 Universal City Travel      1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                        Partners                 Studios Plaza
                      115
UCTP                  DESTINATION       0000085201501162    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      116
UCTP                  DESTINATION       0000085201501170    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      117
UCTP                  DESTINATION       0000085201501188    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      118
UCTP                  DESTINATION       0000085201501196    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      119
UCTP                  DESTINATION       0000085201501204    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      120
UCTP                  DESTINATION       0000085201501212    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      121
UCTP                  DESTINATION       0000085201501220    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      122
UCTP                  DESTINATION       0000085201501238    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      123
UCTP                  DESTINATION       0000085201501246    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      124
UCTP                  DESTINATION       0000085201501253    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      125
UCTP                  DESTINATION       0000085201501261    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      126




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                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name            Address           City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCTP                  DESTINATION       0000085201501279 Universal City Travel      1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                        Partners                 Studios Plaza
                      127
UCTP                  DESTINATION       0000085201501287    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      128
UCTP                  DESTINATION       0000085201501295    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      129
UCTP                  DESTINATION       0000085201501303    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      130
UCTP                  DESTINATION       0000085201501311    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      131
UCTP                  DESTINATION       0000085201501329    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      132
UCTP                  DESTINATION       0000085201501337    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      133
UCTP                  DESTINATION       0000085201501345    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      134
UCTP                  DESTINATION       0000085201501352    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      135
UCTP                  DESTINATION       0000085201501360    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      148
UCTP                  DESTINATION       0000085201501378    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      137
UCTP                  DESTINATION       0000085201501386    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      138




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                                                     493566
                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name            Address           City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCTP                  DESTINATION       0000085201501410 Universal City Travel      1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                        Partners                 Studios Plaza
                      141
UCTP                  DESTINATION       0000085201501469    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      146
UCTP                  DESTINATION       0000085201501493    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      149
UCTP                  DESTINATION       0000085201501501    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      150
UCTP                  DESTINATION       0000085201501519    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      151
UCTP                  DESTINATION       0000085201501527    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                Studios Plaza
                      152
UCDP                  VB MINI GRILL     0000085201606151    Universal City          1000 Universal   Orlando           FL            32819
                      (600)                                 Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  MOTOWN FOOD       0000085201607100    Universal City          1000 Universal   Orlando           FL            32819
                                                            Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  MOTOWN FOOD       0000085201699990    Universal City          1000 Universal   Orlando           FL            32819
                                                            Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  MOTOWN            0000085201704642    Universal City          1000 Universal   Orlando           FL            32819
                      MERCHANDISE                           Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  MOTOWN            0000085201799998    Universal City          1000 Universal   Orlando           FL            32819
                      MERCHANDISE                           Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  MOTOWN            0000085201807148    Universal City          1000 Universal   Orlando           FL            32819
                                                            Development Partners,   Studios Plaza
                                                            Ltd.




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                                                     493567
                                                                     Exhibit A
                             In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction       Taxpayer ID (or      IRS Filing Name            Address           City              State     Postal Code
                       Division Name     Merchant ID, where
                                             available)
UCDP                  MOTOWN             0000085201899996 Universal City             1000 Universal   Orlando           FL            32819
                      TICKETING                             Development Partners,    Studios Plaza
                                                            Ltd.
UCDP                  DU PLAN            0000085201900927 Universal City             1000 Universal   Orlando           FL            32819
                      CENTER                                Development Partners,    Studios Plaza
                                                            Ltd.
UCDP                  DU PLAN            0000085201999994 Universal City             1000 Universal   Orlando           FL            32819
                      CENTER                                Development Partners,    Studios Plaza
                                                            Ltd.
UCDP                  CW SUNGLASS        0000085202004521 Universal City             1000 Universal   Orlando           FL            32819
                      CART                                  Development Partners,    Studios Plaza
                                                            Ltd.
UCDP                  UNIV STUDIO        0000085202099992 Universal City             1000 Universal   Orlando           FL            32819
                                                            Development Partners,    Studios Plaza
                                                            Ltd.
UCDP                  DAPY               0000085202104537 Universal City             1000 Universal   Orlando           FL            32819
                                                            Development Partners,    Studios Plaza
                                                            Ltd.
UCDP                  GLOW               0000085202104545 Universal City             1000 Universal   Orlando           FL            32819
                                                            Development Partners,    Studios Plaza
                                                            Ltd.
UCDP                  UNIV STUDIOS       0000085202104552 Universal City             1000 Universal   Orlando           FL            32819
                      STORE                                 Development Partners,    Studios Plaza
                      ORLANDO AT                            Ltd.
                      CITYWALK
UCDP                  UNIVERSAL          0000085202109999    Universal City          1000 Universal   Orlando           FL            32819
                      STUDIOS STORE                          Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  UNIVERSAL          0000085202200087    Universal City          1000 Universal   Orlando           FL            32819
                      ORLANDO                                Development Partners,   Studios Plaza
                      WEBSITE (POS)                          Ltd.
UCDP                  UNIVERSAL          0000085202200095    Universal City          1000 Universal   Orlando           FL            32819
                      ORLANDO                                Development Partners,   Studios Plaza
                      WEBSITE (POS)                          Ltd.
UCDP                  UNIVERSAL          0000085202200152    Universal City          1000 Universal   Orlando           FL            32819
                      ORLANDO                                Development Partners,   Studios Plaza
                      WEBSITE (POS)                          Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction  Taxpayer ID (or      IRS Filing Name              Address             City              State     Postal Code
                       Division NameMerchant ID, where
                                        available)
UCDP                  UNIVERSAL     0000085202200301 Universal City               1000 Universal     Orlando           FL            32819
                      ORLANDO                          Development Partners,      Studios Plaza
                      WEBSITE (POS)                    Ltd.
UCDP                  UNIVERSAL     0000085202209997 Universal City               1000 Universal     Orlando           FL            32819
                      ORLANDO                          Development Partners,      Studios Plaza
                      WEBSITE (POS)                    Ltd.
UCDP                  ANNUAL PASS   0000085202300010 Universal City               1000 Universal     Orlando           FL            32819
                      FLEX PAYMENTS                    Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  ANNUAL PASS   0000085202309003 Universal City               1000 Universal     Orlando           FL            32819
                      FLEX PAY                         Development Partners,      Studios Plaza
                      INTERNET                         Ltd.
UCDP                  MISCELLANEOUS 0000085202400018 Universal City               1000 Universal     Orlando           FL            32819
                      CHARGES                          Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  AAA WEBSITE   0000085202500023 Universal City               1000 Universal     Orlando           FL            32819
                                                       Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  MEMBERS       0000085202500031 Universal City               1000 Universal     Orlando           FL            32819
                      EXTRA WEBSITE                    Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  FLEX TICKET   0000085202500049 Universal City               1000 Universal     Orlando           FL            32819
                      WEBSITE                          Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  AAA           0000085202500056 Universal City               1000 Universal     Orlando           FL            32819
                      CONSIGNMENT                      Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  CEOSK SALES   0000085202500064 Universal City               1000 Universal     Orlando           FL            32819
                                                       Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  FAN CLUB      0000085202500072 Universal City               1000 Universal     Orlando           FL            32819
                      WEBSITE                          Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  U O ONLINE    0000085202504843 Universal City               1000 Universal     Orlando           FL            32819
                      MERCH STORE                      Development Partners,      Studios Plaza
                                                       Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  U O ONLINE        0000085202504850 Universal City            1000 Universal    Orlando           FL            32819
                      MERCH STORE                          Development Partners,   Studios Plaza
                      RETURNS (486)                        Ltd.
UCDP                  FAT TUESDAY       0000085202606978 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  FAT TUESDAY       0000085202607216 Universal City            1000 Universal    Orlando           FL            32819
                      CART                                 Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SURF GRILL        0000085202706000 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  MANNY'S PIZZA     0000085202706018 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  BUBBA'S BBQ       0000085202706026 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  GEORGE'S          0000085202706034 Universal City            1000 Universal    Orlando           FL            32819
                      FAMOUS ICE                           Development Partners,   Studios Plaza
                      CREAM                                Ltd.
UCDP                  WILD TIKI         0000085202706042 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CARNIVAL          0000085202706059 Universal City            1000 Universal    Orlando           FL            32819
                      TREATS                               Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  DIPPIN DOTS @     0000085202706075 Universal City            1000 Universal    Orlando           FL            32819
                      THE BEACH                            Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  BONE CHILLIN      0000085202706083 Universal City            1000 Universal    Orlando           FL            32819
                      BEER CART                            Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CABANA            0000085202706091 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  DIPPIN DOTS       0000085202706109 Universal City            1000 Universal    Orlando           FL            32819
                      CART                                 Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  FOOTLONG          0000085202706117 Universal City            1000 Universal    Orlando           FL            32819
                      HOTDOG CART                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  ICE COLD BEER     0000085202706125 Universal City            1000 Universal    Orlando           FL            32819
                      CART                                 Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  PRETZEL CART      0000085202706133 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  RIVERSIDE BBQ     0000085202706141 Universal City            1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SAND CASTLE       0000085202706158 Universal City            1000 Universal    Orlando           FL            32819
                      CAFÉ (BOH)                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  DIPPIN DOTS @     0000085202706166 Universal City            1000 Universal    Orlando           FL            32819
                      BLASTAWAY                            Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  THIRST AID        0000085202706174 Universal City            1000 Universal    Orlando           FL            32819
                      CART                                 Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  TROPICAL          0000085202706182 Universal City            1000 Universal    Orlando           FL            32819
                      SLUSHIE CART                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  STARBUCKS         0000085202706208 Universal City            1000 Universal    Orlando           FL            32819
                      WNW                                  Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  UNIVERSAL         0000085299800013 Universal City            1000 Universal    Orlando           FL            32819
                      STUDIOS                              Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  PEARL             0000085299800021 Universal City            1000 Universal    Orlando           FL            32819
                      FACTORY/ISLAN                        Development Partners,   Studios Plaza
                      DS OF                                Ltd.
                      ADVENTURE




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                                                                     Exhibit A
                             In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction       Taxpayer ID (or      IRS Filing Name            Address           City              State     Postal Code
                       Division Name     Merchant ID, where
                                             available)
UCDP                  GOBLET LOB         0008585220132660 Universal City             1000 Universal   Orlando           FL            32819
                                                            Development Partners,    Studios Plaza
                                                            Ltd.
UCTP                  DESTINATION        0000085101501451 Universal City Travel      1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                         Partners                 Studios Plaza
                      145
UCDP                  UNIVERSAL          0000085102000024    Universal City          1000 Universal   Orlando           FL            32819
                      STUDIOS                                Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  UNIVERSAL          0000085102000206    Universal City          1000 Universal   Orlando           FL            32819
                      STUDIOS                                Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  HAIRWRAPS CW       0000085200203943    Universal City          1000 Universal   Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  CW Tech Cart       0000085200204750    Universal City          1000 Universal   Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  NBC SPORTS         0000085200204784    Universal City          1000 Universal   Orlando           FL            32819
                      CART                                   Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  LOST               0000085200901959    Universal City          1000 Universal   Orlando           FL            32819
                      CONTINENT                              Development Partners,   Studios Plaza
                      VENDING                                Ltd.
UCDP                  SHOPS OF           0000085201003292    Universal City          1000 Universal   Orlando           FL            32819
                      WONDER                                 Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  JURASSIC PARK      0085285201003466    Universal City          1000 Universal   Orlando           FL            32819
                      GAMES                                  Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  AMBER              0000085201004159    Universal City          1000 Universal   Orlando           FL            32819
                      TREASURES                              Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  AUNTIE ANNES       0000085201200138    Universal City          1000 Universal   Orlando           FL            32819
                      USF                                    Development Partners,   Studios Plaza
                                                             Ltd.




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                                                                      Exhibit A
                              In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction        Taxpayer ID (or      IRS Filing Name            Address           City              State     Postal Code
                       Division Name      Merchant ID, where
                                              available)
UCDP                  MOES TAVERN         0000085201200153 Universal City             1000 Universal   Orlando           FL            32819
                                                             Development Partners,    Studios Plaza
                                                             Ltd.
UCDP                  BUMBLE BEE          0000085201200773 Universal City             1000 Universal   Orlando           FL            32819
                      MANS FOOD                              Development Partners,    Studios Plaza
                      TRUCK                                  Ltd.
UCDP                  DUFF GARDENS        0000085201200930 Universal City             1000 Universal   Orlando           FL            32819
                                                             Development Partners,    Studios Plaza
                                                             Ltd.
UCDP                  LA BAMBA            0085285201200989 Universal City             1000 Universal   Orlando           FL            32819
                      VENDING                                Development Partners,    Studios Plaza
                                                             Ltd.
UCDP                  SUNSHINE            0000085201303866 Universal City             1000 Universal   Orlando           FL            32819
                      INNOVATION                             Development Partners,    Studios Plaza
                      MIB                                    Ltd.
UCDP                  EXPO                0000085201303916 Universal City             1000 Universal   Orlando           FL            32819
                      CARICATURES                            Development Partners,    Studios Plaza
                      391                                    Ltd.
UCDP                  AIRBRUSH            0000085201303932 Universal City             1000 Universal   Orlando           FL            32819
                      STUDIOS                                Development Partners,    Studios Plaza
                                                             Ltd.
UCDP                  USTOP               0000085201305051 Universal City             1000 Universal   Orlando           FL            32819
                                                             Development Partners,    Studios Plaza
                                                             Ltd.
UCTP                  DESTINATION         0000085201501394 Universal City Travel      1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                          Partners                 Studios Plaza
                      139
UCTP                  DESTINATION         0000085201501402    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                           Partners                Studios Plaza
                      140
UCTP                  DESTINATION         0000085201501428    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                           Partners                Studios Plaza
                      142
UCTP                  DESTINATION         0000085201501436    Universal City Travel   1000 Universal   Orlando           FL            32819
                      UNIVERSAL LOC                           Partners                Studios Plaza
                      143
UCTP                  UNIVERSAL              345718468886     Universal City Travel   1000 Universal   Orlando           FL            32819
                      STDS VAC REG 7                          Partners                Studios Plaza



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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  UNIV ADMISS         345855200886     Universal City          1000 Universal    Orlando           FL            32819
                      01120203                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  BACKLOT             345855201884     Universal City          1000 Universal    Orlando           FL            32819
                      BISTRO01200039                       Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  LOMBARD'S           345855202882     Universal City          1000 Universal    Orlando           FL            32819
                      01200195                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  USHOP 130855        345855203880     Universal City          1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  USTOP 130505        345855204888     Universal City          1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  UNIVERSAL GCC       345855205885     Universal City          1000 Universal    Orlando           FL            32819
                      01400290                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  DU PORTOFINO        345855206883     Universal City          1000 Universal    Orlando           FL            32819
                      B01400878                            Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  UNIV ADMTKT         345855207881     Universal City          1000 Universal    Orlando           FL            32819
                      014108880                            Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  KID ZONE CART       345855208889     Universal City          1000 Universal    Orlando           FL            32819
                      01302900                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  AUNTIE ANNES        345855209887     Universal City          1000 Universal    Orlando           FL            32819
                      01200130                             Development Partners,   Studios Plaza
                                                           Ltd.
UCTP                  UNIV PRK RES        345871190889     Universal City Travel   1000 Universal    Orlando           FL            32819
                      VAC-HOLLYW                           Partners                Studios Plaza
UCDP                  UNIV. STUDIOS       345955857882     Universal City          1000 Universal    Orlando           FL            32819
                      FOOD RG 12                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  COLORVISION         372032700885     Universal City          1000 Universal    Orlando           FL            32819
                      HA 1002781                           Development Partners,   Studios Plaza
                                                           Ltd.



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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  COLORVISION         372032701883     Universal City          1000 Universal    Orlando           FL            32819
                      TH 130296                            Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  MAGNET HUT          372032702881     Universal City          1000 Universal    Orlando           FL            32819
                      00204720                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  COLORVISION RI      372032703889     Universal City          1000 Universal    Orlando           FL            32819
                      1002773                              Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  COLORVISION         372032704887     Universal City          1000 Universal    Orlando           FL            32819
                      1004001                              Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  COLORVISION         372032705884     Universal City          1000 Universal    Orlando           FL            32819
                      1004019                              Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  COLORVISION         372032706882     Universal City          1000 Universal    Orlando           FL            32819
                      1004035                              Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  HULK PHOTO OP       372032707880     Universal City          1000 Universal    Orlando           FL            32819
                      1004050                              Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  COLORVISION SP      372032708888     Universal City          1000 Universal    Orlando           FL            32819
                      1004092                              Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CV SHUTTR           372032709886     Universal City          1000 Universal    Orlando           FL            32819
                      BUTTNS 0130267                       Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  COLORVISION         372032710884     Universal City          1000 Universal    Orlando           FL            32819
                      130276                               Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  COLORVISION         372032711882     Universal City          1000 Universal    Orlando           FL            32819
                      130279                               Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CV GRINGOTTS        372032712880     Universal City          1000 Universal    Orlando           FL            32819
                      01302835                             Development Partners,   Studios Plaza
                                                           Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  COLORVISION         372032713888     Universal City          1000 Universal    Orlando           FL            32819
                      DKRM 130292                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  COLORVISION ET      372032714886     Universal City          1000 Universal    Orlando           FL            32819
                      130293                               Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  COLORVISION SP      372032715883     Universal City          1000 Universal    Orlando           FL            32819
                      130294                               Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  COLORVISION         372032716881     Universal City          1000 Universal    Orlando           FL            32819
                      RO 130295                            Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  HHN                 372032717889     Universal City          1000 Universal    Orlando           FL            32819
                      COLORVISIO                           Development Partners,   Studios Plaza
                      130297                               Ltd.
UCDP                  CV MEN IN BLK       372032718887     Universal City          1000 Universal    Orlando           FL            32819
                      01304245                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CV DONKEY           372032719885     Universal City          1000 Universal    Orlando           FL            32819
                      01304252                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  COLORVISION         372032720883     Universal City          1000 Universal    Orlando           FL            32819
                      HHN                                  Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  ANNUAL PASS         372032721881     Universal City          1000 Universal    Orlando           FL            32819
                      FLEX PAYMENT                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  ANNUAL PASS         372032722889     Universal City          1000 Universal    Orlando           FL            32819
                      FLEX PAY INT                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  UNIVERSAL           372032723887     Universal City          1000 Universal    Orlando           FL            32819
                      ORLANDO                              Development Partners,   Studios Plaza
                      WEBSIT                               Ltd.
UCDP                  UNIVERSAL           372032724885     Universal City          1000 Universal    Orlando           FL            32819
                      ORLANDO                              Development Partners,   Studios Plaza
                      WEBSIT                               Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  UNIVERSAL           372032725882     Universal City          1000 Universal    Orlando           FL            32819
                      ORLANDO                              Development Partners,   Studios Plaza
                      WEBSIT                               Ltd.
UCDP                  UNIVERSAL           372032726880     Universal City          1000 Universal    Orlando           FL            32819
                      ORLANDO                              Development Partners,   Studios Plaza
                      WEBSIT                               Ltd.
UCDP                  UNIV MOBILE         372032729884     Universal City          1000 Universal    Orlando           FL            32819
                      TKT APP                              Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  WATURI MKTPL        372032730882     Universal City          1000 Universal    Orlando           FL            32819
                      01305150                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  KRAKATOA            372032731880     Universal City          1000 Universal    Orlando           FL            32819
                      KATY'S 01705160                      Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  TOUCAN CART         372032732888     Universal City          1000 Universal    Orlando           FL            32819
                      01705170                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  PIRANHA CART        372032733886     Universal City          1000 Universal    Orlando           FL            32819
                      01705180                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  MONKEY CART         372032734884     Universal City          1000 Universal    Orlando           FL            32819
                      01705190                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  COLORVISION         372032735881     Universal City          1000 Universal    Orlando           FL            32819
                      VOLCANO BAY                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  KOKA P ICECRM       372032736889     Universal City          1000 Universal    Orlando           FL            32819
                      01606070                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  KOHOLA REEF         372032737887     Universal City          1000 Universal    Orlando           FL            32819
                      01606010                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  DANCING             372032738885     Universal City          1000 Universal    Orlando           FL            32819
                      DRAGONS                              Development Partners,   Studios Plaza
                      01606040                             Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  WHAKAWAI            372032739883     Universal City          1000 Universal    Orlando           FL            32819
                      EATS 01606020                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  FEASTING FROG       372032740881     Universal City          1000 Universal    Orlando           FL            32819
                      01606050                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  KUNUKU BOAT         372032741889     Universal City          1000 Universal    Orlando           FL            32819
                      BAR 01606140                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  BAMBU 01606030      372032742887     Universal City          1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  ICEE 01606080       372032743885     Universal City          1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  RIVER SLUSH         372032744883     Universal City          1000 Universal    Orlando           FL            32819
                      01606100                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  PRETZEL CART        372032745880     Universal City          1000 Universal    Orlando           FL            32819
                      01606110                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  DIPPIN DOTS         372032746888     Universal City          1000 Universal    Orlando           FL            32819
                      01606120                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  RAINFOREST          372032747886     Universal City          1000 Universal    Orlando           FL            32819
                      SLUSH 0160613                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CABANAS             372032748884     Universal City          1000 Universal    Orlando           FL            32819
                      01606090                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  VOLCANO BAR         372032749882     Universal City          1000 Universal    Orlando           FL            32819
                      01606190                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  BAMBU VEND          372032750880     Universal City          1000 Universal    Orlando           FL            32819
                      01606170                             Development Partners,   Studios Plaza
                                                           Ltd.




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                                                                      Exhibit A
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 Business Unit Name     Transaction        Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name      Merchant ID, where
                                              available)
UCDP                  VB CATERING           372032751888     Universal City          1000 Universal    Orlando           FL            32819
                      01606160                               Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  VB PAVILION           372032752886     Universal City          1000 Universal    Orlando           FL            32819
                      VEND 0160618                           Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  VB WATURI             372032753884     Universal City          1000 Universal    Orlando           FL            32819
                      VEND 0160620                           Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  KOHOLA                372032754882     Universal City          1000 Universal    Orlando           FL            32819
                      VENDING                                Development Partners,   Studios Plaza
                      01606150                               Ltd.
UCDP                  HAIR WRAPS VB         372032755889     Universal City          1000 Universal    Orlando           FL            32819
                      0170533                                Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  TBD 7                 372032756887     Universal City          1000 Universal    Orlando           FL            32819
                                                             Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  UIOA CIRCUS           372032757885     Universal City          1000 Universal    Orlando           FL            32819
                      VEND 090155                            Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  MAIL ROOM BOH         372032758883     Universal City          1000 Universal    Orlando           FL            32819
                      0140428                                Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  VOLCANO BAY           372032759881     Universal City          1000 Universal    Orlando           FL            32819
                      LOCKERS 0079                           Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  CUSTOM GEAR           372032760889     Universal City          1000 Universal    Orlando           FL            32819
                      01302280                               Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  UNIVERSAL             372032762885     Universal City          1000 Universal    Orlando           FL            32819
                      ORLANDO                                Development Partners,   Studios Plaza
                      WEBSIT                                 Ltd.
UCDP                  GLOBUS MUNDI          372032763883     Universal City          1000 Universal    Orlando           FL            32819
                      01302740                               Development Partners,   Studios Plaza
                                                             Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  OWL POST            372032764881     Universal City          1000 Universal    Orlando           FL            32819
                      01302880                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  HERALDRY LC         372032765888     Universal City          1000 Universal    Orlando           FL            32819
                      01004160                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SHOE STORE          372032766886     Universal City          1000 Universal    Orlando           FL            32819
                      BOH 01403790                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  FINNEGAN FOOD       372032767884     Universal City          1000 Universal    Orlando           FL            32819
                      01200920                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  MELS SPEC           372032768882     Universal City          1000 Universal    Orlando           FL            32819
                      EVENT 0120640                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  FOOD CART 3         372032769880     Universal City          1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  MERCH CART 1        372032770888     Universal City          1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  MERCH CART 2        372032771886     Universal City          1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  MERCH CART 3        372032772884     Universal City          1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  VB MERCH            372032773882     Universal City          1000 Universal    Orlando           FL            32819
                      VENDING                              Development Partners,   Studios Plaza
                      0170521                              Ltd.
UCDP                  SURFSIDE            372032774880     Universal City          1000 Universal    Orlando           FL            32819
                      RESORT 01305080                      Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  TODAY CAFE          372032775887     Universal City          1000 Universal    Orlando           FL            32819
                      MOBILE 012001                        Development Partners,   Studios Plaza
                                                           Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  MUSIC PLZ           372032776885     Universal City          1000 Universal    Orlando           FL            32819
                      MOBILE 0120046                       Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  PEARL FACTORY       372032777883     Universal City          1000 Universal    Orlando           FL            32819
                      VB 0170532                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  VB MERCH CART       372032778881     Universal City          1000 Universal    Orlando           FL            32819
                      B                                    Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  VB MERCH CART       372032779889     Universal City          1000 Universal    Orlando           FL            32819
                      C                                    Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  VB OPS KIOSK A      372032780887     Universal City          1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  VB OPS KIOSK B      372032781885     Universal City          1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  VB OPS KIOSK C      372032782883     Universal City          1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  BURGER DIGS         372032783881     Universal City          1000 Universal    Orlando           FL            32819
                      MOBILE 00901                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CAPT AMERICA        372032784889     Universal City          1000 Universal    Orlando           FL            32819
                      MOBILE 0090                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CAFE 4 MOBILE       372032785886     Universal City          1000 Universal    Orlando           FL            32819
                      0090149                              Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  MELS MOBILE         372032786884     Universal City          1000 Universal    Orlando           FL            32819
                      0120008                              Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  RICHTERS            372032787882     Universal City          1000 Universal    Orlando           FL            32819
                      MOBILE 0120034                       Development Partners,   Studios Plaza
                                                           Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  FAST FD BLVD        372032788880     Universal City          1000 Universal    Orlando           FL            32819
                      MOBILE 0150                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  THUND FALLS         372032789888     Universal City          1000 Universal    Orlando           FL            32819
                      MOBILE 00901                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  LOUIE'S MOBILE      372032790886     Universal City          1000 Universal    Orlando           FL            32819
                      0120006                              Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  MONSTER             372032791884     Universal City          1000 Universal    Orlando           FL            32819
                      MOBILE 0120001                       Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  COMIC STR           372032792882     Universal City          1000 Universal    Orlando           FL            32819
                      MOBILE 0090146                       Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  PIZZA PRED          372032793880     Universal City          1000 Universal    Orlando           FL            32819
                      MOBILE0901410                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CIRCUS              372032794888     Universal City          1000 Universal    Orlando           FL            32819
                      MCGURKUS                             Development Partners,   Studios Plaza
                      MOBILE 0                             Ltd.
UCDP                  COLORVISION         372032795885     Universal City          1000 Universal    Orlando           FL            32819
                      419                                  Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  BIG FIRE            372032796883     Universal City          1000 Universal    Orlando           FL            32819
                      00107590                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  TBD LOC 509         372032797881     Universal City          1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  ID PROCESSING       372032798889     Universal City          1000 Universal    Orlando           FL            32819
                      01400000                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CW CINNABON         372101400888     Universal City          1000 Universal    Orlando           FL            32819
                      010435                               Development Partners,   Studios Plaza
                                                           Ltd.




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 Business Unit Name     Transaction    Taxpayer ID (or      IRS Filing Name            Address             City              State     Postal Code
                       Division Name  Merchant ID, where
                                          available)
UCDP                  FIRE EATERS       372101401886     Universal City           1000 Universal     Orlando           FL            32819
                      090137                             Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  OASIS COOLERS     372101402884     Universal City           1000 Universal     Orlando           FL            32819
                      090138                             Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  THREE BROOMS      372101403882     Universal City           1000 Universal     Orlando           FL            32819
                      090134                             Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  BLONDIES 090145   372101404880     Universal City           1000 Universal     Orlando           FL            32819
                                                         Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  IOA CINNABON      372101405887     Universal City           1000 Universal     Orlando           FL            32819
                      090126                             Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  CROISSANT         372101406885     Universal City           1000 Universal     Orlando           FL            32819
                      MOON 090125                        Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  BACKWATER         372101407883     Universal City           1000 Universal     Orlando           FL            32819
                      BAR / CONFISCO                     Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  LEAKY             372101408881     Universal City           1000 Universal     Orlando           FL            32819
                      CAULDRON                           Development Partners,    Studios Plaza
                      0120110                            Ltd.
UCDP                  DUFF BREWERY      372101409889     Universal City           1000 Universal     Orlando           FL            32819
                      0120238                            Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  SAN FRANCISCO     372101410887     Universal City           1000 Universal     Orlando           FL            32819
                      PASTRY 012                         Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  LABAMBA CART      372101411885     Universal City           1000 Universal     Orlando           FL            32819
                      0120091                            Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  UNIV GUEST        372553146880     Universal City           1000 Universal     Orlando           FL            32819
                      SVC00304725                        Development Partners,    Studios Plaza
                                                         Ltd.




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 Business Unit Name     Transaction   Taxpayer ID (or      IRS Filing Name             Address             City              State     Postal Code
                       Division Name Merchant ID, where
                                         available)
UCDP                  AA               372553607881     Universal City            1000 Universal     Orlando           FL            32819
                      HOTDOG/SODA01                     Development Partners,     Studios Plaza
                      200856                            Ltd.
UCDP                  BOB MARLEY       372553848881     Universal City            1000 Universal     Orlando           FL            32819
                      00305060                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  PAT O'BRIENS     372553849889     Universal City            1000 Universal     Orlando           FL            32819
                      00305078                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  RISING STAR      372553850887     Universal City            1000 Universal     Orlando           FL            32819
                      00305094                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  RED COCONUT      372553851885     Universal City            1000 Universal     Orlando           FL            32819
                      00307702                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  UNIV ADMISS      372553852883     Universal City            1000 Universal     Orlando           FL            32819
                      01120211                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  UNIV GUEST SVC   372553853881     Universal City            1000 Universal     Orlando           FL            32819
                      01103950                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  UNIV GUEST SVC   372553854889     Universal City            1000 Universal     Orlando           FL            32819
                      01103380                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  UNIV GROUP SLS   372553855886     Universal City            1000 Universal     Orlando           FL            32819
                      01400100                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  UNIV GUEST       372553856884     Universal City            1000 Universal     Orlando           FL            32819
                      SVC01400035                       Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  UNIV GUEST       372553857882     Universal City            1000 Universal     Orlando           FL            32819
                      SVC01400043                       Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  UNIVERSAL GCC    372553858880     Universal City            1000 Universal     Orlando           FL            32819
                      01400250                          Development Partners,     Studios Plaza
                                                        Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  UNIV GS/FIN         372553859888     Universal City          1000 Universal    Orlando           FL            32819
                      ADMIN 014000                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  UNIV PARKING        372553860886     Universal City          1000 Universal    Orlando           FL            32819
                      01400040                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  UNIV GUEST SVC      372553861884     Universal City          1000 Universal    Orlando           FL            32819
                      01400060                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  UNIV RENTAL         372553862882     Universal City          1000 Universal    Orlando           FL            32819
                      01406460                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  UNIVERSAL GCC       372553864888     Universal City          1000 Universal    Orlando           FL            32819
                      01400291                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  UNIVERSAL GCC       372553865885     Universal City          1000 Universal    Orlando           FL            32819
                      01400050                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  UNIVERSAL GCC       372553866883     Universal City          1000 Universal    Orlando           FL            32819
                      01400324                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  DU PORTOFINO        372553867881     Universal City          1000 Universal    Orlando           FL            32819
                      B01400878                            Development Partners,   Studios Plaza
                                                           Ltd.
UCTP                  DESTINATION         372553868889     Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01500420                           Partners                Studios Plaza
UCTP                  DESTINATION         372553869887     Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01500461                           Partners                Studios Plaza
UCTP                  DESTINATION         372553870885     Universal City Travel   1000 Universal    Orlando           FL            32819
                      UNI 01500495                         Partners                Studios Plaza
UCTP                  DESTINATION         372553871883     Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01500636                           Partners                Studios Plaza
UCTP                  DESTINATION         372553872881     Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01500644                           Partners                Studios Plaza
UCTP                  DESTINATION         372553873889     Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01500750                           Partners                Studios Plaza
UCTP                  DESTINATION         372553874887     Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01500834                           Partners                Studios Plaza



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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCTP                  DESTINATION         372553875884     Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01500859                           Partners                Studios Plaza
UCTP                  DESTINATION         372553876882     Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01500867                           Partners                Studios Plaza
UCTP                  DESTINATION         372553877880     Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01500875                           Partners                Studios Plaza
UCTP                  DESTINATION         372553878888     Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01500974                           Partners                Studios Plaza
UCTP                  DESTINATION         372553879886     Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01501006                           Partners                Studios Plaza
UCTP                  DESTINATION         372553880884     Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01501048                           Partners                Studios Plaza
UCTP                  DESTINATION         372553881882     Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01501071                           Partners                Studios Plaza
UCTP                  DESTINATION         372553882880     Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01501470                           Partners                Studios Plaza
UCTP                  DESTINATION         372553883888     Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01501139                           Partners                Studios Plaza
UCTP                  DESTINATION         372553884886     Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01501147                           Partners                Studios Plaza
UCTP                  DESTINATION         372553885883     Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01501154                           Partners                Studios Plaza
UCTP                  DESTINATION         372553886881     Universal City Travel   1000 Universal    Orlando           FL            32819
                      01501170                             Partners                Studios Plaza
UCTP                  DESTINATION         372553887889     Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01501253                           Partners                Studios Plaza
UCTP                  DESTINATION         372553888887     Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01501261                           Partners                Studios Plaza
UCTP                  DESTINATION         372553889885     Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01501295                           Partners                Studios Plaza
UCTP                  DESTINATION         372553890883     Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01501303                           Partners                Studios Plaza
UCTP                  DESTINATION         372553891881     Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01501329                           Partners                Studios Plaza
UCTP                  DESTINATION         372553892889     Universal City Travel   1000 Universal    Orlando           FL            32819
                      UNI 01501352                         Partners                Studios Plaza
UCTP                  DESTINAT UNIV       372553893887     Universal City Travel   1000 Universal    Orlando           FL            32819
                      01501480                             Partners                Studios Plaza



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 Business Unit Name      Transaction        Taxpayer ID (or      IRS Filing Name           Address           City              State     Postal Code
                        Division Name      Merchant ID, where
                                               available)
UCTP                      DESTINATION        372553894885     Universal City Travel   1000 Universal   Orlando           FL            32819
                          UNIV01501386                        Partners                Studios Plaza
UCTP                      DESTINATION        372553895882     Universal City Travel   1000 Universal   Orlando           FL            32819
                          01501394                            Partners                Studios Plaza
UCTP                      DESTINATION        372553896880     Universal City Travel   1000 Universal   Orlando           FL            32819
                          UN01501410                          Partners                Studios Plaza
UCTP                      DESTINATION        372553897888     Universal City Travel   1000 Universal   Orlando           FL            32819
                          01501428                            Partners                Studios Plaza
UCTP                      DESTINATION        372553898886     Universal City Travel   1000 Universal   Orlando           FL            32819
                          01501436                            Partners                Studios Plaza
UCTP                      DESTINATION        372553899884     Universal City Travel   1000 Universal   Orlando           FL            32819
                          UN01501451                          Partners                Studios Plaza
UCTP                      DESTINATION        372553900880     Universal City Travel   1000 Universal   Orlando           FL            32819
                          UN01501469                          Partners                Studios Plaza
UCTP                      DESTINATION        372553901888     Universal City Travel   1000 Universal   Orlando           FL            32819
                          UN01501493                          Partners                Studios Plaza
UCTP                      DESTINATION        372553902886     Universal City Travel   1000 Universal   Orlando           FL            32819
                          UN01501501                          Partners                Studios Plaza
UCTP                      DESTINATION        372553903884     Universal City Travel   1000 Universal   Orlando           FL            32819
                          UN01501519                          Partners                Studios Plaza
UCTP                      DESTINATION        372553904882     Universal City Travel   1000 Universal   Orlando           FL            32819
                          UN01501527                          Partners                Studios Plaza
Margaritaville/Universal MARGARITAVILL       372553905889     Universal City          1000 Universal   Orlando           FL            32819
City Restaurant Ventures, E00406603                           Restaurant Venture,     Studios Plaza
LLC                                                           LLC
Margaritaville/Universal MARGARITAV          372553906887     Universal City          1000 Universal   Orlando           FL            32819
City Restaurant Ventures, MERCH 0050462                       Restaurant Venture,     Studios Plaza
LLC                                                           LLC
UCDP                      SHREK 01302249     372553907885     Universal City          1000 Universal   Orlando           FL            32819
                                                              Development Partners,   Studios Plaza
                                                              Ltd.
UCDP                  BOUTIQUE               372554568884     Universal City          1000 Universal   Orlando           FL            32819
                      01003810                                Development Partners,   Studios Plaza
                                                              Ltd.
UCDP                  AIRBRUSH               372554569882     Universal City          1000 Universal   Orlando           FL            32819
                      STUDI01303932                           Development Partners,   Studios Plaza
                                                              Ltd.




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  Business Unit Name        Transaction    Taxpayer ID (or      IRS Filing Name            Address             City              State     Postal Code
                           Division Name  Merchant ID, where
                                              available)
Universal Studios Store   UNIV AIRPORT      372554570880     Universal City
Orlando LLC               STR 0130284                        Development Partners,
                                                             Ltd.
Universal Studios Store   UNIV AIRPORT      372554571888     Universal City
Orlando LLC               STR 0130285                        Development Partners,
                                                             Ltd.
UCDP                      AMBER             372554572886     Universal City           1000 Universal     Orlando           FL            32819
                          TREASURE010041                     Development Partners,    Studios Plaza
                          59                                 Ltd.
UCDP                      AMITY COKE        372554573884     Universal City           1000 Universal     Orlando           FL            32819
                          01200419                           Development Partners,    Studios Plaza
                                                             Ltd.
UCDP                      ANTOJITOS         372554574882     Universal City           1000 Universal     Orlando           FL            32819
                          AUTH00107524                       Development Partners,    Studios Plaza
                                                             Ltd.
UCDP                      B112 MINI         372554575889     Universal City           1000 Universal     Orlando           FL            32819
                          GRIL01200203                       Development Partners,    Studios Plaza
                                                             Ltd.
UCDP                      BARNEY            372554576887     Universal City           1000 Universal     Orlando           FL            32819
                          01302298                           Development Partners,    Studios Plaza
                                                             Ltd.
UCDP                      BATTERY PARK      372554577885     Universal City           1000 Universal     Orlando           FL            32819
                          01302322                           Development Partners,    Studios Plaza
                                                             Ltd.
UCDP                      BEN AND           372554578883     Universal City           1000 Universal     Orlando           FL            32819
                          JERRYS 01200351                    Development Partners,    Studios Plaza
                                                             Ltd.
UCDP                      BETTY BOOP        372554579881     Universal City           1000 Universal     Orlando           FL            32819
                          01003524                           Development Partners,    Studios Plaza
                                                             Ltd.
UCDP                      BLONDIES          372554580889     Universal City           1000 Universal     Orlando           FL            32819
                          00901454                           Development Partners,    Studios Plaza
                                                             Ltd.
UCDP                      BLUTOS CART       372554583883     Universal City           1000 Universal     Orlando           FL            32819
                          01003573                           Development Partners,    Studios Plaza
                                                             Ltd.




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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  BOB MARLEY          372554584881     Universal City          1000 Universal    Orlando           FL            32819
                      00104364                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  BOB MARLEY          372554585888     Universal City          1000 Universal    Orlando           FL            32819
                      00204586                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  BONE CHILLERS       372554586886     Universal City          1000 Universal    Orlando           FL            32819
                      01201946                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  BONEYARD HOT        372554587884     Universal City          1000 Universal    Orlando           FL            32819
                      D01200625                            Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  BORGIN AND          372554588882     Universal City          1000 Universal    Orlando           FL            32819
                      BUR01302561                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  TODAY CAFE          372554589880     Universal City          1000 Universal    Orlando           FL            32819
                      01200120                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  BREAD BOX           372554590888     Universal City          1000 Universal    Orlando           FL            32819
                      00107045                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  BREAK AWAY          372554591886     Universal City          1000 Universal    Orlando           FL            32819
                      00104265                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  BROWN DERBY         372554592884     Universal City          1000 Universal    Orlando           FL            32819
                      01302082                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  BTTF POPCORN        372554593882     Universal City          1000 Universal    Orlando           FL            32819
                      01200757                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  BURGER DIGS         372554594880     Universal City          1000 Universal    Orlando           FL            32819
                      00901439                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  BUTTER BER          372554595887     Universal City          1000 Universal    Orlando           FL            32819
                      CAR00901801                          Development Partners,   Studios Plaza
                                                           Ltd.




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 Business Unit Name     Transaction     Taxpayer ID (or      IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                           available)
UCDP                  CABANA BAY         372554596885     Universal City          1000 Universal     Orlando           FL            32819
                      BEA01305069                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CAFE 4 00901496    372554597883     Universal City          1000 Universal     Orlando           FL            32819
                                                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CANDY CART         372554598881     Universal City          1000 Universal     Orlando           FL            32819
                      00204693                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CAPO/SUNGLASS      372554599889     Universal City          1000 Universal     Orlando           FL            32819
                      00204636                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CAPTAIN            372554600885     Universal City          1000 Universal     Orlando           FL            32819
                      AMERIC00901504                      Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CARITT MARKET      372554601883     Universal City          1000 Universal     Orlando           FL            32819
                      01302371                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CANDY              372554602881     Universal City          1000 Universal     Orlando           FL            32819
                      FACTORY                             Development Partners,   Studios Plaza
                      01302363                            Ltd.
UCDP                  CART 33 01302330   372554603889     Universal City          1000 Universal     Orlando           FL            32819
                                                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CARTOON STORE      372554604887     Universal City          1000 Universal     Orlando           FL            32819
                      01302033                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CARTOONIVERS       372554605884     Universal City          1000 Universal     Orlando           FL            32819
                      AL00204305                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CAT HATS AND       372554606882     Universal City          1000 Universal     Orlando           FL            32819
                      THI01003136                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CATERING           372554607880     Universal City          1000 Universal     Orlando           FL            32819
                      01201003                            Development Partners,   Studios Plaza
                                                          Ltd.




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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  CATHY'S ICE         372554608888     Universal City          1000 Universal    Orlando           FL            32819
                      CR00901488                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CHEZ ALCATRAZ       372554609886     Universal City          1000 Universal    Orlando           FL            32819
                      01200112                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CHILL 00901520      372554610884     Universal City          1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CINNABON            372554611882     Universal City          1000 Universal    Orlando           FL            32819
                      00104356                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CIRCUS              372554612880     Universal City          1000 Universal    Orlando           FL            32819
                      MCGURKU009012                        Development Partners,   Studios Plaza
                      80                                   Ltd.
UCDP                  CITY WALK           372554613888     Universal City          1000 Universal    Orlando           FL            32819
                      RESE01005867                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CITY WALK           372554614886     Universal City          1000 Universal    Orlando           FL            32819
                      VEND00204719                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  KZ DIPPIN DOT       372554615883     Universal City          1000 Universal    Orlando           FL            32819
                      0120815                              Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  COKE ICON AT        372554616881     Universal City          1000 Universal    Orlando           FL            32819
                      C00104299                            Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  COLD STONE          372554617889     Universal City          1000 Universal    Orlando           FL            32819
                      00105858                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  COMIC BOOK          372554618887     Universal City          1000 Universal    Orlando           FL            32819
                      SHO01003672                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  COMIC MINI          372554619885     Universal City          1000 Universal    Orlando           FL            32819
                      00901470                             Development Partners,   Studios Plaza
                                                           Ltd.




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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  COMIC STRIP         372554620883     Universal City          1000 Universal    Orlando           FL            32819
                      CA00901462                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CONFISCOS           372554621881     Universal City          1000 Universal    Orlando           FL            32819
                      00901231                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  COTTON CANDY        372554622889     Universal City          1000 Universal    Orlando           FL            32819
                      00901546                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  COWFISH             372554623887     Universal City          1000 Universal    Orlando           FL            32819
                      00104323                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CROISSANT           372554624885     Universal City          1000 Universal    Orlando           FL            32819
                      MOON00901256                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CW AUNTIE           372554625882     Universal City          1000 Universal    Orlando           FL            32819
                      ANNE'S 0010442                       Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CW MUMMY            372554626880     Universal City          1000 Universal    Orlando           FL            32819
                      CART 00204792                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CW SHORELINE        372554627888     Universal City          1000 Universal    Orlando           FL            32819
                      B00104448                            Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CW SPECIAL          372554628886     Universal City          1000 Universal    Orlando           FL            32819
                      EVE00104463                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CW SUNGLASSES       372554629884     Universal City          1000 Universal    Orlando           FL            32819
                      00204529                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CW SOUVENIR         372554630882     Universal City          1000 Universal    Orlando           FL            32819
                      CART 0020475                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  DERVISH BANGS       372554631880     Universal City          1000 Universal    Orlando           FL            32819
                      01003219                             Development Partners,   Studios Plaza
                                                           Ltd.




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 Business Unit Name     Transaction       Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name     Merchant ID, where
                                             available)
UCDP                  DESPICABLE ME        372554632888     Universal City          1000 Universal    Orlando           FL            32819
                      01200674                              Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  DIAGON ALLEY         372554633886     Universal City          1000 Universal    Orlando           FL            32819
                      V01200336                             Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  DINOSTORE            372554634884     Universal City          1000 Universal    Orlando           FL            32819
                      01003433                              Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  DIPPIN DOT           372554635881     Universal City          1000 Universal    Orlando           FL            32819
                      CAR00104430                           Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  NEW YORK             372554636889     Universal City          1000 Universal    Orlando           FL            32819
                      EVENT 01302157                        Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  DR SUESS BOOK        372554637887     Universal City          1000 Universal    Orlando           FL            32819
                      01003151                              Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  DUFF BREWERY         372554638885     Universal City          1000 Universal    Orlando           FL            32819
                      K01302389                             Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  CW DOCKSIDE          372554639883     Universal City          1000 Universal    Orlando           FL            32819
                      BAR 104844                            Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  ENJOY 01004126       372554640881     Universal City          1000 Universal    Orlando           FL            32819
                                                            Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  ET CART/CNTRL        372554641889     Universal City          1000 Universal    Orlando           FL            32819
                      01302355                              Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  ETERNELLES           372554642887     Universal City          1000 Universal    Orlando           FL            32819
                      ELI01201367                           Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  ET'S 01302181        372554643885     Universal City          1000 Universal    Orlando           FL            32819
                                                            Development Partners,   Studios Plaza
                                                            Ltd.




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 Business Unit Name     Transaction   Taxpayer ID (or      IRS Filing Name             Address             City              State     Postal Code
                       Division Name Merchant ID, where
                                         available)
UCDP                  EXPO             372554644883     Universal City            1000 Universal     Orlando           FL            32819
                      CARICATUR01303                    Development Partners,     Studios Plaza
                      916                               Ltd.
UCDP                  EXPO EATS        372554645880     Universal City            1000 Universal     Orlando           FL            32819
                      01200799                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  FAST FOOD        372554646888     Universal City            1000 Universal     Orlando           FL            32819
                      BLVD01200054                      Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  FAT TUESDAY      372554647886     Universal City            1000 Universal     Orlando           FL            32819
                      02606978                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  FAT TUESDAY      372554648884     Universal City            1000 Universal     Orlando           FL            32819
                      CA02607216                        Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  FEAR FACTOR      372554649882     Universal City            1000 Universal     Orlando           FL            32819
                      01200567                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  FILCHS           372554650880     Universal City            1000 Universal     Orlando           FL            32819
                      EMPORIM0100320                    Development Partners,     Studios Plaza
                      1                                 Ltd.
UCDP                  FINNEGANS        372554651888     Universal City            1000 Universal     Orlando           FL            32819
                      01200021                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  FINNEGAN SE      372554652886     Universal City            1000 Universal     Orlando           FL            32819
                      BAR 01200900                      Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  FIRE EATERS      372554653884     Universal City            1000 Universal     Orlando           FL            32819
                      GR00901371                        Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  FISH GAMES       372554654882     Universal City            1000 Universal     Orlando           FL            32819
                      01302595                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  FORTESCUES       372554655889     Universal City            1000 Universal     Orlando           FL            32819
                      ICE01200328                       Development Partners,     Studios Plaza
                                                        Ltd.




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 Business Unit Name     Transaction    Taxpayer ID (or      IRS Filing Name            Address             City              State     Postal Code
                       Division Name  Merchant ID, where
                                          available)
UCDP                  FOUNTAIN OF       372554656887     Universal City           1000 Universal     Orlando           FL            32819
                      01200104                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  FRONT GATE        372554657885     Universal City           1000 Universal     Orlando           FL            32819
                      POP01200559                        Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  AUNTIE ANNES      372554658883     Universal City           1000 Universal     Orlando           FL            32819
                      00901510                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  FRUIT AND         372554659881     Universal City           1000 Universal     Orlando           FL            32819
                      DRINK 00901538                     Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  GASOLINE          372554660889     Universal City           1000 Universal     Orlando           FL            32819
                      ALLEY01003508                      Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  USF MERCH         372554661887     Universal City           1000 Universal     Orlando           FL            32819
                      VEND 0130230                       Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  GRAMERCY          372554662885     Universal City           1000 Universal     Orlando           FL            32819
                      POPCO01201144                      Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  SAN FRAN          372554663883     Universal City           1000 Universal     Orlando           FL            32819
                      SNACKS 01200480                    Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  SAN FRAN DIPN     372554664881     Universal City           1000 Universal     Orlando           FL            32819
                      DOTS 01200                         Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  GREEN EGGS        372554665888     Universal City           1000 Universal     Orlando           FL            32819
                      00901306                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  GRINGOTTS         372554666886     Universal City           1000 Universal     Orlando           FL            32819
                      MONE01302611                       Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  GROOVE            372554667884     Universal City           1000 Universal     Orlando           FL            32819
                      00104380                           Development Partners,    Studios Plaza
                                                         Ltd.




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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  CW NBC CART         372554668882     Universal City          1000 Universal    Orlando           FL            32819
                      00204780                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  HAIRWRAPS CW        372554669880     Universal City          1000 Universal    Orlando           FL            32819
                      00203943                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  HAIRWRAPS IOA       372554670888     Universal City          1000 Universal    Orlando           FL            32819
                      01004217                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  HAIRWRAPS USF       372554671886     Universal City          1000 Universal    Orlando           FL            32819
                      01303973                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  HERO HOT DOG        372554672884     Universal City          1000 Universal    Orlando           FL            32819
                      (00902106                            Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  HERO POPCORN        372554673882     Universal City          1000 Universal    Orlando           FL            32819
                      C00902080                            Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  HERO SLUSH          372554674880     Universal City          1000 Universal    Orlando           FL            32819
                      (5600902122                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  HERO TURKEY         372554675887     Universal City          1000 Universal    Orlando           FL            32819
                      (500902072                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  HIPPOGRAFF          372554676885     Universal City          1000 Universal    Orlando           FL            32819
                      CAR01003268                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  HOGSHEAD BAR        372554677883     Universal City          1000 Universal    Orlando           FL            32819
                      00901355                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  HOLLYWOOD           372554678881     Universal City          1000 Universal    Orlando           FL            32819
                      MINI01200260                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  HOP ON POP          372554679889     Universal City          1000 Universal    Orlando           FL            32819
                      00901322                             Development Partners,   Studios Plaza
                                                           Ltd.




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 Business Unit Name     Transaction   Taxpayer ID (or      IRS Filing Name             Address             City              State     Postal Code
                       Division Name Merchant ID, where
                                         available)
UCDP                  HOPPING POT      372554680887     Universal City            1000 Universal     Orlando           FL            32819
                      01200831                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  HOT DOG HALL     372554681885     Universal City            1000 Universal     Orlando           FL            32819
                      O00104331                         Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  HP VENDING       372554682883     Universal City            1000 Universal     Orlando           FL            32819
                      00901678                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  HUB CART         372554683881     Universal City            1000 Universal     Orlando           FL            32819
                      (239)00204396                     Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  UNIV FRESH       372554684889     Universal City            1000 Universal     Orlando           FL            32819
                      EATS 00105830                     Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  HULK CART        372554685886     Universal City            1000 Universal     Orlando           FL            32819
                      01003680                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  IFFF MINI        372554686884     Universal City            1000 Universal     Orlando           FL            32819
                      01200401                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  IFFF SPECIAL     372554687882     Universal City            1000 Universal     Orlando           FL            32819
                      E01201037                         Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  IOA CATERING     372554688880     Universal City            1000 Universal     Orlando           FL            32819
                      00901629                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  IOA CINNABON     372554689888     Universal City            1000 Universal     Orlando           FL            32819
                      00901264                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  IOA              372554690886     Universal City            1000 Universal     Orlando           FL            32819
                      RESERVATIO0090                    Development Partners,     Studios Plaza
                      1249                              Ltd.
UCDP                  IOA STARBUCKS    372554691884     Universal City            1000 Universal     Orlando           FL            32819
                      00901272                          Development Partners,     Studios Plaza
                                                        Ltd.




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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  IRISH SHOP          372554692882     Universal City          1000 Universal    Orlando           FL            32819
                      01302645                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  ISLAND IOASIS       372554693880     Universal City          1000 Universal    Orlando           FL            32819
                      00901298                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  ISLAND              372554694888     Universal City          1000 Universal    Orlando           FL            32819
                      MARKET/0100302                       Development Partners,   Studios Plaza
                      9                                    Ltd.
UCDP                  IT'S A WRAP         372554695885     Universal City          1000 Universal    Orlando           FL            32819
                      01302207                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  JP VENDING          372554696883     Universal City          1000 Universal    Orlando           FL            32819
                      00901769                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  JURASSIC BEER       372554697881     Universal City          1000 Universal    Orlando           FL            32819
                      00901850                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  JURASSIC            372554698889     Universal City          1000 Universal    Orlando           FL            32819
                      FRUIT00901884                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  JURASSIC            372554699887     Universal City          1000 Universal    Orlando           FL            32819
                      OUTFI01003425                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  JURASSIC PARK       372554700883     Universal City          1000 Universal    Orlando           FL            32819
                      01003466                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  JURASSIC            372554701881     Universal City          1000 Universal    Orlando           FL            32819
                      POPCO00901868                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  JURASSIC            372554702889     Universal City          1000 Universal    Orlando           FL            32819
                      TURKE00901876                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  KID ZONE CART       372554703887     Universal City          1000 Universal    Orlando           FL            32819
                      01302231                             Development Partners,   Studios Plaza
                                                           Ltd.




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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  KID ZONE            372554704885     Universal City          1000 Universal    Orlando           FL            32819
                      PIZZA01200096                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  KID ZONE            372554705882     Universal City          1000 Universal    Orlando           FL            32819
                      SNACK01200732                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  KINGS CROSS         372554706880     Universal City          1000 Universal    Orlando           FL            32819
                      01200385                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  KONG MESS           372554707888     Universal City          1000 Universal    Orlando           FL            32819
                      TENT00901793                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  KRUSTYLAND          372554708886     Universal City          1000 Universal    Orlando           FL            32819
                      KAR01302066                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  KWIK E MART         372554709884     Universal City          1000 Universal    Orlando           FL            32819
                      01302108                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  LA BAMBA            372554710882     Universal City          1000 Universal    Orlando           FL            32819
                      01200047                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  LA BAMBA            372554711880     Universal City          1000 Universal    Orlando           FL            32819
                      LEMON01200690                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  LA BAMBA            372554712888     Universal City          1000 Universal    Orlando           FL            32819
                      VENDI01200989                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  LABAMBA FRUIT       372554713886     Universal City          1000 Universal    Orlando           FL            32819
                      01200914                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  LABAMBA             372554714884     Universal City          1000 Universal    Orlando           FL            32819
                      SPECIA01200658                       Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  LATIN QUARTER       372554715881     Universal City          1000 Universal    Orlando           FL            32819
                      00104497                             Development Partners,   Studios Plaza
                                                           Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction     Taxpayer ID (or      IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                           available)
UCDP                  LEAKY              372554716889     Universal City          1000 Universal     Orlando           FL            32819
                      CAULDRON01201                       Development Partners,   Studios Plaza
                      102                                 Ltd.
UCDP                  LEMON SLUSH        372554717887     Universal City          1000 Universal     Orlando           FL            32819
                      00901587                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  LOMBARDS SPEC      372554718885     Universal City          1000 Universal     Orlando           FL            32819
                      EV 0120066                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  LONDON CART        372554719883     Universal City          1000 Universal     Orlando           FL            32819
                      01302686                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  LONDON TAXI        372554720881     Universal City          1000 Universal     Orlando           FL            32819
                      HU01200369                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  LOST               372554721889     Universal City          1000 Universal     Orlando           FL            32819
                      CONTINENT00901                      Development Partners,   Studios Plaza
                      959                                 Ltd.
UCDP                  LOST CONTNT        372554722887     Universal City          1000 Universal     Orlando           FL            32819
                      BE00901777                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  LOUIE'S 01200062   372554723885     Universal City          1000 Universal     Orlando           FL            32819
                                                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  LOUIE'S FRUIT      372554724883     Universal City          1000 Universal     Orlando           FL            32819
                      01200526                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  LOUIE'S            372554725880     Universal City          1000 Universal     Orlando           FL            32819
                      GELATO01200872                      Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  LOUIES             372554726888     Universal City          1000 Universal     Orlando           FL            32819
                      SPECIAL01201151                     Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  LOUIE'S            372554727886     Universal City          1000 Universal     Orlando           FL            32819
                      VENDIN01200898                      Development Partners,   Studios Plaza
                                                          Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction    Taxpayer ID (or      IRS Filing Name            Address             City              State     Postal Code
                       Division Name  Merchant ID, where
                                          available)
UCDP                  MADAM             372554728884     Universal City           1000 Universal     Orlando           FL            32819
                      MALKINS                            Development Partners,    Studios Plaza
                      01302462                           Ltd.
UCDP                  MAGICAL           372554729882     Universal City           1000 Universal     Orlando           FL            32819
                      MENAGE0130251                      Development Partners,    Studios Plaza
                      2                                  Ltd.
UCDP                  MAIL ORDER        372554730880     Universal City           1000 Universal     Orlando           FL            32819
                      01303007                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  MARVEL            372554731888     Universal City           1000 Universal     Orlando           FL            32819
                      ALTERNI01003631                    Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  MEL'S 01200088    372554732886     Universal City           1000 Universal     Orlando           FL            32819
                                                         Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  MEN IN BLACK      372554733884     Universal City           1000 Universal     Orlando           FL            32819
                      01302215                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  MENCHIE           372554734882     Universal City           1000 Universal     Orlando           FL            32819
                      00107029                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  MIB ICEE          372554735889     Universal City           1000 Universal     Orlando           FL            32819
                      01200963                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  MOES SW GRILL     372554736887     Universal City           1000 Universal     Orlando           FL            32819
                      0010584                            Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  MONSTER CAFE      372554737885     Universal City           1000 Universal     Orlando           FL            32819
                      01210012                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  MONSTER SLUSH     372554738883     Universal City           1000 Universal     Orlando           FL            32819
                      01200617                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  MONSTERS          372554739881     Universal City           1000 Universal     Orlando           FL            32819
                      SPECI01200849                      Development Partners,    Studios Plaza
                                                         Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  MOOSE JUICE         372554740889     Universal City          1000 Universal    Orlando           FL            32819
                      00901314                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  MULBERRY            372554741887     Universal City          1000 Universal    Orlando           FL            32819
                      STREE01003144                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  MYTHICAL            372554742885     Universal City          1000 Universal    Orlando           FL            32819
                      METAL01004084                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  MYTHOS              372554743883     Universal City          1000 Universal    Orlando           FL            32819
                      00901330                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  NBC SPORTS          372554744881     Universal City          1000 Universal    Orlando           FL            32819
                      GRI00107615                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  NBC SPORTS          372554745888     Universal City          1000 Universal    Orlando           FL            32819
                      GRILL CATERIN                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  NEEP CART           372554746886     Universal City          1000 Universal    Orlando           FL            32819
                      00901785                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  AVENTURA            372554747884     Universal City          1000 Universal    Orlando           FL            32819
                      01305040                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  NORTH CARTS         372554748882     Universal City          1000 Universal    Orlando           FL            32819
                      VE01200294                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  OASIS COOLERS       372554749880     Universal City          1000 Universal    Orlando           FL            32819
                      00901389                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  OCEAN TRADER        372554750888     Universal City          1000 Universal    Orlando           FL            32819
                      01003045                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  OFFSITE             372554751886     Universal City          1000 Universal    Orlando           FL            32819
                      CATERI00104513                       Development Partners,   Studios Plaza
                                                           Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  OLLIVANDERS         372554752884     Universal City          1000 Universal    Orlando           FL            32819
                      01302546                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  ON LOCATION         372554753882     Universal City          1000 Universal    Orlando           FL            32819
                      01302090                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  PARK PLAZA          372554754880     Universal City          1000 Universal    Orlando           FL            32819
                      HOL01302579                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  RED OVEN PIZZA      372554755887     Universal City          1000 Universal    Orlando           FL            32819
                      00104505                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  PAT O'BRIENS        372554756885     Universal City          1000 Universal    Orlando           FL            32819
                      00104372                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  PAT O'BRIENS        372554757883     Universal City          1000 Universal    Orlando           FL            32819
                      00204594                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  PAT O'S BAR         372554758881     Universal City          1000 Universal    Orlando           FL            32819
                      CA00104851                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  PIZZA PRED          372554759889     Universal City          1000 Universal    Orlando           FL            32819
                      MIN00901983                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  PIZZA               372554760887     Universal City          1000 Universal    Orlando           FL            32819
                      PREDATOR00901                        Development Partners,   Studios Plaza
                      413                                  Ltd.
UCDP                  POE                 372554761885     Universal City          1000 Universal    Orlando           FL            32819
                      CARICATURE010                        Development Partners,   Studios Plaza
                      04183                                Ltd.
UCDP                  POE FRUIT           372554762883     Universal City          1000 Universal    Orlando           FL            32819
                      STAN00901579                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  POE POPCORN         372554763881     Universal City          1000 Universal    Orlando           FL            32819
                      00901595                             Development Partners,   Studios Plaza
                                                           Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  PORT                372554764889     Universal City          1000 Universal    Orlando           FL            32819
                      EXCHANGE                             Development Partners,   Studios Plaza
                      01003078                             Ltd.
UCDP                  PORT                372554765886     Universal City          1000 Universal    Orlando           FL            32819
                      MERCHANT                             Development Partners,   Studios Plaza
                      01003060                             Ltd.
UCDP                  PORT                372554766884     Universal City          1000 Universal    Orlando           FL            32819
                      PROVISION01003                       Development Partners,   Studios Plaza
                      052                                  Ltd.
UCDP                  PORTOFINO BAY       372554767882     Universal City          1000 Universal    Orlando           FL            32819
                      01306000                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  RED COCONUT         372554768880     Universal City          1000 Universal    Orlando           FL            32819
                      BA00104802                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  RED COCONUT         372554769888     Universal City          1000 Universal    Orlando           FL            32819
                      CL00107680                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  RESORT OPS          372554770886     Universal City          1000 Universal    Orlando           FL            32819
                      MAI01401413                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  RICHTERS            372554771884     Universal City          1000 Universal    Orlando           FL            32819
                      01200344                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  RISING STAR         372554772882     Universal City          1000 Universal    Orlando           FL            32819
                      00104398                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  ROB OASIS           372554773880     Universal City          1000 Universal    Orlando           FL            32819
                      01200781                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  ROCKIT CART         372554774888     Universal City          1000 Universal    Orlando           FL            32819
                      01200583                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SAHARA              372554775885     Universal City          1000 Universal    Orlando           FL            32819
                      TRADERS0130204                       Development Partners,   Studios Plaza
                      1                                    Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  SAN FRAN BEER       372554776883     Universal City          1000 Universal    Orlando           FL            32819
                      01200740                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SAN FRAN            372554777881     Universal City          1000 Universal    Orlando           FL            32819
                      CARIC01302751                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SAN FRANCISCO       372554778889     Universal City          1000 Universal    Orlando           FL            32819
                      01200427                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SAN FRANCISCO       372554779887     Universal City          1000 Universal    Orlando           FL            32819
                      01302157                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SAN FRAN KIOSK      372554780885     Universal City          1000 Universal    Orlando           FL            32819
                      01302314                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SAPPHIRE            372554781883     Universal City          1000 Universal    Orlando           FL            32819
                      FALLS01304732                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SAPPHIRE            372554782881     Universal City          1000 Universal    Orlando           FL            32819
                      FALLS01305077                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SCHWAB'S            372554783889     Universal City          1000 Universal    Orlando           FL            32819
                      01200070                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SHOPS OF            372554784887     Universal City          1000 Universal    Orlando           FL            32819
                      WONDE01003292                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SILVER SCREEN       372554785884     Universal City          1000 Universal    Orlando           FL            32819
                      01200542                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  HELLO KITTY         372554786882     Universal City          1000 Universal    Orlando           FL            32819
                      01302025                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SIMPSONS            372554787880     Universal City          1000 Universal    Orlando           FL            32819
                      HOTDO01200765                        Development Partners,   Studios Plaza
                                                           Ltd.




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                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  SKULL ISLAND        372554788888     Universal City          1000 Universal    Orlando           FL            32819
                      C01003375                            Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SNACK WAGON         372554789886     Universal City          1000 Universal    Orlando           FL            32819
                      01200575                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SNOOKERS AND        372554790884     Universal City          1000 Universal    Orlando           FL            32819
                      SNO01003169                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SNOWMAN             372554791882     Universal City          1000 Universal    Orlando           FL            32819
                      BUTTER00901652                       Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SOUTH CARTS         372554792880     Universal City          1000 Universal    Orlando           FL            32819
                      VE01200302                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SOUTH CARTS         372554793888     Universal City          1000 Universal    Orlando           FL            32819
                      VE01200310                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SPECIAL EVENT       372554794886     Universal City          1000 Universal    Orlando           FL            32819
                      01302710                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SPIDERMAN           372554795883     Universal City          1000 Universal    Orlando           FL            32819
                      SHOP01003649                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SPONGEBOB           372554796881     Universal City          1000 Universal    Orlando           FL            32819
                      CART01003581                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CW STARBUCKS        372554797889     Universal City          1000 Universal    Orlando           FL            32819
                      00104455                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  STARBUCKS USF       372554798887     Universal City          1000 Universal    Orlando           FL            32819
                      01201120                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  STARSOULS           372554799885     Universal City          1000 Universal    Orlando           FL            32819
                      PSYC01004134                         Development Partners,   Studios Plaza
                                                           Ltd.




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                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  STARSOULS USF       372554800881     Universal City          1000 Universal    Orlando           FL            32819
                      01303957                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  STUDIO STYLES       372554801889     Universal City          1000 Universal    Orlando           FL            32819
                      01302650                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SUESS ICEE          372554802887     Universal City          1000 Universal    Orlando           FL            32819
                      00901645                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SUESS POPCORN       372554803885     Universal City          1000 Universal    Orlando           FL            32819
                      00901660                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  IOA SOUVENIR        372554804883     Universal City          1000 Universal    Orlando           FL            32819
                      CART 002046                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  USF SOUVENIR        372554805880     Universal City          1000 Universal    Orlando           FL            32819
                      CART 002047                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SUNSHINE            372554806888     Universal City          1000 Universal    Orlando           FL            32819
                      LEATH01004118                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SUNSHINE            372554807886     Universal City          1000 Universal    Orlando           FL            32819
                      LEATH01004175                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  LUCKY EYE           372554808884     Universal City          1000 Universal    Orlando           FL            32819
                      CART IOA 01004                       Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SUNSHINE            372554809882     Universal City          1000 Universal    Orlando           FL            32819
                      LEATH01302637                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SUPER SILLY         372554810880     Universal City          1000 Universal    Orlando           FL            32819
                      ST01302116                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  SWEETHAVEN          372554811888     Universal City          1000 Universal    Orlando           FL            32819
                      KIO01003557                          Development Partners,   Studios Plaza
                                                           Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction   Taxpayer ID (or      IRS Filing Name             Address             City              State     Postal Code
                       Division Name Merchant ID, where
                                         available)
UCDP                  AIRBRUSH         372554812886     Universal City            1000 Universal     Orlando           FL            32819
                      STUDIOS 204743                    Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  T2 BEER          372554813884     Universal City            1000 Universal     Orlando           FL            32819
                      01200633                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  TEAM MEMBER      372554814882     Universal City            1000 Universal     Orlando           FL            32819
                      SV01301001                        Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  TENT SALE        372554815889     Universal City            1000 Universal     Orlando           FL            32819
                      01302058                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  TERMINATOR 2     372554816887     Universal City            1000 Universal     Orlando           FL            32819
                      01302173                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  THE FILM         372554817885     Universal City            1000 Universal     Orlando           FL            32819
                      VAULT01302553                     Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  THREE            372554818883     Universal City            1000 Universal     Orlando           FL            32819
                      BROOMSTI009013                    Development Partners,     Studios Plaza
                      48                                Ltd.
UCDP                  THUNDER FALLS    372554819881     Universal City            1000 Universal     Orlando           FL            32819
                      00901397                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  TOKKO GIFTS      372554820889     Universal City            1000 Universal     Orlando           FL            32819
                      01305010                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  TOON BEER        372554821887     Universal City            1000 Universal     Orlando           FL            32819
                      CART00901991                      Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  TOON             372554822885     Universal City            1000 Universal     Orlando           FL            32819
                      CARICATUR01004                    Development Partners,     Studios Plaza
                      076                               Ltd.
UCDP                  TOON DIP N       372554823883     Universal City            1000 Universal     Orlando           FL            32819
                      DOT00902023                       Development Partners,     Studios Plaza
                                                        Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  TOON EXTRA          372554824881     Universal City          1000 Universal    Orlando           FL            32819
                      01003532                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  TOON GAMES          372554825888     Universal City          1000 Universal    Orlando           FL            32819
                      01003706                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  TOON ICEE           372554826886     Universal City          1000 Universal    Orlando           FL            32819
                      CART00902015                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  TOON POPCORN        372554827884     Universal City          1000 Universal    Orlando           FL            32819
                      C00902007                            Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  TREASURES OF        372554828882     Universal City          1000 Universal    Orlando           FL            32819
                      B01305028                            Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  TREASURES OF        372554829880     Universal City          1000 Universal    Orlando           FL            32819
                      P01003235                            Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  TRICERATOPS         372554830888     Universal City          1000 Universal    Orlando           FL            32819
                      01003458                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  HHN TRIBUTE         372554831886     Universal City          1000 Universal    Orlando           FL            32819
                      01302165                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  FALLON HOT          372554832884     Universal City          1000 Universal    Orlando           FL            32819
                      DOG 0120591                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  U-CAFE GRILL        372554833882     Universal City          1000 Universal    Orlando           FL            32819
                      01200450                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  OLLIVANDER          372554834880     Universal City          1000 Universal    Orlando           FL            32819
                      CART 01003284                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  UNIV KENNEL         372554835887     Universal City          1000 Universal    Orlando           FL            32819
                      01400092                             Development Partners,   Studios Plaza
                                                           Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  UNIV SHOP           372554836885     Universal City          1000 Universal    Orlando           FL            32819
                      ONLI02504843                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  UNIV SHOP ONLI      372554837883     Universal City          1000 Universal    Orlando           FL            32819
                      02504860                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  UNIVERSAL           372554838881     Universal City          1000 Universal    Orlando           FL            32819
                      STUD01302017                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  ENJOY YOUR          372554839889     Universal City          1000 Universal    Orlando           FL            32819
                      FACE 01302827                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  UNIVRSL             372554840887     Universal City          1000 Universal    Orlando           FL            32819
                      STUDIO01003920                       Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  UNVRSL              372554841885     Universal City          1000 Universal    Orlando           FL            32819
                      STUDIOS0204552                       Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  USF GAMES           372554842883     Universal City          1000 Universal    Orlando           FL            32819
                      01302702                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  USF RESRV           372554843881     Universal City          1000 Universal    Orlando           FL            32819
                      CART01200716                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  USIOA TRADING       372554844889     Universal City          1000 Universal    Orlando           FL            32819
                      01003011                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  VALET PARKING       372554845886     Universal City          1000 Universal    Orlando           FL            32819
                      01400191                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  VIP DINING          372554846884     Universal City          1000 Universal    Orlando           FL            32819
                      01200724                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  VIVO 00104315       372554847882     Universal City          1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  WATERING HOLE       372554848880     Universal City          1000 Universal    Orlando           FL            32819
                      00901421                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  WEASLEYS            372554849888     Universal City          1000 Universal    Orlando           FL            32819
                      QUALI01302520                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  WILLIAMS OF         372554850886     Universal City          1000 Universal    Orlando           FL            32819
                      HO01302694                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  WIMPYS              372554851884     Universal City          1000 Universal    Orlando           FL            32819
                      00901447                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  WIMPYS              372554852882     Universal City          1000 Universal    Orlando           FL            32819
                      VENDING0090140                       Development Partners,   Studios Plaza
                      5                                    Ltd.
UCDP                  WISEACRES           372554853880     Universal City          1000 Universal    Orlando           FL            32819
                      SCRI01302504                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  WOSSAMOTTA U        372554854888     Universal City          1000 Universal    Orlando           FL            32819
                      01003482                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  HONEYDUKES          372554855885     Universal City          1000 Universal    Orlando           FL            32819
                      01003276                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  BUMBLE BEE          372554856883     Universal City          1000 Universal    Orlando           FL            32819
                      MAN01200773                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  DUFF GARDENS        372554859887     Universal City          1000 Universal    Orlando           FL            32819
                      01200930                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  LARD LAD CART       372554860885     Universal City          1000 Universal    Orlando           FL            32819
                      01200682                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  MOES TAVERN         372554861883     Universal City          1000 Universal    Orlando           FL            32819
                      01200153                             Development Partners,   Studios Plaza
                                                           Ltd.




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                                                      493611
                                                                     Exhibit A
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 Business Unit Name      Transaction     Taxpayer ID (or      IRS Filing Name           Address             City              State     Postal Code
                        Division Name   Merchant ID, where
                                            available)
UCDP                      SUPPLY VAULT    372554862881     Universal City          1000 Universal     Orlando           FL            32819
                          01302140                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                      CITYWALK FOOD   372570272883     Universal City          1000 Universal     Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                      CITYWALK        372570636889     Universal City          1000 Universal     Orlando           FL            32819
                          MERCH                            Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                      CITYWALK        372570637887     Universal City          1000 Universal     Orlando           FL            32819
                          TICKE                            Development Partners,   Studios Plaza
                                                           Ltd.
Margaritaville/Universal MARGARITAVILL    372570638885     Universal City          1000 Universal     Orlando           FL            32819
City Restaurant Ventures, E FOOD                           Restaurant Venture,     Studios Plaza
LLC                                                        LLC
Margaritaville/Universal MARGARITAVILL    372570639883     Universal City          1000 Universal     Orlando           FL            32819
City Restaurant Ventures, E MERCH                          Restaurant Venture,     Studios Plaza
LLC                                                        LLC
Margaritaville/Universal MARGARITAVILL    372570640881     Universal City          1000 Universal     Orlando           FL            32819
City Restaurant Ventures, E OPS                            Restaurant Venture,     Studios Plaza
LLC                                                        LLC
UCDP                      ISLAND OF ADV   372570641889     Universal City          1000 Universal     Orlando           FL            32819
                          FOOD                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                      ISLAND OF ADV   372570642887     Universal City          1000 Universal     Orlando           FL            32819
                          MERCH                            Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                      ISLAND OF ADV   372570643885     Universal City          1000 Universal     Orlando           FL            32819
                          OPS                              Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                      USF FOOD        372570644883     Universal City          1000 Universal     Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                      USF             372570645880     Universal City          1000 Universal     Orlando           FL            32819
                          MERCHANDISE                      Development Partners,   Studios Plaza
                                                           Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name             Address           City             State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  USF TICKETING       372570646888     Universal City            1000 Universal   Orlando          FL            32819
                                                           Development Partners,     Studios Plaza
                                                           Ltd.
UCDP                  UNIV STUDIO         372570647886     Universal City            1000 Universal   Orlando          FL            32819
                      FOUNDATION                           Development Partners,     Studios Plaza
                                                           Ltd.
UCDP                  ANNUAL PASS         372570648884     Universal City            1000 Universal   Orlando          FL            32819
                      FLEX PAY                             Development Partners,     Studios Plaza
                                                           Ltd.
UCDP                  UNIVERSAL ORL       372570649882     Universal City            1000 Universal   Orlando          FL            32819
                      MISC CHG                             Development Partners,     Studios Plaza
                                                           Ltd.
Universal Orlando Online UO ONLINE        372570650880     Universal Studios Store   100 UNIVERSAL    UNIVERSAL CITY CA              91608
Merchandise Store        MERCH STORE                       Orlando LLC               CTY PLAZA
UCDP                     FAT TUESDAY      372570651888     Universal City            1000 Universal   Orlando          FL            32819
                                                           Development Partners,     Studios Plaza
                                                           Ltd.
UCDP                  UNIV ADMISSNS       372741024882     Universal City            1000 Universal   Orlando          FL            32819
                      B 01408880                           Development Partners,     Studios Plaza
                                                           Ltd.
UCDP                  UNIV GUEST SVC      372741025889     Universal City            1000 Universal   Orlando          FL            32819
                      B 0140003                            Development Partners,     Studios Plaza
                                                           Ltd.
UCDP                  UNIV GRP SALES      372741026887     Universal City            1000 Universal   Orlando          FL            32819
                      B 0140010                            Development Partners,     Studios Plaza
                                                           Ltd.
UCDP                  USF GALAXY          372741027885     Universal City            1000 Universal   Orlando          FL            32819
                      OFFL TBD1                            Development Partners,     Studios Plaza
                                                           Ltd.
UCDP                  USF GALAXY          372741028883     Universal City            1000 Universal   Orlando          FL            32819
                      OFFL TBD2                            Development Partners,     Studios Plaza
                                                           Ltd.
UCDP                  USF GALAXY          372741029881     Universal City            1000 Universal   Orlando          FL            32819
                      OFFL TBD3                            Development Partners,     Studios Plaza
                                                           Ltd.
UCDP                  USF GALAXY          372741030889     Universal City            1000 Universal   Orlando          FL            32819
                      OFFL TBD4                            Development Partners,     Studios Plaza
                                                           Ltd.



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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  UNV IOA GST         372741037884     Universal City          1000 Universal    Orlando           FL            32819
                      SVC B 011039                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  UNV IOA ADMISS      372741038882     Universal City          1000 Universal    Orlando           FL            32819
                      B 0110700                            Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  UNV IOA             372741039880     Universal City          1000 Universal    Orlando           FL            32819
                      GALAXY OFFL                          Development Partners,   Studios Plaza
                      TBD1                                 Ltd.
UCDP                  UNV IOA             372741040888     Universal City          1000 Universal    Orlando           FL            32819
                      GALAXY OFFL                          Development Partners,   Studios Plaza
                      TBD2                                 Ltd.
UCDP                  UNV IOA             372741041886     Universal City          1000 Universal    Orlando           FL            32819
                      GALAXY OFFL                          Development Partners,   Studios Plaza
                      TBD3                                 Ltd.
UCDP                  VB SPG PASS B       372741042884     Universal City          1000 Universal    Orlando           FL            32819
                      01800710                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  VB SPG GSTSVC       372741043882     Universal City          1000 Universal    Orlando           FL            32819
                      B 018007                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  VB BAY ADMISS       372741044880     Universal City          1000 Universal    Orlando           FL            32819
                      B 01800730                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  VB GALAXY           372741047883     Universal City          1000 Universal    Orlando           FL            32819
                      OFFLINE TBD1                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  VB GALAXY           372741048881     Universal City          1000 Universal    Orlando           FL            32819
                      OFFLINE TBD2                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  VB GALAXY           372741049889     Universal City          1000 Universal    Orlando           FL            32819
                      OFFLINE TBD3                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  VB GALAXY           372741050887     Universal City          1000 Universal    Orlando           FL            32819
                      OFFLINE TBD4                         Development Partners,   Studios Plaza
                                                           Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  V BAY GUEST         372741051885     Universal City          1000 Universal    Orlando           FL            32819
                      SVC B 018007                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  UNV CW GST          372741052883     Universal City          1000 Universal    Orlando           FL            32819
                      SVC B 0030472                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  UNIV CITYW          372741053881     Universal City          1000 Universal    Orlando           FL            32819
                      OFFL TBD1                            Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  UNIV CITYW          372741054889     Universal City          1000 Universal    Orlando           FL            32819
                      OFFL TBD2                            Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  TOOTHSOME           372794420888     Universal City          1000 Universal    Orlando           FL            32819
                      CHOC 00107620                        Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  TOOTHSOME           372794421886     Universal City          1000 Universal    Orlando           FL            32819
                      MERCH 00204820                       Development Partners,   Studios Plaza
                                                           Ltd.
UCTP                  O DESTINATION       372794422884     Universal City Travel   1000 Universal    Orlando           FL            32819
                      UNIVERSAL                            Partners                Studios Plaza
UCTP                  DESTINATION         372794423882     Universal City Travel   1000 Universal    Orlando           FL            32819
                      UNIVERSAL LO                         Partners                Studios Plaza
UCDP                  GOBLET LOB          372794424880     Universal City          1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  DO NOT USE          372794425887     Universal City          1000 Universal    Orlando           FL            32819
                                                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  TOOTHSOME           372794426885     Universal City          1000 Universal    Orlando           FL            32819
                      CATERING                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  TONIGHT SHOP        372794427883     Universal City          1000 Universal    Orlando           FL            32819
                      01301340                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  EXCHNG MINI         372794428881     Universal City          1000 Universal    Orlando           FL            32819
                      GRILL 009017                         Development Partners,   Studios Plaza
                                                           Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCTP                  UNIVERSAL           372794429889     Universal City Travel   1000 Universal    Orlando           FL            32819
                      DUGS BOH                             Partners                Studios Plaza
UCDP                  VOLCANO BAY         372798140888     Universal City          1000 Universal    Orlando           FL            32819
                      FOOD                                 Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  VOLCANO BAY         372798141886     Universal City          1000 Universal    Orlando           FL            32819
                      MERCH                                Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  VOLCANO BAY         372798142884     Universal City          1000 Universal    Orlando           FL            32819
                      OPS                                  Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  WAHI KAI TM         372798143882     Universal City          1000 Universal    Orlando           FL            32819
                      GRILL 016060                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  BAMBU MOBILE        372798144880     Universal City          1000 Universal    Orlando           FL            32819
                      0603                                 Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  WHAKAWAI            372798145887     Universal City          1000 Universal    Orlando           FL            32819
                      EATS MOBILE                          Development Partners,   Studios Plaza
                      060                                  Ltd.
UCDP                  KOHOLA REEF         372798146885     Universal City          1000 Universal    Orlando           FL            32819
                      MOBILE 0601                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  FEASTING FROG       372798147883     Universal City          1000 Universal    Orlando           FL            32819
                      MOBILE 060                           Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CABANAS             372798148881     Universal City          1000 Universal    Orlando           FL            32819
                      MOBILE 0609                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  VB PREM SVC         372801250880     Universal City          1000 Universal    Orlando           FL            32819
                      VILL1 018007                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  VB PREM SVC         372801251888     Universal City          1000 Universal    Orlando           FL            32819
                      VILL2 018007                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  VB PREM SVC         372801252886     Universal City          1000 Universal    Orlando           FL            32819
                      RAIN 0180077                         Development Partners,   Studios Plaza
                                                           Ltd.



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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or      IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                            available)
UCDP                  VB SPG PASS         372801253884     Universal City          1000 Universal    Orlando           FL            32819
                      SALES 018007                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  VB PASS SALES       372801254882     Universal City          1000 Universal    Orlando           FL            32819
                      01800730                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  VB SPG GUEST        372801255889     Universal City          1000 Universal    Orlando           FL            32819
                      SV 01800720                          Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  VB GUEST            372801256887     Universal City          1000 Universal    Orlando           FL            32819
                      SERVICE 018074                       Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  VB GROUP            372801257885     Universal City          1000 Universal    Orlando           FL            32819
                      SALES 01800750                       Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  MARVEL CHAR         372801258883     Universal City          1000 Universal    Orlando           FL            32819
                      DINING 00901                         Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  CW GROOVE OPS       372801259881     Universal City          1000 Universal    Orlando           FL            32819
                      00305080                             Development Partners,   Studios Plaza
                                                           Ltd.
UCTP                  DESTINAT UNV        372811490880     Universal City Travel   1000 Universal    Orlando           FL            32819
                      01501530                             Partners                Studios Plaza
UCTP                  DESTINAT UNV        372811491888     Universal City Travel   1000 Universal    Orlando           FL            32819
                      01501540                             Partners                Studios Plaza
UCTP                  DESTINATION         372811492886     Universal City Travel   1000 Universal    Orlando           FL            32819
                      UNV 01500430                         Partners                Studios Plaza
UCTP                  DESTINAT UNV        372811493884     Universal City Travel   1000 Universal    Orlando           FL            32819
                      01501550                             Partners                Studios Plaza
UCTP                  DESTINAT UNV        372811494882     Universal City Travel   1000 Universal    Orlando           FL            32819
                      01500550                             Partners                Studios Plaza
UCTP                  DESTINAT UNV        372811495889     Universal City Travel   1000 Universal    Orlando           FL            32819
                      01501560                             Partners                Studios Plaza
UCTP                  DESTINATION         372811496887     Universal City Travel   1000 Universal    Orlando           FL            32819
                      UNV 01501590                         Partners                Studios Plaza
UCTP                  DESTINATION         372811497885     Universal City Travel   1000 Universal    Orlando           FL            32819
                      UNV 01501580                         Partners                Studios Plaza




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                                                                    Exhibit A
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 Business Unit Name     Transaction    Taxpayer ID (or     IRS Filing Name             Address             City              State     Postal Code
                       Division Name Merchant ID, where
                                          available)
UCTP                  DESTINATION       372811498883    Universal City Travel     1000 Universal     Orlando           FL            32819
                      UNV 01501570                      Partners                  Studios Plaza
UCDP                  LOMBARDS          372835400881    Universal City            1000 Universal     Orlando           FL            32819
                      01200190                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  STARBUCKS BOH     372835401889    Universal City            1000 Universal     Orlando           FL            32819
                      01201130                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  BREEZEWAY         372835402887    Universal City            1000 Universal     Orlando           FL            32819
                      CAFE 01201560                     Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  BACKWATER         372835403885    Universal City            1000 Universal     Orlando           FL            32819
                      BAR 0090561                       Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  FAST FURIOUS      372835404883    Universal City            1000 Universal     Orlando           FL            32819
                      CRT 0120051                       Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  MONSTER VEND      372835405880    Universal City            1000 Universal     Orlando           FL            32819
                      1200950                           Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  VOODOO            372846170887    Universal City            1000 Universal     Orlando           FL            32819
                      DOUGHNUT                          Development Partners,     Studios Plaza
                      0010582                           Ltd.
UCDP                  RED OVEN PIZZA    372846171885    Universal City            1000 Universal     Orlando           FL            32819
                      M-0010450                         Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  BREAD BOX         372846172883    Universal City            1000 Universal     Orlando           FL            32819
                      MOBILE 0107040                    Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  HOT DOG HOF       372846173881    Universal City            1000 Universal     Orlando           FL            32819
                      MOBILE 01043                      Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  CW CARTS BASE     372846174889    Universal City            1000 Universal     Orlando           FL            32819
                      0104400                           Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  UNIVRSL        000158000099991119 Universal City            1000 Universal     Orlando           FL            32819
                      VENUES ACH 158                    Development Partners,     Studios Plaza
                                                        Ltd.



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 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCDP                  NASCAR CAFE      000158000000100024 Universal City          1000 Universal     Orlando           FL            32819
                      00100024                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  GRANT RETAIL     000158000000200014 Universal City          1000 Universal     Orlando           FL            32819
                      00200014                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  QUIET FLIGHT     000158000000200022 Universal City          1000 Universal     Orlando           FL            32819
                      S00200022                           Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  QUIET FLIGHT     000158000000200030 Universal City          1000 Universal     Orlando           FL            32819
                      S00200030                           Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  GRANT RETAIL     000158000000200048 Universal City          1000 Universal     Orlando           FL            32819
                      00200048                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  ADVENTUREEYE     000158000000200055 Universal City          1000 Universal     Orlando           FL            32819
                      WE00200055                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  SILVER AT        000158000000300020 Universal City          1000 Universal     Orlando           FL            32819
                      CITY00300020                        Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  MYTHICAL         000158000000500025 Universal City          1000 Universal     Orlando           FL            32819
                      METAL00500025                       Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  ENDANGERED       000158000000800029 Universal City          1000 Universal     Orlando           FL            32819
                      SPE00800029                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CONNEAH          000158000001000025 Universal City          1000 Universal     Orlando           FL            32819
                      01000025                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  IRISH SHOP       000158000001500024 Universal City          1000 Universal     Orlando           FL            32819
                      01500024                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  HISTORIC         000158000001500032 Universal City          1000 Universal     Orlando           FL            32819
                      FAMIL01500032                       Development Partners,   Studios Plaza
                                                          Ltd.




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 Business Unit Name     Transaction     Taxpayer ID (or     IRS Filing Name            Address             City              State     Postal Code
                       Division Name  Merchant ID, where
                                           available)
UCDP                  THE AMERICAN    000158000001900026 Universal City           1000 Universal     Orlando           FL            32819
                      S01900026                          Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  NBA CITY        000158000002100022 Universal City           1000 Universal     Orlando           FL            32819
                      RESTA02100022                      Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  CHIMERA GLASS 000158000002200020 Universal City             1000 Universal     Orlando           FL            32819
                      02200020                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  UNIVERSAL       000158000002300010 Universal City           1000 Universal     Orlando           FL            32819
                      STUD02300010                       Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  UNVRSL STDS-    000158000002302099 Universal City           1000 Universal     Orlando           FL            32819
                      PR02302099                         Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  UNVRSL          000158000002302131 Universal City           1000 Universal     Orlando           FL            32819
                      STUDIOS02302131                    Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  UNVRSL STDS-    000158000002302172 Universal City           1000 Universal     Orlando           FL            32819
                      ST02302172                         Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  UNVRSL STDS-    000158000002302503 Universal City           1000 Universal     Orlando           FL            32819
                      PO02302503                         Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  UNVRSL STDS-    000158000002302529 Universal City           1000 Universal     Orlando           FL            32819
                      PR02302529                         Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  UNVRSL STDS     000158000002302552 Universal City           1000 Universal     Orlando           FL            32819
                      SO02302552                         Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  UNIVERSAL       000158000002302594 Universal City           1000 Universal     Orlando           FL            32819
                      STUD02302594                       Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  UNVRSL STDS-    000158000002302602 Universal City           1000 Universal     Orlando           FL            32819
                      TE02302602                         Development Partners,    Studios Plaza
                                                         Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction  Taxpayer ID (or     IRS Filing Name               Address             City              State     Postal Code
                       Division Name
                                   Merchant ID, where
                                        available)
UCDP                  UNVRSL STDS- 000158000002302677 Universal City              1000 Universal     Orlando           FL            32819
                      TR02302677                      Development Partners,       Studios Plaza
                                                      Ltd.
UCDP                  UNIVERSAL    000158000002502524 Universal City              1000 Universal     Orlando           FL            32819
                      STUD02502524                    Development Partners,       Studios Plaza
                                                      Ltd.
UCDP                  UNIVERSAL    000158000002602506 Universal City              1000 Universal     Orlando           FL            32819
                      STUD02602506                    Development Partners,       Studios Plaza
                                                      Ltd.
UCDP                  UNIVERSAL    000158000002702173 Universal City              1000 Universal     Orlando           FL            32819
                      STUD02702173                    Development Partners,       Studios Plaza
                                                      Ltd.
UCDP                  UNIVERSAL    000158000002802130 Universal City              1000 Universal     Orlando           FL            32819
                      STUD02802130                    Development Partners,       Studios Plaza
                                                      Ltd.
UCDP                  UNIVERSAL    000158000002902609 Universal City              1000 Universal     Orlando           FL            32819
                      STUD02902609                    Development Partners,       Studios Plaza
                                                      Ltd.
UCDP                  UNIVERSAL    000158000003002896 Universal City              1000 Universal     Orlando           FL            32819
                      STUD03002896                    Development Partners,       Studios Plaza
                                                      Ltd.
UCDP                  NASCAR CAFE  000158000003100013 Universal City              1000 Universal     Orlando           FL            32819
                      03100013                        Development Partners,       Studios Plaza
                                                      Ltd.
UCDP                  UNIVERSAL    000158000003200029 Universal City              1000 Universal     Orlando           FL            32819
                      03200029                        Development Partners,       Studios Plaza
                                                      Ltd.
UCDP                  NMLG COMPANY 000158000003400025 Universal City              1000 Universal     Orlando           FL            32819
                      03400025                        Development Partners,       Studios Plaza
                                                      Ltd.
UCDP                  FILMMAKER    000158000003500014 Universal City              1000 Universal     Orlando           FL            32819
                      PROD03500014                    Development Partners,       Studios Plaza
                                                      Ltd.
UCDP                  FILMMAKER    000158000003600012 Universal City              1000 Universal     Orlando           FL            32819
                      PROD03600012                    Development Partners,       Studios Plaza
                                                      Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction   Taxpayer ID (or     IRS Filing Name              Address             City              State     Postal Code
                       Division NameMerchant ID, where
                                         available)
UCDP                  UNIVERSAL WEB 000158000040000010 Universal City             1000 Universal     Orlando           FL            32819
                      40000010                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  UNIVERSAL WEB 000158000040000036 Universal City             1000 Universal     Orlando           FL            32819
                      40000036                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  FAMILY ART    000158000090000266 Universal City             1000 Universal     Orlando           FL            32819
                      LPB90000266                      Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  FAMILY ART    000158000090000274 Universal City             1000 Universal     Orlando           FL            32819
                      POR90000274                      Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  FAMILY ART    000158000090000282 Universal City             1000 Universal     Orlando           FL            32819
                      ROY90000282                      Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  FAMILY ART    000158000090000290 Universal City             1000 Universal     Orlando           FL            32819
                      HAR90000290                      Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  UNIVERSAL     000158000090000308 Universal City             1000 Universal     Orlando           FL            32819
                      STUD90000308                     Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  UNIVERSAL     000158000090020306 Universal City             1000 Universal     Orlando           FL            32819
                      STUD90020306                     Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  UNIVERSAL     110158000099991119 Universal City             1000 Universal     Orlando           FL            32819
                      VENUES                           Development Partners,      Studios Plaza
                      99991119                         Ltd.
UCDP                  UNIV STUDIOS  000851000099991119 Universal City             1000 Universal     Orlando           FL            32819
                      ESC DC851                        Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  CITYWALK FOOD 000851000000100016 Universal City             1000 Universal     Orlando           FL            32819
                      00100016                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  BREAK AWAY    000851000000104265 Universal City             1000 Universal     Orlando           FL            32819
                      00104265                         Development Partners,      Studios Plaza
                                                       Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCDP                  COKE ICON AT     000851000000104299 Universal City          1000 Universal     Orlando           FL            32819
                      C00104299                           Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  PASTAMORE        000851000000104315 Universal City          1000 Universal     Orlando           FL            32819
                      DELI00104315                        Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CW NATHANS       000851000000104323 Universal City          1000 Universal     Orlando           FL            32819
                      00104323                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  GALAXY BAR       000851000000104331 Universal City          1000 Universal     Orlando           FL            32819
                      00104331                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  BIG KAHUNA       000851000000104349 Universal City          1000 Universal     Orlando           FL            32819
                      PIZ00104349                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CINNABON         000851000000104356 Universal City          1000 Universal     Orlando           FL            32819
                      00104356                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  BOB MARLEY       000851000000104364 Universal City          1000 Universal     Orlando           FL            32819
                      00104364                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  PAT O'BRIENS     000851000000104372 Universal City          1000 Universal     Orlando           FL            32819
                      00104372                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  GROOVE           000851000000104380 Universal City          1000 Universal     Orlando           FL            32819
                      00104380                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  RISING STAR      000851000000104398 Universal City          1000 Universal     Orlando           FL            32819
                      00104398                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  SPECIAL EVENT    000851000000104406 Universal City          1000 Universal     Orlando           FL            32819
                      00104406                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  FOSSIL FOOD      000851000000104414 Universal City          1000 Universal     Orlando           FL            32819
                      CA00104414                          Development Partners,   Studios Plaza
                                                          Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCDP                  NASCAR FOOD      000851000000104422 Universal City          1000 Universal     Orlando           FL            32819
                      CA00104422                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  DIPPIN DOT       000851000000104430 Universal City          1000 Universal     Orlando           FL            32819
                      CAR00104430                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  TEQUILA BAR      000851000000104448 Universal City          1000 Universal     Orlando           FL            32819
                      CA00104448                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  STARBUCKS        000851000000104455 Universal City          1000 Universal     Orlando           FL            32819
                      00104455                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CW SPECIAL       000851000000104463 Universal City          1000 Universal     Orlando           FL            32819
                      EVE00104463                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  LATIN QUARTER    000851000000104497 Universal City          1000 Universal     Orlando           FL            32819
                      00104497                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  MARKETPLACE      000851000000104505 Universal City          1000 Universal     Orlando           FL            32819
                      00104505                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  OFFSITE          000851000000104513 Universal City          1000 Universal     Orlando           FL            32819
                      CATERI00104513                      Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  JAZZ BAR CART    000851000000104802 Universal City          1000 Universal     Orlando           FL            32819
                      00104802                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CINEPLEX BAR     000851000000104810 Universal City          1000 Universal     Orlando           FL            32819
                      00104810                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CW SPECIAL       000851000000104828 Universal City          1000 Universal     Orlando           FL            32819
                      00104828                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CW SPECIAL       000851000000104836 Universal City          1000 Universal     Orlando           FL            32819
                      00104836                            Development Partners,   Studios Plaza
                                                          Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction   Taxpayer ID (or     IRS Filing Name              Address             City              State     Postal Code
                       Division NameMerchant ID, where
                                         available)
UCDP                  EMERILS BAR   000851000000104844 Universal City             1000 Universal     Orlando           FL            32819
                      CA00104844                       Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  PAT O'S BAR   000851000000104851 Universal City             1000 Universal     Orlando           FL            32819
                      CA00104851                       Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  PASTAMORE     000851000000105825 Universal City             1000 Universal     Orlando           FL            32819
                      PIZZ00105825                     Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  CITY WALK HUB 000851000000105833 Universal City             1000 Universal     Orlando           FL            32819
                      00105833                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  LATIN QUARTER 000851000000107524 Universal City             1000 Universal     Orlando           FL            32819
                      00107524                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  LATIN QUARTER 000851000000107532 Universal City             1000 Universal     Orlando           FL            32819
                      00107532                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  RED COCONUT   000851000000107680 Universal City             1000 Universal     Orlando           FL            32819
                      CL00107680                       Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  CITYWALK FOOD 000851000000199992 Universal City             1000 Universal     Orlando           FL            32819
                      00199992                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  CARTOONIVERS 000851000000204305 Universal City              1000 Universal     Orlando           FL            32819
                      AL00204305                       Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  PLAZA CART    000851000000204313 Universal City             1000 Universal     Orlando           FL            32819
                      00204313                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  HUB CART      000851000000204396 Universal City             1000 Universal     Orlando           FL            32819
                      (239)00204396                    Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  TOY CART      000851000000204529 Universal City             1000 Universal     Orlando           FL            32819
                      00204529                         Development Partners,      Studios Plaza
                                                       Ltd.




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 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCDP                  BOB MARLEY       000851000000204586 Universal City          1000 Universal     Orlando           FL            32819
                      00204586                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  PAT O'BRIENS     000851000000204594 Universal City          1000 Universal     Orlando           FL            32819
                      00204594                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CITY JAZZ        000851000000204610 Universal City          1000 Universal     Orlando           FL            32819
                      00204610                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CAPO/SUNGLASS    000851000000204636 Universal City          1000 Universal     Orlando           FL            32819
                      00204636                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  PLAYVISION       000851000000204677 Universal City          1000 Universal     Orlando           FL            32819
                      00204677                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CHRITMAS CART    000851000000204685 Universal City          1000 Universal     Orlando           FL            32819
                      00204685                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CANDY CART       000851000000204693 Universal City          1000 Universal     Orlando           FL            32819
                      00204693                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  MAGNET HUT       000851000000204727 Universal City          1000 Universal     Orlando           FL            32819
                      00204727                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  ARCADE CANDY     000851000000204735 Universal City          1000 Universal     Orlando           FL            32819
                      00204735                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CW MUMMY         000851000000204792 Universal City          1000 Universal     Orlando           FL            32819
                      CART 00204792                       Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  DANCE HEADS      000851000000204800 Universal City          1000 Universal     Orlando           FL            32819
                      CI00204800                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CITYWALK         000851000000299990 Universal City          1000 Universal     Orlando           FL            32819
                      MERCH00299990                       Development Partners,   Studios Plaza
                                                          Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction        Taxpayer ID (or     IRS Filing Name           Address           City              State     Postal Code
                       Division Name     Merchant ID, where
                                              available)
UCDP                  GUEST              000851000000304725 Universal City          1000 Universal   Orlando           FL            32819
                      SERVICES0030472                       Development Partners,   Studios Plaza
                      5                                     Ltd.
UCDP                  BOB MARLEY         000851000000305060 Universal City          1000 Universal   Orlando           FL            32819
                      00305060                              Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  PAT O'BRIENS       000851000000305078 Universal City          1000 Universal   Orlando           FL            32819
                      00305078                              Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  RISING STAR        000851000000305094 Universal City          1000 Universal   Orlando           FL            32819
                      00305094                              Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  LATIN QUARTER      000851000000305128 Universal City          1000 Universal   Orlando           FL            32819
                      00305128                              Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  RED COCONUT        000851000000307702 Universal City          1000 Universal   Orlando           FL            32819
                      00307702                              Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                  CITYWALK           000851000000399998 Universal City          1000 Universal   Orlando           FL            32819
                      TICKE00399998                         Development Partners,   Studios Plaza
                                                            Ltd.
Margaritaville/Universal MARGARITAVILL   000851000000406603 Universal City          1000 Universal   Orlando           FL            32819
City Restaurant Ventures, E00406603                         Restaurant Venture,     Studios Plaza
LLC                                                         LLC
Margaritaville/Universal MARGARITAVILL   000851000000406868 Universal City          1000 Universal   Orlando           FL            32819
City Restaurant Ventures, E00406868                         Restaurant Venture,     Studios Plaza
LLC                                                         LLC
Margaritaville/Universal MARGARITAVILL   000851000000499996 Universal City          1000 Universal   Orlando           FL            32819
City Restaurant Ventures, E00499996                         Restaurant Venture,     Studios Plaza
LLC                                                         LLC
Margaritaville/Universal MARGARITAVILL   000851000000504662 Universal City          1000 Universal   Orlando           FL            32819
City Restaurant Ventures, E00504662                         Restaurant Venture,     Studios Plaza
LLC                                                         LLC
Margaritaville/Universal MARGARITAVILL   000851000000504837 Universal City          1000 Universal   Orlando           FL            32819
City Restaurant Ventures, E00504837                         Restaurant Venture,     Studios Plaza
LLC                                                         LLC




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                                                                     Exhibit A
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 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name           Address            City              State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
Margaritaville/Universal MARGARITAVILL 000851000000506626 Universal City            1000 Universal    Orlando           FL            32819
City Restaurant Ventures, E00506626                         Restaurant Venture,     Studios Plaza
LLC                                                         LLC
Margaritaville/Universal MARGARITAVILL 000851000000599993 Universal City            1000 Universal    Orlando           FL            32819
City Restaurant Ventures, E00599993                         Restaurant Venture,     Studios Plaza
LLC                                                         LLC
Margaritaville/Universal MARGARITAVILL 000851000000606657 Universal City            1000 Universal    Orlando           FL            32819
City Restaurant Ventures, E00606657                         Restaurant Venture,     Studios Plaza
LLC                                                         LLC
Margaritaville/Universal MARGARITAVILL 000851000000699991 Universal City            1000 Universal    Orlando           FL            32819
City Restaurant Ventures, E00699991                         Restaurant Venture,     Studios Plaza
LLC                                                         LLC
UCDP                      UNIVERSAL      000851000000700021 Universal City          1000 Universal    Orlando           FL            32819
                          STUD00700021                      Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                      UNIVERSAL IOA 000851000000900019 Universal City           1000 Universal    Orlando           FL            32819
                          00900019                          Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                      CONFISCOS      000851000000901231 Universal City          1000 Universal    Orlando           FL            32819
                          00901231                          Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                      IOA            000851000000901249 Universal City          1000 Universal    Orlando           FL            32819
                          RESERVATIO0090                    Development Partners,   Studios Plaza
                          1249                              Ltd.
UCDP                      CROISSANT      000851000000901256 Universal City          1000 Universal    Orlando           FL            32819
                          MOON00901256                      Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                      IOA CINNABON   000851000000901264 Universal City          1000 Universal    Orlando           FL            32819
                          00901264                          Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                      ARTIC EXPRESS  000851000000901272 Universal City          1000 Universal    Orlando           FL            32819
                          00901272                          Development Partners,   Studios Plaza
                                                            Ltd.
UCDP                      CIRCUS         000851000000901280 Universal City          1000 Universal    Orlando           FL            32819
                          MCGURKU009012                     Development Partners,   Studios Plaza
                          80                                Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction    Taxpayer ID (or     IRS Filing Name             Address             City              State     Postal Code
                       Division Name Merchant ID, where
                                          available)
UCDP                  ISLAND IOASIS  000851000000901298 Universal City            1000 Universal     Orlando           FL            32819
                      00901298                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  GREEN EGGS     000851000000901306 Universal City            1000 Universal     Orlando           FL            32819
                      00901306                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  MOOSE JUICE    000851000000901314 Universal City            1000 Universal     Orlando           FL            32819
                      00901314                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  HOP ON POP     000851000000901322 Universal City            1000 Universal     Orlando           FL            32819
                      00901322                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  MYTHOS         000851000000901330 Universal City            1000 Universal     Orlando           FL            32819
                      00901330                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  THREE          000851000000901348 Universal City            1000 Universal     Orlando           FL            32819
                      BROOMSTI009013                    Development Partners,     Studios Plaza
                      48                                Ltd.
UCDP                  FROZEN         000851000000901363 Universal City            1000 Universal     Orlando           FL            32819
                      DESSERT0090136                    Development Partners,     Studios Plaza
                      3                                 Ltd.
UCDP                  FIRE EATERS    000851000000901371 Universal City            1000 Universal     Orlando           FL            32819
                      GR00901371                        Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  OASIS COOLERS 000851000000901389 Universal City             1000 Universal     Orlando           FL            32819
                      00901389                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  THUNDER FALLS 000851000000901397 Universal City             1000 Universal     Orlando           FL            32819
                      00901397                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  PIZZA          000851000000901413 Universal City            1000 Universal     Orlando           FL            32819
                      PREDATOR00901                     Development Partners,     Studios Plaza
                      413                               Ltd.
UCDP                  WATERING HOLE 000851000000901421 Universal City             1000 Universal     Orlando           FL            32819
                      00901421                          Development Partners,     Studios Plaza
                                                        Ltd.




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                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCDP                  BURGER DIGS      000851000000901439 Universal City          1000 Universal     Orlando           FL            32819
                      00901439                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  WIMPYS           000851000000901447 Universal City          1000 Universal     Orlando           FL            32819
                      00901447                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  BLONDIES         000851000000901454 Universal City          1000 Universal     Orlando           FL            32819
                      00901454                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  COMIC STRIP      000851000000901462 Universal City          1000 Universal     Orlando           FL            32819
                      CA00901462                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  COMIC MINI       000851000000901470 Universal City          1000 Universal     Orlando           FL            32819
                      00901470                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CATHY'S ICE      000851000000901488 Universal City          1000 Universal     Orlando           FL            32819
                      CR00901488                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CAFE 4           000851000000901496 Universal City          1000 Universal     Orlando           FL            32819
                      00901496                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CAPTAIN          000851000000901504 Universal City          1000 Universal     Orlando           FL            32819
                      AMERIC00901504                      Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  FROZEN ICEE      000851000000901512 Universal City          1000 Universal     Orlando           FL            32819
                      00901512                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CHILL            000851000000901520 Universal City          1000 Universal     Orlando           FL            32819
                      00901520                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  FRUIT AND        000851000000901538 Universal City          1000 Universal     Orlando           FL            32819
                      DRINK 00901538                      Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  COTTON CANDY     000851000000901546 Universal City          1000 Universal     Orlando           FL            32819
                      00901546                            Development Partners,   Studios Plaza
                                                          Ltd.




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                                                     493630
                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction    Taxpayer ID (or     IRS Filing Name             Address             City              State     Postal Code
                       Division Name Merchant ID, where
                                          available)
UCDP                  CIRCUS         000851000000901553 Universal City            1000 Universal     Orlando           FL            32819
                      VENDING0090155                    Development Partners,     Studios Plaza
                      3                                 Ltd.
UCDP                  POE POPCORN    000851000000901561 Universal City            1000 Universal     Orlando           FL            32819
                      CA00901561                        Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  POE FRUIT      000851000000901579 Universal City            1000 Universal     Orlando           FL            32819
                      STAN00901579                      Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  LEMON SLUSH    000851000000901587 Universal City            1000 Universal     Orlando           FL            32819
                      00901587                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  SNACK OUTPOST 000851000000901595 Universal City             1000 Universal     Orlando           FL            32819
                      00901595                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  IOA CATERING   000851000000901629 Universal City            1000 Universal     Orlando           FL            32819
                      00901629                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  SUESS ICEE     000851000000901645 Universal City            1000 Universal     Orlando           FL            32819
                      00901645                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  SUESS PRETZEL 000851000000901652 Universal City             1000 Universal     Orlando           FL            32819
                      00901652                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  SUESS POPCORN 000851000000901660 Universal City             1000 Universal     Orlando           FL            32819
                      00901660                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  HP VENDING     000851000000901678 Universal City            1000 Universal     Orlando           FL            32819
                      00901678                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  JP VENDING     000851000000901769 Universal City            1000 Universal     Orlando           FL            32819
                      00901769                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  LOST CONTNT    000851000000901777 Universal City            1000 Universal     Orlando           FL            32819
                      BE00901777                        Development Partners,     Studios Plaza
                                                        Ltd.




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                                                     493631
                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction     Taxpayer ID (or     IRS Filing Name            Address             City              State     Postal Code
                       Division Name  Merchant ID, where
                                           available)
UCDP                  LOST CONTNT     000851000000901785 Universal City           1000 Universal     Orlando           FL            32819
                      FR00901785                         Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  THUNDER SLUSH 000851000000901793 Universal City             1000 Universal     Orlando           FL            32819
                      00901793                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  BUTTER BEER     000851000000901801 Universal City           1000 Universal     Orlando           FL            32819
                      CA00901801                         Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  JURASSIC BEER   000851000000901850 Universal City           1000 Universal     Orlando           FL            32819
                      00901850                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  JURASSIC        000851000000901868 Universal City           1000 Universal     Orlando           FL            32819
                      POPCO00901868                      Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  JURASSIC        000851000000901876 Universal City           1000 Universal     Orlando           FL            32819
                      TURKE00901876                      Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  JURASSIC        000851000000901884 Universal City           1000 Universal     Orlando           FL            32819
                      FRUIT00901884                      Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  CIRCUS          000851000000901892 Universal City           1000 Universal     Orlando           FL            32819
                      SPECIAL00901892                    Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  PIZZA PRED      000851000000901983 Universal City           1000 Universal     Orlando           FL            32819
                      MIN00901983                        Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  TOON BEER       000851000000901991 Universal City           1000 Universal     Orlando           FL            32819
                      CART00901991                       Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  TOON POPCORN 000851000000902007 Universal City              1000 Universal     Orlando           FL            32819
                      C00902007                          Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  TOON ICEE       000851000000902015 Universal City           1000 Universal     Orlando           FL            32819
                      CART00902015                       Development Partners,    Studios Plaza
                                                         Ltd.




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                                                     493632
                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCDP                  TOON DIP N       000851000000902023 Universal City          1000 Universal     Orlando           FL            32819
                      DOT00902023                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  WIMPYS SPEC      000851000000902031 Universal City          1000 Universal     Orlando           FL            32819
                      EV00902031                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  HERO TURKEY      000851000000902072 Universal City          1000 Universal     Orlando           FL            32819
                      (500902072                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  HERO POPCORN     000851000000902080 Universal City          1000 Universal     Orlando           FL            32819
                      C00902080                           Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CAPT SPECIAL     000851000000902098 Universal City          1000 Universal     Orlando           FL            32819
                      E00902098                           Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  HERO HOT DOG     000851000000902106 Universal City          1000 Universal     Orlando           FL            32819
                      (00902106                           Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  COMIC SPEC       000851000000902114 Universal City          1000 Universal     Orlando           FL            32819
                      EVE00902114                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  HERO SLUSH       000851000000902122 Universal City          1000 Universal     Orlando           FL            32819
                      (5600902122                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  BURGER DIGS      000851000000905661 Universal City          1000 Universal     Orlando           FL            32819
                      ME00905661                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  UNIVERSAL IOA    000851000000999995 Universal City          1000 Universal     Orlando           FL            32819
                      00999995                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  UNIVERSAL IOA    000851000001000017 Universal City          1000 Universal     Orlando           FL            32819
                      01000017                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  COLORVISION      000851000001002773 Universal City          1000 Universal     Orlando           FL            32819
                      01002773                            Development Partners,   Studios Plaza
                                                          Ltd.




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                                                     493633
                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCDP                  COLORVISION      000851000001002781 Universal City          1000 Universal     Orlando           FL            32819
                      HA01002781                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  USIOA TRADING    000851000001003011 Universal City          1000 Universal     Orlando           FL            32819
                      01003011                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  ISLAND           000851000001003029 Universal City          1000 Universal     Orlando           FL            32819
                      MARKET/0100302                      Development Partners,   Studios Plaza
                      9                                   Ltd.
UCDP                  OCEAN TRADER     000851000001003045 Universal City          1000 Universal     Orlando           FL            32819
                      01003045                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  PORT             000851000001003052 Universal City          1000 Universal     Orlando           FL            32819
                      PROVISION01003                      Development Partners,   Studios Plaza
                      052                                 Ltd.
UCDP                  PORT             000851000001003060 Universal City          1000 Universal     Orlando           FL            32819
                      MERCHANT                            Development Partners,   Studios Plaza
                      01003060                            Ltd.
UCDP                  PORT             000851000001003078 Universal City          1000 Universal     Orlando           FL            32819
                      EXCHANGE                            Development Partners,   Studios Plaza
                      01003078                            Ltd.
UCDP                  IOA CHASE/ MC    000851000001003086 Universal City          1000 Universal     Orlando           FL            32819
                      01003086                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  SUESS GAMES      000851000001003128 Universal City          1000 Universal     Orlando           FL            32819
                      01003128                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CAT HATS AND     000851000001003136 Universal City          1000 Universal     Orlando           FL            32819
                      THI01003136                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  MULBERRY         000851000001003144 Universal City          1000 Universal     Orlando           FL            32819
                      STREE01003144                       Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  DR SUESS BOOK    000851000001003151 Universal City          1000 Universal     Orlando           FL            32819
                      01003151                            Development Partners,   Studios Plaza
                                                          Ltd.




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                                                     493634
                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCDP                  SNOOKERS AND     000851000001003169 Universal City          1000 Universal     Orlando           FL            32819
                      SNO01003169                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CART M-3         000851000001003177 Universal City          1000 Universal     Orlando           FL            32819
                      01003177                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  HONK HONKERS     000851000001003185 Universal City          1000 Universal     Orlando           FL            32819
                      01003185                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  TREASURES OF     000851000001003235 Universal City          1000 Universal     Orlando           FL            32819
                      P01003235                           Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  SHOP OF          000851000001003243 Universal City          1000 Universal     Orlando           FL            32819
                      WONDER0100324                       Development Partners,   Studios Plaza
                      3                                   Ltd.
UCDP                  THE DRAGON'S     000851000001003250 Universal City          1000 Universal     Orlando           FL            32819
                      K01003250                           Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  PRINCESS CART    000851000001003268 Universal City          1000 Universal     Orlando           FL            32819
                      01003268                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  ZONKOS           000851000001003276 Universal City          1000 Universal     Orlando           FL            32819
                      01003276                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  UNICORN CART     000851000001003284 Universal City          1000 Universal     Orlando           FL            32819
                      01003284                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  JURASSIC         000851000001003425 Universal City          1000 Universal     Orlando           FL            32819
                      OUTFI01003425                       Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  DINOSTORE        000851000001003433 Universal City          1000 Universal     Orlando           FL            32819
                      01003433                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  UIOA REMOTE      000851000001003441 Universal City          1000 Universal     Orlando           FL            32819
                      TR01003441                          Development Partners,   Studios Plaza
                                                          Ltd.




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                                                     493635
                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction     Taxpayer ID (or     IRS Filing Name            Address             City              State     Postal Code
                       Division Name  Merchant ID, where
                                           available)
UCDP                  TRICERATOPS     000851000001003458 Universal City           1000 Universal     Orlando           FL            32819
                      01003458                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  GASOLINE        000851000001003508 Universal City           1000 Universal     Orlando           FL            32819
                      ALLEY01003508                      Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  WOSSAMOTTA U 000851000001003516 Universal City              1000 Universal     Orlando           FL            32819
                      01003516                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  BETTY BOOP      000851000001003524 Universal City           1000 Universal     Orlando           FL            32819
                      01003524                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  TOON EXTRA      000851000001003532 Universal City           1000 Universal     Orlando           FL            32819
                      01003532                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  AMPHITHEATER 000851000001003540 Universal City              1000 Universal     Orlando           FL            32819
                      CART 01003540                      Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  SWEETHAVEN      000851000001003557 Universal City           1000 Universal     Orlando           FL            32819
                      KIO01003557                        Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  CART M-11       000851000001003565 Universal City           1000 Universal     Orlando           FL            32819
                      01003565                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  BLUTOS CART     000851000001003573 Universal City           1000 Universal     Orlando           FL            32819
                      01003573                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  SPONGEBOB       000851000001003581 Universal City           1000 Universal     Orlando           FL            32819
                      CART01003581                       Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  MARVEL          000851000001003631 Universal City           1000 Universal     Orlando           FL            32819
                      ALTERNI01003631                    Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  SPIDERMAN       000851000001003649 Universal City           1000 Universal     Orlando           FL            32819
                      SHOP01003649                       Development Partners,    Studios Plaza
                                                         Ltd.




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                                                     493636
                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction   Taxpayer ID (or     IRS Filing Name              Address             City              State     Postal Code
                       Division NameMerchant ID, where
                                         available)
UCDP                  COMIC BOOK    000851000001003672 Universal City             1000 Universal     Orlando           FL            32819
                      SHO01003672                      Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  HULK CART     000851000001003680 Universal City             1000 Universal     Orlando           FL            32819
                      01003680                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  DOOM CART LOC 000851000001003698 Universal City             1000 Universal     Orlando           FL            32819
                      01003698                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  COLORVISION   000851000001004001 Universal City             1000 Universal     Orlando           FL            32819
                      01004001                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  COLORVISION   000851000001004019 Universal City             1000 Universal     Orlando           FL            32819
                      01004019                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  UNIVERSAL IOA 000851000001004027 Universal City             1000 Universal     Orlando           FL            32819
                      01004027                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  COLORVISION   000851000001004035 Universal City             1000 Universal     Orlando           FL            32819
                      JU01004035                       Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  PHOTO FUNNIES 000851000001004043 Universal City             1000 Universal     Orlando           FL            32819
                      01004043                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  HULK PHOTO OP 000851000001004050 Universal City             1000 Universal     Orlando           FL            32819
                      01004050                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  MYTHICAL      000851000001004084 Universal City             1000 Universal     Orlando           FL            32819
                      METAL01004084                    Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  COLORVISION   000851000001004092 Universal City             1000 Universal     Orlando           FL            32819
                      SP01004092                       Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  STARSOULS     000851000001004100 Universal City             1000 Universal     Orlando           FL            32819
                      HENN01004100                     Development Partners,      Studios Plaza
                                                       Ltd.




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                                                     493637
                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCDP                  STARSOULS        000851000001004134 Universal City          1000 Universal     Orlando           FL            32819
                      PSYC01004134                        Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  IOA SILVER       000851000001004209 Universal City          1000 Universal     Orlando           FL            32819
                      MER01004209                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  LATIN QUARTER    000851000001007459 Universal City          1000 Universal     Orlando           FL            32819
                      01007459                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  UNIVERSAL IOA    000851000001099993 Universal City          1000 Universal     Orlando           FL            32819
                      01099993                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  IOA              000851000001120203 Universal City          1000 Universal     Orlando           FL            32819
                      ADMISSIONS0112                      Development Partners,   Studios Plaza
                      0203                                Ltd.
UCDP                  IOA GROUP        000851000001120211 Universal City          1000 Universal     Orlando           FL            32819
                      SALE01120211                        Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  IOA GUEST        000851000001120229 Universal City          1000 Universal     Orlando           FL            32819
                      SRVC01120229                        Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  IOA              000851000001120237 Universal City          1000 Universal     Orlando           FL            32819
                      WHLCHRS/ST011                       Development Partners,   Studios Plaza
                      20237                               Ltd.
UCDP                  UNIVERSAL IOA    000851000001199991 Universal City          1000 Universal     Orlando           FL            32819
                      01199991                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  FINNEGANS        000851000001200021 Universal City          1000 Universal     Orlando           FL            32819
                      01200021                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  BACKLOT          000851000001200039 Universal City          1000 Universal     Orlando           FL            32819
                      BISTRO01200039                      Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  LA BAMBA         000851000001200047 Universal City          1000 Universal     Orlando           FL            32819
                      01200047                            Development Partners,   Studios Plaza
                                                          Ltd.




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                                                     493638
                                                                    Exhibit A
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 Business Unit Name     Transaction   Taxpayer ID (or     IRS Filing Name              Address             City              State     Postal Code
                       Division NameMerchant ID, where
                                         available)
UCDP                  INT'L FOOD    000851000001200054 Universal City             1000 Universal     Orlando           FL            32819
                      AND01200054                      Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  LOUIE'S       000851000001200062 Universal City             1000 Universal     Orlando           FL            32819
                      01200062                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  SCHWAB'S      000851000001200070 Universal City             1000 Universal     Orlando           FL            32819
                      01200070                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  MEL'S         000851000001200088 Universal City             1000 Universal     Orlando           FL            32819
                      01200088                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  KID ZONE      000851000001200096 Universal City             1000 Universal     Orlando           FL            32819
                      PIZZA01200096                    Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  BOARDWALK     000851000001200104 Universal City             1000 Universal     Orlando           FL            32819
                      SNAC01200104                     Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  CHEZ ALCATRAZ 000851000001200112 Universal City             1000 Universal     Orlando           FL            32819
                      01200112                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  BOULANGERIE   000851000001200120 Universal City             1000 Universal     Orlando           FL            32819
                      01200120                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  AMITY CHICKEN 000851000001200179 Universal City             1000 Universal     Orlando           FL            32819
                      01200179                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  LOMBARD'S     000851000001200195 Universal City             1000 Universal     Orlando           FL            32819
                      01200195                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  MC CANN'S     000851000001200203 Universal City             1000 Universal     Orlando           FL            32819
                      FRUI01200203                     Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  FUDGE SHOPPE  000851000001200252 Universal City             1000 Universal     Orlando           FL            32819
                      01200252                         Development Partners,      Studios Plaza
                                                       Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction     Taxpayer ID (or     IRS Filing Name            Address             City              State     Postal Code
                       Division Name  Merchant ID, where
                                           available)
UCDP                  UNIVERSAL       000851000001200260 Universal City           1000 Universal     Orlando           FL            32819
                      STUD01200260                       Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  NORTH CARTS     000851000001200294 Universal City           1000 Universal     Orlando           FL            32819
                      VE01200294                         Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  SOUTH CARTS     000851000001200302 Universal City           1000 Universal     Orlando           FL            32819
                      VE01200302                         Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  BOULANGERIE     000851000001200310 Universal City           1000 Universal     Orlando           FL            32819
                      CA01200310                         Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  RICHTERS        000851000001200344 Universal City           1000 Universal     Orlando           FL            32819
                      01200344                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  BEN AND         000851000001200351 Universal City           1000 Universal     Orlando           FL            32819
                      JERRYS 01200351                    Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  MIDWAY GRILL    000851000001200377 Universal City           1000 Universal     Orlando           FL            32819
                      01200377                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  LOMBARD'S       000851000001200393 Universal City           1000 Universal     Orlando           FL            32819
                      SPEC01200393                       Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  IFFF MINI       000851000001200401 Universal City           1000 Universal     Orlando           FL            32819
                      01200401                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  AMITY COKE      000851000001200419 Universal City           1000 Universal     Orlando           FL            32819
                      01200419                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  SAN FRANCISCO 000851000001200427 Universal City             1000 Universal     Orlando           FL            32819
                      01200427                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  FEAR FACTOR     000851000001200435 Universal City           1000 Universal     Orlando           FL            32819
                      01200435                           Development Partners,    Studios Plaza
                                                         Ltd.




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                                                     493640
                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCDP                  BWS SPECIAL      000851000001200443 Universal City          1000 Universal     Orlando           FL            32819
                      EV01200443                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  U-CAFE GRILL     000851000001200450 Universal City          1000 Universal     Orlando           FL            32819
                      01200450                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  GAMES DIP N      000851000001200468 Universal City          1000 Universal     Orlando           FL            32819
                      01200468                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  FEAR FACTOR      000851000001200476 Universal City          1000 Universal     Orlando           FL            32819
                      01200476                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  GRAVEYARD        000851000001200484 Universal City          1000 Universal     Orlando           FL            32819
                      01200484                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  GRAVEYARD        000851000001200492 Universal City          1000 Universal     Orlando           FL            32819
                      01200492                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  RICH NUT CART    000851000001200518 Universal City          1000 Universal     Orlando           FL            32819
                      01200518                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  LOUIE'S FRUIT    000851000001200526 Universal City          1000 Universal     Orlando           FL            32819
                      01200526                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  FEAR FACTOR      000851000001200534 Universal City          1000 Universal     Orlando           FL            32819
                      01200534                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  SLIVER SCREEN    000851000001200542 Universal City          1000 Universal     Orlando           FL            32819
                      01200542                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  FRONT GATE       000851000001200559 Universal City          1000 Universal     Orlando           FL            32819
                      POP01200559                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  FEAR FACTOR      000851000001200567 Universal City          1000 Universal     Orlando           FL            32819
                      01200567                            Development Partners,   Studios Plaza
                                                          Ltd.




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                                                     493641
                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction   Taxpayer ID (or     IRS Filing Name              Address             City              State     Postal Code
                       Division NameMerchant ID, where
                                         available)
UCDP                  TURKEY WAGON 000851000001200575 Universal City              1000 Universal     Orlando           FL            32819
                      01200575                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  BEN AND       000851000001200583 Universal City             1000 Universal     Orlando           FL            32819
                      JERRYS                           Development Partners,      Studios Plaza
                      C01200583                        Ltd.
UCDP                  TWISTER HOT   000851000001200591 Universal City             1000 Universal     Orlando           FL            32819
                      DO01200591                       Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  SUBWAY ICE    000851000001200609 Universal City             1000 Universal     Orlando           FL            32819
                      CRE01200609                      Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  UNIVERSAL     000851000001200617 Universal City             1000 Universal     Orlando           FL            32819
                      STUD01200617                     Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  BONEYARD HOT 000851000001200625 Universal City              1000 Universal     Orlando           FL            32819
                      D01200625                        Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  T2 BEER       000851000001200633 Universal City             1000 Universal     Orlando           FL            32819
                      01200633                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  MELS SPECIAL  000851000001200641 Universal City             1000 Universal     Orlando           FL            32819
                      01200641                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  LABAMBA       000851000001200658 Universal City             1000 Universal     Orlando           FL            32819
                      01200658                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  LOMBARDS      000851000001200666 Universal City             1000 Universal     Orlando           FL            32819
                      WIREL01200666                    Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  PANTAGES SODA 000851000001200674 Universal City             1000 Universal     Orlando           FL            32819
                      01200674                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  NICH BLAST    000851000001200682 Universal City             1000 Universal     Orlando           FL            32819
                      01200682                         Development Partners,      Studios Plaza
                                                       Ltd.




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                                                     493642
                                                                    Exhibit A
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 Business Unit Name     Transaction     Taxpayer ID (or     IRS Filing Name            Address             City              State     Postal Code
                       Division Name  Merchant ID, where
                                           available)
UCDP                  LA BAMBA        000851000001200690 Universal City           1000 Universal     Orlando           FL            32819
                      LEMON01200690                      Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  NATHANS         000851000001200708 Universal City           1000 Universal     Orlando           FL            32819
                      HOTDOG0120070                      Development Partners,    Studios Plaza
                      8                                  Ltd.
UCDP                  USF RESRV       000851000001200716 Universal City           1000 Universal     Orlando           FL            32819
                      CART01200716                       Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  STREET          000851000001200724 Universal City           1000 Universal     Orlando           FL            32819
                      FESTIVA01200724                    Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  KID ZONE        000851000001200732 Universal City           1000 Universal     Orlando           FL            32819
                      SNACK01200732                      Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  BTTF POPCORN    000851000001200757 Universal City           1000 Universal     Orlando           FL            32819
                      01200757                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  SIMPSONS        000851000001200765 Universal City           1000 Universal     Orlando           FL            32819
                      HOTDO01200765                      Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  SIMPSONS SODA 000851000001200773 Universal City             1000 Universal     Orlando           FL            32819
                      01200773                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  SIMPSONS        000851000001200781 Universal City           1000 Universal     Orlando           FL            32819
                      LEMON01200781                      Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  EXPO EATS       000851000001200799 Universal City           1000 Universal     Orlando           FL            32819
                      01200799                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  ET BEER         000851000001200807 Universal City           1000 Universal     Orlando           FL            32819
                      01200807                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  COASTER         000851000001200815 Universal City           1000 Universal     Orlando           FL            32819
                      01200815                           Development Partners,    Studios Plaza
                                                         Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction    Taxpayer ID (or     IRS Filing Name             Address             City              State     Postal Code
                       Division Name Merchant ID, where
                                          available)
UCDP                  ET ICEE        000851000001200823 Universal City            1000 Universal     Orlando           FL            32819
                      01200823                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  SQUISHEE ICEE  000851000001200831 Universal City            1000 Universal     Orlando           FL            32819
                      01200831                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  MONSTER'S      000851000001200849 Universal City            1000 Universal     Orlando           FL            32819
                      SPEC01200849                      Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  AA             000851000001200856 Universal City            1000 Universal     Orlando           FL            32819
                      HOTDOG/SODA01                     Development Partners,     Studios Plaza
                      200856                            Ltd.
UCDP                  LOUIE'S        000851000001200872 Universal City            1000 Universal     Orlando           FL            32819
                      GELATO01200872                    Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  LOUIE'S        000851000001200898 Universal City            1000 Universal     Orlando           FL            32819
                      VENDIN01200898                    Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  FINNEGAN'S     000851000001200906 Universal City            1000 Universal     Orlando           FL            32819
                      SPE01200906                       Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  LABAMBA FRUIT 000851000001200914 Universal City             1000 Universal     Orlando           FL            32819
                      01200914                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  BONE YARD      000851000001200922 Universal City            1000 Universal     Orlando           FL            32819
                      01200922                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  MIB FRUIT      000851000001200955 Universal City            1000 Universal     Orlando           FL            32819
                      01200955                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  MIB ICEE       000851000001200963 Universal City            1000 Universal     Orlando           FL            32819
                      01200963                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  CATERING       000851000001201003 Universal City            1000 Universal     Orlando           FL            32819
                      01201003                          Development Partners,     Studios Plaza
                                                        Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction    Taxpayer ID (or     IRS Filing Name             Address             City              State     Postal Code
                       Division Name Merchant ID, where
                                          available)
UCDP                  IFFF SPECIAL   000851000001201037 Universal City            1000 Universal     Orlando           FL            32819
                      E01201037                         Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  STARBUCKS      000851000001201128 Universal City            1000 Universal     Orlando           FL            32819
                      01201128                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  LABAMBA SE     000851000001201144 Universal City            1000 Universal     Orlando           FL            32819
                      WIR01201144                       Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  LOUIE'S        000851000001201151 Universal City            1000 Universal     Orlando           FL            32819
                      SPECIA01201151                    Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  BONE CHILLERS 000851000001201946 Universal City             1000 Universal     Orlando           FL            32819
                      01201946                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  USTOP          000851000001206713 Universal City            1000 Universal     Orlando           FL            32819
                      01206713                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  MONSTER CAFE 000851000001210012 Universal City              1000 Universal     Orlando           FL            32819
                      01210012                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  USF FOOD       000851000001299999 Universal City            1000 Universal     Orlando           FL            32819
                      01299999                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  USF            000851000001300011 Universal City            1000 Universal     Orlando           FL            32819
                      MERCHANDIS013                     Development Partners,     Studios Plaza
                      00011                             Ltd.
UCDP                  TEAM MEMBER    000851000001301001 Universal City            1000 Universal     Orlando           FL            32819
                      SV01301001                        Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  UNIVERSAL      000851000001302017 Universal City            1000 Universal     Orlando           FL            32819
                      STUD01302017                      Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  SILVER SCREEN  000851000001302025 Universal City            1000 Universal     Orlando           FL            32819
                      01302025                          Development Partners,     Studios Plaza
                                                        Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction    Taxpayer ID (or     IRS Filing Name             Address             City              State     Postal Code
                       Division Name Merchant ID, where
                                          available)
UCDP                  CARTOON STORE 000851000001302033 Universal City             1000 Universal     Orlando           FL            32819
                      01302033                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  SAHARA         000851000001302041 Universal City            1000 Universal     Orlando           FL            32819
                      TRADERS0130204                    Development Partners,     Studios Plaza
                      1                                 Ltd.
UCDP                  TENT SALE      000851000001302058 Universal City            1000 Universal     Orlando           FL            32819
                      01302058                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  QUINT'S        000851000001302066 Universal City            1000 Universal     Orlando           FL            32819
                      01302066                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  SECOND HAND    000851000001302074 Universal City            1000 Universal     Orlando           FL            32819
                      RO01302074                        Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  BROWN DERBY    000851000001302082 Universal City            1000 Universal     Orlando           FL            32819
                      01302082                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  ON LOCATION    000851000001302090 Universal City            1000 Universal     Orlando           FL            32819
                      01302090                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  KWIK E MART    000851000001302108 Universal City            1000 Universal     Orlando           FL            32819
                      01302108                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  HANNA          000851000001302116 Universal City            1000 Universal     Orlando           FL            32819
                      BARBERA                           Development Partners,     Studios Plaza
                      01302116                          Ltd.
UCDP                  USF            000851000001302124 Universal City            1000 Universal     Orlando           FL            32819
                      MERCHANDIS013                     Development Partners,     Studios Plaza
                      02124                             Ltd.
UCDP                  BULL'S GYM     000851000001302132 Universal City            1000 Universal     Orlando           FL            32819
                      01302132                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  SHAIKEN'S      000851000001302140 Universal City            1000 Universal     Orlando           FL            32819
                      01302140                          Development Partners,     Studios Plaza
                                                        Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCDP                  WILLIAMS OF      000851000001302157 Universal City          1000 Universal     Orlando           FL            32819
                      01302157                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  TWISTER          000851000001302165 Universal City          1000 Universal     Orlando           FL            32819
                      01302165                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  TERMINATOR 2     000851000001302173 Universal City          1000 Universal     Orlando           FL            32819
                      01302173                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  ET'S             000851000001302181 Universal City          1000 Universal     Orlando           FL            32819
                      01302181                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  FUDGE SHOP       000851000001302199 Universal City          1000 Universal     Orlando           FL            32819
                      01302199                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  IT'S A WRAP      000851000001302207 Universal City          1000 Universal     Orlando           FL            32819
                      01302207                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  MEN IN BLACK     000851000001302215 Universal City          1000 Universal     Orlando           FL            32819
                      01302215                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  DOC'S CANDY      000851000001302223 Universal City          1000 Universal     Orlando           FL            32819
                      01302223                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  KID ZONE CART    000851000001302231 Universal City          1000 Universal     Orlando           FL            32819
                      01302231                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  SHREK            000851000001302249 Universal City          1000 Universal     Orlando           FL            32819
                      01302249                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  PRODUCTION       000851000001302256 Universal City          1000 Universal     Orlando           FL            32819
                      CAR01302256                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  PRODUCTION       000851000001302272 Universal City          1000 Universal     Orlando           FL            32819
                      CEN01302272                         Development Partners,   Studios Plaza
                                                          Ltd.




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                                                     493647
                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCDP                  TNA CART         000851000001302280 Universal City          1000 Universal     Orlando           FL            32819
                      01302280                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  BARNEY           000851000001302298 Universal City          1000 Universal     Orlando           FL            32819
                      01302298                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  GLOW CART        000851000001302306 Universal City          1000 Universal     Orlando           FL            32819
                      VEND01302306                        Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  SAN FRANCISCO    000851000001302314 Universal City          1000 Universal     Orlando           FL            32819
                      01302314                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  NICKELODEON      000851000001302322 Universal City          1000 Universal     Orlando           FL            32819
                      KI01302322                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  ET CART/CNTRL    000851000001302355 Universal City          1000 Universal     Orlando           FL            32819
                      01302355                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CART #36         000851000001302363 Universal City          1000 Universal     Orlando           FL            32819
                      01302363                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  FEAR FACTOR      000851000001302371 Universal City          1000 Universal     Orlando           FL            32819
                      CA01302371                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  JAWS CART        000851000001302389 Universal City          1000 Universal     Orlando           FL            32819
                      01302389                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  SPECIAL EVENT    000851000001302710 Universal City          1000 Universal     Orlando           FL            32819
                      01302710                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  USF SUNGLASS     000851000001302728 Universal City          1000 Universal     Orlando           FL            32819
                      01302728                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  DANCE HEADS      000851000001302744 Universal City          1000 Universal     Orlando           FL            32819
                      US01302744                          Development Partners,   Studios Plaza
                                                          Ltd.




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                                                                        Exhibit A
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  Business Unit Name        Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                           Division Name   Merchant ID, where
                                                available)
UCDP                      COLORVISION      000851000001302769 Universal City          1000 Universal     Orlando           FL            32819
                          01302769                            Development Partners,   Studios Plaza
                                                              Ltd.
UCDP                      COLORVISION      000851000001302793 Universal City          1000 Universal     Orlando           FL            32819
                          01302793                            Development Partners,   Studios Plaza
                                                              Ltd.
UCDP                      HOLLYWOOD        000851000001302819 Universal City          1000 Universal     Orlando           FL            32819
                          01302819                            Development Partners,   Studios Plaza
                                                              Ltd.
Universal Studios Store   AIRPORT STORE    000851000001302843
Orlando LLC               01302843
Universal Studios Store   AIRPORT STORE    000851000001302850
Orlando LLC               01302850
UCDP                      CART #91         000851000001302918 Universal City          1000 Universal     Orlando           FL            32819
                          01302918                            Development Partners,   Studios Plaza
                                                              Ltd.
UCDP                      COLORVISION      000851000001302926 Universal City          1000 Universal     Orlando           FL            32819
                          SI01302926                          Development Partners,   Studios Plaza
                                                              Ltd.
UCDP                      COLORVISION      000851000001302934 Universal City          1000 Universal     Orlando           FL            32819
                          ET01302934                          Development Partners,   Studios Plaza
                                                              Ltd.
UCDP                      COLORVISION      000851000001302942 Universal City          1000 Universal     Orlando           FL            32819
                          SP01302942                          Development Partners,   Studios Plaza
                                                              Ltd.
UCDP                      COLORVISION      000851000001302959 Universal City          1000 Universal     Orlando           FL            32819
                          01302959                            Development Partners,   Studios Plaza
                                                              Ltd.
UCDP                      COLORVISION      000851000001302967 Universal City          1000 Universal     Orlando           FL            32819
                          TH01302967                          Development Partners,   Studios Plaza
                                                              Ltd.
UCDP                      HHN              000851000001302975 Universal City          1000 Universal     Orlando           FL            32819
                          COLORVISIO0130                      Development Partners,   Studios Plaza
                          2975                                Ltd.
UCDP                      MAIL ORDER       000851000001303007 Universal City          1000 Universal     Orlando           FL            32819
                          01303007                            Development Partners,   Studios Plaza
                                                              Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction    Taxpayer ID (or     IRS Filing Name             Address             City              State     Postal Code
                       Division Name Merchant ID, where
                                          available)
UCDP                  EXPO           000851000001303916 Universal City            1000 Universal     Orlando           FL            32819
                      CARICATUR01303                    Development Partners,     Studios Plaza
                      916                               Ltd.
UCDP                  STARSOULS USF 000851000001303957 Universal City             1000 Universal     Orlando           FL            32819
                      01303957                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  COLORVISION    000851000001304245 Universal City            1000 Universal     Orlando           FL            32819
                      01304245                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  TOKKO GIFTS    000851000001305010 Universal City            1000 Universal     Orlando           FL            32819
                      01305010                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  TREASURES OF   000851000001305028 Universal City            1000 Universal     Orlando           FL            32819
                      B01305028                         Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  ROYAL PACIFIC  000851000001305036 Universal City            1000 Universal     Orlando           FL            32819
                      01305036                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  NICK HOTEL     000851000001305044 Universal City            1000 Universal     Orlando           FL            32819
                      STO01305044                       Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  PORTOFINO BAY 000851000001306000 Universal City             1000 Universal     Orlando           FL            32819
                      01306000                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  BELZ OUTLET    000851000001308527 Universal City            1000 Universal     Orlando           FL            32819
                      01308527                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  FESTIVAL BAY   000851000001308550 Universal City            1000 Universal     Orlando           FL            32819
                      01308550                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  UNVRSL         000851000001309129 Universal City            1000 Universal     Orlando           FL            32819
                      EMPLOYE013091                     Development Partners,     Studios Plaza
                      29                                Ltd.
UCDP                  USF            000851000001399997 Universal City            1000 Universal     Orlando           FL            32819
                      MERCHANDIS013                     Development Partners,     Studios Plaza
                      99997                             Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction     Taxpayer ID (or     IRS Filing Name            Address             City              State     Postal Code
                       Division Name  Merchant ID, where
                                           available)
UCDP                  GROUP SALES     000851000001400027 Universal City           1000 Universal     Orlando           FL            32819
                      01400027                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  GUEST           000851000001400035 Universal City           1000 Universal     Orlando           FL            32819
                      SERVICES0140003                    Development Partners,    Studios Plaza
                      5                                  Ltd.
UCDP                  USF PHONE       000851000001400043 Universal City           1000 Universal     Orlando           FL            32819
                      RESE01400043                       Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  MARKETING       000851000001400050 Universal City           1000 Universal     Orlando           FL            32819
                      SALE01400050                       Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  FINANCE         000851000001400068 Universal City           1000 Universal     Orlando           FL            32819
                      01400068                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  PARKING         000851000001400076 Universal City           1000 Universal     Orlando           FL            32819
                      GARAGE01400076                     Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  WHEELCHAIR/ST 000851000001400084 Universal City             1000 Universal     Orlando           FL            32819
                      R01400084                          Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  UNVRSL          000851000001400092 Universal City           1000 Universal     Orlando           FL            32819
                      ORLANDO014000                      Development Partners,    Studios Plaza
                      92                                 Ltd.
UCDP                  ANNUAL PASS     000851000001400100 Universal City           1000 Universal     Orlando           FL            32819
                      IN01400100                         Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  VALET PARKING 000851000001400191 Universal City             1000 Universal     Orlando           FL            32819
                      01400191                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  HUB             000851000001400209 Universal City           1000 Universal     Orlando           FL            32819
                      WHEELCHAIR014                      Development Partners,    Studios Plaza
                      00209                              Ltd.
UCDP                  GUEST CONTACT 000851000001400290 Universal City             1000 Universal     Orlando           FL            32819
                      01400290                           Development Partners,    Studios Plaza
                                                         Ltd.




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                                                     493651
                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCDP                  ADMISSIONS       000851000001410018 Universal City          1000 Universal     Orlando           FL            32819
                      01410018                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  USF TICKETING    000851000001499995 Universal City          1000 Universal     Orlando           FL            32819
                      01499995                            Development Partners,   Studios Plaza
                                                          Ltd.
UCTP                  UNIV CITY        000851000001500016 Universal City Travel   1000 Universal     Orlando           FL            32819
                      TRAV01500016                        Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500412 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500412                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500420 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500420                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500438 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500438                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500446 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500446                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500453 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500453                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500461 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500461                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500479 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500479                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500487 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500487                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500495 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500495                          Partners                Studios Plaza
UCDP                  UNIVERSAL        000851000001500503 Universal City          1000 Universal     Orlando           FL            32819
                      STUD01500503                        Development Partners,   Studios Plaza
                                                          Ltd.
UCTP                  DESTINATION      000851000001500552 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500552                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500560 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500560                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500586 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500586                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500602 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500602                          Partners                Studios Plaza




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCTP                  DESTINATION      000851000001500628 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500628                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500636 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500636                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500651 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500651                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500669 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500669                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500693 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500693                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500743 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500743                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500750 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500750                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500768 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500768                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500784 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500784                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500792 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500792                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500800 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500800                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500826 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500826                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500834 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500834                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500842 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500842                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500859 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500859                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500867 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500867                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500875 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500875                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500883 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500883                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500891 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500891                          Partners                Studios Plaza



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 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCTP                  DESTINATION      000851000001500917 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500917                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500933 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500933                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500941 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500941                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500974 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500974                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001500990 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500990                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001501006 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501006                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001501014 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501014                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001501022 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501022                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001501048 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501048                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001501055 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501055                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001501063 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501063                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001501071 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501071                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001501097 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501097                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001501105 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501105                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001501113 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501113                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001501121 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501121                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001501139 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501139                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001501147 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501147                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001501154 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501154                          Partners                Studios Plaza



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 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCTP                  DESTINATION      000851000001501162 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501162                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001501170 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501170                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001501188 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501188                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001501196 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501196                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001501220 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501220                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001501238 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501238                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001501246 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501246                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001501253 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501253                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001501261 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501261                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001501279 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501279                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001501287 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501287                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001501295 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501295                          Partners                Studios Plaza
UCDP                  UNIVERSAL        000851000001501303 Universal City          1000 Universal     Orlando           FL            32819
                      01501303                            Development Partners,   Studios Plaza
                                                          Ltd.
UCTP                  DESTINATION      000851000001501311 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501311                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001501329 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501329                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001501337 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501337                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001501345 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501345                          Partners                Studios Plaza
UCTP                  DESTINATION      000851000001501352 Universal City Travel   1000 Universal     Orlando           FL            32819
                      01501352                            Partners                Studios Plaza




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 Business Unit Name     Transaction       Taxpayer ID (or     IRS Filing Name           Address            City              State     Postal Code
                       Division Name    Merchant ID, where
                                             available)
UCTP                  DESTINATION       000851000001501360 Universal City Travel   1000 Universal    Orlando           FL            32819
                      01501360                             Partners                Studios Plaza
UCTP                  DESTINATION       000851000001501378 Universal City Travel   1000 Universal    Orlando           FL            32819
                      01501378                             Partners                Studios Plaza
UCTP                  DESTINATION       000851000001501386 Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01501386                           Partners                Studios Plaza
UCTP                  DESTINATION       000851000001501394 Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01501394                           Partners                Studios Plaza
UCTP                  DESTINATION       000851000001501402 Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01501402                           Partners                Studios Plaza
UCTP                  DESTINATION       000851000001501410 Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01501410                           Partners                Studios Plaza
UCTP                  DESTINATION       000851000001501428 Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01501428                           Partners                Studios Plaza
UCTP                  DESTINATION       000851000001501436 Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01501436                           Partners                Studios Plaza
UCTP                  DESTINATION       000851000001501444 Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01501444                           Partners                Studios Plaza
UCTP                  DESTINATION       000851000001501451 Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01501451                           Partners                Studios Plaza
UCTP                  DESTINATION       000851000001501493 Universal City Travel   1000 Universal    Orlando           FL            32819
                      UN01501493                           Partners                Studios Plaza
UCDP                  MOTOWN FOOD       000851000001607100 Universal City          1000 Universal    Orlando           FL            32819
                      01607100                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  MOTOWN FOOD       000851000001699990 Universal City          1000 Universal    Orlando           FL            32819
                      01699990                             Development Partners,   Studios Plaza
                                                           Ltd.
UCDP                  MOTOWN            000851000001704642 Universal City          1000 Universal    Orlando           FL            32819
                      MERCHAN017046                        Development Partners,   Studios Plaza
                      42                                   Ltd.
UCDP                  MOTOWN            000851000001799998 Universal City          1000 Universal    Orlando           FL            32819
                      MERCHAN017999                        Development Partners,   Studios Plaza
                      98                                   Ltd.
UCDP                  MOTOWN            000851000001899996 Universal City          1000 Universal    Orlando           FL            32819
                      TICKETI01899996                      Development Partners,   Studios Plaza
                                                           Ltd.




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                                                                      Exhibit A
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 Business Unit Name      Transaction       Taxpayer ID (or     IRS Filing Name             Address           City              State     Postal Code
                        Division Name    Merchant ID, where
                                              available)
UCTP                     DU PLAN CTR     000851000001900927 Universal City Travel     1000 Universal   Orlando           FL            32819
                         01900927                           Partners                  Studios Plaza
UCTP                     DU PLAN CTR     000851000001999994 Universal City Travel     1000 Universal   Orlando           FL            32819
                         01999994                           Partners                  Studios Plaza
UCDP                     UNIVERSAL       000851000002000024 Universal City            1000 Universal   Orlando           FL            32819
                         STUD02000024                       Development Partners,     Studios Plaza
                                                            Ltd.
UCDP                     UNIVERSAL       000851000002000206 Universal City            1000 Universal   Orlando           FL            32819
                         STUD02000206                       Development Partners,     Studios Plaza
                                                            Ltd.
UCDP                     DAPY            000851000002104537 Universal City            1000 Universal   Orlando           FL            32819
                         02104537                           Development Partners,     Studios Plaza
                                                            Ltd.
UCDP                     GLOW            000851000002104545 Universal City            1000 Universal   Orlando           FL            32819
                         02104545                           Development Partners,     Studios Plaza
                                                            Ltd.
UCDP                     UNVRSL          000851000002104552 Universal City            1000 Universal   Orlando           FL            32819
                         STUDIOS02104552                    Development Partners,     Studios Plaza
                                                            Ltd.
UCDP                     UNVRSL          000851000002109999 Universal City            1000 Universal   Orlando           FL            32819
                         STUDIOS02109999                    Development Partners,     Studios Plaza
                                                            Ltd.
UCDP                     UNIVERSAL       000851000002209997 Universal City            1000 Universal   Orlando           FL            32819
                         ORLA02209997                       Development Partners,     Studios Plaza
                                                            Ltd.
UCDP                     ANNUAL PASS     000851000002300010 Universal City            1000 Universal   Orlando           FL            32819
                         FL02300010                         Development Partners,     Studios Plaza
                                                            Ltd.
UCDP                     UNIVERSAL       000851000002400018 Universal City            1000 Universal   Orlando           FL            32819
                         ORLA02400018                       Development Partners,     Studios Plaza
                                                            Ltd.
Universal Orlando Online UO ONLINE       000851000002504843 Universal Studios Store   100 UNIVERSAL    UNIVERSAL CITY CA               91608
Merchandise Store        MERC02504843                       Orlando LLC               CTY PLAZA
UCDP                     FAT TUESDAY     000851000002606978 Universal City            1000 Universal   Orlando           FL            32819
                         02606978                           Development Partners,     Studios Plaza
                                                            Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCDP                  UNIVERSAL STD    000852000099991119 Universal City          1000 Universal     Orlando           FL            32819
                      852                                 Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  BREAK AWAY       000852000000104265 Universal City          1000 Universal     Orlando           FL            32819
                      00104265                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  COKE ICON AT     000852000000104299 Universal City          1000 Universal     Orlando           FL            32819
                      C00104299                           Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  MENCHIE          000852000000104307 Universal City          1000 Universal     Orlando           FL            32819
                      00104307                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  VIVO             000852000000104315 Universal City          1000 Universal     Orlando           FL            32819
                      00104315                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  COWFISH          000852000000104323 Universal City          1000 Universal     Orlando           FL            32819
                      00104323                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  HOT DOG HALL     000852000000104331 Universal City          1000 Universal     Orlando           FL            32819
                      O00104331                           Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  BIG KAHUNA       000852000000104349 Universal City          1000 Universal     Orlando           FL            32819
                      PIZ00104349                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CINNABON         000852000000104356 Universal City          1000 Universal     Orlando           FL            32819
                      00104356                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  BOB MARLEY       000852000000104364 Universal City          1000 Universal     Orlando           FL            32819
                      00104364                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  PAT O'BRIENS     000852000000104372 Universal City          1000 Universal     Orlando           FL            32819
                      00104372                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  GROOVE           000852000000104380 Universal City          1000 Universal     Orlando           FL            32819
                      00104380                            Development Partners,   Studios Plaza
                                                          Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCDP                  RISING STAR      000852000000104398 Universal City          1000 Universal     Orlando           FL            32819
                      00104398                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CW CARTS BASE    000852000000104406 Universal City          1000 Universal     Orlando           FL            32819
                      00104406                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CW BEIGNET       000852000000104422 Universal City          1000 Universal     Orlando           FL            32819
                      CAR00104422                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  DIPPIN DOT       000852000000104430 Universal City          1000 Universal     Orlando           FL            32819
                      CAR00104430                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CW SHORELINE     000852000000104448 Universal City          1000 Universal     Orlando           FL            32819
                      B00104448                           Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  STARBUCKS        000852000000104455 Universal City          1000 Universal     Orlando           FL            32819
                      00104455                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CW SPECIAL       000852000000104463 Universal City          1000 Universal     Orlando           FL            32819
                      EVE00104463                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  LATIN QUARTER    000852000000104497 Universal City          1000 Universal     Orlando           FL            32819
                      00104497                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  PASTA CAFE       000852000000104505 Universal City          1000 Universal     Orlando           FL            32819
                      00104505                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  OFFSITE          000852000000104513 Universal City          1000 Universal     Orlando           FL            32819
                      CATERI00104513                      Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  RED COCONUT      000852000000104802 Universal City          1000 Universal     Orlando           FL            32819
                      BA00104802                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CINEPLEX BAR     000852000000104810 Universal City          1000 Universal     Orlando           FL            32819
                      00104810                            Development Partners,   Studios Plaza
                                                          Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction   Taxpayer ID (or     IRS Filing Name              Address             City              State     Postal Code
                       Division NameMerchant ID, where
                                         available)
UCDP                  CW SPECIAL    000852000000104828 Universal City             1000 Universal     Orlando           FL            32819
                      00104828                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  CW SPECIAL    000852000000104836 Universal City             1000 Universal     Orlando           FL            32819
                      00104836                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  EMERILS BAR   000852000000104844 Universal City             1000 Universal     Orlando           FL            32819
                      CA00104844                       Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  PAT O'S BAR   000852000000104851 Universal City             1000 Universal     Orlando           FL            32819
                      CA00104851                       Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  HUB FOOD      000852000000105833 Universal City             1000 Universal     Orlando           FL            32819
                      KIOSK00105833                    Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  MOES          000852000000105841 Universal City             1000 Universal     Orlando           FL            32819
                      SOUTHERWE0010                    Development Partners,      Studios Plaza
                      5841                             Ltd.
UCDP                  COLD STONE    000852000000105858 Universal City             1000 Universal     Orlando           FL            32819
                      00105858                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  MENCHIE       000852000000107029 Universal City             1000 Universal     Orlando           FL            32819
                      00107029                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  BREAD BOX     000852000000107045 Universal City             1000 Universal     Orlando           FL            32819
                      00107045                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  NBC SPORTS    000852000000107508 Universal City             1000 Universal     Orlando           FL            32819
                      GRI00107508                      Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  ANTOJITOS     000852000000107524 Universal City             1000 Universal     Orlando           FL            32819
                      AUTH00107524                     Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  MOJITOS RUM   000852000000107532 Universal City             1000 Universal     Orlando           FL            32819
                      BA00107532                       Development Partners,      Studios Plaza
                                                       Ltd.




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                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction   Taxpayer ID (or     IRS Filing Name              Address             City              State     Postal Code
                       Division NameMerchant ID, where
                                         available)
UCDP                  CHURRASCARIA 000852000000107599 Universal City              1000 Universal     Orlando           FL            32819
                      00107599                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  NBC SPORTS    000852000000107615 Universal City             1000 Universal     Orlando           FL            32819
                      GRI00107615                      Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  RED COCONUT   000852000000107680 Universal City             1000 Universal     Orlando           FL            32819
                      CL00107680                       Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  CITYWALK      000852000000200014 Universal City             1000 Universal     Orlando           FL            32819
                      MERCH00200014                    Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  AIRBRUSH      000852000000203935 Universal City             1000 Universal     Orlando           FL            32819
                      STUDI00203935                    Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  HAIRWRAPS CW 000852000000203943 Universal City              1000 Universal     Orlando           FL            32819
                      00203943                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  CARTOONIVERS 000852000000204305 Universal City              1000 Universal     Orlando           FL            32819
                      AL00204305                       Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  PLAZA CART    000852000000204313 Universal City             1000 Universal     Orlando           FL            32819
                      00204313                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  HUB CART      000852000000204396 Universal City             1000 Universal     Orlando           FL            32819
                      (239)00204396                    Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  CW SUNGLASSES 000852000000204529 Universal City             1000 Universal     Orlando           FL            32819
                      00204529                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  RISING STAR   000852000000204578 Universal City             1000 Universal     Orlando           FL            32819
                      00204578                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  BOB MARLEY    000852000000204586 Universal City             1000 Universal     Orlando           FL            32819
                      00204586                         Development Partners,      Studios Plaza
                                                       Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCDP                  PAT O'BRIENS     000852000000204594 Universal City          1000 Universal     Orlando           FL            32819
                      00204594                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  SUNSHINE         000852000000204602 Universal City          1000 Universal     Orlando           FL            32819
                      00204602                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CITY JAZZ        000852000000204610 Universal City          1000 Universal     Orlando           FL            32819
                      00204610                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CAPO/SUNGLASS    000852000000204636 Universal City          1000 Universal     Orlando           FL            32819
                      00204636                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  PLAYVISION       000852000000204677 Universal City          1000 Universal     Orlando           FL            32819
                      00204677                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CHRITMAS CART    000852000000204685 Universal City          1000 Universal     Orlando           FL            32819
                      00204685                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CANDY CART       000852000000204693 Universal City          1000 Universal     Orlando           FL            32819
                      00204693                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CITY WALK        000852000000204719 Universal City          1000 Universal     Orlando           FL            32819
                      VEND00204719                        Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  COLORVISION      000852000000204727 Universal City          1000 Universal     Orlando           FL            32819
                      00204727                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  SUNSHINE         000852000000204735 Universal City          1000 Universal     Orlando           FL            32819
                      00204735                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  T SHIRT JOES     000852000000204743 Universal City          1000 Universal     Orlando           FL            32819
                      00204743                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CW TECH CART     000852000000204750 Universal City          1000 Universal     Orlando           FL            32819
                      00204750                            Development Partners,   Studios Plaza
                                                          Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction     Taxpayer ID (or     IRS Filing Name            Address             City              State     Postal Code
                       Division Name  Merchant ID, where
                                           available)
UCDP                  HAIRWRAPS CW 000852000000204768 Universal City              1000 Universal     Orlando           FL            32819
                      00204768                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  GUEST           000852000000204784 Universal City           1000 Universal     Orlando           FL            32819
                      SERVICES0020478                    Development Partners,    Studios Plaza
                      4                                  Ltd.
UCDP                  CW MUMMY        000852000000204792 Universal City           1000 Universal     Orlando           FL            32819
                      CART 00204792                      Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  DANCE HEADS     000852000000204800 Universal City           1000 Universal     Orlando           FL            32819
                      CI00204800                         Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  UNIVRSL         000852000000204826 Universal City           1000 Universal     Orlando           FL            32819
                      STUDIO00204826                     Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  UNIV GUEST      000852000000304725 Universal City           1000 Universal     Orlando           FL            32819
                      SVC00304725                        Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  BOB MARLEY      000852000000305060 Universal City           1000 Universal     Orlando           FL            32819
                      00305060                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  UNIVERSAL       000852000000305078 Universal City           1000 Universal     Orlando           FL            32819
                      CITY00305078                       Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  GROOVE          000852000000305086 Universal City           1000 Universal     Orlando           FL            32819
                      00305086                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  RISING STAR     000852000000305094 Universal City           1000 Universal     Orlando           FL            32819
                      00305094                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  LATIN QUARTER 000852000000305128 Universal City             1000 Universal     Orlando           FL            32819
                      00305128                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  DECADES CAFE    000852000000305730 Universal City           1000 Universal     Orlando           FL            32819
                      AXXXXXXXX                          Development Partners,    Studios Plaza
                                                         Ltd.




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                                                                     Exhibit A
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 Business Unit Name      Transaction        Taxpayer ID (or     IRS Filing Name           Address           City              State     Postal Code
                        Division Name     Merchant ID, where
                                               available)
UCDP                  RED COCONUT         000852000000307702 Universal City          1000 Universal   Orlando           FL            32819
                      00307702                               Development Partners,   Studios Plaza
                                                             Ltd.
Margaritaville/Universal MARGARITAVILL    000852000000406603 Universal City          1000 Universal   Orlando           FL            32819
City Restaurant Ventures, E00406603                          Restaurant Venture,     Studios Plaza
LLC                                                          LLC
Margaritaville/Universal MARGARITAVILL    000852000000504837 Universal City          1000 Universal   Orlando           FL            32819
City Restaurant Ventures, E00504837                          Restaurant Venture,     Studios Plaza
LLC                                                          LLC
Margaritaville/Universal MARGARITAVILL    000852000000506626 Universal City          1000 Universal   Orlando           FL            32819
City Restaurant Ventures, E00506626                          Restaurant Venture,     Studios Plaza
LLC                                                          LLC
Margaritaville/Universal MARGARITAVILL    000852000000606657 Universal City          1000 Universal   Orlando           FL            32819
City Restaurant Ventures, E00606657                          Restaurant Venture,     Studios Plaza
LLC                                                          LLC
UCDP                      U STUDIOS VAC   000852000000700021 Universal City          1000 Universal   Orlando           FL            32819
                          00700021                           Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  CONFISCOS           000852000000901231 Universal City          1000 Universal   Orlando           FL            32819
                      00901231                               Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  IOA                 000852000000901249 Universal City          1000 Universal   Orlando           FL            32819
                      RESERVATIO0090                         Development Partners,   Studios Plaza
                      1249                                   Ltd.
UCDP                  CROISSANT           000852000000901256 Universal City          1000 Universal   Orlando           FL            32819
                      MOON00901256                           Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  IOA CINNABON        000852000000901264 Universal City          1000 Universal   Orlando           FL            32819
                      00901264                               Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  IOA STARBUCKS       000852000000901272 Universal City          1000 Universal   Orlando           FL            32819
                      00901272                               Development Partners,   Studios Plaza
                                                             Ltd.
UCDP                  CIRCUS              000852000000901280 Universal City          1000 Universal   Orlando           FL            32819
                      MCGURKU009012                          Development Partners,   Studios Plaza
                      80                                     Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction    Taxpayer ID (or     IRS Filing Name             Address             City              State     Postal Code
                       Division Name Merchant ID, where
                                          available)
UCDP                  ISLAND IOASIS  000852000000901298 Universal City            1000 Universal     Orlando           FL            32819
                      00901298                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  GREEN EGGS     000852000000901306 Universal City            1000 Universal     Orlando           FL            32819
                      00901306                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  MOOSE JUICE    000852000000901314 Universal City            1000 Universal     Orlando           FL            32819
                      00901314                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  HOP ON POP     000852000000901322 Universal City            1000 Universal     Orlando           FL            32819
                      00901322                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  MYTHOS         000852000000901330 Universal City            1000 Universal     Orlando           FL            32819
                      00901330                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  THREE          000852000000901348 Universal City            1000 Universal     Orlando           FL            32819
                      BROOMSTI009013                    Development Partners,     Studios Plaza
                      48                                Ltd.
UCDP                  HOGSHEAD BAR 000852000000901355 Universal City              1000 Universal     Orlando           FL            32819
                      00901355                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  FROZEN         000852000000901363 Universal City            1000 Universal     Orlando           FL            32819
                      DESSERT0090136                    Development Partners,     Studios Plaza
                      3                                 Ltd.
UCDP                  FIRE EATERS    000852000000901371 Universal City            1000 Universal     Orlando           FL            32819
                      GR00901371                        Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  OASIS COOLERS 000852000000901389 Universal City             1000 Universal     Orlando           FL            32819
                      00901389                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  THUNDER FALLS 000852000000901397 Universal City             1000 Universal     Orlando           FL            32819
                      00901397                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  WIMPYS         000852000000901405 Universal City            1000 Universal     Orlando           FL            32819
                      VENDING0090140                    Development Partners,     Studios Plaza
                      5                                 Ltd.




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 Business Unit Name     Transaction    Taxpayer ID (or     IRS Filing Name             Address             City              State     Postal Code
                       Division Name Merchant ID, where
                                          available)
UCDP                  PIZZA          000852000000901413 Universal City            1000 Universal     Orlando           FL            32819
                      PREDATOR00901                     Development Partners,     Studios Plaza
                      413                               Ltd.
UCDP                  WATERING HOLE 000852000000901421 Universal City             1000 Universal     Orlando           FL            32819
                      00901421                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  BURGER DIGS    000852000000901439 Universal City            1000 Universal     Orlando           FL            32819
                      00901439                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  WIMPYS         000852000000901447 Universal City            1000 Universal     Orlando           FL            32819
                      00901447                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  BLONDIES       000852000000901454 Universal City            1000 Universal     Orlando           FL            32819
                      00901454                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  COMIC STRIP    000852000000901462 Universal City            1000 Universal     Orlando           FL            32819
                      CA00901462                        Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  COMIC MINI     000852000000901470 Universal City            1000 Universal     Orlando           FL            32819
                      00901470                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  CATHY'S ICE    000852000000901488 Universal City            1000 Universal     Orlando           FL            32819
                      CR00901488                        Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  CAFE 4         000852000000901496 Universal City            1000 Universal     Orlando           FL            32819
                      00901496                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  CAPTAIN        000852000000901504 Universal City            1000 Universal     Orlando           FL            32819
                      AMERIC00901504                    Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  FROZEN ICEE    000852000000901512 Universal City            1000 Universal     Orlando           FL            32819
                      00901512                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  CHILL          000852000000901520 Universal City            1000 Universal     Orlando           FL            32819
                      00901520                          Development Partners,     Studios Plaza
                                                        Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCDP                  FRUIT AND        000852000000901538 Universal City          1000 Universal     Orlando           FL            32819
                      DRINK 00901538                      Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  COTTON CANDY     000852000000901546 Universal City          1000 Universal     Orlando           FL            32819
                      00901546                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  POE FRUIT        000852000000901579 Universal City          1000 Universal     Orlando           FL            32819
                      STAN00901579                        Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  LEMON SLUSH      000852000000901587 Universal City          1000 Universal     Orlando           FL            32819
                      00901587                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  POE POPCORN      000852000000901595 Universal City          1000 Universal     Orlando           FL            32819
                      00901595                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  IOA CATERING     000852000000901629 Universal City          1000 Universal     Orlando           FL            32819
                      00901629                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  SUESS ICEE       000852000000901645 Universal City          1000 Universal     Orlando           FL            32819
                      00901645                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  SNOWMAN          000852000000901652 Universal City          1000 Universal     Orlando           FL            32819
                      BUTTER00901652                      Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  SUESS POPCORN    000852000000901660 Universal City          1000 Universal     Orlando           FL            32819
                      00901660                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  HP VENDING       000852000000901678 Universal City          1000 Universal     Orlando           FL            32819
                      00901678                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  JP VENDING       000852000000901769 Universal City          1000 Universal     Orlando           FL            32819
                      00901769                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  LOST CONTNT      000852000000901777 Universal City          1000 Universal     Orlando           FL            32819
                      BE00901777                          Development Partners,   Studios Plaza
                                                          Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction     Taxpayer ID (or     IRS Filing Name            Address             City              State     Postal Code
                       Division Name  Merchant ID, where
                                           available)
UCDP                  NEEP CART       000852000000901785 Universal City           1000 Universal     Orlando           FL            32819
                      00901785                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  THUNDER SLUSH 000852000000901793 Universal City             1000 Universal     Orlando           FL            32819
                      00901793                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  BUTTER BER      000852000000901801 Universal City           1000 Universal     Orlando           FL            32819
                      CAR00901801                        Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  JURASSIC BEER   000852000000901850 Universal City           1000 Universal     Orlando           FL            32819
                      00901850                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  JURASSIC        000852000000901868 Universal City           1000 Universal     Orlando           FL            32819
                      POPCO00901868                      Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  JURASSIC        000852000000901876 Universal City           1000 Universal     Orlando           FL            32819
                      TURKE00901876                      Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  JURASSIC        000852000000901884 Universal City           1000 Universal     Orlando           FL            32819
                      FRUIT00901884                      Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  CIRCUS          000852000000901892 Universal City           1000 Universal     Orlando           FL            32819
                      SPECIAL00901892                    Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  LOST            000852000000901959 Universal City           1000 Universal     Orlando           FL            32819
                      CONTINENT00901                     Development Partners,    Studios Plaza
                      959                                Ltd.
UCDP                  LC FRUIT        000852000000901975 Universal City           1000 Universal     Orlando           FL            32819
                      STAND00901975                      Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  PIZZA PRED      000852000000901983 Universal City           1000 Universal     Orlando           FL            32819
                      MIN00901983                        Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  TOON BEER       000852000000901991 Universal City           1000 Universal     Orlando           FL            32819
                      CART00901991                       Development Partners,    Studios Plaza
                                                         Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCDP                  TOON POPCORN     000852000000902007 Universal City          1000 Universal     Orlando           FL            32819
                      C00902007                           Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  TOON ICEE        000852000000902015 Universal City          1000 Universal     Orlando           FL            32819
                      CART00902015                        Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  TOON DIP N       000852000000902023 Universal City          1000 Universal     Orlando           FL            32819
                      DOT00902023                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  HERO TURKEY      000852000000902072 Universal City          1000 Universal     Orlando           FL            32819
                      (500902072                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  HERO POPCORN     000852000000902080 Universal City          1000 Universal     Orlando           FL            32819
                      C00902080                           Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CAPT SPECIAL     000852000000902098 Universal City          1000 Universal     Orlando           FL            32819
                      E00902098                           Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  HERO HOT DOG     000852000000902106 Universal City          1000 Universal     Orlando           FL            32819
                      (00902106                           Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  POPEYE BEER      000852000000902114 Universal City          1000 Universal     Orlando           FL            32819
                      CA00902114                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  HERO SLUSH       000852000000902122 Universal City          1000 Universal     Orlando           FL            32819
                      (5600902122                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  BURGER DIGS      000852000000905661 Universal City          1000 Universal     Orlando           FL            32819
                      ME00905661                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  COLORVISION      000852000001002773 Universal City          1000 Universal     Orlando           FL            32819
                      RI01002773                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  COLORVISION      000852000001002781 Universal City          1000 Universal     Orlando           FL            32819
                      HA01002781                          Development Partners,   Studios Plaza
                                                          Ltd.




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                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCDP                  USIOA TRADING    000852000001003011 Universal City          1000 Universal     Orlando           FL            32819
                      01003011                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  ISLAND           000852000001003029 Universal City          1000 Universal     Orlando           FL            32819
                      MARKET/0100302                      Development Partners,   Studios Plaza
                      9                                   Ltd.
UCDP                  OCEAN TRADER     000852000001003045 Universal City          1000 Universal     Orlando           FL            32819
                      01003045                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  PORT             000852000001003052 Universal City          1000 Universal     Orlando           FL            32819
                      PROVISION01003                      Development Partners,   Studios Plaza
                      052                                 Ltd.
UCDP                  PORT             000852000001003060 Universal City          1000 Universal     Orlando           FL            32819
                      MERCHANT                            Development Partners,   Studios Plaza
                      01003060                            Ltd.
UCDP                  PORT             000852000001003078 Universal City          1000 Universal     Orlando           FL            32819
                      EXCHANGE                            Development Partners,   Studios Plaza
                      01003078                            Ltd.
UCDP                  IOA CHASE / MC   000852000001003086 Universal City          1000 Universal     Orlando           FL            32819
                                                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  SUESS GAMES      000852000001003128 Universal City          1000 Universal     Orlando           FL            32819
                      01003128                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CAT HATS AND     000852000001003136 Universal City          1000 Universal     Orlando           FL            32819
                      THI01003136                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  MULBERRY         000852000001003144 Universal City          1000 Universal     Orlando           FL            32819
                      STREE01003144                       Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  DR SUESS BOOK    000852000001003151 Universal City          1000 Universal     Orlando           FL            32819
                      01003151                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  SNOOKERS AND     000852000001003169 Universal City          1000 Universal     Orlando           FL            32819
                      SNO01003169                         Development Partners,   Studios Plaza
                                                          Ltd.




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                                                     493670
                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction    Taxpayer ID (or     IRS Filing Name             Address             City              State     Postal Code
                       Division Name Merchant ID, where
                                          available)
UCDP                  CART M-3       000852000001003177 Universal City            1000 Universal     Orlando           FL            32819
                      01003177                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  HONK HONKERS 000852000001003185 Universal City              1000 Universal     Orlando           FL            32819
                      01003185                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  FILCHS         000852000001003201 Universal City            1000 Universal     Orlando           FL            32819
                      EMPORIM0100320                    Development Partners,     Studios Plaza
                      1                                 Ltd.
UCDP                  DERVISH BANGS 000852000001003219 Universal City             1000 Universal     Orlando           FL            32819
                      01003219                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  TREASURES OF   000852000001003235 Universal City            1000 Universal     Orlando           FL            32819
                      P01003235                         Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  HP PIN CART    000852000001003243 Universal City            1000 Universal     Orlando           FL            32819
                      01003243                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  THE DRAGON'S   000852000001003250 Universal City            1000 Universal     Orlando           FL            32819
                      K01003250                         Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  HIPPOGRAFF     000852000001003268 Universal City            1000 Universal     Orlando           FL            32819
                      CAR01003268                       Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  ZONKOS         000852000001003276 Universal City            1000 Universal     Orlando           FL            32819
                      01003276                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  UNICORN CART   000852000001003284 Universal City            1000 Universal     Orlando           FL            32819
                      01003284                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  SHOPS OF       000852000001003292 Universal City            1000 Universal     Orlando           FL            32819
                      WONDE01003292                     Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  JURASSIC       000852000001003425 Universal City            1000 Universal     Orlando           FL            32819
                      OUTFI01003425                     Development Partners,     Studios Plaza
                                                        Ltd.




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                                                     493671
                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCDP                  DINOSTORE        000852000001003433 Universal City          1000 Universal     Orlando           FL            32819
                      01003433                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  UIOA REMOTE      000852000001003441 Universal City          1000 Universal     Orlando           FL            32819
                      01003441                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  TRICERATOPS      000852000001003458 Universal City          1000 Universal     Orlando           FL            32819
                      01003458                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  JURASSIC PARK    000852000001003466 Universal City          1000 Universal     Orlando           FL            32819
                      01003466                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  WOSSAMOTTA U     000852000001003482 Universal City          1000 Universal     Orlando           FL            32819
                      01003482                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  GASOLINE         000852000001003508 Universal City          1000 Universal     Orlando           FL            32819
                      ALLEY01003508                       Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  WOSSAMOTTA U     000852000001003516 Universal City          1000 Universal     Orlando           FL            32819
                      01003516                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  BETTY BOOP       000852000001003524 Universal City          1000 Universal     Orlando           FL            32819
                      01003524                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  TOON EXTRA       000852000001003532 Universal City          1000 Universal     Orlando           FL            32819
                      01003532                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  AMPHITHEATER     000852000001003540 Universal City          1000 Universal     Orlando           FL            32819
                      CART 01003540                       Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  SWEETHAVEN       000852000001003557 Universal City          1000 Universal     Orlando           FL            32819
                      KIO01003557                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  BLUTOS CART      000852000001003573 Universal City          1000 Universal     Orlando           FL            32819
                      01003573                            Development Partners,   Studios Plaza
                                                          Ltd.




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                                                     493672
                                                                    Exhibit A
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 Business Unit Name     Transaction     Taxpayer ID (or     IRS Filing Name            Address             City              State     Postal Code
                       Division Name  Merchant ID, where
                                           available)
UCDP                  SPONGEBOB       000852000001003581 Universal City           1000 Universal     Orlando           FL            32819
                      CART01003581                       Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  MARVEL          000852000001003631 Universal City           1000 Universal     Orlando           FL            32819
                      ALTERNI01003631                    Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  SPIDERMAN       000852000001003649 Universal City           1000 Universal     Orlando           FL            32819
                      SHOP01003649                       Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  COMIC BOOK      000852000001003672 Universal City           1000 Universal     Orlando           FL            32819
                      SHO01003672                        Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  HULK CART       000852000001003680 Universal City           1000 Universal     Orlando           FL            32819
                      01003680                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  DOOM CART LOC 000852000001003698 Universal City             1000 Universal     Orlando           FL            32819
                      01003698                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  TOON GAMES      000852000001003706 Universal City           1000 Universal     Orlando           FL            32819
                      01003706                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  UNIVRSL         000852000001003920 Universal City           1000 Universal     Orlando           FL            32819
                      STUDIO01003920                     Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  COLORVISION     000852000001004001 Universal City           1000 Universal     Orlando           FL            32819
                      01004001                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  COLORVISION     000852000001004019 Universal City           1000 Universal     Orlando           FL            32819
                      01004019                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  COLORVISION     000852000001004035 Universal City           1000 Universal     Orlando           FL            32819
                      01004035                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  PHOTO FUNNIES 000852000001004043 Universal City             1000 Universal     Orlando           FL            32819
                      01004043                           Development Partners,    Studios Plaza
                                                         Ltd.




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                                                     493673
                                                                    Exhibit A
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 Business Unit Name     Transaction    Taxpayer ID (or     IRS Filing Name             Address             City              State     Postal Code
                       Division Name Merchant ID, where
                                          available)
UCDP                  HULK PHOTO OP 000852000001004050 Universal City             1000 Universal     Orlando           FL            32819
                      01004050                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  TOON           000852000001004076 Universal City            1000 Universal     Orlando           FL            32819
                      CARICATUR01004                    Development Partners,     Studios Plaza
                      076                               Ltd.
UCDP                  MYTHICAL       000852000001004084 Universal City            1000 Universal     Orlando           FL            32819
                      METAL01004084                     Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  COLORVISION    000852000001004092 Universal City            1000 Universal     Orlando           FL            32819
                      SP01004092                        Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  STARSOULS      000852000001004100 Universal City            1000 Universal     Orlando           FL            32819
                      HENN01004100                      Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  SUNSHINE       000852000001004118 Universal City            1000 Universal     Orlando           FL            32819
                      LEATH01004118                     Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  ENJOY 01004126 000852000001004126 Universal City            1000 Universal     Orlando           FL            32819
                                                        Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  STARSOULS      000852000001004134 Universal City            1000 Universal     Orlando           FL            32819
                      PSYC01004134                      Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  WINDSOR        000852000001004142 Universal City            1000 Universal     Orlando           FL            32819
                      01004142                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  AMBER          000852000001004159 Universal City            1000 Universal     Orlando           FL            32819
                      TREASURE010041                    Development Partners,     Studios Plaza
                      59                                Ltd.
UCDP                  HERALDRY LC    000852000001004167 Universal City            1000 Universal     Orlando           FL            32819
                      01004167                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  SUNSHINE       000852000001004175 Universal City            1000 Universal     Orlando           FL            32819
                      LEATH01004175                     Development Partners,     Studios Plaza
                                                        Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCDP                  POE              000852000001004183 Universal City          1000 Universal     Orlando           FL            32819
                      CARICATURE010                       Development Partners,   Studios Plaza
                      04183                               Ltd.
UCDP                  SUNSHINE         000852000001004209 Universal City          1000 Universal     Orlando           FL            32819
                      LEATH01004209                       Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  HAIRWRAPS IOA    000852000001004217 Universal City          1000 Universal     Orlando           FL            32819
                      01004217                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CITY WALK        000852000001005867 Universal City          1000 Universal     Orlando           FL            32819
                      RESE01005867                        Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  IOA KIOSK        000852000001100171 Universal City          1000 Universal     Orlando           FL            32819
                      01100171                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  UNIV ADMISS      000852000001120203 Universal City          1000 Universal     Orlando           FL            32819
                      01120203                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  UNIV ADMISS      000852000001120211 Universal City          1000 Universal     Orlando           FL            32819
                      01120211                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  UNIV GUEST       000852000001120229 Universal City          1000 Universal     Orlando           FL            32819
                      SVC01120229                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  UNIV GUEST       000852000001120237 Universal City          1000 Universal     Orlando           FL            32819
                      SVC01120237                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  FINNEGANS        000852000001200021 Universal City          1000 Universal     Orlando           FL            32819
                      01200021                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  BACKLOT          000852000001200039 Universal City          1000 Universal     Orlando           FL            32819
                      BISTRO01200039                      Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  LA BAMBA         000852000001200047 Universal City          1000 Universal     Orlando           FL            32819
                      01200047                            Development Partners,   Studios Plaza
                                                          Ltd.




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                                                     493675
                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction   Taxpayer ID (or     IRS Filing Name              Address             City              State     Postal Code
                       Division NameMerchant ID, where
                                         available)
UCDP                  FAST FOOD     000852000001200054 Universal City             1000 Universal     Orlando           FL            32819
                      BLVD01200054                     Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  LOUIE'S       000852000001200062 Universal City             1000 Universal     Orlando           FL            32819
                      01200062                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  SCHWAB'S      000852000001200070 Universal City             1000 Universal     Orlando           FL            32819
                      01200070                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  MEL'S         000852000001200088 Universal City             1000 Universal     Orlando           FL            32819
                      01200088                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  KID ZONE      000852000001200096 Universal City             1000 Universal     Orlando           FL            32819
                      PIZZA01200096                    Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  FOUNTAIN OF   000852000001200104 Universal City             1000 Universal     Orlando           FL            32819
                      01200104                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  CHEZ ALCATRAZ 000852000001200112 Universal City             1000 Universal     Orlando           FL            32819
                      01200112                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  BOULANGERIE   000852000001200120 Universal City             1000 Universal     Orlando           FL            32819
                      01200120                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  MOES TAVERN   000852000001200153 Universal City             1000 Universal     Orlando           FL            32819
                      01200153                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  AMITY CHICKEN 000852000001200179 Universal City             1000 Universal     Orlando           FL            32819
                      01200179                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  LOMBARD'S     000852000001200195 Universal City             1000 Universal     Orlando           FL            32819
                      01200195                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  B112 MINI     000852000001200203 Universal City             1000 Universal     Orlando           FL            32819
                      GRIL01200203                     Development Partners,      Studios Plaza
                                                       Ltd.




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                                                     493676
                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction     Taxpayer ID (or     IRS Filing Name            Address             City              State     Postal Code
                       Division Name  Merchant ID, where
                                           available)
UCDP                  MELS MINI       000852000001200260 Universal City           1000 Universal     Orlando           FL            32819
                      GRIL01200260                       Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  NORTH CARTS     000852000001200294 Universal City           1000 Universal     Orlando           FL            32819
                      VE01200294                         Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  SOUTH CARTS     000852000001200302 Universal City           1000 Universal     Orlando           FL            32819
                      VE01200302                         Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  BOULANGERIE     000852000001200310 Universal City           1000 Universal     Orlando           FL            32819
                      CA01200310                         Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  FORTESCUES      000852000001200328 Universal City           1000 Universal     Orlando           FL            32819
                      ICE01200328                        Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  DIAGON ALLEY    000852000001200336 Universal City           1000 Universal     Orlando           FL            32819
                      V01200336                          Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  RICHTERS        000852000001200344 Universal City           1000 Universal     Orlando           FL            32819
                      01200344                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  BEN AND         000852000001200351 Universal City           1000 Universal     Orlando           FL            32819
                      JERRYS 01200351                    Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  LONDON TAXI     000852000001200369 Universal City           1000 Universal     Orlando           FL            32819
                      HU01200369                         Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  MIDWAY GRILL    000852000001200377 Universal City           1000 Universal     Orlando           FL            32819
                      01200377                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  KINGS CROSS     000852000001200385 Universal City           1000 Universal     Orlando           FL            32819
                      01200385                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  IFFF MINI       000852000001200401 Universal City           1000 Universal     Orlando           FL            32819
                      01200401                           Development Partners,    Studios Plaza
                                                         Ltd.




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                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction   Taxpayer ID (or     IRS Filing Name              Address             City              State     Postal Code
                       Division NameMerchant ID, where
                                         available)
UCDP                  AMITY COKE    000852000001200419 Universal City             1000 Universal     Orlando           FL            32819
                      01200419                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  SAN FRANCISCO 000852000001200427 Universal City             1000 Universal     Orlando           FL            32819
                      01200427                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  U-CAFE GRILL  000852000001200450 Universal City             1000 Universal     Orlando           FL            32819
                      01200450                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  GAMES DIP N   000852000001200468 Universal City             1000 Universal     Orlando           FL            32819
                      01200468                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  GRAVEYARD     000852000001200484 Universal City             1000 Universal     Orlando           FL            32819
                      01200484                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  GRAVEYARD     000852000001200492 Universal City             1000 Universal     Orlando           FL            32819
                      01200492                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  LOUIE'S FRUIT 000852000001200526 Universal City             1000 Universal     Orlando           FL            32819
                      01200526                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  SILVER SCREEN 000852000001200542 Universal City             1000 Universal     Orlando           FL            32819
                      01200542                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  FRONT GATE    000852000001200559 Universal City             1000 Universal     Orlando           FL            32819
                      POP01200559                      Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  FEAR FACTOR   000852000001200567 Universal City             1000 Universal     Orlando           FL            32819
                      01200567                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  TURKEY WAGON 000852000001200575 Universal City              1000 Universal     Orlando           FL            32819
                      01200575                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  ROCKIT CART   000852000001200583 Universal City             1000 Universal     Orlando           FL            32819
                      01200583                         Development Partners,      Studios Plaza
                                                       Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction    Taxpayer ID (or     IRS Filing Name             Address             City              State     Postal Code
                       Division Name Merchant ID, where
                                          available)
UCDP                  TWISTER HOT    000852000001200591 Universal City            1000 Universal     Orlando           FL            32819
                      DO01200591                        Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  MONSTER SLUSH 000852000001200617 Universal City             1000 Universal     Orlando           FL            32819
                      01200617                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  BONEYARD HOT 000852000001200625 Universal City              1000 Universal     Orlando           FL            32819
                      D01200625                         Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  T2 BEER        000852000001200633 Universal City            1000 Universal     Orlando           FL            32819
                      01200633                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  LABAMBA        000852000001200658 Universal City            1000 Universal     Orlando           FL            32819
                      SPECIA01200658                    Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  LOMBARDS       000852000001200666 Universal City            1000 Universal     Orlando           FL            32819
                      WIREL01200666                     Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  DESPICABLE ME 000852000001200674 Universal City             1000 Universal     Orlando           FL            32819
                      01200674                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  LARD LAD CART 000852000001200682 Universal City             1000 Universal     Orlando           FL            32819
                      01200682                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  LA BAMBA       000852000001200690 Universal City            1000 Universal     Orlando           FL            32819
                      LEMON01200690                     Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  NATHANS        000852000001200708 Universal City            1000 Universal     Orlando           FL            32819
                      HOTDOG0120070                     Development Partners,     Studios Plaza
                      8                                 Ltd.
UCDP                  USF RESRV      000852000001200716 Universal City            1000 Universal     Orlando           FL            32819
                      CART01200716                      Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  KID ZONE       000852000001200732 Universal City            1000 Universal     Orlando           FL            32819
                      SNACK01200732                     Development Partners,     Studios Plaza
                                                        Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction    Taxpayer ID (or     IRS Filing Name             Address             City              State     Postal Code
                       Division Name Merchant ID, where
                                          available)
UCDP                  SAN FRAN BEER 000852000001200740 Universal City             1000 Universal     Orlando           FL            32819
                      01200740                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  BTTF POPCORN   000852000001200757 Universal City            1000 Universal     Orlando           FL            32819
                      01200757                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  SIMPSONS       000852000001200765 Universal City            1000 Universal     Orlando           FL            32819
                      HOTDO01200765                     Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  BUMBLE BEE     000852000001200773 Universal City            1000 Universal     Orlando           FL            32819
                      MAN01200773                       Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  ROBOASIS       000852000001200781 Universal City            1000 Universal     Orlando           FL            32819
                                                        Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  EXPO EATS      000852000001200799 Universal City            1000 Universal     Orlando           FL            32819
                      01200799                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  COASTER ET     000852000001200815 Universal City            1000 Universal     Orlando           FL            32819
                      01200815                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  HOPPING POT    000852000001200831 Universal City            1000 Universal     Orlando           FL            32819
                      01200831                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  MONSTERS       000852000001200849 Universal City            1000 Universal     Orlando           FL            32819
                      SPECI01200849                     Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  AA             000852000001200856 Universal City            1000 Universal     Orlando           FL            32819
                      HOTDOG/SODA01                     Development Partners,     Studios Plaza
                      200856                            Ltd.
UCDP                  LOUIE'S        000852000001200872 Universal City            1000 Universal     Orlando           FL            32819
                      GELATO01200872                    Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  FUNNEL CAKES   000852000001200880 Universal City            1000 Universal     Orlando           FL            32819
                      01200880                          Development Partners,     Studios Plaza
                                                        Ltd.




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 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCDP                  LOUIE'S          000852000001200898 Universal City          1000 Universal     Orlando           FL            32819
                      VENDIN01200898                      Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  FINNEGANS        000852000001200906 Universal City          1000 Universal     Orlando           FL            32819
                      SPEC01200906                        Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  LABAMBA FRUIT    000852000001200914 Universal City          1000 Universal     Orlando           FL            32819
                      01200914                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  BONE YARD        000852000001200922 Universal City          1000 Universal     Orlando           FL            32819
                      01200922                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  DUFF GARDENS     000852000001200930 Universal City          1000 Universal     Orlando           FL            32819
                      01200930                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  MIB FRUIT        000852000001200955 Universal City          1000 Universal     Orlando           FL            32819
                      01200955                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  MIB ICEE         000852000001200963 Universal City          1000 Universal     Orlando           FL            32819
                      01200963                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  LA BAMBA         000852000001200989 Universal City          1000 Universal     Orlando           FL            32819
                      VENDI01200989                       Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CATERING         000852000001201003 Universal City          1000 Universal     Orlando           FL            32819
                      01201003                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  IFFF SPECIAL     000852000001201037 Universal City          1000 Universal     Orlando           FL            32819
                      E01201037                           Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  LEAKY            000852000001201102 Universal City          1000 Universal     Orlando           FL            32819
                      CAULDRON01201                       Development Partners,   Studios Plaza
                      102                                 Ltd.
UCDP                  STARBUCKS        000852000001201128 Universal City          1000 Universal     Orlando           FL            32819
                      01201128                            Development Partners,   Studios Plaza
                                                          Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction     Taxpayer ID (or     IRS Filing Name            Address             City              State     Postal Code
                       Division Name  Merchant ID, where
                                           available)
UCDP                  GRAMERCY        000852000001201144 Universal City           1000 Universal     Orlando           FL            32819
                      POPCO01201144                      Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  LOUIES          000852000001201151 Universal City           1000 Universal     Orlando           FL            32819
                      SPECIAL01201151                    Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  ETERNELLES      000852000001201367 Universal City           1000 Universal     Orlando           FL            32819
                      ELI01201367                        Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  BONE CHILLERS 000852000001201946 Universal City             1000 Universal     Orlando           FL            32819
                      01201946                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  USTOP           000852000001206713 Universal City           1000 Universal     Orlando           FL            32819
                      01206713                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  MONSTER CAFE 000852000001210012 Universal City              1000 Universal     Orlando           FL            32819
                      01210012                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  USF             000852000001300011 Universal City           1000 Universal     Orlando           FL            32819
                      MERCHANDIS013                      Development Partners,    Studios Plaza
                      00011                              Ltd.
UCDP                  UNIVERSAL       000852000001302017 Universal City           1000 Universal     Orlando           FL            32819
                      STUD01302017                       Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  SILVER SCREEN   000852000001302025 Universal City           1000 Universal     Orlando           FL            32819
                      01302025                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  CARTOON STORE 000852000001302033 Universal City             1000 Universal     Orlando           FL            32819
                      01302033                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  SAHARA          000852000001302041 Universal City           1000 Universal     Orlando           FL            32819
                      TRADERS0130204                     Development Partners,    Studios Plaza
                      1                                  Ltd.
UCDP                  TENT SALE       000852000001302058 Universal City           1000 Universal     Orlando           FL            32819
                      01302058                           Development Partners,    Studios Plaza
                                                         Ltd.




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 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCDP                  KRUSTYLAND       000852000001302066 Universal City          1000 Universal     Orlando           FL            32819
                      KAR01302066                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  SECOND HAND      000852000001302074 Universal City          1000 Universal     Orlando           FL            32819
                      RO01302074                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  BROWN DERBY      000852000001302082 Universal City          1000 Universal     Orlando           FL            32819
                      01302082                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  ON LOCATION      000852000001302090 Universal City          1000 Universal     Orlando           FL            32819
                      01302090                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  KWIK E MART      000852000001302108 Universal City          1000 Universal     Orlando           FL            32819
                      01302108                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  SUPER SILLY      000852000001302116 Universal City          1000 Universal     Orlando           FL            32819
                      ST01302116                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  SUPPLY VAULT     000852000001302140 Universal City          1000 Universal     Orlando           FL            32819
                      01302140                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  SAN FRANCISCO    000852000001302157 Universal City          1000 Universal     Orlando           FL            32819
                      01302157                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  TWISTER          000852000001302165 Universal City          1000 Universal     Orlando           FL            32819
                      01302165                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  TERMINATOR 2     000852000001302173 Universal City          1000 Universal     Orlando           FL            32819
                      01302173                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  ET'S             000852000001302181 Universal City          1000 Universal     Orlando           FL            32819
                      01302181                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  IT'S A WRAP      000852000001302207 Universal City          1000 Universal     Orlando           FL            32819
                      01302207                            Development Partners,   Studios Plaza
                                                          Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCDP                  MEN IN BLACK     000852000001302215 Universal City          1000 Universal     Orlando           FL            32819
                      01302215                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  DOC'S CANDY      000852000001302223 Universal City          1000 Universal     Orlando           FL            32819
                      01302223                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  KID ZONE CART    000852000001302231 Universal City          1000 Universal     Orlando           FL            32819
                      01302231                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  SHREK            000852000001302249 Universal City          1000 Universal     Orlando           FL            32819
                      01302249                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  PRODUCTION       000852000001302272 Universal City          1000 Universal     Orlando           FL            32819
                      CEN01302272                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  TNA CART         000852000001302280 Universal City          1000 Universal     Orlando           FL            32819
                      01302280                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  BARNEY           000852000001302298 Universal City          1000 Universal     Orlando           FL            32819
                      01302298                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  GLOW CART        000852000001302306 Universal City          1000 Universal     Orlando           FL            32819
                      VEND01302306                        Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  SAN FRANCISCO    000852000001302314 Universal City          1000 Universal     Orlando           FL            32819
                      01302314                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  BATTERY PARK     000852000001302322 Universal City          1000 Universal     Orlando           FL            32819
                      01302322                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CART 33          000852000001302330 Universal City          1000 Universal     Orlando           FL            32819
                      01302330                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CART #34         000852000001302348 Universal City          1000 Universal     Orlando           FL            32819
                      01302348                            Development Partners,   Studios Plaza
                                                          Ltd.




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 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCDP                  ET CART/CNTRL    000852000001302355 Universal City          1000 Universal     Orlando           FL            32819
                      01302355                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CART #36         000852000001302363 Universal City          1000 Universal     Orlando           FL            32819
                      01302363                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CARITT MARKET    000852000001302371 Universal City          1000 Universal     Orlando           FL            32819
                      01302371                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  DUFF BREWERY     000852000001302389 Universal City          1000 Universal     Orlando           FL            32819
                      K01302389                           Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CART #39         000852000001302397 Universal City          1000 Universal     Orlando           FL            32819
                      01302397                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  MADAM            000852000001302462 Universal City          1000 Universal     Orlando           FL            32819
                      MALKINS                             Development Partners,   Studios Plaza
                      01302462                            Ltd.
UCDP                  WISEACRES        000852000001302504 Universal City          1000 Universal     Orlando           FL            32819
                      SCRI01302504                        Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  MAGICAL          000852000001302512 Universal City          1000 Universal     Orlando           FL            32819
                      MENAGE0130251                       Development Partners,   Studios Plaza
                      2                                   Ltd.
UCDP                  WEASLEYS         000852000001302520 Universal City          1000 Universal     Orlando           FL            32819
                      QUALI01302520                       Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  OLLIVANDERS      000852000001302546 Universal City          1000 Universal     Orlando           FL            32819
                      01302546                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  THE FILM         000852000001302553 Universal City          1000 Universal     Orlando           FL            32819
                      VAULT01302553                       Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  BORGIN AND       000852000001302561 Universal City          1000 Universal     Orlando           FL            32819
                      BUR01302561                         Development Partners,   Studios Plaza
                                                          Ltd.




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 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCDP                  PARK PLAZA       000852000001302579 Universal City          1000 Universal     Orlando           FL            32819
                      HOL01302579                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  FISH GAMES       000852000001302595 Universal City          1000 Universal     Orlando           FL            32819
                      01302595                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  GRINGOTTS        000852000001302611 Universal City          1000 Universal     Orlando           FL            32819
                      MONE01302611                        Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  DOCS CANDY       000852000001302629 Universal City          1000 Universal     Orlando           FL            32819
                      01302629                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  SUNSHINE         000852000001302637 Universal City          1000 Universal     Orlando           FL            32819
                      LEATH01302637                       Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  IRISH SHOP       000852000001302645 Universal City          1000 Universal     Orlando           FL            32819
                      01302645                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  WINDSOR          000852000001302660 Universal City          1000 Universal     Orlando           FL            32819
                      01302660                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  COLORVISION      000852000001302678 Universal City          1000 Universal     Orlando           FL            32819
                      SH01302678                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  LONDON CART      000852000001302686 Universal City          1000 Universal     Orlando           FL            32819
                      01302686                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  WILLIAMS OF      000852000001302694 Universal City          1000 Universal     Orlando           FL            32819
                      HO01302694                          Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  USF GAMES        000852000001302702 Universal City          1000 Universal     Orlando           FL            32819
                      01302702                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  SPECIAL EVENT    000852000001302710 Universal City          1000 Universal     Orlando           FL            32819
                      01302710                            Development Partners,   Studios Plaza
                                                          Ltd.




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  Business Unit Name        Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                           Division Name   Merchant ID, where
                                                available)
UCDP                      USF SUNGLASS     000852000001302728 Universal City          1000 Universal     Orlando           FL            32819
                          01302728                            Development Partners,   Studios Plaza
                                                              Ltd.
UCDP                      WINDSPINNERS     000852000001302744 Universal City          1000 Universal     Orlando           FL            32819
                          01302744                            Development Partners,   Studios Plaza
                                                              Ltd.
UCDP                      SAN FRAN         000852000001302751 Universal City          1000 Universal     Orlando           FL            32819
                          CARIC01302751                       Development Partners,   Studios Plaza
                                                              Ltd.
UCDP                      COLORVISION      000852000001302769 Universal City          1000 Universal     Orlando           FL            32819
                          01302769                            Development Partners,   Studios Plaza
                                                              Ltd.
UCDP                      COLORVISION      000852000001302793 Universal City          1000 Universal     Orlando           FL            32819
                          01302793                            Development Partners,   Studios Plaza
                                                              Ltd.
UCDP                      HOLLYWOOD        000852000001302819 Universal City          1000 Universal     Orlando           FL            32819
                          01302819                            Development Partners,   Studios Plaza
                                                              Ltd.
UCDP                      UNIVRSAL         000852000001302827 Universal City          1000 Universal     Orlando           FL            32819
                          STUDO01302827                       Development Partners,   Studios Plaza
                                                              Ltd.
UCDP                      COLORVISION      000852000001302835 Universal City          1000 Universal     Orlando           FL            32819
                          01302835                            Development Partners,   Studios Plaza
                                                              Ltd.
Universal Studios Store   AIRPORT STORE    000852000001302843
Orlando LLC               01302843
Universal Studios Store   AIRPORT STORE    000852000001302850
Orlando LLC               01302850
UCDP                      COLORVISON       000852000001302918 Universal City          1000 Universal     Orlando           FL            32819
                          HHN01302918                         Development Partners,   Studios Plaza
                                                              Ltd.
UCDP                      COLORVISION      000852000001302926 Universal City          1000 Universal     Orlando           FL            32819
                          BA01302926                          Development Partners,   Studios Plaza
                                                              Ltd.
UCDP                      COLORVISION      000852000001302934 Universal City          1000 Universal     Orlando           FL            32819
                          ET01302934                          Development Partners,   Studios Plaza
                                                              Ltd.




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 Business Unit Name     Transaction    Taxpayer ID (or     IRS Filing Name             Address             City              State     Postal Code
                       Division Name Merchant ID, where
                                          available)
UCDP                  COLORVISION    000852000001302942 Universal City            1000 Universal     Orlando           FL            32819
                      SP01302942                        Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  COLORVISION    000852000001302959 Universal City            1000 Universal     Orlando           FL            32819
                      RO01302959                        Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  COLORVISION    000852000001302967 Universal City            1000 Universal     Orlando           FL            32819
                      TH01302967                        Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  COLORVISION    000852000001302975 Universal City            1000 Universal     Orlando           FL            32819
                      01302975                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  MAIL ORDER     000852000001303007 Universal City            1000 Universal     Orlando           FL            32819
                      01303007                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  WOSSAMOTTA     000852000001303486 Universal City            1000 Universal     Orlando           FL            32819
                      01303486                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  SUNSHINE       000852000001303866 Universal City            1000 Universal     Orlando           FL            32819
                      INNOV01303866                     Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  EXPO           000852000001303916 Universal City            1000 Universal     Orlando           FL            32819
                      CARICATUR01303                    Development Partners,     Studios Plaza
                      916                               Ltd.
UCDP                  AIRBRUSH       000852000001303932 Universal City            1000 Universal     Orlando           FL            32819
                      STUDI01303932                     Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  SUNSHINE       000852000001303940 Universal City            1000 Universal     Orlando           FL            32819
                      INNOV01303940                     Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  STARSOULS USF 000852000001303957 Universal City             1000 Universal     Orlando           FL            32819
                      01303957                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  HAIRWRAPS USF 000852000001303973 Universal City             1000 Universal     Orlando           FL            32819
                      01303973                          Development Partners,     Studios Plaza
                                                        Ltd.




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 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCDP                  COLORVISION      000852000001304245 Universal City          1000 Universal     Orlando           FL            32819
                      01304245                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  COLORVISION      000852000001304252 Universal City          1000 Universal     Orlando           FL            32819
                      01304252                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  TOKKO GIFTS      000852000001305010 Universal City          1000 Universal     Orlando           FL            32819
                      01305010                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  TREASURES OF     000852000001305028 Universal City          1000 Universal     Orlando           FL            32819
                      B01305028                           Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  ROYAL PACIFIC    000852000001305036 Universal City          1000 Universal     Orlando           FL            32819
                      01305036                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  NICK HOTEL       000852000001305044 Universal City          1000 Universal     Orlando           FL            32819
                      STO01305044                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  USTOP            000852000001305051 Universal City          1000 Universal     Orlando           FL            32819
                      01305051                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CABANA BAY       000852000001305069 Universal City          1000 Universal     Orlando           FL            32819
                      BEA01305069                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  PORTOFINO BAY    000852000001306000 Universal City          1000 Universal     Orlando           FL            32819
                      01306000                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  BELZ OUTLET      000852000001308527 Universal City          1000 Universal     Orlando           FL            32819
                      01308527                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  FESTIVAL BAY     000852000001308550 Universal City          1000 Universal     Orlando           FL            32819
                      01308550                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  UNVRSL           000852000001309129 Universal City          1000 Universal     Orlando           FL            32819
                      EMPLOYE013091                       Development Partners,   Studios Plaza
                      29                                  Ltd.




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 Business Unit Name     Transaction   Taxpayer ID (or     IRS Filing Name              Address             City              State     Postal Code
                       Division NameMerchant ID, where
                                         available)
UCDP                  USF           000852000001399997 Universal City             1000 Universal     Orlando           FL            32819
                      MERCHANDIS013                    Development Partners,      Studios Plaza
                      99997                            Ltd.
UCDP                  UNIV GROUP    000852000001400027 Universal City             1000 Universal     Orlando           FL            32819
                      SLS01400027                      Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  UNIV GUEST    000852000001400035 Universal City             1000 Universal     Orlando           FL            32819
                      SVC01400035                      Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  UNIV GUEST    000852000001400043 Universal City             1000 Universal     Orlando           FL            32819
                      SVC01400043                      Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  UNIVERSAL GCC 000852000001400050 Universal City             1000 Universal     Orlando           FL            32819
                      01400050                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  FINANCE       000852000001400068 Universal City             1000 Universal     Orlando           FL            32819
                      01400068                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  UNIV PARKING  000852000001400076 Universal City             1000 Universal     Orlando           FL            32819
                      01400076                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  UNIV GUEST    000852000001400084 Universal City             1000 Universal     Orlando           FL            32819
                      SVC01400084                      Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  UNIV KENNEL   000852000001400092 Universal City             1000 Universal     Orlando           FL            32819
                      01400092                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  USF KIOSK     000852000001400167 Universal City             1000 Universal     Orlando           FL            32819
                      01400167                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  VALET PARKING 000852000001400191 Universal City             1000 Universal     Orlando           FL            32819
                      01400191                         Development Partners,      Studios Plaza
                                                       Ltd.
UCDP                  UNIV RENTAL   000852000001400209 Universal City             1000 Universal     Orlando           FL            32819
                      01400209                         Development Partners,      Studios Plaza
                                                       Ltd.




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                                                     493690
                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCDP                  UNIVERSAL GCC    000852000001400290 Universal City          1000 Universal     Orlando           FL            32819
                      01400290                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  UNIVERSAL GCC    000852000001400308 Universal City          1000 Universal     Orlando           FL            32819
                      01400308                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  UNIVERSAL GCC    000852000001400316 Universal City          1000 Universal     Orlando           FL            32819
                      01400316                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  UNIVERSAL GCC    000852000001400324 Universal City          1000 Universal     Orlando           FL            32819
                      01400324                            Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  RESORT OPS       000852000001401413 Universal City          1000 Universal     Orlando           FL            32819
                      MAI01401413                         Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  UNIV ADMISS      000852000001410018 Universal City          1000 Universal     Orlando           FL            32819
                      01410018                            Development Partners,   Studios Plaza
                                                          Ltd.
UCTP                  DESTINATION      000852000001500420 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500420                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001500438 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500438                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001500446 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500446                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001500453 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500453                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001500461 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500461                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001500479 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500479                          Partners                Studios Plaza
UCDP                  HO JO            000852000001500495 Universal City          1000 Universal     Orlando           FL            32819
                      UNIVERSA015004                      Development Partners,   Studios Plaza
                      95                                  Ltd.
UCTP                  DESTINATION      000852000001500503 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500503                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001500552 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500552                          Partners                Studios Plaza




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                                                     493691
                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCTP                  DESTINATION      000852000001500560 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500560                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001500602 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500602                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001500628 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500628                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001500636 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500636                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001500644 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500644                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001500651 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500651                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001500669 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500669                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001500693 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500693                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001500743 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500743                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001500750 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500750                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001500784 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500784                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001500792 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500792                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001500800 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500800                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001500826 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500826                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001500834 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500834                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001500859 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500859                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001500867 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500867                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001500875 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500875                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001500917 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500917                          Partners                Studios Plaza



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                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCTP                  DESTINATION      000852000001500933 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500933                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001500941 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500941                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001500974 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01500974                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001501006 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501006                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001501014 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501014                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001501022 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501022                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001501048 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501048                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001501055 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501055                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001501063 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501063                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001501071 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501071                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001501097 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501097                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001501105 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501105                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001501113 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501113                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001501121 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501121                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001501139 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501139                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001501147 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501147                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001501154 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501154                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001501162 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501162                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001501170 Universal City Travel   1000 Universal     Orlando           FL            32819
                      01501170                            Partners                Studios Plaza



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                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction    Taxpayer ID (or     IRS Filing Name             Address             City              State     Postal Code
                       Division Name Merchant ID, where
                                          available)
UCTP                  DEST           000852000001501188 Universal City Travel     1000 Universal     Orlando           FL            32819
                      UNIVERSAL01501                    Partners                  Studios Plaza
                      188
UCTP                  DESTINATION    000852000001501196 Universal City Travel     1000 Universal     Orlando           FL            32819
                      UN01501196                        Partners                  Studios Plaza
UCTP                  DESTINATION    000852000001501220 Universal City Travel     1000 Universal     Orlando           FL            32819
                      UN01501220                        Partners                  Studios Plaza
UCTP                  DESTINATION    000852000001501238 Universal City Travel     1000 Universal     Orlando           FL            32819
                      UN01501238                        Partners                  Studios Plaza
UCTP                  DESTINATION    000852000001501246 Universal City Travel     1000 Universal     Orlando           FL            32819
                      UN01501246                        Partners                  Studios Plaza
UCTP                  DESTINATION    000852000001501253 Universal City Travel     1000 Universal     Orlando           FL            32819
                      UN01501253                        Partners                  Studios Plaza
UCTP                  DESTINATION    000852000001501261 Universal City Travel     1000 Universal     Orlando           FL            32819
                      UN01501261                        Partners                  Studios Plaza
UCTP                  DESTINATION    000852000001501279 Universal City Travel     1000 Universal     Orlando           FL            32819
                      UN01501279                        Partners                  Studios Plaza
UCTP                  DESTINATION    000852000001501287 Universal City Travel     1000 Universal     Orlando           FL            32819
                      UN01501287                        Partners                  Studios Plaza
UCTP                  DESTINATION    000852000001501295 Universal City Travel     1000 Universal     Orlando           FL            32819
                      UN01501295                        Partners                  Studios Plaza
UCTP                  DESTINATION    000852000001501303 Universal City Travel     1000 Universal     Orlando           FL            32819
                      UN01501303                        Partners                  Studios Plaza
UCTP                  DESTINATION    000852000001501311 Universal City Travel     1000 Universal     Orlando           FL            32819
                      UN01501311                        Partners                  Studios Plaza
UCTP                  DESTINATION    000852000001501329 Universal City Travel     1000 Universal     Orlando           FL            32819
                      UN01501329                        Partners                  Studios Plaza
UCTP                  DESTINATION    000852000001501337 Universal City Travel     1000 Universal     Orlando           FL            32819
                      UN01501337                        Partners                  Studios Plaza
UCTP                  DESTINATION    000852000001501345 Universal City Travel     1000 Universal     Orlando           FL            32819
                      UN01501345                        Partners                  Studios Plaza
UCDP                  ROSEN SHINGLE 000852000001501352 Universal City             1000 Universal     Orlando           FL            32819
                      01501352                          Development Partners,     Studios Plaza
                                                        Ltd.
UCTP                  DESTINATION    000852000001501360 Universal City Travel     1000 Universal     Orlando           FL            32819
                      01501360                          Partners                  Studios Plaza
UCTP                  DESTINATION    000852000001501378 Universal City Travel     1000 Universal     Orlando           FL            32819
                      UN01501378                        Partners                  Studios Plaza



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                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction      Taxpayer ID (or     IRS Filing Name           Address             City              State     Postal Code
                       Division Name   Merchant ID, where
                                            available)
UCDP                  WESTIN           000852000001501386 Universal City          1000 Universal     Orlando           FL            32819
                      ORLANDO015013                       Development Partners,   Studios Plaza
                      86                                  Ltd.
UCTP                  DESTINATION      000852000001501394 Universal City Travel   1000 Universal     Orlando           FL            32819
                      01501394                            Partners                Studios Plaza
UCTP                  DESTINATION      000852000001501402 Universal City Travel   1000 Universal     Orlando           FL            32819
                      01501402                            Partners                Studios Plaza
UCTP                  DESTINATION      000852000001501410 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501410                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001501428 Universal City Travel   1000 Universal     Orlando           FL            32819
                      01501428                            Partners                Studios Plaza
UCTP                  DESTINATION      000852000001501436 Universal City Travel   1000 Universal     Orlando           FL            32819
                      01501436                            Partners                Studios Plaza
UCTP                  DESTINATION      000852000001501444 Universal City Travel   1000 Universal     Orlando           FL            32819
                      01501444                            Partners                Studios Plaza
UCTP                  DESTINATION      000852000001501451 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501451                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001501469 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501469                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001501493 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501493                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001501501 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501501                          Partners                Studios Plaza
UCTP                  DESTINATION      000852000001501519 Universal City Travel   1000 Universal     Orlando           FL            32819
                      UN01501519                          Partners                Studios Plaza
UCDP                  MOTOWN           000852000001704642 Universal City          1000 Universal     Orlando           FL            32819
                      MERCHAN017046                       Development Partners,   Studios Plaza
                      42                                  Ltd.
UCTP                  DU PLAN CTR      000852000001900927 Universal City Travel   1000 Universal     Orlando           FL            32819
                      01900927                            Partners                Studios Plaza
UCDP                  UNIVERSAL        000852000002000024 Universal City          1000 Universal     Orlando           FL            32819
                      STUD02000024                        Development Partners,   Studios Plaza
                                                          Ltd.
UCDP                  CW SUNGLASS      000852000002004521 Universal City          1000 Universal     Orlando           FL            32819
                      CA02004521                          Development Partners,   Studios Plaza
                                                          Ltd.




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                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction     Taxpayer ID (or     IRS Filing Name            Address             City              State     Postal Code
                       Division Name  Merchant ID, where
                                           available)
UCDP                  DAPY            000852000002104537 Universal City           1000 Universal     Orlando           FL            32819
                      02104537                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  GLOW            000852000002104545 Universal City           1000 Universal     Orlando           FL            32819
                      02104545                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  UNVRSL          000852000002104552 Universal City           1000 Universal     Orlando           FL            32819
                      STUDIOS02104552                    Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  UNIVERSAL WEB 000852000002200087 Universal City             1000 Universal     Orlando           FL            32819
                      02200087                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  UNIVERSAL       000852000002200095 Universal City           1000 Universal     Orlando           FL            32819
                      ORLA02200095                       Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  COMCAST         000852000002200152 Universal City           1000 Universal     Orlando           FL            32819
                      EMPLOY02200152                     Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  AUTOMATED       000852000002200301 Universal City           1000 Universal     Orlando           FL            32819
                      02200301                           Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  ANNUAL PASS     000852000002300010 Universal City           1000 Universal     Orlando           FL            32819
                      FL02300010                         Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  ANNUAL PASS     000852000002309003 Universal City           1000 Universal     Orlando           FL            32819
                      FL02309003                         Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  UNIV SHOP       000852000002504843 Universal City           1000 Universal     Orlando           FL            32819
                      ONLI02504843                       Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  UNIV SHOP       000852000002504850 Universal City           1000 Universal     Orlando           FL            32819
                      ONLI02504850                       Development Partners,    Studios Plaza
                                                         Ltd.
UCDP                  FAT TUESDAY     000852000002606978 Universal City           1000 Universal     Orlando           FL            32819
                      02606978                           Development Partners,    Studios Plaza
                                                         Ltd.




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                                                                    Exhibit A
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 Business Unit Name     Transaction    Taxpayer ID (or     IRS Filing Name             Address             City              State     Postal Code
                       Division Name Merchant ID, where
                                          available)
UCDP                  FAT TUESDAY    000852000002607216 Universal City            1000 Universal     Orlando           FL            32819
                      CA02607216                        Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  SURF GRILL     000852000002706000 Universal City            1000 Universal     Orlando           FL            32819
                      02706000                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  MANNYS PIZZA   000852000002706018 Universal City            1000 Universal     Orlando           FL            32819
                      02706018                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  BUBBAS BBQ     000852000002706026 Universal City            1000 Universal     Orlando           FL            32819
                      02706026                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  GEORGES        000852000002706034 Universal City            1000 Universal     Orlando           FL            32819
                      FAMOUS02706034                    Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  WILD TIKI      000852000002706042 Universal City            1000 Universal     Orlando           FL            32819
                      02706042                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  CARNIVAL       000852000002706059 Universal City            1000 Universal     Orlando           FL            32819
                      TREAT02706059                     Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  DIPPIN DOTS    000852000002706075 Universal City            1000 Universal     Orlando           FL            32819
                      AT02706075                        Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  BONE CHILLIN   000852000002706083 Universal City            1000 Universal     Orlando           FL            32819
                      B02706083                         Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  CABANA         000852000002706091 Universal City            1000 Universal     Orlando           FL            32819
                      02706091                          Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  DIPPIN DOTS    000852000002706109 Universal City            1000 Universal     Orlando           FL            32819
                      CA02706109                        Development Partners,     Studios Plaza
                                                        Ltd.
UCDP                  FOOTLONG       000852000002706117 Universal City            1000 Universal     Orlando           FL            32819
                      HOTDO02706117                     Development Partners,     Studios Plaza
                                                        Ltd.




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                                                                        Exhibit A
                                In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction         Taxpayer ID (or     IRS Filing Name           Address           City              State     Postal Code
                          Division Name      Merchant ID, where
                                                  available)
UCDP                    ICE COLD BEER        000852000002706125 Universal City          1000 Universal   Orlando           FL            32819
                        02706125                                Development Partners,   Studios Plaza
                                                                Ltd.
UCDP                    PRETZEL CART         000852000002706133 Universal City          1000 Universal   Orlando           FL            32819
                        02706133                                Development Partners,   Studios Plaza
                                                                Ltd.
UCDP                    RIVERSIDE BBQ        000852000002706141 Universal City          1000 Universal   Orlando           FL            32819
                        02706141                                Development Partners,   Studios Plaza
                                                                Ltd.
UCDP                    SAND CASTLE          000852000002706158 Universal City          1000 Universal   Orlando           FL            32819
                        CA02706158                              Development Partners,   Studios Plaza
                                                                Ltd.
UCDP                    DIPPIN DOTS          000852000002706166 Universal City          1000 Universal   Orlando           FL            32819
                        AT02706166                              Development Partners,   Studios Plaza
                                                                Ltd.
UCDP                    THIRST AID           000852000002706174 Universal City          1000 Universal   Orlando           FL            32819
                        CAR02706174                             Development Partners,   Studios Plaza
                                                                Ltd.
UCDP                    TROPICAL             000852000002706182 Universal City          1000 Universal   Orlando           FL            32819
                        SLUSH02706182                           Development Partners,   Studios Plaza
                                                                Ltd.
UCDP                    STARBUCKS            000852000002706208 Universal City          1000 Universal   Orlando           FL            32819
                        WNW 02706208                            Development Partners,   Studios Plaza
                                                                Ltd.
UCDP                    UNIVERSAL            110852000099991119 Universal City          1000 Universal   Orlando           FL            32819
                        STUDIOS                                 Development Partners,   Studios Plaza
                        99991119                                Ltd.

Entity                   Acquired by        Divested (end date)
                         Comcast
Ballena Technologies Inc Acquired October                  1-Jul-17
                         2015
Brulee Holdings LLC      Acquired August                  1-Apr-18
                         2017
Global Spectrum LP                                        1-Apr-18
Global Spectrum Facility                                  1-Apr-18
Management LP
New Era Tickets                                            1-Jul-17



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                                                                      Exhibit A
                              In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name      Transaction      Taxpayer ID (or        IRS Filing Name        Address             City              State   Postal Code
                         Division Name    Merchant ID, where
                                              available)
Ovations Fanfare LP                                   1-Apr-18
Ovations Food Services                                1-Apr-18
LP
Ovations Ontario LP                                   1-Apr-18
Philadelphia 76ers LP                                    Jul-11
Philadelphia Phantoms                    July 2009
LP

ADDITIONAL
AFFILIATES
COMCAST ABB USC,
LLC
COMCAST Amateur
Sports, LLC
COMCAST ASBC, Inc.
COMCAST Baseball
Investment, LLC
COMCAST Broadband
Security, LLC
COMCAST Broadnet
Payroll Services, Inc.
COMCAST BTN
Holdings, LLC
COMCAST Business
Class Security, LLC
COMCAST Business
Communications of
Virginia, LLC
COMCAST Business
Communications, LLC
COMCAST Business
Communications, Inc.
COMCAST Cable
Communications Canada,
Inc.
COMCAST Cable
Communications
Holdings, LLC



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                                                         493699
                                                                         Exhibit A
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  Business Unit Name         Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                            Division Name    Merchant ID, where
                                                 available)
COMCAST Cable
Communications
Management, LLC
COMCAST Cable
Communications, LLC
COMCAST Cable EP
Services, Inc.
COMCAST Cable
Funding
COMCAST Cable
Funding GP, Inc.
COMCAST Cable
Funding I, Inc.
COMCAST Cable of
Indiana, LLC
COMCAST Cable of
Indiana/Michigan/Texas
I, LLC
COMCAST Cable of
Maryland, Inc.
COMCAST Cable SC
Investment, Inc.
COMCAST Cable Trust I

COMCAST Cable Trust
II
COMCAST Cable Trust
III
COMCAST Cablevision
of Garden State, Inc.
COMCAST Cablevision
of Southeast Michigan,
Inc.
COMCAST Capital
Corporation
COMCAST CCH
Subsidiary Holdings, Inc.




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                                                         493700
                                                                         Exhibit A
                                 In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name         Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                            Division Name    Merchant ID, where
                                                 available)
COMCAST CHC
Subsidiary Holdings, Inc.
COMCAST CHC, LLC
COMCAST Children’s
Network Holdings, LLC
COMCAST CIM STS
Holdings, Inc.
COMCAST COLI
Holdings, LLC
COMCAST Commercial
Services Financing, LLC
COMCAST Commercial
Services Group Holdings,
LLC
COMCAST Concurrent
Holdings, Inc.
COMCAST Contribution
Holdings, LLC
COMCAST Corporate
Investments II, Inc.
COMCAST Corporate
Investments, LLC
COMCAST Corporation
Political Action
Committee - Texas
COMCAST Corporation
Political Action
Committee of
Massachusetts
COMCAST Corporation
Trust I
COMCAST Corporation
Trust II
COMCAST Corporation
Trust III
COMCAST
Crystalvision, Inc.




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                                                       493701
                                                                      Exhibit A
                              In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name      Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                         Division Name    Merchant ID, where
                                              available)
COMCAST CSA
Holdings, LLC
COMCAST CTV
Holdings, LLC
COMCAST CV GP, LLC

COMCAST CV, L.P.
COMCAST CVC
Ventures
COMCAST DC Radio,
LLC
COMCAST Encore, Inc.
COMCAST
Entertainment Networks
Holdings, LLC
COMCAST
Entertainment
Productions, LLC
COMCAST Financial
Agency Corporation
COMCAST Florida
Programming
Investments, Inc.
COMCAST Funding I,
Inc.
COMCAST Garden
State, LLC
COMCAST Gary
Holdings, LLC
COMCAST Gateway
Holdings, LLC
COMCAST GI Carolina,
LLC
COMCAST Greater
Boston Advertising
Holdings, LLC
COMCAST Hockey
Investment, LLC



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                                                        493702
                                                                       Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                          Division Name    Merchant ID, where
                                               available)
COMCAST Hockey, LLC

COMCAST Holdings II,
LLC
COMCAST Horror
Entertainment Holdings,
LLC
COMCAST Houston
Advertising Holdings,
LLC
COMCAST ICCP, LLC
COMCAST ICG, Inc.
COMCAST In Demand
Holdings, Inc.
COMCAST Interactive
Media, LLC
COMCAST Interactive
Programming Ventures,
LLC
COMCAST International
Holdings, Inc.
COMCAST IP Holdings
I, LLC
COMCAST IP Phone II,
LLC
COMCAST IP Phone III,
LLC
COMCAST IP Phone IV,
LLC
COMCAST IP Phone of
Missouri, LLC
COMCAST IP Phone of
Oregon, LLC
COMCAST IP Phone V,
LLC
COMCAST IP Phone VI,
LLC




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                                                       493703
                                                                      Exhibit A
                              In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name       Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                         Division Name    Merchant ID, where
                                              available)
COMCAST IP Phone VII,
LLC
COMCAST IP Phone,
LLC
COMCAST IP Services
II, Inc.
COMCAST IP Services,
LLC
COMCAST IPG/JV, LLC

COMCAST JR Holdings,
Inc.
COMCAST LCP, Inc.
COMCAST Levittown
Finance, Inc.
COMCAST Life
Insurance Holding
Company
COMCAST LMC E!
Entertainment, LLC
COMCAST Metatv, Inc.
COMCAST Michigan
Holdings, LLC
COMCAST
Midcontinent, LLC
COMCAST Mile Hi
Holdings, LLC
COMCAST MO Cable
News, LLC
COMCAST MO Capital
Corporation
COMCAST MO
Communications Holding
Company, Inc.
COMCAST MO Europe,
Inc.
COMCAST MO Express
Midwest, Inc.



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                                                         493704
                                                                        Exhibit A
                                In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name        Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                           Division Name    Merchant ID, where
                                                available)
COMCAST MO Express
of California, Inc.
COMCAST MO Express
of Florida, Inc.
COMCAST MO Express
of New England, Inc.
COMCAST MO Express
of Virginia, Inc.
COMCAST MO Federal
Relations, Inc.
COMCAST MO Finance
Trust I
COMCAST MO Finance
Trust II
COMCAST MO Finance
Trust III
COMCAST MO Finance
Trust IV
COMCAST MO Finance
Trust V
COMCAST MO Finance
Trust VI
COMCAST MO
Financial Services, Inc.
COMCAST MO
Financing A
COMCAST MO
Financing B
COMCAST MO Foreign
Investments, Inc.
COMCAST MO Group
Funding, Inc.
COMCAST MO Group,
Inc.
COMCAST MO
Holdings I, LLC
COMCAST MO
Holdings II, Inc.



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                                                          493705
                                                                          Exhibit A
                                  In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name          Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                             Division Name    Merchant ID, where
                                                  available)
COMCAST MO
Information Technology
Systems, Inc.
COMCAST MO
Interactive Services, Inc.
COMCAST MO
International Holdings II,
Inc.
COMCAST MO
International
Programming, Inc.
COMCAST MO
International, Inc.
COMCAST MO
Investments, LLC
COMCAST MO of
Burnsville/Eagan, Inc.
COMCAST MO of
Burnsville/Eagan, LLC
COMCAST MO of
Delaware, LLC
COMCAST MO of
Minnesota, Inc.
COMCAST MO of
Minnesota, LLC
COMCAST MO of North
Valley, Inc.
COMCAST MO of Quad
Cities, Inc.
COMCAST MO of the
North Suburbs, Inc.
COMCAST MO Racing,
Inc.
COMCAST MO Real
Estate, Inc.
COMCAST MO SPC I,
LLC




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                                                     493706
                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                       Division Name    Merchant ID, where
                                            available)
COMCAST MO SPC II,
LLC
COMCAST MO SPC III,
LLC
COMCAST MO SPC IV,
LLC
COMCAST MO SPC V,
LLC
COMCAST MO SPC VI,
LLC
COMCAST MO
Telecommunications
Corp.
COMCAST MVNO II,
LLC
COMCAST Nashville
Finance
COMCAST National
Communications
Services, LLC
COMCAST Navy
Acquisition, LLC
COMCAST Navy
Contribution, LLC
COMCAST NCC
Holdings I, LLC
COMCAST NCC
Holdings II, LLC
COMCAST NCC
Holdings III, LLC
COMCAST NECN
Holdings, LLC
COMCAST Netherlands,
Inc.
COMCAST New Media
Development, Inc.




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                                                        493707
                                                                        Exhibit A
                                In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name        Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                           Division Name    Merchant ID, where
                                                available)
COMCAST New
Mexico/Pennsylvania
Finance, Inc.
COMCAST of Alabama,
LLC
COMCAST of Alameda,
Inc.
COMCAST of Arizona,
LLC
COMCAST of Arkansas,
Inc.
COMCAST of
Arkansas/Florida/Louisia
na/Minnesota/Mississippi
/Tennessee, Inc.
COMCAST of
Arkansas/Louisiana/Minn
esota/Mississippi/Tennes
see, LLC
COMCAST of Avalon,
LLC
COMCAST of Baltimore
City, LLC
COMCAST of Bellevue,
Inc.
COMCAST of Boston,
Inc.
COMCAST of Brockton,
Inc.
COMCAST of Bryant,
Inc.
COMCAST of Burlington
County, LLC
COMCAST of California
I, Inc.
COMCAST of California
II, Inc.




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                                                          493708
                                                                          Exhibit A
                                  In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name          Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                             Division Name    Merchant ID, where
                                                  available)
COMCAST of California
II, LLC
COMCAST of California
III, Inc.
COMCAST of California
III, LLC
COMCAST of California
IV, Inc.
COMCAST of California
IX, Inc.
COMCAST of California
V, Inc.
COMCAST of California
VI, Inc.
COMCAST of California
VIII, Inc.
COMCAST of California
X, Inc.
COMCAST of California
XI, Inc.
COMCAST of California
XII, Inc.
COMCAST of California
XIII, Inc.
COMCAST of California
XIV, LLC
COMCAST of California
XV, LLC
COMCAST of
California/Colorado, LLC
COMCAST of
California/Colorado/Flori
da/Oregon, Inc.
COMCAST of
California/Colorado/Illino
is/Indiana/ Michigan GP,
LLC




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                                                          493709
                                                                          Exhibit A
                                  In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name          Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                             Division Name    Merchant ID, where
                                                  available)
COMCAST of
California/Colorado/Illino
is/Indiana/ Michigan, LP
COMCAST of
California/Colorado/Illino
is/Indiana/Michigan, LLC
COMCAST of
California/Colorado/Was
hington I, Inc.
COMCAST of
California/Colorado/Was
hington, LP
COMCAST of
California/Connecticut/M
ichigan
COMCAST of
California/Idaho, Inc.
COMCAST of
California/Illinois, LP
Comcast of
California/Illinois, LLC
COMCAST of
California/Maryland/Pen
nsylvania/ Virginia/West
Virginia, LLC
COMCAST of
California/Massachusetts/
Michigan/Utah, Inc.
COMCAST of
California/Massachusetts/
Michigan/Utah, LLC
COMCAST of
California/Pennsylvania/
Utah/Washington, Inc.
COMCAST of Carolina,
Inc.
COMCAST of
Celebration, LLC



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                                                          493710
                                                                         Exhibit A
                                 In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name         Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                            Division Name    Merchant ID, where
                                                 available)
COMCAST of Central
New Jersey II, LLC
COMCAST of Central
New Jersey, LLC
COMCAST of
Chesterfield County, Inc.
COMCAST of Chicago,
Inc.
COMCAST of Clinton
CT, LLC
COMCAST of Clinton
MI, LLC
COMCAST of Clinton,
LLC
COMCAST of Coconut
Creek, Inc.
COMCAST of Colorado
I, LLC
COMCAST of Colorado
II, LLC
COMCAST of Colorado
III, LLC
COMCAST of Colorado
IV, LLC
COMCAST of Colorado
IX, LLC
COMCAST of Colorado
V, LLC
COMCAST of Colorado
VI, LLC
COMCAST of Colorado
VII, LLC
COMCAST of Colorado
VIII, LLC
COMCAST of Colorado
X, LLC
COMCAST of Colorado
XI, Inc.



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                                                       493711
                                                                       Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                          Division Name    Merchant ID, where
                                               available)
COMCAST of Colorado
XII, Inc.
COMCAST of Colorado,
LP
COMCAST of
Colorado/Florida, Inc.
COMCAST of
Colorado/Florida, LLC
COMCAST of
Colorado/Pennsylvania/W
est Virginia, LLC
COMCAST of
Connecticut II, Inc.
COMCAST of
Connecticut, Inc.
COMCAST of
Connecticut, LLC
COMCAST of
Connecticut/Georgia/Mas
sachusetts/New
Hampshire/New
York/North
Carolina/Virginia/Vermo
nt, LLC
COMCAST of Contra
Costa, Inc.
COMCAST of Cupertino,
Inc.
COMCAST of Danbury,
LLC
COMCAST of Davis
County, Inc.
COMCAST of Delmarva,
LLC
COMCAST of Detroit
COMCAST of Detroit,
LLC




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                                                          493712
                                                                          Exhibit A
                                  In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name          Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                             Division Name    Merchant ID, where
                                                  available)
COMCAST of East San
Fernando Valley, LP
COMCAST of Eastern
Connecticut, Inc.
COMCAST of Eastern
Shore, LLC
COMCAST of Elkton,
LLC
COMCAST of Everett,
Inc.
COMCAST of Flint, Inc.
COMCAST of Florida
COMCAST of Florida I,
Inc.
COMCAST of Florida III,
Inc.
COMCAST of Florida,
LP
COMCASt of Florida,
LLC
COMCAST of
Florida/Georgia
COMCAST of
Florida/Georgia/Pennsylv
ania, L.P.
COMCAST of
Florida/Illinois/Michigan,
Inc.
COMCAST of
Florida/Washington, LLC
COMCAST of Fort
Wayne Limited
Partnership
COMCAST of Fresno,
Inc.
COMCAST of Garden
State L.P.




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                                                       493713
                                                                       Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                          Division Name    Merchant ID, where
                                               available)
COMCAST of Georgia I,
LLC
COMCAST of
Georgia/Massachusetts,
LLC
COMCAST of
Georgia/Michigan, LP
COMCAST of
Georgia/Michigan, LLC
COMCAST of
Georgia/South Carolina
II, LLC
COMCAST of
Georgia/South Carolina,
LLC
COMCAST of
Georgia/Virginia, Inc.
COMCAST of Gloucester
County, LLC
COMCAST of Greater
Florida/Georgia, Inc.
COMCAST of Grosse
Pointe, Inc.
COMCAST of Groton,
LLC
COMCAST of Harford
County, LLC
COMCAST of Hopewell
Valley, Inc.
COMCAST of Houston,
LLC
COMCAST of Howard
County, LLC
COMCAST of Illinois I,
Inc.
COMCAST of Illinois II,
Inc.




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                                                          493714
                                                                          Exhibit A
                                  In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name          Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                             Division Name    Merchant ID, where
                                                  available)
COMCAST of Illinois III,
Inc.
COMCAST of Illinois IV,
Inc.
COMCAST of Illinois IX,
LLC
COMCAST of Illinois V,
Inc.
COMCAST of Illinois VI,
LLC
COMCAST of Illinois
VII, Inc.
COMCAST of Illinois
VIII, LLC
COMCAST of Illinois X,
LLC
COMCAST of Illinois XI,
LLC
COMCAST of Illinois
XII, L.P.
COMCAST of Illinois
XIII, L.P.
COMCAST of
Illinois/Indiana
COMCAST Of
Illinois/Indiana, LLC
COMCAST of
Illinois/Indiana/Michigan,
Inc.
COMCAST of
Illinois/Indiana/Ohio,
COMCAST of
Illinois/Ohio/Oregon,
COMCAST of
Illinois/West Virginia,
LLC
COMCAST of Indiana,
LLC



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                                                        493715
                                                                        Exhibit A
                                In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name        Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                           Division Name    Merchant ID, where
                                                available)
COMCAST of
Indiana/Kentucky/Utah
COMCAST OF
Indiana/Kentucky/Utah,
LLC
COMCAST of
Indiana/Michigan, LLC
COMCAST of
Indiana/Michigan/Pennsy
lvania, LLC
COMCAST of
Indianapolis, L.P.
COMCAST of
Indianapolis, LLC
COMCAST of Inkster,
LLC
COMCAST of Jersey
City, LLC
COMCAST of
Kentucky/Tennessee/Virg
inia, LLC
COMCAST of Laurel,
Inc.
COMCAST of Lawrence,
LLC
COMCAST of Levittown,
LLC
COMCAST of Little
Rock, Inc.
COMCAST of Lompoc,
LLC
COMCAST of Long
Beach Island, LLC
COMCAST of
Louisiana/Mississippi/Te
xas, LLC
COMCAST of Lower
Merion, LLC



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                                                        493716
                                                                       Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                          Division Name    Merchant ID, where
                                               available)
COMCAST of Macomb
County, LLC
COMCAST of Macomb,
LLC
COMCAST of
Maine/New Hampshire,
Inc.
COMCAST of Marin I,
Inc.
COMCAST of Marin II,
Inc.
COMCAST of Maryland
II, LLC
COMCAST of Maryland
Limited Partnership
COMCAST of Maryland,
LLC
COMCAST of
Massachusetts I, Inc.
COMCAST of
Massachusetts II, Inc.
COMCAST of
Massachusetts III, Inc.
COMCAST of
Massachusetts/Virginia,
Inc.
COMCAST of Mercer
County, LLC
COMCAST of Meridian,
Inc.
COMCAST of Miami,
Inc.
COMCAST of Michigan
I, Inc.
COMCAST of Michigan
I, LLC
COMCAST of Michigan
II, Inc.



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                                                        493717
                                                                        Exhibit A
                                In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name        Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                           Division Name    Merchant ID, where
                                                available)
COMCAST of Michigan
III, Inc.
COMCAST of Michigan
IV, LLC
COMCAST of Michigan,
LLC
COMCAST of
Michigan/Mississippi/Te
nnessee, Inc.
COMCAST of
Middletown, LLC
COMCAST of Milton,
Inc.
COMCAST of
Minnesota, Inc.
COMCAST of
Minnesota/Wisconsin,
Inc.
COMCAST of
Mississippi Call Center,
LLC
COMCAST of Missouri,
LLC
COMCAST of Monmouth
County, LLC
COMCAST of Montana I,
Inc.
COMCAST of Montana
II, Inc.
COMCAST of Montana
III, Inc.
COMCAST of Mt.
Clemens I, LLC
COMCAST of Mt.
Clemens, LLC
COMCAST of Muncie,
LLC




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                                                     493718
                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                       Division Name    Merchant ID, where
                                            available)
COMCAST of Muncie,
LP
COMCAST of Muskegon

COMCAST of Nashville
I, LLC
COMCAST of Nashville
II, LLC
COMCAST of Needham,
Inc.
COMCAST of New
Castle County, LLC
COMCAST of New
Hampshire, Inc.
COMCAST of New
Haven, LLC
COMCAST of New
Jersey II, LLC
COMCAST of New
Jersey, LLC
COMCAST of New
Mexico, LLC
COMCAST of New
Mexico/Pennsylvania,
LLC
COMCAST of New
York, LLC
COMCAST of North
Broward, Inc.
COMCAST of Northern
California I, Inc.
COMCAST of Northern
California II, Inc.
COMCAST of Northern
Illinois, Inc.
COMCAST of Northern
Indiana, Inc.




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                                                       493719
                                                                       Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                          Division Name    Merchant ID, where
                                               available)
COMCAST of Northwest
New Jersey, LLC

COMCAST of Novato,
Inc.
COMCAST of Ocean
County, LLC
COMCAST of Ohio, Inc.
COMCAST of Oregon I,
Inc.
COMCAST of Oregon II,
Inc.
COMCAST of Parkland,
Inc.
COMCAST of
Pennsylvania
COMCAST of
Pennsylvania I, Inc.
COMCAST of
Pennsylvania II, Inc.
COMCAST of
Pennsylvania II, L.P.
COMCAST of
Pennsylvania, LLC
COMCAST of
Pennsylvania/Maryland,
LLC
COMCAST of
Pennsylvania/Washington
/West Virginia, LP
COMCAST of
Philadelphia II, LLC
COMCAST of
Philadelphia, LLC
COMCAST of Plainfield,
LLC
COMCAST of Potomac,
LLC



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                                                     493720
                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                       Division Name    Merchant ID, where
                                            available)
COMCAST of Puget
Sound, Inc.
COMCAST of Richmond,
Inc.
COMCAST of
Sacramento I, LLC
COMCAST of
Sacramento II, LLC
COMCAST of
Sacramento III, LLC
COMCAST of San
Joaquin, Inc.
COMCAST of San
Leandro, Inc.
COMCAST of Santa
Cruz, Inc.
COMCAST of Santa
Maria, LLC
COMCAST of Shelby,
LLC
COMCAST of Sierra
Valleys, Inc.
COMCAST of South
Chicago, Inc.
COMCAST of South
Dade, Inc.
COMCAST of South
Florida I, Inc.
COMCAST of South
Florida II, Inc.
COMCAST of South
Jersey, LLC
COMCAST of Southeast
Pennsylvania, LLC
COMCAST of Southern
California, Inc.
COMCAST of Southern
Illinois, Inc.



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                                                        493721
                                                                       Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                          Division Name    Merchant ID, where
                                               available)
COMCAST of Southern
Mississippi, Inc.
COMCAST of Southern
New England, Inc.
COMCAST of Southern
Tennessee, LLC
COMCAST of Spokane,
LLC
COMCAST of St. Paul,
Inc.
COMCAST of Sterling
Heights, LLC
COMCAST of Tacoma,
Inc.
COMCAST of
Tallahassee, LLC
COMCAST of Taylor,
LLC
COMCAST of
Tennessee, LP
COMCAST of
Tennessee, LLC
COMCAST of the
District Holdings, Inc.
COMCAST of the
District, LLC
COMCAST of the Gulf
Plains, Inc.
COMCAST of the
Meadowlands, LLC
COMCAST of the South
COMCAST of the South,
Inc.
COMCAST of the South,
L.P.
COMCAST of the South,
LLC




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                                                      493722
                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                       Division Name    Merchant ID, where
                                            available)
COMCAST of Tualatin
Valley, Inc.
COMCAST of Tupelo,
Inc.
COMCAST of Twin
Cities, Inc.
COMCAST of Utah I,
Inc.
COMCAST of Utah II,
Inc.
COMCAST of Utica,
LLC
COMCAST of Virginia,
Inc.
COMCAST of Virginia,
LLC
COMCAST of Warren I,
LLC
COMCAST of Warren,
LLC
COMCAST of Wasatch,
Inc.
COMCAST of
Washington I, Inc.
COMCAST of
Washington II, Inc.
COMCAST of
Washington III, Inc.
COMCAST of
Washington IV, Inc.
COMCAST of
Washington V, LLC
COMCAST of
Washington, LLC
COMCAST of
Washington/Oregon




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                 Case 1:05-md-01720-MKB-JAM Document 8713-3 Filed 09/30/22 Page 360 of 414 PageID #:
                                                     493723
                                                                    Exhibit A
                            In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name     Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                       Division Name    Merchant ID, where
                                            available)
COMCAST of
Washington/Oregon
SMATV I, LLC
COMCAST of
Washington/Oregon
SMATV II, LLC
COMCAST of West
Florida, Inc.
COMCAST of West
Virginia, LLC
COMCAST of Western
Colorado, Inc.
COMCAST of
Wildwood, LLC
COMCAST of
Wisconsin, Inc.
COMCAST of Wyoming
I, Inc.
COMCAST of Wyoming
II, Inc.
COMCAST of Wyoming,
LLC
COMCAST Palm Beach
GP, LLC
COMCAST Phone II,
LLC
COMCAST Phone
Management, LLC
COMCAST Phone of
Alabama, LLC
COMCAST Phone of
Arizona, LLC
COMCAST Phone of
Arkansas, LLC
COMCAST Phone of
California, LLC
COMCAST Phone of
Central Indiana, LLC



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                                                          493724
                                                                       Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                          Division Name    Merchant ID, where
                                               available)
COMCAST Phone of
Colorado, LLC
COMCAST Phone of
Connecticut, Inc.
COMCAST Phone of
D.C., LLC
COMCAST Phone of
Delaware, LLC
COMCAST Phone of
Florida, LLC
COMCAST Phone of
Georgia, LLC
COMCAST Phone of
Idaho, LLC
COMCAST Phone of
Illinois, LLC
COMCAST Phone of
Iowa, LLC
COMCAST Phone of
Kansas, LLC
COMCAST Phone of
Kentucky, LLC
COMCAST Phone of
Louisiana, LLC
COMCAST Phone of
Maine, LLC
COMCAST Phone of
Maryland, Inc.
COMCAST Phone of
Massachusetts, Inc.
COMCAST Phone of
Michigan, LLC
COMCAST Phone of
Minnesota, Inc.
COMCAST Phone of
Mississippi, LLC
COMCAST Phone of
Missouri, LLC



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                                                         493725
                                                                       Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                          Division Name    Merchant ID, where
                                               available)
COMCAST Phone of
Montana, LLC
COMCAST Phone of
Nebraska, LLC
COMCAST Phone of
Nevada, LLC
COMCAST Phone of
New Hampshire, LLC
COMCAST Phone of
New Jersey, LLC
COMCAST Phone of
New Mexico, LLC
COMCAST Phone of
New York, LLC
COMCAST Phone of
North Carolina, LLC
COMCAST Phone of
North Dakota, LLC
COMCAST Phone of
Northern Maryland, Inc.
COMCAST Phone of
Northern Virginia, Inc.
COMCAST Phone of
Ohio, LLC
COMCAST Phone of
Oklahoma, LLC
COMCAST Phone of
Oregon, LLC
COMCAST Phone of
Pennsylvania, LLC
COMCAST Phone of
Rhode Island, LLC
COMCAST Phone of
South Carolina, Inc.
COMCAST Phone of
South Dakota, LLC
COMCAST Phone of
Tennessee, LLC



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                                                     493726
                                                                   Exhibit A
                           In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name    Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                      Division Name    Merchant ID, where
                                           available)
COMCAST Phone of
Texas, LLC
COMCAST Phone of
Utah, LLC
COMCAST Phone of
Vermont, LLC
COMCAST Phone of
Washington, LLC
COMCAST Phone of
West Virginia, LLC
COMCAST Phone of
Wisconsin, LLC
COMCAST Phone, LLC
COMCAST PM
Holdings, LLC
COMCAST Primestar
Holdings, Inc.
COMCAST Programming
Holdings, LLC

COMCAST Programming
Management, LLC

COMCAST Programming
Ventures III, LLC

COMCAST Programming
Ventures IV, LLC

COMCAST Programming
Ventures V, LLC

COMCAST Programming
Ventures, LLC

COMCAST PSM
Holdings, LLC




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                                                     493727
                                                                     Exhibit A
                             In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name      Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                        Division Name    Merchant ID, where
                                             available)
COMCAST QCOM TV
Partners GP, LLC
COMCAST QIH, Inc.
COMCAST QVC, Inc.
COMCAST Real Estate
Holdings of Alabama,
LLC
COMCAST Regional
Programming, Inc.
COMCAST RL Holdings,
LLC
COMCAST SC
Investment, Inc.
COMCAST Spectacor
Holding Company, Inc.
COMCAST Spectacor
Holding, LLC
COMCAST Spectacor
Ventures, LLC
COMCAST Spectacor,
L.P.
COMCAST Spectacor,
LLC
COMCAST Spectrum
Holdings, LLC
COMCAST Sports
Management Services,
LLC
COMCAST STB
Software DVR, LLC
COMCAST STB
Software I, LLC
COMCAST STB
Software II, LLC
COMCAST STB
Software MOT, LLC
COMCAST STB
Software PAN, LLC



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                    Case 1:05-md-01720-MKB-JAM Document 8713-3 Filed 09/30/22 Page 365 of 414 PageID #:
                                                        493728
                                                                       Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                          Division Name    Merchant ID, where
                                               available)
COMCAST STB
Software PM, LLC
COMCAST STB
Software TW, LLC
COMCAST Studio
Investments, Inc.
COMCAST Support
Services, LLC
COMCAST TCP
Holdings, Inc.
COMCAST TCP
Holdings, LLC
COMCAST Technology,
Inc.
COMCAST Telephony
Communications of
California, Inc.
COMCAST Telephony
Communications of
Delaware, Inc.
COMCAST Telephony
Communications of
Georgia, Inc.
COMCAST Telephony
Communications of
Indiana, Inc.
COMCAST Telephony
Communications, LLC
COMCAST Telephony
Services Holdings, Inc.
COMCAST TKI
Holdings, Inc.
COMCAST TW
Exchange Holdings I GP,
LLC
COMCAST TW
Exchange Holdings I, LP




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                                                        493729
                                                                        Exhibit A
                                In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name        Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                           Division Name    Merchant ID, where
                                                available)
COMCAST TW
Exchange Holdings II GP,
LLC
COMCAST TW
Exchange Holdings II, LP
COMCAST Ventures,
LLC
COMCAST Ventures, LP

COMCAST Visible
World Holdings, Inc.
COMCAST WCS ME02,
Inc.
COMCAST WCS ME04,
Inc.
COMCAST WCS ME05,
Inc.
COMCAST WCS ME16,
Inc.
COMCAST WCS ME19,
Inc.
COMCAST WCS ME22,
Inc.
COMCAST WCS ME26,
Inc.
COMCAST WCS ME28,
Inc.
COMCAST WCS Merger
Holdings, Inc.
COMCAST WG, LLC
COMCAST Wireless
Investment, LLC
COMCAST ZB Holdings,
LLC
Lenfest Atlantic
Communications, Inc.
Lenfest Australia Group
Pty Limited



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                                                           493730
                                                                           Exhibit A
                                   In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name           Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                              Division Name    Merchant ID, where
                                                   available)
Lenfest Australia, Inc.
Lenfest Clearview GP,
LLC
Lenfest Clearview, LP
Lenfest Delaware
Properties, Inc.
Lenfest International, Inc.
Lenfest Investments, Inc.
Lenfest Jersey, LLC
Lenfest MCN, Inc.
Lenfest Oaks, Inc.
Lenfest York, LLC
FreeWheel Advertisers,
Inc.
FreeWheel Media, Inc.
Susquehanna Cable Co.,
LLC
Susquehanna Cable
Investment Co.
TCI Adelphia Holdings,
LLC
TCI Atlantic, LLC
TCI Bay, Inc.
TCI Cable Investments,
LLC
TCI Cablevision
Associates Inc.
TCI Cablevision
Associates, LLC
TCI Cablevision of
California Century
Holdings, LLC
TCI Cablevision of
Kentucky, Inc.
TCI Cablevision of
Kentucky, LLC
TCI Cablevision of
Massachusetts, Inc.



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                                                         493731
                                                                         Exhibit A
                                 In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name         Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                            Division Name    Merchant ID, where
                                                 available)
TCI Cablevision of
Michigan, Inc.
TCI Cablevision of
Minnesota, Inc.
TCI Cablevision of
Nebraska, Inc.
TCI Cablevision of
Nebraska, LLC
TCI Cablevision of North
Central Kentucky, Inc.
TCI Cablevision of North
Central Kentucky, LLC
TCI Cablevision of Sierra
Vista, Inc.
TCI Cablevision of South
Dakota, Inc.
TCI Cablevision of St.
Bernard, Inc.
TCI Cablevision of St.
Bernard, LLC
TCI Cablevision of
Vermont, Inc.
TCI California Holdings,
LLC
TCI Capital Corp.
TCI Capital, LLC
TCI Central, LLC
TCI Command II, LLC
TCI Communications
Financing I
TCI Communications
Financing II
TCI Communications
Financing III
TCI Communications
Financing IV
TCI CSC II, Inc.
TCI CSC II, LLC



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                                                         493732
                                                                        Exhibit A
                                In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name        Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                           Division Name    Merchant ID, where
                                                available)
TCI CSC III, Inc.
TCI CSC IV, Inc.
TCI CSC IX, Inc.
TCI CSC V, Inc.
TCI CSC VI, Inc.
TCI CSC VII, Inc.
TCI CSC VIII, Inc.
TCI CSC X, Inc.
TCI CSC XI, Inc.
TCI Development, LLC
TCI Evangola, Inc.
TCI Falcon Holdings,
LLC
TCI FCLP Alabama, LLC

TCI FCLP California,
LLC
TCI FCLP Missouri, LLC

TCI FCLP Northern
California, LLC
TCI FCLP Northwest,
LLC
TCI FCLP Oregon, LLC
TCI FCLP Redding, LLC
TCI FCLP Wenatchee,
LLC
TCI Gilbert Uplink, Inc.
TCI Great Lakes, Inc.
TCI Hits At Home, Inc.
TCI Holdings, Inc.
TCI Holdings, LLC
TCI IL-Holdings II, LLC
TCI IL-Holdings, Inc.
TCI Internet Holdings,
Inc.
TCI Internet Services,
LLC



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                                                         493733
                                                                         Exhibit A
                                 In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name         Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                            Division Name    Merchant ID, where
                                                 available)
TCI IP-VI, LLC
TCI IT Holdings, Inc.
TCI Lake II, LLC
TCI Lake, Inc.
TCI Lenfest, Inc.
TCI Lenfest, LLC
TCI Magma Holdings,
Inc.
TCI Materials
Management, Inc.
TCI Michigan, Inc.
TCI Michigan, LLC
TCI Microwave, Inc.
TCI National Digital
Television Center - Hong
Kong, Inc.
TCI New York Holdings,
Inc.
TCI Northeast, Inc.
TCI Northeast, LLC
TCI of Council Bluffs,
Inc.
TCI of Counsel Bluffs,
LLC
TCI of Greenwich, Inc.
TCI of Greewich, LLC
TCI of Indiana Holdings,
LLC
TCI of Indiana Insgt
Holdings, LLC
TCI of Lee County, Inc.
TCI of Maine, Inc.
TCI of Missouri, Inc.
TCI of Missouri, LLC
TCI of North Dakota, Inc.

TCI of Overland Park,
Inc.



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                                                         493734
                                                                         Exhibit A
                                 In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name         Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                            Division Name    Merchant ID, where
                                                 available)
TCI of Overland Park,
LLC
TCI of Paterson, Inc.
TCI of Paterson, LLC
TCI of South Dakota, Inc.

TCI of South Dakota,
LLC
TCI of Southern
Minnesota, Inc.
TCI of Springfield, Inc.
TCI of Watertown, Inc.
TCI Ohio Holdings, Inc.
TCI Pacific
Communications, Inc.
TCI of Pacific
Communications, LLC
TCI Pennsylvania
Holdings, Inc.
TCI Programming
Holding Company III
TCI of Programming
Holding III, LLC
TCI Realty, LLC
TCI South Carolina IP-I,
LLC
TCI Southeast, Inc.
TCI of Southeast, LLC
TCI Spartanburg IP-IV,
LLC
TCI Starz, Inc.
TCI Technology
Management, LLC
TCI Telecom, Inc.
TCI Texas Cable
Holdings LLC
TCI Texas Cable, LLC




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                                                        493735
                                                                        Exhibit A
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  Business Unit Name        Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                           Division Name    Merchant ID, where
                                                available)
TCI TKR of Houston, Inc.

TCI TKR of Houston,
LLC
TCI TKR of Metro Dade,
LLC
TCI TKR of Southeast
Texas, Inc.
TCI TKR of Wyoming,
Inc.
TCI TKR of Wyoming,
LLC
TCI TW Texas JV
Holdings II, Inc.
TCI TW Texas JV
Holdings III, Inc.
TCI TW Texas JV
Holdings IV, Inc.
TCI TW Texas JV
Holdings V, Inc.
TCI USC, Inc.
TCI Washington
Associates, L.P.
TCI West, Inc.
TCI West, LLC
TCI.NET, Inc.
TCI/CA Acquisition Sub,
LLC
TCI/CI Merger Sub, LLC
TCID Data Transport,
Inc.
TCID of Chicago, Inc.
TCID of Florida, LLC
TCID of Michigan, Inc.
TCID of South Chicago,
Inc.
TCID X*PRESS, Inc.




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                                                          493736
                                                                          Exhibit A
                                  In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name          Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                             Division Name    Merchant ID, where
                                                  available)
TCID-Commercial
Music, Inc.
TWCC Holding Corp.
TWCC Video
Productions, Inc.
United Cable Investment
of Baltimore, Inc.
United Cable Television
Corporation of Michigan
United Cable Television
of Baldwin Park, Inc.
United Cable Television
of Los Angeles, LLC
United Cable Television
of Oakland County, Ltd.
United Cable Television
of Scottsdale, Inc.
United Cable Television
of Scottsdale, LLC
United Cable Television
Services of Colorado, Inc.

United Cable Television
Services of Colorado, Inc.

1440 Productions LLC
1440 Productions UK
Limited
170151 DCA Investment
Holdings, LLC
170151 DCA Investment,
LLC
18A Hotel LLC
18th & Arch Hotel, LLC
19A LLC
19th & Arch Holdings,
LLC
19th & Arch II, LLC



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                                                        493737
                                                                        Exhibit A
                                In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name        Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                           Division Name    Merchant ID, where
                                                available)
19th & Arch, LLC
1X Productions LLC
2 Baked Productions LLC

29 Stories LLC
3BG Holdings Company
II LLC
A Little Film LLC
ABB RFL, LLC
Acume LLC
Advanced IS, LLC
AF Productions LLC
Alli, Alliance of Action
Sports, LLC
Alpine Hideaway
Productions LLC
Alternate Reality
Productions LLC
Alternative Studio LLC
American Cablesystems
Northeast, a Limited
Partnership
Arcadia Productions LLC
Asia NBC (ANBC)
Services LLC
Athletes Direct LLC
AWTV Holding, LLC
AWTV, LLC
AYF SportsSignup LLC
B5 Pictures LLC
Banderole Development
LLC
Barricade Productions
Limited
Barter Music LLC
Battleship Delta
Investments L.L.C.




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                                                        493738
                                                                       Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                          Division Name    Merchant ID, where
                                               available)
Beautiful Day
Productions LLC
Beeswax.io Corporation
Beshert LLC
Big Idea Entertainment,
LLC
Big Idea.com, LLC
Big Minyan Films LLC
Billy National Tour
General Partner LLC
Billy National Tour II
General Partner LLC
Birmingham
Broadcasting (WVTM
BJD Films LLC
Blastr Productions LLC
Bleecker Production
Services Limited
Blueface US, LLC
Bluerace, Inc.
BluVector, Inc.
Bobwell Productions LLC

Bone Appetite
Productions LLC
Boomerang Media
Holdings II LLC
Boomerang Media
Holdings III LLC
Bourne Film Productions
Inc.
Bravo Holding LLC
Bravo Media LLC
Bravo Media Productions
Game of Crowns LLC
Bravo Media Productions
LLC




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                                                         493739
                                                                         Exhibit A
                                 In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name         Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                            Division Name    Merchant ID, where
                                                 available)
Bravo Peacock Music
LLC
Bravo Platinum Hit
Music LLC
Broadway Legends, LLC
Broken Seal LLC
BRS Golf Limited
Business News (Asia)
LLP
Business News (Europe)
Partnership
Cabin Fever Productions
LLC
Cable Sports Southeast,
LLC
Cable Television of Gary,
Inc.
Cablevision Associates of
Gary Joint Venture
Cablevision Investment of
Detroit, LLC
CACO Holding Company
LLC
Canciones de NBC
Universo, LLC
Carnival (Charles
Dickens) Limited
Carnival Film &
Television Limited
Carnival Productions
Limited
CBS Holdco, LLC
CC Wireless Holdings,
LLC
CC Wireless Investment
II, LLC
CC Wireless Investment,
LLC



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                                                        493740
                                                                        Exhibit A
                                In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name        Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                           Division Name    Merchant ID, where
                                                available)
Centenary Canada
Holding Company
Central Moon Music,
LLC
Central Moon
Productions LLC
Chiller LLC
Chimp Simple
Productions LLC
Chocolate Media Limited
Cinepapaya México S.A.
de C.V.
CityWalk Hollywood
Holding LLC
Clara Film Distribution
LLC
Classic Feature
Productions, LLC
Classic Media Holdings,
LLC
Classic Media Music,
LLC
Classic Media Pictures,
LLC
Classic Media
Productions, LLC
Classic Media, LLC
Classic Services II, LLC
Classic Services, Inc.
Cloo LLC
CNBC (UK) Limited
CNBC Advertising
(Shanghai) Co., Ltd.
CNBC International
Productions, L.L.C.
CNBC Media
Productions LLC




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                                                        493741
                                                                        Exhibit A
                                In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name        Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                           Division Name    Merchant ID, where
                                                available)
CNBC Productions of
Louisiana LLC
CNBC Publishing LLC
CNBC World LLC
CNBC Worldwide LLC
CNBC.com Holding LLC
CNBC.com LLC
CNBC/MSNBC, L.L.C.
CNV Productions LLC
COM Indiana, LLC
COM Indianapolis, LLC
COM South, LLC
Comcast ABB Business
Services, LLC
Comcast ABB Note
Consolidation, Inc.
Comcast AG Holdings,
LLC
Comcast Business Class
Security of MA, LLC
Comcast Business
Communications Canada,
LLC
Comcast Cable Funding I,
LLC
Comcast Cable of
Maryland, LLC
Comcast California
Collection Services, LLC
Comcast CBRS, LLC
Comcast CCW Holdings,
LLC
Comcast CHC Subsidiary
Holdings, Inc.
Comcast Connected
Health, LLC
Comcast DW Holding,
Inc.



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                                                         493742
                                                                         Exhibit A
                                 In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name         Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                            Division Name    Merchant ID, where
                                                 available)
Comcast ENG, LLC
Comcast Funding I, LLC
Comcast Government
Services, LLC
Comcast Holdings III,
LLC
Comcast Hulu Holdings,
LLC
Comcast India US
Holdings, LLC
Comcast LA Holdings,
Inc.
Comcast MO Digital
Radio, LLC
Comcast Navy Holdings,
LLC
Comcast Neptune Illinois,
PLLC
Comcast Neptune, LLC
Comcast of California
XII, LLC
Comcast of Carolina,
LLC
Comcast of
Florida/Michigan/New
Mexico/Pennsylvania/Wa
shington, LLC
Comcast of
Georgia/Illinois/
Michigan, LLC
Comcast of
Georgia/Pennsylvania,
LLC
Comcast of Gloucester
County, LLC
Comcast of Illinois XII,
LLC




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                                                        493743
                                                                        Exhibit A
                                In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name        Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                           Division Name    Merchant ID, where
                                                available)
Comcast of
Illinois/Indiana/
Michigan, LLC
Comcast of Richmond,
LLC
Comcast Philadelphia
Holdings, LLC
Comcast Snap Holdings
II, LLC
Comcast Snap Holdings,
Inc.
Comcast Spectacor
Events, LLC
Comcast Spectacor
Holding Company, LLC
Comcast Sports
Southwest, LLC
Comcast SportsNet
California, LLC
Comcast Spotlight
Charter Cable
Advertising, LP
Comcast Technology
Solutions, LLC
Comcast Warranty and
Home Insurance Agency,
LLC
Comcast/Charter Master
Cable Advertising, LLC
ComCon Production
Services I, Inc.
Community Realty, LLC
Compound Films Limited
Corpus Vivos Productions
LLC
Covert Productions LLC
CP Entertainment
Services LLC



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                                                        493744
                                                                        Exhibit A
                                In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name        Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                           Division Name    Merchant ID, where
                                                available)
Crazy Hill Productions
Inc.
Creative Interactive
Productions LLC
Creative Park
Productions LLC
Creative Screen
Productions LLC
Creative Writing
Productions LLC
Crossover Connect, LLC
CS DPS Holdings, LLC
CS Fusion Investors, LLC

CS KJV Holdings, LLC
CS Phase Two Investors,
LLC
CS Philadelphia Lacrosse
Team, LLC
CS Philadelphia OW
Team, LLC
CSLP Phase One GP,
LLC
CSLP Phase One
Investor, L.P.
CSLP Phase One
Operator, L.P.
CSNNE Partner, LLC
CTC Concourse, LLC
Curlew Films LLC
DA Films LLC
Daily Essentials LLC
DailyCandy Commerce,
LLC
DailyCandy, LLC
Dark Room Pictures LLC




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                                                        493745
                                                                       Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                          Division Name    Merchant ID, where
                                               available)
Dark Universe
Productions LLC
Deep Blue
Communications, LLC
Deer Park Pictures LLC
Defying Gravity LLC
Del Mar Productions LLC

Delgany Productions LLC

Delta Films LLC
Direct Alternative
Productions LLC
Discos Telemundo, LLC
DM4 Productions LLC
DR 3000 Films LLC
DreamWorks Animation
Home Entertainment II,
LLC
DreamWorks Animation
Home Entertainment,
L.L.C.
DreamWorks Animation
International Services,
LLC
DreamWorks Animation
L.L.C.
DreamWorks Animation
Licensing, LLC
DreamWorks Animation
Live Theatrical
Productions LLC
DreamWorks Animation
Online, Inc.
DreamWorks Animation
Publishing, LLC




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                                                        493746
                                                                        Exhibit A
                                In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name        Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                           Division Name    Merchant ID, where
                                                available)
DreamWorks Animation
Television Post-
Production, LLC
DreamWorks Animation
Television, LLC
DreamWorks MCN, LLC

DreamWorks Post-
Production L.L.C.
DreamWorks, LLC
DTC Development LLC
DWA Finance I L.L.C.
DWA Glendale
Properties, LLC
DWA Holdings, LLC
DWA III Holdings, LLC
DWA International
Investments, LLC
DWA International
Television Properties,
LLC
DWA Kids, LLC
DWA Live Stage
Development, LLC
DWA NV Holdings, LLC
Dylan Holdings LLC
E! Brazil Distribution,
LLC
E! Channel Services
Brazil, LLC
E! Digital Lab
Productions LLC
E! Distribution L.L.C.
E! Entertainment
Television International
Holdings, LLC
E! Entertainment
Television, LLC



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                                                        493747
                                                                        Exhibit A
                                In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name        Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                           Division Name    Merchant ID, where
                                                available)
E! Holdings, Inc.
E! Media Productions,
LLC
E! Networks Productions,
LLC
E! Networks Sales and
Distribution, LLC
E! Services Brazil, LLC
Earth Holdings LLC
East Rutherford Realty,
Inc.
Enterprise Corporate
Services LLC
Entertainment for All,
LLC
Entertainment Rights US
Holdings, LLC
Entertainment Systems,
LLC
Estrella Communications
LLC
Estudios Mexicanos
Telemundo, S.A. de C.V.
ETV Holdings, LLC
Evergreen Pictures LLC
Exclamation Music, LLC
Exercise TV LLC
Exhibition Music LLC
Exmont Productions LLC
Exposure Studios, LLC
EZLinks Golf Holdings,
LLC
EZLinks Golf LLC
F10 Productions LLC
Fab 5 Films LLC
FAB Communications,
Inc.
Family Insight, LLC



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                                                         493748
                                                                         Exhibit A
                                 In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name         Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                            Division Name    Merchant ID, where
                                                 available)
Fandango Holdings LLC
Fandango Loyalty
Solutions, LLC
Fandango Media, LLC
Fandango Merchandising,
LLC
Fantail Funding LLC
Far North Entertainment
Holdings, Inc.
Faraway Connections,
LLC
Farraday Films
Investments LLC
Fast Productions Limited
FF5 Productions Canada,
Inc.
FF6 Productions LLC
FF8 Productions LLC
FF9 Productions LLC
FFSO Productions LLC
Filmmaker Production
Services LLC
Filmmaker Studio
Services LLC
First Alternative
Productions LLC
First Man Productions
LLC
First Podcast Productions
LLC
Flagship Development
LLC
Flock of Peacocks Music
JV/ASCAP LLC
Fluency Productions LLC
Fly Town Productions
LLC
Flyers Skate Zone, L.P.



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                                                        493749
                                                                       Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                          Division Name    Merchant ID, where
                                               available)
FM Production Services
LLC
FNV LLC
Focus Features
International Limited
Focus Features
International LLC
Focus Features LLC
Focus Features
Productions LLC
For Games Music, LLC
Forecast Fund
Investments, LLC
Forecast Labs, LLC
FPS Rink, L.P.
FPS Rink, LLC
FPS Urban Renewal, Inc.
FreeWheel Advertisers,
Inc.
FreeWheel Media, Inc.
Friedgold Talent LLC
Front Page News LLC
Future Platform LLC
G4 Media Productions,
LLC
G4 Media, LLC
G4 Studio Productions,
LLC
Gadget Films LLC
Gamut Productions LLC
GEP Productions Inc.
Getting Away
Productions, Inc.
Gilmore Films LLC
Global Fiction Inc.
Gloss Mountain
Productions LLC




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                                                        493750
                                                                       Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                          Division Name    Merchant ID, where
                                               available)
Gold Key Home Video,
LLC
Gold Medal Productions
LLC
Golfcolorado.com, LLC
Good Machine
International LLC
Good Machine LLC
GOTJ Distribution, LLC
Gramercy Productions
LLC
Grinch Productions LLC
GTCR/Boomerang
Holdings/B, LLC
Happy Hours, LLC
Harlan Films LLC
Here We Go Productions
LLC
Hilltop Coffee LLC
Horror Entertainment,
LLC
Housing for Tomorrow
Corp.
Houston SportsNet
Finance, LLC
Houston SportsNet
Holdings LLC
Husdawg
Communications LLC
iControl Networks, Inc.
IFH-U Holding B.V.
Illumination
Entertainment Marketing
LLC
Imagine Films
Entertainment LLC
IMG-LA Productions
LLC



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                                                        493751
                                                                        Exhibit A
                                In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name        Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                           Division Name    Merchant ID, where
                                                available)
Impossibly Simple, LLC
Incuborn Solutions, LLC
Indigo Development and
Entertainment Arts LLC
Inittowinit LLC
Interactive Business
News Video LLC
Interactive Desktop
Video LLC
Interactive Technology
Services, Inc.
International Media
Distribution, LLC
It Had To Be Murder
Holdings LLC
JB Films LLC
Jelutong Productions LLC

Kingsley Film
Productions LLC
Knightly Film
Productions LLC
KNSD Granite Ridge,
LLC
KNTV License LLC
KNTV Television LLC
Kvinde Productions LLC
Lassie Distribution, LLC
Latitude Productions LLC

Laurel Productions LLC
Lauren Film Productions
LLC
Lava Films LLC
Lexi Productions, LLC
License Holdings 17A,
LLC




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                                                         493752
                                                                         Exhibit A
                                 In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name         Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                            Division Name    Merchant ID, where
                                                 available)
License Holdings 18A,
LLC
Little Lotta Music, LLC
Logoring, LLC
Long Branch Productions
Inc.
Love Bugs Film LLC
Love Minky Television
Development Inc.
LSS Football LLC
LX Networks LLC
M Brothers Productions
LLC
Magic Carpet Productions
LLC
Mammoth Films LLC
Marital Assets, LLC
Mark III Funding, LLC
MarketLink Indianapolis
Cable Advertising, LLC
MAS Group Holdings,
LLC
MAS Intermediate I, Inc.
MAS Intermediate II, Inc.

Masergy Cloud
Communications, Inc.
Masergy Cloud UC
Corporation
Masergy
Communications, Inc.
Masergy Holdings, Inc.
Matchbox Pictures Pty
Ltd
Matchbox Productions
Pty Ltd
Max 2 Productions LLC
MB2 Productions LLC



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                                                         493753
                                                                        Exhibit A
                                In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name        Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                           Division Name    Merchant ID, where
                                                available)
MCA Toys Holdings LLC

MCA Toys LLC
MD Films PR LLC
MediaNaviCo LLC
Memory Films LLC
Merchandising Company
of America LLC
Meyers Family Films
LLC
Michael Film
Distribution LLC
Mighty Ticket, LLC
Migration Productions
LLC
Minaret Films LLC
Mins 2 Productions LLC
MM2 Films LLC
Monkey Business
Productions LLC
Monkey Kingdom
Limited
Monkey Kingdom LLC
Monkey Television LLC
Moon Spin Films, LLC
Morgan Productions, Inc.
Mountain Cable
Network, Inc.
MovieTickets.com
Promotions, LLC
MovieTickets.com, LLC
MPD Films Limited
MSNBC Cable L.L.C.
MSNBC Canada
Distribution Inc.
MSNBC Music
Publishing LLC




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                                                      493754
                                                                     Exhibit A
                             In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name      Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                        Division Name    Merchant ID, where
                                             available)
MSNBC Super Desk LLC

MTC Acquisition LLC
Music of Syfy Channel
LLC
Music of USA Cable
Entertainment LLC
Music of USA Network
LLC
Musica Telemundo, LLC
Must See Music LLC
MW Sports Holdings,
LLC
NATV Sales LLC
NATV Sub LLC
NBBC, LLC
NBC (UK) Holdings
Limited
NBC Desktop LLC
NBC Enterprises LLC
NBC Facilities LLC
NBC Interactive Media
LLC
NBC Investments LLC
NBC News Bureaus LLC

NBC News Channel LLC

NBC News Digital LLC
NBC News Worldwide
LLC
NBC Olympics LLC
NBC Olympics Planning
LLC
NBC Pageants LLC
NBC Palm Beach
Investment I LLC




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                                                     493755
                                                                     Exhibit A
                             In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name      Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                        Division Name    Merchant ID, where
                                             available)
NBC Palm Beach
Investment II LLC
NBC Program Ventures
LLC
NBC Records LLC
NBC Shop LLC
NBC Sports Gold LLC
NBC Sports Mobile
Apps, LLC
NBC Sports Network,
L.P.
NBC Sports Ventures
LLC
NBC Stations
Management II LLC
NBC Stations
Management LLC
NBC Storage
Management LLC
NBC Sub (WCMH), LLC

NBC Subsidiary (KNBC-
TV) LLC
NBC Subsidiary (WCAU-
TV), L.P.
NBC Subsidiary (WMAQ-
TV) LLC
NBC Subsidiary (WRC-
TV) LLC
NBC Subsidiary (WTVJ-
TV) LLC
NBC Syndication
Holding LLC
NBC Telemundo License
Holding LLC
NBC Telemundo License
LLC
NBC Telemundo LLC



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                                                         493756
                                                                         Exhibit A
                                 In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name         Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                            Division Name    Merchant ID, where
                                                 available)
NBC Television
Investments BV
NBC TV Stations Sales
& Marketing LLC
NBC Universal
(Singapore) Holdings I
Pte. Ltd.
NBC Universal
(Singapore) Holdings II
Pte. Ltd.
NBC Universal Digital
Solutions LLC
NBC Universal Global
Networks España, S.L.U.
NBC Universal Global
Networks France SAS
NBC Universal Global
Networks Latin America
LLC
NBC Universal Global
Networks Management
Limited
NBC Universal
Television Studio Digital
Development LLC
NBC Universo LLC
NBC Universo Music
Publishing, LLC
NBC Weather Plus
Network LLC
NBC West, LLC
NBC/Hearst-Argyle
Syndication, LLC
NBC/IJV LLC
NBC-A&E Holding LLC
NBCBoston Real Estate
LLC
NBC-NPN Holding LLC



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                                                      493757
                                                                      Exhibit A
                              In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
 Business Unit Name       Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                         Division Name    Merchant ID, where
                                              available)
NBCP Holdings LLC
NBC-Rainbow Holding
LLC
NBCU Acquisition Sub
LLC
NBCU Cable
Entertainment Holding
LLC
NBCU Chiller Holdings
LLC
NBCU Corporate
Holdings, LLC
NBCU Digital Music
LLC
NBCU Dutch Holding
(Bermuda) Limited
NBCU Dutch Holding
(US) LLC
NBCU Emerging
Networks LLC
NBCU Global Networks
Asia Pte. Ltd.
NBCU International LLC
NBCU New LLC I
NBCU New LLC II
NBCU New Site
Holdings LLC
NBCU Television
Holding LLC
NBCUniversal Ad Sales
and Marketing LLC
NBCUniversal Asia, LLC

NBCUniversal Atlas LLC

NBCUniversal Cahuenga,
LLC




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                                                        493758
                                                                       Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                          Division Name    Merchant ID, where
                                               available)
NBCUniversal Content
Commerce LLC
NBCUniversal Digital
Enterprises LLC
NBCUniversal Digital
Enterprises Productions
LLC
NBCUniversal Digital
Entertainment LLC
NBCUniversal Digital
Lab LLC
NBCUniversal
Enterprise, Inc.
NBCUniversal Fandango
Holdings, LLC
NBCUniversal Funding
LLC
NBCUniversal
Government Services
LLC
NBCUniversal
International Limited
NBCUniversal
International Networks
US LLC
NBCUniversal
Production Services LLC
NBCUniversal
Production Support NY
LLC
NBCUniversal Real
Estate LLC
NBCUniversal Shared
Services, LLC
NBC-VVTV Holding
LLC
NBC-VVTV2 Holding
LLC



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                                                         493759
                                                                         Exhibit A
                                 In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name         Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                            Division Name    Merchant ID, where
                                                 available)
NBC-West Coast Holding
II LLC
NBC-West Coast Holding
LLC
NBC-XFL Holding LLC
NCL Co, LLC
New England Cable
News
New Media, LLC
New Mexico Lighting &
Grip LLC
NewCo Cable, Inc.
Newco OTS LLC
Newsvine, Inc.
New-U Pictures Facilities
LLC
New-U Studios LLC
Next Pursuit, LLC
NF Films LLC
Nicholas Productions,
LLC
No Other Way
Productions, LLC
Nobody Films LLC
North American
Television LLC
Northbridge
Programming Inc.
Northern Entertainment
of Louisiana LLC
Northern Entertainment
Productions LLC
Now A Warning LLC
Nueva Granada
Investments, LLC
Nuevo Mundo Music
LLC
NVU – Vegas LLC



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                                                        493760
                                                                        Exhibit A
                                In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name        Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                           Division Name    Merchant ID, where
                                                available)
NWI Network LLC
O2 Holdings, LLC
O2 Music, LLC
October Films LLC
OFI Holdings LLC
One Belmont Insurance
Company
One-Horned Wonder
Productions LLC
Open 4 Business
Productions LLC
Original Content
Productions LLC
Orsa Films LLC
Outlet Broadcasting LLC
Outlet Communications
LLC
Oxygen Cable, LLC
Oxygen Media Interactive
LLC
Oxygen Media
Productions LLC
Oxygen Media, LLC
P-1 Acquisition Sub LLC
Pacific Data Images II,
LLC
Pacific Data Images
L.L.C.
Pacific Productions
L.L.C.
Papaya Holdings, LLC
Para Siempre Productions
LLC
Parks Holdings
Acquisition LLC
Parks Holdings
Acquisition Sub LLC




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                                                        493761
                                                                        Exhibit A
                                In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name        Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                           Division Name    Merchant ID, where
                                                available)
Partially Baked
Productions LLC
Pattison Development,
LLC
Pattison Realty, LLC
PCA Productions LLC
PE Productions LLC
Peacock Media
Productions LLC
Peacock Productions
(UK) LLC
Peacock TV LLC
Peacock TV Music LLC
Pennebaker LLC
PG Cable Channel
Company LLC
PG Filmed Entertainment
LLC
PG Television LLC
Philadelphia Flyers, LLC
Plaxo, Inc.
Podcast 2 Series LLC
Pop Pop Productions LLC

Portland Hockey, LLC
PowerCloud Systems,
Inc.
PP3 Productions LLC
Producer Services
Limited
PSC SA Productions LLC

QCOM TV Partners
Q-Force Productions LLC

Rachel Films LLC
Realand Productions LLC




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                                                       493762
                                                                       Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                          Division Name    Merchant ID, where
                                               available)
Redemption Productions
LLC
Regional Film
Distributors LLC
Retechorators, LLC
Rider Productions LLC
Right Alternative
Productions LLC
Ring Me Films LLC
Rosey Film Productions
LLC
Roving, LLC
Rubin Productions LLC
Salt Snake LLC
SAM Productions LLC
Satellite Services, LLC
Savannah Beast LLC
Savoy Pictures, LLC
Sci Fi (VCSF) Holding
LLC
Sci Fi Lab Development
LLC
Sci Fi Lab LLC
Sci-Fi Channel Europe,
L.L.C.
Scope Communications
LLC
Scream Squad Films LLC
Second Alternative
Productions LLC
Second Podcast
Productions LLC
Servicios de Produccion
Reforma, S.A. de C.V.
S-F Channel Holdings
LLC
Shaftesbury Avenue LLC




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                                                        493763
                                                                        Exhibit A
                                In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name        Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                           Division Name    Merchant ID, where
                                                available)
Silver Tower Productions
LLC
Sing 2 Productions LLC
Six Feathers Music LLC
Smiley Face Productions
LLC
Snapped TV Productions
LLC
SNL Entertainment
Holdings Sub LLC
SNL Entertainment
Holdings, Inc.
SNL Entertainment, LLC
Spanish-Language
Productions LLC
Sparrowhawk
International Channels
India Private Limited
Spectacor Adjoining Real
Estate New Arena, L.P.
Speechless Features
Limited
Speex, LLC
Sports Ventures Sub LLC

SportsEngine Canada,
Inc.
SportsEngine LLC
SportsEngine UK Limited
Sprout Michigan
Productions, LLC
Sprout Network Music,
LLC
St. Giles LLC
St. Louis Productions
LLC
Stage II, L.P.




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                                                        493764
                                                                       Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                          Division Name    Merchant ID, where
                                               available)
Stamford Media Center
& Productions LLC
StarPlay Productions
Limited
Station Operations LLC
Station Venture
Holdings, LLC
Station Venture
Operations, LP
Stiletto Pictures LLC
Stormfront, LLC
Straight Outta LLC
Stuart Street Digital
Studios LLC
Style Media LLC
Style Media Productions
LLC
SUB I - USA Holding
LLC
Sunny Days Productions
LLC
Surehouse, LLC
Syfy Channel Publishing
LLC
Syfy Films LLC
Syfy LLC
Syfy Media Productions
LLC
Tale Productions LLC
Talk Video Productions,
LLC
TCP Security Company
LLC
TeamUnify, LLC
Telemundo 10370
Montana Ave LLC
Telemundo 2400 Monroe
Street LLC



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                                                       493765
                                                                       Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                          Division Name    Merchant ID, where
                                               available)
Telemundo 314 Redwood
LLC
Telemundo 500 Media
Place LLC
Telemundo 6380 Polaris
LLC
Telemundo Global
Publishing LLC
Telemundo Group LLC
Telemundo Internacional
LLC
Telemundo International
Studios LLC
Telemundo Las Vegas
License LLC
Telemundo Las Vegas
LLC
Telemundo Media LLC
Telemundo Mid-Atlantic
LLC
Telemundo Music
Publishing, LLC
Telemundo Network
Group LLC
Telemundo of Arizona
LLC
Telemundo of Chicago
LLC
Telemundo of Denver
LLC
Telemundo of Florida
LLC
Telemundo of Fresno
LLC
Telemundo of New
England LLC
Telemundo of New
Mexico LLC



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                                                         493766
                                                                         Exhibit A
                                 In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name         Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                            Division Name    Merchant ID, where
                                                 available)
Telemundo of North
Carolina LLC
Telemundo of Northern
California LLC
Telemundo of San Diego
LLC
Telemundo of Texas LLC

Telemundo of Utah LLC
Telemundo Rio Grande
Valley, LLC
Telemundo Television
Studios, LLC
Terra Properties LLC
TGC, LLC
That Technology, LLC
The Bros Movie LLC
The Connor Project LLC
The Market R License,
LLC
The Praise Productions
LLC
The Worst Productions
LLC
Third Alternative
Productions LLC
Three Belmont Insurance
Company
Tier One Subsidiary LLC
Top Alternative Studio
LLC
TPB Holding LLC
Transatlantic Productions
LLC
Treasure LTR
Productions LLC
Trio Entertainment
Network Inc.



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                    Case 1:05-md-01720-MKB-JAM Document 8713-3 Filed 09/30/22 Page 404 of 414 PageID #:
                                                        493767
                                                                       Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                          Division Name    Merchant ID, where
                                               available)
Trip Productions LLC
Truck 44 Productions
LLC
True Blue Productions
LLC
TST Events, LLC
TST Management
Services LLC
Tuxedo Terrace Films
LLC
TyJade Ranch LLC
TZGZ Productions LLC
UCF Hotel Venture II
UCF Hotel Venture III
UCF Hotel Venture IV
UCF Hotel Venture V
uControl Acquisition,
LLC
UCS Project I LLC
Underworld Productions,
LLC
Universal (Beijing)
Consulting Company
Limited
Universal 13th
Street.com LLC
Universal 1440
Entertainment LLC
Universal Access LLC
Universal Animation
Studios LLC
Universal Arenas
Holdings, LLC
Universal Beijing
Development Services
LLC
Universal Beijing Owner
Holding LLC



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                                                       493768
                                                                       Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                          Division Name    Merchant ID, where
                                               available)
Universal Beijing
Servicer Holding LLC
Universal Beijing
Services LLC
Universal Beijing WFOE
Holding LLC
Universal Briggs LLC
Universal Cable
Productions Development
LLC
Universal City Florida
Holding Co. I
Universal City Florida
Holding Co. II
Universal City Property
Management II LLC
Universal City Studios
Productions LLLP
Universal Content
Productions LLC
Universal Creative LLC
Universal Film
Exchanges Holdings II
LLC
Universal Film
Exchanges LLC
Universal First-Run
Productions LLC
Universal First-Run
Television LLC
Universal HD LLC
Universal Home
Entertainment
Productions LLC
Universal International
Films LLC
Universal Kids LLC




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                                                          493769
                                                                          Exhibit A
                                  In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name          Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                             Division Name    Merchant ID, where
                                                  available)
Universal Kids Media
Productions LLC
Universal Kids’ Network
LLC
Universal Network
Programming LLC
Universal Networks
International Poland Sp. z
o.o.
Universal Orlando
Foundation, Inc.
Universal Pictures
(Australasia) Pty. Ltd.
Universal Pictures
(México) Services S. de
R.L. de C.V.
Universal Pictures (UK)
Limited
Universal Pictures
Benelux N.V.
Universal Pictures
Canadian Services LLC
Universal Pictures
Company of Puerto Rico
LLC
Universal Pictures
Corporation of China
LLC
Universal Pictures
Germany GmbH
Universal Pictures Group
(UK) Limited
Universal Pictures
Hamburg Film - und
Fernsehvertrieb GmbH
Universal Pictures Home
Entertainment LLC




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                                                          493770
                                                                          Exhibit A
                                  In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name          Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                             Division Name    Merchant ID, where
                                                  available)
Universal Pictures
International Austria
GmbH
Universal Pictures
International
Entertainment Limited
Universal Pictures
International France SAS
Universal Pictures
International Germany
GmbH
Universal Pictures
International Italy S.R.L.
Universal Pictures
International Korea
Company
Universal Pictures
International Limited
Universal Pictures
International LLC
Universal Pictures
International Switzerland
GmbH
Universal Pictures
International UK & EIRE
Limited
Universal Pictures
Limited
Universal Pictures
Productions Limited
Universal Pictures Rus
LLC
Universal Pictures
Subscription Television
Limited
Universal Pictures
Switzerland GmbH




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                                                         493771
                                                                         Exhibit A
                                 In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name         Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                            Division Name    Merchant ID, where
                                                 available)
Universal Pictures Vidéo
(France) SAS
Universal Pictures Visual
Programming Limited
Universal Rank Hotel
Partners
Universal Reality
Television LLC
Universal Set Services
LLC
Universal Shared Billing
Services, LLC
Universal Stage
Productions Development
LLC
Universal Stage
Productions LLC
Universal Studio Group
Animation LLC
Universal Studios Arcade
LLC
Universal Studios Canada
Inc.
Universal Studios
Carousel Post Production
LLC
Universal Studios
Channel Holdings LLC
Universal Studios Child
Care Center LLC
Universal Studios China
Investment LLLP
Universal Studios
Company LLC
Universal Studios Corner
Store LLC




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                                                          493772
                                                                          Exhibit A
                                  In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name          Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                             Division Name    Merchant ID, where
                                                  available)
Universal Studios
Development Venture
Five LLC
Universal Studios
Development Venture
Seven LLC
Universal Studios
Development Venture Six
LLC
Universal Studios
Development Venture
Two LLC
Universal Studios Digital
Cinema Ventures, LLC
Universal Studios
Enterprises LLC
Universal Studios Film
Production LLC
Universal Studios Fitness
Center LLC
Universal Studios Home
Entertainment LLC
Universal Studios Home
Entertainment
Productions LLC
Universal Studios Hotel II
LLC
Universal Studios Hotel
III LLC
Universal Studios Hotel
IV LLC
Universal Studios Hotel
LLC
Universal Studios Hotel
V LLC
Universal Studios Hotel
VI LLC




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                                                         493773
                                                                         Exhibit A
                                 In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name         Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                            Division Name    Merchant ID, where
                                                 available)
Universal Studios Hotel
VII LLC
Universal Studios
Interactive Entertainment
LLC
Universal Studios
International B.V.
Universal Studios
International Television
Do Brasil Ltda.
Universal Studios Korea
Planning Services LLC
Universal Studios
Licensing LLC
Universal Studios
Universal Studios Music
LLLP
Universal Studios
NewCanada LLC
Universal Studios Pacific
Partners LLC
Universal Studios Pay
Television LLC
Universal Studios Pay TV
Latin America LLC
Universal Studios Pay-
Per-View Development
LLC
Universal Studios Pay-
Per-View LLC
Universal Studios
Recreation China
Planning Services LLC
Universal Studios
Recreation Japan
Planning Services LLC
Universal Studios
Satellite Services LLC



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                                                        493774
                                                                        Exhibit A
                                In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name        Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                           Division Name    Merchant ID, where
                                                available)
Universal Studios
Singapore Planning
Services LLC
Universal Studios Store
Hollywood LLC
Universal Studios
Television Distribution
Spain, S.L.U.
Universal Studios TV
Channel Poland LLC
Universal Subscription
Television Americas LLC
Universal Syndicated
Productions LLC
Universal Television
Emerald Holdings LLC
Universal Television
Emerald Productions LLC

Universal Television
Enterprises LLC
Universal Television
Group LLC
Universal Television LLC
Universal Television
Music Publishing LLC
Universal Television
Networks
Universal Television
Productions LLC
Universal Theatrical
Group LLC
Universal TV Australia
Pty. Limited
Universal TV Canada
Productions LLC
Universal TV France
SNC



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                                                        493775
                                                                        Exhibit A
                                In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name        Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                           Division Name    Merchant ID, where
                                                available)
Universal TV Limited
Universal TV Music LLC
Universal TV Music
Publishing LLC
Universal TV NewCo
LLC
Universal TV Pictures
Development LLC
Universal TV Pictures
LLC
Universal TV Talk Video
LLC
Universal VOD Venture
Holdings LLC
Universal Worldwide
Television LLC
UPD Films LLC
UPI Development LLC
UPI Films LLC
UPI Pictures LLC
UPI Productions LLC
UPR International LLC
USA Brasil Enterprise
LLC
USA Brasil Holdings
L.L.C.
USA Cable
Entertainment LLC
USA Cable
Entertainment Publishing
LLC
USA Network Media
Productions LLC
USA Network Publishing
LLC
USA Networks Partner
LLC




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                                                        493776
                                                                        Exhibit A
                                In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name        Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                           Division Name    Merchant ID, where
                                                available)
USANi Holding
Company LLC
USI - USA Holding LLC
USI Asset Transfer LLC
USI Entertainment LLC
USI Interim LP LLC
USI Music Publishing
LLC
USIE - USA Holding
LLC
USI-New Bren Holdco
LLC
USJ LLC
U-Talk Enterprises LLC
V - USA Holding LLC
Valet Productions LLC
Valor Film Productions
LLC
Valverde S.A.
VeggieTales Tour, LLC
Verona Films LLC
Versus Holdings, LLC
Video 44
Video 44 Acquisition
LLC
Video Technology
Services, LLC
VIEW Quebec Inc.
vMOTE, LLC
VN Productions LLC
Vox Capital Limited
Vudu, LLC
VUE Holding LLC
VUE NewCo LLC
Walter Lantz Productions
LLC
Watch What You Play
Music, LLC



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                                                        493777
                                                                       Exhibit A
                               In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL1720 (MKB) (VKS)
  Business Unit Name       Transaction      Taxpayer ID (or       IRS Filing Name         Address             City              State   Postal Code
                          Division Name    Merchant ID, where
                                               available)
WatchBack LLC
WBTS Television LLC
WCAU Holdings, LLC
WellUp, LLC
WestMarc Development
II, LLC
Wicked Australia LLC
Wicked Oz Investment
LLC
Wicked Pacific Rim LLC
Wicked Tour Managing
Partner LLC
WiFi Funding LLC
WKAQ Holdings LLC
WNJU-TV Broadcasting
LLC
Working Title Films
Limited
Working Title Group
Working Title Music
Limited
Working Title Theatre
Productions Limited
WT Film Productions
Limited
WT2 Limited
WTTV Limited
WWP2 Films LLC
XF Wireless Investment
II, LLC
XF Wireless Investment,
LLC
Xfinity Managed
Services, LLC
Xidio, LLC
Xoom.com LLC
Zoms Productions LLC
Zupp, LLC



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